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Fill in this information to identify the case:
Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                           ¨ Check if this is an
                                                                                                                                  amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                   04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).



 Part 1:    Income

1. Gross revenue from business
    ¨ None
     Identify the beginning and ending dates of the debtor’s fiscal year,       Sources of revenue                  Gross revenue
     which may be a calendar year                                               (Check all that apply)              (before deductions and
                                                                                                                    exclusions)


     From the beginning of the
                                         From 12/27/2016 to 10/17/2017
                                                                                þ Operating a business              $166,458,371.00
     fiscal year to filing date:
                                                                                ¨ Other _________________

     For prior year:                     From 12/29/2015 to 10/31/2016
                                                                                þ Operating a business              $209,049,607.00
                                                                                ¨ Other _________________

     For the year before that:           From 4/17/2015 to 11/2/2015
                                                                                þ Operating a business              $234,303,248.00
                                                                                ¨ Other _________________


2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
    lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ¨ None
                                                                                Description of sources of           Gross revenue from
                                                                                revenue                             each source
                                                                                                                    (before deductions and
                                                                                                                    exclusions)

     From the beginning of the
                                         From 12/27/2016 to 9/25/2017           INTEREST                            $185.00
     fiscal year to filing date:


                                         From 12/27/2016 to 9/25/2017           INSURANCE PROCEEDS                  $158,954.00


                                         From 12/27/2016 to 9/25/2017           ROYALTY                             $1,678,710.00


     For prior year:                     From 12/28/2015 to 10/31/2016          INTEREST                            $5,223.00




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Debtor   MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224


                                         From 12/28/2015 to 10/31/2016      INSURANCE PROCEEDS              $1,092,840.00


                                         From 12/28/2015 to 10/31/2016      ROYALTY                         $2,104,979.00


     For the year before that:           From 4/17/2015 to 11/2/2015        INTEREST                        $0.00


                                         From 4/17/2015 to 11/2/2015        INSURANCE PROCEEDS              $1,043,380.00


                                         From 4/17/2015 to 11/2/2015        ROYALTY                         $2,348,744.00




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Debtor      MAC ACQUISITION LLC                                                                                  Case number (if known) 17-12224



 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
       List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days
       before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
       adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       ¨ None
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.1.     2199 NO. RAINBOW BLVD HOLDINGS, LLC                    9/8/2017     $11,418.07                ¨ Secured debt
         C/O CUSHMAN & WAKEFIELD COMMERCE
         SDS-12-2659 PO BOX 86                                                                         ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486-2659                                                                     þ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.2.     307 EAST EDGEWATER AVE LLC                             9/21/2017    $21,658.38                ¨ Secured debt
         76 LAFAYETTE AVENUE
         BROOKLYN NY 11217                                                                             ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.3.     307 EAST EDGEWATER AVE LLC                             9/8/2017     $21,658.38                ¨ Secured debt
         76 LAFAYETTE AVENUE
         BROOKLYN NY 11217                                                                             ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.4.     7979 MAC LLC                                           9/5/2017     $19,238.61                ¨ Secured debt
         16 CHERRYMOOR DRIVE
         ENGLEWOOD CO 80113                                                                            ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       ¨ Other _______________
         Creditor’s name and address                            Dates        Total amount or value     Reasons for payment or transfer
                                                                                                       Check all that apply

3.5.     7979 MAC LLC                                           8/1/2017     $19,238.61                ¨ Secured debt
         16 CHERRYMOOR DRIVE
         ENGLEWOOD CO 80113                                                                            ¨ Unsecured loan repayments
                                                                                                       þ Suppliers or vendors
                                                                                                       ¨ Services
                                                                                                       ¨ Other _______________


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Debtor     MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

        Creditor’s name and address                     Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.6.    8000 EL CERRITO INVESTORS LLC                   10/6/2017    $16,979.02               ¨ Secured debt
        1777 MANOR DRIVE
        HILLSBOROUGH CA 94010                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
        Creditor’s name and address                     Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.7.    8000 EL CERRITO INVESTORS LLC                   9/5/2017     $16,979.02               ¨ Secured debt
        1777 MANOR DRIVE
        HILLSBOROUGH CA 94010                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
        Creditor’s name and address                     Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.8.    8000 EL CERRITO INVESTORS LLC                   8/1/2017     $16,979.02               ¨ Secured debt
        1777 MANOR DRIVE
        HILLSBOROUGH CA 94010                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
        Creditor’s name and address                     Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.9.    8X8 INC                                         10/6/2017    $324.58                  ¨ Secured debt
        DEPT 848080
        LOS ANGELES CA 90084                                                                  ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.10.    8X8 INC                                         9/29/2017   $29,637.80               ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                     Dates       Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.11.    8X8 INC                                         9/8/2017    $150.65                  ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                 ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.12.    8X8 INC                                        9/1/2017    $81.13                   ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.13.    8X8 INC                                        8/25/2017   $28,709.03               ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.14.    8X8 INC                                        8/18/2017   $667.95                  ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.15.    8X8 INC                                        8/11/2017   $29,648.45               ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.16.    8X8 INC                                        8/4/2017    $1,402.74                ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.17.    8X8 INC                                        7/28/2017   $1,150.58                ¨ Secured debt
         DEPT 848080
         LOS ANGELES CA 90084                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.18.    A&A MECHANICAL SERVICE INC                     10/13/2017 $583.92                   ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.19.    A&A MECHANICAL SERVICE INC                     10/6/2017   $435.08                  ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.20.    A&A MECHANICAL SERVICE INC                     9/29/2017   $862.82                  ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.21.    A&A MECHANICAL SERVICE INC                     9/22/2017   $2,062.35                ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.22.    A&A MECHANICAL SERVICE INC                     9/15/2017   $1,581.78                ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.23.    A&A MECHANICAL SERVICE INC                     9/8/2017    $598.98                  ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.24.    A&A MECHANICAL SERVICE INC                     9/1/2017    $1,120.98                ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.25.    A&A MECHANICAL SERVICE INC                     8/25/2017   $628.14                  ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.26.    A&A MECHANICAL SERVICE INC                     8/18/2017   $1,006.20                ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.27.    A&A MECHANICAL SERVICE INC                     7/21/2017   $1,445.48                ¨ Secured debt
         7200 DISTRIBUTION DRIVE
         LOUISVILLE KY 40258                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.28.    ABCO FIRE, LLC                                 9/29/2017   $787.20                  ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.29.    ABCO FIRE, LLC                                 9/22/2017   $1,120.68                ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.30.    ABCO FIRE, LLC                                 9/15/2017   $1,080.68                ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.31.    ABCO FIRE, LLC                                 9/8/2017    $887.79                  ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.32.    ABCO FIRE, LLC                                 9/1/2017    $903.16                  ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.33.    ABCO FIRE, LLC                                 8/25/2017   $2,204.06                ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.34.    ABCO FIRE, LLC                                 8/11/2017   $1,673.79                ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.35.    ABCO FIRE, LLC                                 8/4/2017    $4,529.12                ¨ Secured debt
         PO BOX 931933
         CLEVELAND OH 44193                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.36.    ALDERWOOD MALL HOLDING LLC                     9/5/2017    $32,398.06               ¨ Secured debt
         DBA ALDERWOOD MALL LLC
         SDS-12-3019 PO BOX 86                                                               ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.37.    ALDERWOOD MALL HOLDING LLC                     8/1/2017    $32,223.57               ¨ Secured debt
         DBA ALDERWOOD MALL LLC
         SDS-12-3019 PO BOX 86                                                               ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.38.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/22/2017   $726.78                  ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                     ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.39.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/21/2017   $1,349.56                ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                     ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.40.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/15/2017   $442.97                  ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                     ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value    Reasons for payment or transfer
                                                                                             Check all that apply

3.41.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/14/2017   $698.20                  ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                     ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.42.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/11/2017   $968.12                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.43.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/8/2017    $869.77                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.44.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/7/2017    $320.94                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.45.    ALLIANCE BEVERAGE DBA BREAKTHRU                9/1/2017    $1,116.12               ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.46.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/31/2017   $290.94                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.47.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/25/2017   $797.24                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.48.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/24/2017   $753.95                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.49.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/18/2017   $961.92                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.50.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/17/2017   $202.14                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.51.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/11/2017   $939.34                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.52.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/10/2017   $795.42                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.53.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/7/2017    $454.74                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.54.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/4/2017    $1,020.03               ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.55.    ALLIANCE BEVERAGE DBA BREAKTHRU                8/3/2017    $319.22                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.56.    ALLIANCE BEVERAGE DBA BREAKTHRU                7/28/2017   $853.33                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.57.    ALLIANCE BEVERAGE DBA BREAKTHRU                7/27/2017   $366.36                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.58.    ALLIANCE BEVERAGE DBA BREAKTHRU                7/26/2017   $793.89                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.59.    ALLIANCE BEVERAGE DBA BREAKTHRU                7/24/2017   $450.13                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.60.    ALLIANCE BEVERAGE DBA BREAKTHRU                7/21/2017   $708.62                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.61.    ALLIANCE BEVERAGE DBA BREAKTHRU                7/20/2017   $216.22                 ¨ Secured debt
         BEVERAGE AZ
         1115 N 47TH AVE                                                                    ¨ Unsecured loan repayments
         PHOENIX AZ 85043                                                                   þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.62.    ALLIED REFRIGERATION A/C & REST EQUIP INC      10/6/2017   $605.00                 ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.63.    ALLIED REFRIGERATION A/C & REST EQUIP INC      9/29/2017   $523.00                 ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.64.    ALLIED REFRIGERATION A/C & REST EQUIP INC      9/22/2017   $505.00                 ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.65.    ALLIED REFRIGERATION A/C & REST EQUIP INC      9/15/2017   $395.00                 ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.66.    ALLIED REFRIGERATION A/C & REST EQUIP INC      9/8/2017    $1,255.00               ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.67.    ALLIED REFRIGERATION A/C & REST EQUIP INC      8/25/2017   $300.00                 ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.68.    ALLIED REFRIGERATION A/C & REST EQUIP INC      8/18/2017   $2,760.00               ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.69.    ALLIED REFRIGERATION A/C & REST EQUIP INC      7/28/2017   $3,150.00               ¨ Secured debt
         11341 SW 145TH AVENUE
         MIAMI FL 33186                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.70.    AMAZON GIFT CARDS                              10/16/2017 $22,320.00               ¨ Secured debt
         410 TERRY AVENUE NORTH
         SEATTLE WA 98109                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.71.    AMERICA'S PLUMBING CO CORP                     10/13/2017 $369.21                  ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.72.    AMERICA'S PLUMBING CO CORP                     9/22/2017   $299.00                 ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.73.    AMERICA'S PLUMBING CO CORP                     9/15/2017   $299.00                 ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.74.    AMERICA'S PLUMBING CO CORP                     9/1/2017    $1,410.38               ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.75.    AMERICA'S PLUMBING CO CORP                     8/11/2017   $1,649.52               ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.76.    AMERICA'S PLUMBING CO CORP                     8/4/2017    $981.75                 ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.77.    AMERICA'S PLUMBING CO CORP                     7/28/2017   $1,686.72               ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.78.    AMERICA'S PLUMBING CO CORP                     7/21/2017   $1,086.12               ¨ Secured debt
         4878 PASADENA AVE, UNIT 1
         SACRAMENTO CA 95841                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.79.    ANNAPOLIS MALL LIMITEDTNR                      9/12/2017   $14,677.13              ¨ Secured debt
         C/O BANK OF AMERICA
         LOCKBOX #54730                                                                     ¨ Unsecured loan repayments
         LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.80.    ANNAPOLIS MALL LIMITEDTNR                      8/11/2017   $14,677.13              ¨ Secured debt
         C/O BANK OF AMERICA
         LOCKBOX #54730                                                                     ¨ Unsecured loan repayments
         LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.81.    APP TECHNOLOGIES LLC                           8/2/2017    $7,520.00               ¨ Secured debt
         50 WASHINGTON STREET, STE. 736
         NORWALK CT 06854                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.82.    APPLEONE EMPLOYMENT SERVICES                   10/6/2017   $4,476.16               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.83.    APPLEONE EMPLOYMENT SERVICES                   9/29/2017   $4,842.64               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.84.    APPLEONE EMPLOYMENT SERVICES                   9/22/2017   $2,451.86               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.85.    APPLEONE EMPLOYMENT SERVICES                   9/15/2017   $2,451.86               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.86.    APPLEONE EMPLOYMENT SERVICES                   9/8/2017    $2,299.16               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.87.    APPLEONE EMPLOYMENT SERVICES                   9/1/2017    $2,451.86               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.88.    APPLEONE EMPLOYMENT SERVICES                   8/25/2017   $2,467.13               ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.89.    APPLEONE EMPLOYMENT SERVICES                   8/18/2017   $488.64                 ¨ Secured debt
         327 W. BROADWAY
         GLENDALE CA 91204                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.90.    ARAMARK UNIFORM & CAREER (SUPPLY)              8/11/2017   $35,000.00              ¨ Secured debt
         22808 NETWORK PLACE
         CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.91.    ARAMARK UNIFORM & CAREER (SUPPLY)              8/4/2017    $35,000.00              ¨ Secured debt
         22808 NETWORK PLACE
         CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.92.    AVERUS USA INC (PROFESSION)                    9/29/2017   $2,540.62               ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.93.    AVERUS USA INC (PROFESSION)                    9/22/2017   $4,690.31               ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.94.    AVERUS USA INC (PROFESSION)                    9/15/2017   $2,509.20               ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.95.    AVERUS USA INC (PROFESSION)                    9/8/2017    $1,241.55               ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.96.    AVERUS USA INC (PROFESSION)                    9/1/2017     $3,159.65                ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.97.    AVERUS USA INC (PROFESSION)                    8/25/2017    $2,491.52                ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.98.    AVERUS USA INC (PROFESSION)                    8/18/2017    $2,950.54                ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                              Check all that apply

3.99.    AVERUS USA INC (PROFESSION)                    8/11/2017    $3,520.74                ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                      ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.100.    AVERUS USA INC (PROFESSION)                    8/4/2017     $5,748.32               ¨ Secured debt
          1800 NATIONS DRIVE, STE. 215
          GURNEE IL 60031                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________
          Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                              Check all that apply

3.101.    AVERUS USA INC (PROFESSION)                    7/28/2017    $7,978.53               ¨ Secured debt
          1800 NATIONS DRIVE, STE. 215
          GURNEE IL 60031                                                                     ¨ Unsecured loan repayments
                                                                                              þ Suppliers or vendors
                                                                                              ¨ Services
                                                                                              ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.102.   AVERUS USA INC (PROFESSION)                    7/21/2017    $10,201.48              ¨ Secured debt
         1800 NATIONS DRIVE, STE. 215
         GURNEE IL 60031                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.103.   BALL, SANTIN & MCLERAN PLC                     9/13/2017    $12,224.55              ¨ Secured debt
         2999 N. 44TH STREET
         SUITE 500                                                                           ¨ Unsecured loan repayments
         PHOENIX AZ 85018                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.104.   BANK OF COLORADO                               10/2/17      $350,000.00             þ Secured debt
         1801 BROADWAY STE 100
         DENVER TX 80202                                                                     ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.105.   BANK OF COLORADO                               10/13/17     $57,944.18              þ Secured debt
         1801 BROADWAY STE 100
         DENVER TX 80202                                                                     ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.106.   BANK OF COLORADO                               11/3/17      $14,076.27              þ Secured debt
         1801 BROADWAY STE 100
         DENVER TX 80202                                                                     ¨ Unsecured loan repayments
                                                                                             ¨ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.107.   BAYER RETAIL COMPANY LLC                       9/8/2017     $17,033.76              ¨ Secured debt
         C/O BRC HOLDING COMPANY , LLC
         PO BOX 740455                                                                       ¨ Unsecured loan repayments
         ATLANTA GA 30374-0455                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.108.   BBI METRICS LLC                                8/4/2017     $7,500.00               ¨ Secured debt
         DBA BLACK BOX INTELLIGENCE
         17304 PRESTON ROAD SUITE 430                                                        ¨ Unsecured loan repayments
         DALLAS TX 75252                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.109.   BEARDEN CHILDRENS TRUST                        9/21/2017    $8,333.33               ¨ Secured debt
         PO BOX 101717
         FORT WORTH TX 76185                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.110.   BEARDEN CHILDRENS TRUST                        8/17/2017    $8,333.33               ¨ Secured debt
         PO BOX 101717
         FORT WORTH TX 76185                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.111.   BELLA TERRA ASSOCIATES LLC                     9/12/2017    $14,393.81              ¨ Secured debt
         60 SOUTH MARKET STREET #120
         SAN JOSE CA 95113                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.112.   BELLA TERRA ASSOCIATES LLC                     8/11/2017    $14,393.81              ¨ Secured debt
         60 SOUTH MARKET STREET #120
         SAN JOSE CA 95113                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.113.   BILL STUBBS AND COMPANY                        9/21/2017    $10,000.00              ¨ Secured debt
         4216 N PORTLAND AVE STE. 100
         OKLAHOMA CITY OK 73112                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.114.   BILL STUBBS AND COMPANY                        8/17/2017    $10,000.00              ¨ Secured debt
         4216 N PORTLAND AVE STE. 100
         OKLAHOMA CITY OK 73112                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.115.   BILZIN SUMBERG BAENAICE & AXELROD LLP          9/22/2017    $5,441.40               ¨ Secured debt
         1450 BRICKELL AVENUE, STE 2300
         MIAMI FL 33131                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.116.   BILZIN SUMBERG BAENAICE & AXELROD LLP          7/24/2017    $8,387.82               ¨ Secured debt
         1450 BRICKELL AVENUE, STE 2300
         MIAMI FL 33131                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.117.   BIRCH COMMUNICATIONS, INC.                     10/13/2017 $14,639.65                ¨ Secured debt
         PO BOX 105066
         ATLANTA GA 30348                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.118.   BIRCH COMMUNICATIONS, INC.                     9/28/2017    $15,244.78              ¨ Secured debt
         PO BOX 105066
         ATLANTA GA 30348                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.119.   BIRCH COMMUNICATIONS, INC.                     8/11/2017    $15,042.34              ¨ Secured debt
         PO BOX 105066
         ATLANTA GA 30348                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.120.   BLAIR DESIGN & CONSTRUCTION, INC.              9/15/2017    $843.61                 ¨ Secured debt
         PO BOX 2566
         ALTOONA PA 16603                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.121.   BLAIR DESIGN & CONSTRUCTION, INC.              7/28/2017    $7,749.94               ¨ Secured debt
         PO BOX 2566
         ALTOONA PA 16603                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.122.   BOAS LAGUNA VILLAGE. LLC                       9/8/2017     $9,166.67               ¨ Secured debt
         15260 VENTURA BLVD, STE. 1705
         C/O REGENCY MANAGEMENT                                                              ¨ Unsecured loan repayments
         SHERMAN OAKS CA 91403                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.123.   BRAND COMMERCIAL SERIVCES INC                  9/15/2017    $1,042.62               ¨ Secured debt
         414 E CHURCH STREET
         LEWISVILLE TX 75057                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.124.   BRAND COMMERCIAL SERIVCES INC                  9/8/2017     $3,351.42               ¨ Secured debt
         414 E CHURCH STREET
         LEWISVILLE TX 75057                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.125.   BRAND COMMERCIAL SERIVCES INC                  9/1/2017     $794.97                 ¨ Secured debt
         414 E CHURCH STREET
         LEWISVILLE TX 75057                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.126.   BRAND COMMERCIAL SERIVCES INC                  8/18/2017    $262.90                 ¨ Secured debt
         414 E CHURCH STREET
         LEWISVILLE TX 75057                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.127.   BRAND COMMERCIAL SERIVCES INC                  7/28/2017    $1,975.33               ¨ Secured debt
         414 E CHURCH STREET
         LEWISVILLE TX 75057                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.128.   BRAND COMMERCIAL SERIVCES INC                  7/21/2017    $1,203.24               ¨ Secured debt
         414 E CHURCH STREET
         LEWISVILLE TX 75057                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.129.   BRE RC LAS PALMAS MP TX LP                     9/21/2017    $14,643.14              ¨ Secured debt
         LOCKBOX SERVICES #206479
         2975 REGENT BLVD                                                                    ¨ Unsecured loan repayments
         IRVING TX 75063                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.130.   BRE RC LAS PALMAS MP TX LP                     8/17/2017    $14,643.14              ¨ Secured debt
         LOCKBOX SERVICES #206479
         2975 REGENT BLVD                                                                    ¨ Unsecured loan repayments
         IRVING TX 75063                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.131.   BREAKTHRU BEVERAGE CO                          9/22/2017    $1,604.28               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.132.   BREAKTHRU BEVERAGE CO                          9/21/2017    $1,322.50               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.133.   BREAKTHRU BEVERAGE CO                          9/15/2017    $827.36                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.134.   BREAKTHRU BEVERAGE CO                          9/14/2017    $1,475.23               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.135.   BREAKTHRU BEVERAGE CO                          9/8/2017     $1,191.46               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.136.   BREAKTHRU BEVERAGE CO                          9/7/2017     $1,238.92               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.137.   BREAKTHRU BEVERAGE CO                          9/6/2017     $272.03                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.138.   BREAKTHRU BEVERAGE CO                          9/1/2017     $289.02                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.139.   BREAKTHRU BEVERAGE CO                          8/31/2017    $1,887.14               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.140.   BREAKTHRU BEVERAGE CO                          8/25/2017    $836.47                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.141.   BREAKTHRU BEVERAGE CO                          8/24/2017    $871.99                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.142.   BREAKTHRU BEVERAGE CO                          8/18/2017    $602.91                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.143.   BREAKTHRU BEVERAGE CO                          8/17/2017    $2,079.43               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.144.   BREAKTHRU BEVERAGE CO                          8/11/2017    $100.93                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.145.   BREAKTHRU BEVERAGE CO                          8/10/2017    $1,736.13               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.146.   BREAKTHRU BEVERAGE CO                          8/4/2017     $899.69                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.147.   BREAKTHRU BEVERAGE CO                          8/2/2017     $523.31                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.148.   BREAKTHRU BEVERAGE CO                          7/28/2017    $1,126.34               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.149.   BREAKTHRU BEVERAGE CO                          7/27/2017    $2,662.91               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.150.   BREAKTHRU BEVERAGE CO                          7/21/2017    $343.42                 ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.151.   BREAKTHRU BEVERAGE CO                          7/20/2017    $2,267.28               ¨ Secured debt
         PO BOX 17647, T.A.
         DENVER CO 80217                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.152.   BREAKTHRU BEVERAGE NEVADA, LLC                 10/10/2017 $1,484.08                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.153.   BREAKTHRU BEVERAGE NEVADA, LLC                 10/2/2017    $1,270.64               ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.154.   BREAKTHRU BEVERAGE NEVADA, LLC                 9/25/2017    $913.17                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.155.   BREAKTHRU BEVERAGE NEVADA, LLC                 9/18/2017    $1,234.61               ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.156.   BREAKTHRU BEVERAGE NEVADA, LLC                 9/11/2017    $229.03                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.157.   BREAKTHRU BEVERAGE NEVADA, LLC                 9/5/2017     $689.24                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.158.   BREAKTHRU BEVERAGE NEVADA, LLC                 8/28/2017    $560.90                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.159.   BREAKTHRU BEVERAGE NEVADA, LLC                 8/21/2017    $938.15                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.160.   BREAKTHRU BEVERAGE NEVADA, LLC                 8/14/2017    $696.84                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.161.   BREAKTHRU BEVERAGE NEVADA, LLC                 8/7/2017     $634.81                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.162.   BREAKTHRU BEVERAGE NEVADA, LLC                 7/31/2017    $309.38                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.163.   BREAKTHRU BEVERAGE NEVADA, LLC                 7/24/2017    $877.17                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.164.   BREAKTHRU BEVERAGE NEVADA, LLC                 7/21/2017    $461.81                 ¨ Secured debt
         FILE 50335
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.165.   BRINKER INTERNATIONAL INC                      10/3/2017    $32,685.47              ¨ Secured debt
         PO BOX 910232
         DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.166.   BRINKER INTERNATIONAL INC                      9/21/2017    $5,086.21               ¨ Secured debt
         PO BOX 910232
         DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.167.   BRINKER INTERNATIONAL INC                      9/8/2017     $5,086.21               ¨ Secured debt
         PO BOX 910232
         DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.168.   BRINKER INTERNATIONAL INC                      9/5/2017     $32,685.47              ¨ Secured debt
         PO BOX 910232
         DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.169.   BRINKER INTERNATIONAL INC                      8/1/2017     $32,685.47              ¨ Secured debt
         PO BOX 910232
         DALLAS TX 75391                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.170.   BRIXMOR OP PARTNERSHIP LP                      10/2/2017    $15,849.58              ¨ Secured debt
         PO BOX 645349
         CINCINNATI OH 45264                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.171.   BRIXMOR OP PARTNERSHIP LP                      9/5/2017     $15,849.58              ¨ Secured debt
         PO BOX 645349
         CINCINNATI OH 45264                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.172.   BRIXMOR OP PARTNERSHIP LP                      8/1/2017     $15,849.58              ¨ Secured debt
         PO BOX 645349
         CINCINNATI OH 45264                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.173.   BRIXTON SHERWOOD, LLC                          9/21/2017    $9,747.57               ¨ Secured debt
         DBA SHERWOOD MALL
         PO BOX 507416                                                                       ¨ Unsecured loan repayments
         SAN DIEGO CA 92150-7146                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.174.   BRIXTON SHERWOOD, LLC                          8/31/2017    $9,747.57               ¨ Secured debt
         DBA SHERWOOD MALL
         PO BOX 507416                                                                       ¨ Unsecured loan repayments
         SAN DIEGO CA 92150-7146                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.175.   CALIFORNIA MAINTENANCE SERVICE INC             10/13/2017 $488.00                   ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.176.   CALIFORNIA MAINTENANCE SERVICE INC             10/6/2017    $430.00                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.177.   CALIFORNIA MAINTENANCE SERVICE INC             9/29/2017    $927.50                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.178.   CALIFORNIA MAINTENANCE SERVICE INC             9/22/2017    $1,802.00               ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.179.   CALIFORNIA MAINTENANCE SERVICE INC             9/15/2017    $566.67                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.180.   CALIFORNIA MAINTENANCE SERVICE INC             9/8/2017     $200.00                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.181.   CALIFORNIA MAINTENANCE SERVICE INC             9/1/2017     $246.00                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.182.   CALIFORNIA MAINTENANCE SERVICE INC             8/25/2017    $1,102.50               ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.183.   CALIFORNIA MAINTENANCE SERVICE INC             8/18/2017    $884.50                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.184.   CALIFORNIA MAINTENANCE SERVICE INC             7/28/2017    $868.50                 ¨ Secured debt
         12919 HALLDALE AVENUE
         GARDENA CA 90249                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.185.   CARIOTOODUCE INC                               10/16/2017 $1,224.62                 ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.186.   CARIOTOODUCE INC                               10/10/2017 $1,484.69                 ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.187.   CARIOTOODUCE INC                               10/2/2017    $1,160.83               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.188.   CARIOTOODUCE INC                               9/25/2017    $1,432.54               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.189.   CARIOTOODUCE INC                               9/18/2017    $1,318.97               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.190.   CARIOTOODUCE INC                               9/11/2017    $1,236.60               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.191.   CARIOTOODUCE INC                               9/5/2017     $937.58                 ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.192.   CARIOTOODUCE INC                               8/28/2017    $1,407.16               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.193.   CARIOTOODUCE INC                               8/21/2017    $960.94                 ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.194.   CARIOTOODUCE INC                               8/14/2017    $1,223.90               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.195.   CARIOTOODUCE INC                               8/7/2017     $1,254.51               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.196.   CARIOTOODUCE INC                               7/31/2017    $1,360.23               ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.197.   CARIOTOODUCE INC                               7/24/2017    $875.28                 ¨ Secured debt
         80 COHOES AVEUNE
         GREEN ISLAND NY 12183                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.198.   CAROLINA COOKWOOD LLC                          10/13/2017 $720.00                   ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.199.   CAROLINA COOKWOOD LLC                          10/6/2017    $480.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.200.   CAROLINA COOKWOOD LLC                          9/15/2017    $960.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.201.   CAROLINA COOKWOOD LLC                          9/8/2017     $240.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.202.   CAROLINA COOKWOOD LLC                          9/1/2017     $480.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.203.   CAROLINA COOKWOOD LLC                          8/25/2017    $720.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.204.   CAROLINA COOKWOOD LLC                          8/18/2017    $960.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.205.   CAROLINA COOKWOOD LLC                          8/11/2017    $480.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.206.   CAROLINA COOKWOOD LLC                          8/4/2017     $240.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.207.   CAROLINA COOKWOOD LLC                          7/28/2017    $460.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.208.   CAROLINA COOKWOOD LLC                          7/21/2017    $690.00                 ¨ Secured debt
         767 SUMMERWOOD DRIVE
         ROCK HILL SC 29732                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.209.   CASAS ADOBES BAPTIST CHURCH                    9/21/2017    $9,096.26               ¨ Secured debt
         C/O PICOR COMM REAL EST SRV
         1100 N WILMOT STE. 200                                                              ¨ Unsecured loan repayments
         TUCSON AZ 85712                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.210.   CASAS ADOBES BAPTIST CHURCH                    8/17/2017    $9,096.26               ¨ Secured debt
         C/O PICOR COMM REAL EST SRV
         1100 N WILMOT STE. 200                                                              ¨ Unsecured loan repayments
         TUCSON AZ 85712                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.211.   CASTLE & COOKE CORONA CROSSING INC.            9/8/2017     $13,300.63              ¨ Secured debt
         ATTN LEASE ADMIN
         PO BOX 843738                                                                       ¨ Unsecured loan repayments
         LOS ANGELES CA 90084                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.212.   CBS - CUSTOM BUSINESS SOLUTIONS INC            10/13/2017 $33,062.47                ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.213.   CBS - CUSTOM BUSINESS SOLUTIONS INC            10/6/2017    $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.214.   CBS - CUSTOM BUSINESS SOLUTIONS INC            9/29/2017    $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.215.   CBS - CUSTOM BUSINESS SOLUTIONS INC            9/22/2017    $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.216.   CBS - CUSTOM BUSINESS SOLUTIONS INC            9/15/2017    $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.217.   CBS - CUSTOM BUSINESS SOLUTIONS INC            9/8/2017     $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.218.   CBS - CUSTOM BUSINESS SOLUTIONS INC            9/1/2017     $29,613.86              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.219.   CBS - CUSTOM BUSINESS SOLUTIONS INC            8/25/2017    $30,720.39              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.220.   CBS - CUSTOM BUSINESS SOLUTIONS INC            8/18/2017    $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.221.   CBS - CUSTOM BUSINESS SOLUTIONS INC            8/11/2017    $32,000.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.222.   CBS - CUSTOM BUSINESS SOLUTIONS INC            8/4/2017     $37,662.00              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.223.   CBS - CUSTOM BUSINESS SOLUTIONS INC            7/28/2017    $31,716.76              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.224.   CBS - CUSTOM BUSINESS SOLUTIONS INC            7/21/2017    $31,716.76              ¨ Secured debt
         12 MORGAN
         IRVINE CA 92618                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.225.   CDW DIRECT LLC                                 8/18/2017    $9,502.05               ¨ Secured debt
         PO BOX 75723
         CHICAGO IL 60675                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.226.   CDW DIRECT LLC                                 7/28/2017    $3,490.12               ¨ Secured debt
         PO BOX 75723
         CHICAGO IL 60675                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.227.   CDW DIRECT LLC                                 7/21/2017    $5,692.54               ¨ Secured debt
         PO BOX 75723
         CHICAGO IL 60675                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.228.   CDW DIRECT LLC                                 10/27/17     $14,393.71              ¨ Secured debt
         P.O. BOX 75723
         CHICAGO IL 60675                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.229.   CENTENNIAL LAKES GRILL LLC C/O                 9/5/2017     $13,640.67              ¨ Secured debt
         UNITEDOPERTIES
         SDS 12 2659 PO BOX 86                                                               ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.230.   CENTENNIAL LAKES GRILL LLC C/O                 8/1/2017     $15,795.70              ¨ Secured debt
         UNITEDOPERTIES
         SDS 12 2659 PO BOX 86                                                               ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.231.   CENTRAL REALTY HOLDINGS LLC                    9/12/2017    $10,166.67              ¨ Secured debt
         PO BOX 1805
         GREENVILLE SC 29602                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.232.   CENTRAL REALTY HOLDINGS LLC                    8/11/2017    $10,166.67              ¨ Secured debt
         PO BOX 1805
         GREENVILLE SC 29602                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.233.   CHARLIE SCIARA & SONODUCE CO INC               10/16/2017 $221.28                   ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.234.   CHARLIE SCIARA & SONODUCE CO INC               10/10/2017 $289.84                   ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.235.   CHARLIE SCIARA & SONODUCE CO INC               10/2/2017    $926.47                 ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.236.   CHARLIE SCIARA & SONODUCE CO INC               9/29/2017    $442.88                 ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.237.   CHARLIE SCIARA & SONODUCE CO INC               9/25/2017    $1,046.31               ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.238.   CHARLIE SCIARA & SONODUCE CO INC               9/18/2017    $818.04                 ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.239.   CHARLIE SCIARA & SONODUCE CO INC               9/11/2017    $796.05                 ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.240.   CHARLIE SCIARA & SONODUCE CO INC               9/5/2017     $38.94                  ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.241.   CHARLIE SCIARA & SONODUCE CO INC               8/28/2017    $542.08                 ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.242.   CHARLIE SCIARA & SONODUCE CO INC               8/21/2017    $546.15                 ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.243.   CHARLIE SCIARA & SONODUCE CO INC               8/14/2017    $1,243.22               ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.244.   CHARLIE SCIARA & SONODUCE CO INC               8/7/2017     $1,095.88               ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.245.   CHARLIE SCIARA & SONODUCE CO INC               7/31/2017    $1,196.07               ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.246.   CHARLIE SCIARA & SONODUCE CO INC               7/24/2017    $1,244.42               ¨ Secured debt
         4700 BURBANK RD
         MEMPHIS TN 38118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.247.   CHARTER TOWNSHIP OF SHELBY                     9/14/2017    $16,485.66              ¨ Secured debt
         MICHAEL FLYNN, TREASURER
         52700 VAN DYKE                                                                      ¨ Unsecured loan repayments
         SHELBY TOWNSHIP MI 48316                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.248.   CHARTER TOWNSHIP OF SHELBY                     9/14/2017    $941.35                 ¨ Secured debt
         MICHAEL FLYNN, TREASURER
         52700 VAN DYKE                                                                      ¨ Unsecured loan repayments
         SHELBY TOWNSHIP MI 48316                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.249.   CINTAS CORP #2                                 9/29/2017    $3,658.11               ¨ Secured debt
         4601 CREEKSTONE DRIVE
         STE 200                                                                             ¨ Unsecured loan repayments
         DURHAM NC 27703                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.250.   CINTAS CORP #2                                 9/22/2017    $1,389.32               ¨ Secured debt
         4601 CREEKSTONE DRIVE
         STE 200                                                                             ¨ Unsecured loan repayments
         DURHAM NC 27703                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.251.   CINTAS CORP #2                                 9/15/2017    $1,604.94               ¨ Secured debt
         4601 CREEKSTONE DRIVE
         STE 200                                                                             ¨ Unsecured loan repayments
         DURHAM NC 27703                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.252.   CINTAS CORP #2                                 9/8/2017     $819.50                 ¨ Secured debt
         4601 CREEKSTONE DRIVE
         STE 200                                                                             ¨ Unsecured loan repayments
         DURHAM NC 27703                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.253.   CIRCLE CITYODUCE INC                           10/16/2017 $980.63                   ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.254.   CIRCLE CITYODUCE INC                           10/10/2017 $667.63                   ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.255.   CIRCLE CITYODUCE INC                           10/2/2017    $1,264.47               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.256.   CIRCLE CITYODUCE INC                           9/25/2017    $1,178.74               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.257.   CIRCLE CITYODUCE INC                           9/18/2017    $1,102.25               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.258.   CIRCLE CITYODUCE INC                           9/11/2017    $1,043.33               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.259.   CIRCLE CITYODUCE INC                           9/5/2017     $1,217.65               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.260.   CIRCLE CITYODUCE INC                           8/28/2017    $913.78                 ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.261.   CIRCLE CITYODUCE INC                           8/21/2017    $886.54                 ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.262.   CIRCLE CITYODUCE INC                           8/14/2017    $1,080.82               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.263.   CIRCLE CITYODUCE INC                           8/7/2017     $1,421.45               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.264.   CIRCLE CITYODUCE INC                           7/31/2017    $1,855.02               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.265.   CIRCLE CITYODUCE INC                           7/24/2017    $1,313.92               ¨ Secured debt
         4733 MASSACHUSETTS AVE
         INDIANAPOLIS IN 46218                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.266.   CISCO SYSTEMS CAPITAL CORP                     10/6/2017    $11,167.28              ¨ Secured debt
         PO BOX 742927
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.267.   CISCO SYSTEMS CAPITAL CORP                     9/8/2017     $11,167.28              ¨ Secured debt
         PO BOX 742927
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.268.   CISCO SYSTEMS CAPITAL CORP                     8/11/2017    $11,167.28              ¨ Secured debt
         PO BOX 742927
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.269.   CISCO SYSTEMS CAPITAL CORP                     8/4/2017     $11,172.53              ¨ Secured debt
         PO BOX 742927
         LOS ANGELES CA 90074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.270.   CITY OF ANN ARBOR TREASURER                    7/31/2017    $45,698.81              ¨ Secured debt
         DEPT 77602
         PO BOX 77000                                                                        ¨ Unsecured loan repayments
         DETROIT MI 48277-0602                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.271.   CITY OF ANN ARBOR TREASURER                    7/21/2017    $3,087.62               ¨ Secured debt
         DEPT 77602
         PO BOX 77000                                                                        ¨ Unsecured loan repayments
         DETROIT MI 48277-0602                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.272.   CITY OF AUBURN HILLS                           9/11/2017    $25,598.79              ¨ Secured debt
         1827 N SQUIRREL ROAD
         AUBURN HILLS MI 48326                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.273.   CITY OF AUBURN HILLS                           9/11/2017    $2,005.58               ¨ Secured debt
         1827 N SQUIRREL ROAD
         AUBURN HILLS MI 48326                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.274.   CITY OF AURORA                                 10/16/2017 $68.00                    ¨ Secured debt
         TAX & LICENSING DIVISION
         PO BOX 33001                                                                        ¨ Unsecured loan repayments
         AURORA CO 80041                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.275.   CITY OF AURORA                                 10/10/2017 $3,547.48                 ¨ Secured debt
         TAX & LICENSING DIVISION
         PO BOX 33001                                                                        ¨ Unsecured loan repayments
         AURORA CO 80041                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.276.   CITY OF AURORA                                 9/8/2017     $3,513.26               ¨ Secured debt
         TAX & LICENSING DIVISION
         PO BOX 33001                                                                        ¨ Unsecured loan repayments
         AURORA CO 80041                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.277.   CITY OF AURORA                                 9/7/2017     $68.00                  ¨ Secured debt
         TAX & LICENSING DIVISION
         PO BOX 33001                                                                        ¨ Unsecured loan repayments
         AURORA CO 80041                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.278.   CITY OF AURORA                                 8/10/2017    $3,377.18               ¨ Secured debt
         TAX & LICENSING DIVISION
         PO BOX 33001                                                                        ¨ Unsecured loan repayments
         AURORA CO 80041                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.279.   CITY OF AURORA                                 8/4/2017     $92.00                  ¨ Secured debt
         TAX & LICENSING DIVISION
         PO BOX 33001                                                                        ¨ Unsecured loan repayments
         AURORA CO 80041                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.280.   CITY OF GREENWOOD VILLAGE                      10/16/2017 $116.00                   ¨ Secured debt
         PO BOX 910841
         DENVER CO 80274                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.281.   CITY OF GREENWOOD VILLAGE                      10/10/2017 $2,966.21                 ¨ Secured debt
         PO BOX 910841
         DENVER CO 80274                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.282.   CITY OF GREENWOOD VILLAGE                      9/8/2017     $3,091.71               ¨ Secured debt
         PO BOX 910841
         DENVER CO 80274                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.283.   CITY OF GREENWOOD VILLAGE                      9/7/2017     $116.00                 ¨ Secured debt
         PO BOX 910841
         DENVER CO 80274                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.284.   CITY OF GREENWOOD VILLAGE                      8/10/2017    $3,042.20               ¨ Secured debt
         PO BOX 910841
         DENVER CO 80274                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.285.   CITY OF GREENWOOD VILLAGE                      8/4/2017     $124.00                 ¨ Secured debt
         PO BOX 910841
         DENVER CO 80274                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.286.   CITY OF LIVONIA                                9/11/2017    $25,553.53              ¨ Secured debt
         33000 CIVIC CENTER DRIVE
         LIVONIA MI 48154-3060                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.287.   CITY OF LIVONIA                                9/11/2017    $1,295.15               ¨ Secured debt
         33000 CIVIC CENTER DRIVE
         LIVONIA MI 48154-3060                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.288.   CLARK COUNTY TREASURER                         9/29/2017    $3,258.61               ¨ Secured debt
         PO BOX 551220
         LAS VEGAS NV 89155                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.289.   CLARK COUNTY TREASURER                         8/21/2017    $3,260.39               ¨ Secured debt
         PO BOX 551220
         LAS VEGAS NV 89155                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.290.   CLIMA COOL A/C & HEATING                       9/29/2017    $241.25                 ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.291.   CLIMA COOL A/C & HEATING                       9/22/2017    $687.31                 ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.292.   CLIMA COOL A/C & HEATING                       9/15/2017    $414.54                 ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.293.   CLIMA COOL A/C & HEATING                       9/8/2017     $1,143.39               ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.294.   CLIMA COOL A/C & HEATING                       9/1/2017     $2,304.89               ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.295.   CLIMA COOL A/C & HEATING                       8/25/2017    $1,124.70               ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.296.   CLIMA COOL A/C & HEATING                       8/18/2017    $753.26                 ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.297.   CLIMA COOL A/C & HEATING                       8/11/2017    $537.19                 ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.298.   CLIMA COOL A/C & HEATING                       7/28/2017    $1,488.07               ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.299.   CLIMA COOL A/C & HEATING                       7/21/2017    $671.69                 ¨ Secured debt
         PO BOX 76168
         SAN ANTONIO TX 78245                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.300.   COASTAL SUNBELTODUCE LLC                       10/16/2017 $4,501.59                 ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.301.   COASTAL SUNBELTODUCE LLC                       10/10/2017 $4,914.45                 ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.302.   COASTAL SUNBELTODUCE LLC                       10/2/2017    $4,659.41               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.303.   COASTAL SUNBELTODUCE LLC                       9/25/2017    $4,272.00               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.304.   COASTAL SUNBELTODUCE LLC                       9/18/2017    $4,717.69               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.305.   COASTAL SUNBELTODUCE LLC                       9/11/2017    $4,352.92               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.306.   COASTAL SUNBELTODUCE LLC                       9/5/2017     $4,496.38               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.307.   COASTAL SUNBELTODUCE LLC                       8/28/2017    $4,473.59               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.308.   COASTAL SUNBELTODUCE LLC                       8/21/2017    $4,199.01               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.309.   COASTAL SUNBELTODUCE LLC                       8/14/2017    $5,883.64               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.310.   COASTAL SUNBELTODUCE LLC                       8/7/2017     $5,302.54               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.311.   COASTAL SUNBELTODUCE LLC                       7/31/2017    $5,822.85               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.312.   COASTAL SUNBELTODUCE LLC                       7/24/2017    $6,068.10               ¨ Secured debt
         PO BOX 62860
         BALTIMORE MD 21264-2860                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.313.   COLD AIR RESOURCES LLC                         10/6/2017    $1,210.16               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.314.   COLD AIR RESOURCES LLC                         9/29/2017    $1,960.33               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.315.   COLD AIR RESOURCES LLC                         9/22/2017    $1,250.11               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.316.   COLD AIR RESOURCES LLC                         9/15/2017    $3,005.37               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.317.   COLD AIR RESOURCES LLC                         9/8/2017     $2,341.28               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.318.   COLD AIR RESOURCES LLC                         9/1/2017     $1,500.00               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.319.   COLD AIR RESOURCES LLC                         8/25/2017    $2,927.92               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.320.   COLD AIR RESOURCES LLC                         8/22/2017    $889.26                 ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.321.   COLD AIR RESOURCES LLC                         8/11/2017    $1,125.28               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.322.   COLD AIR RESOURCES LLC                         7/26/2017    $3,984.65               ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.323.   COLD AIR RESOURCES LLC                         7/21/2017    $900.00                 ¨ Secured debt
         302 W MAIN STREET
         ROYSE CITY TX 75189                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.324.   COLD TEMP REFRIGERATION INC                    10/13/2017 $1,199.30                 ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.325.   COLD TEMP REFRIGERATION INC                    10/6/2017    $1,395.97               ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.326.   COLD TEMP REFRIGERATION INC                    9/15/2017    $590.70                 ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.327.   COLD TEMP REFRIGERATION INC                    9/1/2017     $742.95                 ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.328.   COLD TEMP REFRIGERATION INC                    8/25/2017    $844.57                 ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.329.   COLD TEMP REFRIGERATION INC                    8/18/2017    $2,377.04               ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.330.   COLD TEMP REFRIGERATION INC                    8/11/2017    $2,199.02               ¨ Secured debt
         PO BOX 608476
         ORLANDO FL 32860                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.331.   COLE REIT III OPERNRSHIP LP                    9/5/2017     $14,896.06              ¨ Secured debt
         2325 E CAMELBACK RD, #1100
         PHOENIX AZ 85016                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.332.   COLE REIT III OPERNRSHIP LP                    8/31/2017    $14,896.06              ¨ Secured debt
         2325 E CAMELBACK RD, #1100
         PHOENIX AZ 85016                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.333.   COLE REIT III OPERNRSHIP LP                    8/29/2017    $24,202.66              ¨ Secured debt
         2325 E CAMELBACK RD, #1100
         PHOENIX AZ 85016                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.334.   COMFORT SYSTEMS USA                            9/1/2017     $1,234.38               ¨ Secured debt
         20 THOMAS DRIVE
         WESTBROOK ME 04092                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.335.   COMFORT SYSTEMS USA                            8/25/2017    $866.23                 ¨ Secured debt
         20 THOMAS DRIVE
         WESTBROOK ME 04092                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.336.   COMFORT SYSTEMS USA                            8/18/2017    $1,279.17               ¨ Secured debt
         20 THOMAS DRIVE
         WESTBROOK ME 04092                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.337.   COMFORT SYSTEMS USA                            8/11/2017    $3,496.21               ¨ Secured debt
         20 THOMAS DRIVE
         WESTBROOK ME 04092                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.338.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/22/2017    $839.96                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.339.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/22/2017    $586.41                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.340.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/22/2017    $395.63                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.341.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/21/2017    $488.20                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.342.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/15/2017    $714.73                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.343.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/15/2017    $709.79                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.344.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/15/2017    $698.88                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.345.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/15/2017    $282.90                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.346.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/15/2017    $256.06                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.347.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/8/2017     $925.80                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.348.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/8/2017    $579.79                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                          ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.349.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/8/2017    $533.92                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                          ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.350.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/8/2017    $412.80                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                          ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.351.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/8/2017    $338.64                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                          ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.352.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/8/2017    $293.21                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                          ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
         Creditor’s name and address                    Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.353.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/1/2017    $851.66                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                          ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.354.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/1/2017     $768.46                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.355.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/1/2017     $200.68                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.356.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/1/2017     $104.93                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.357.   COMMONWEALTH OF PENNSYLVANIA PALCB             9/1/2017     $38.14                  ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.358.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/31/2017    $689.78                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.359.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/31/2017    $536.99                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.360.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/26/2017    $579.79                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.361.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/26/2017    $438.08                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.362.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/26/2017    $431.53                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.363.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/25/2017    $894.20                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.364.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/25/2017    $792.29                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.365.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/25/2017    $543.44                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.366.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/24/2017    $313.43                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.367.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/18/2017    $625.41                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.368.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/18/2017    $603.60                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.369.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/18/2017    $147.81                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.370.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/17/2017    $603.79                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.371.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/17/2017    $481.45                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.372.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/12/2017    $654.43                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.373.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/11/2017    $800.89                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.374.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/11/2017    $592.26                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.375.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/11/2017    $520.72                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.376.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/11/2017    $437.43                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.377.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/6/2017     $102.85                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.378.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/4/2017     $742.44                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.379.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/4/2017     $503.47                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.380.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/4/2017     $484.41                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.381.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/4/2017     $482.44                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.382.   COMMONWEALTH OF PENNSYLVANIA PALCB             8/4/2017     $480.34                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.383.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/29/2017    $468.16                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.384.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/29/2017    $379.66                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.385.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/28/2017    $1,249.14               ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.386.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/28/2017    $765.57                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.387.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/28/2017    $147.81                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.388.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/21/2017    $785.66                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.389.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/21/2017    $533.13                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.390.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/21/2017    $246.55                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.391.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/20/2017    $490.04                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.392.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/20/2017    $353.35                 ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.393.   COMMONWEALTH OF PENNSYLVANIA PALCB             7/20/2017    $17.17                  ¨ Secured debt
         LIQUOR CHECK
         401 NORTHWEST OFFICE BLDG                                                           ¨ Unsecured loan repayments
         HARRISBURG PA 17124                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.394.   COMSAL - TAXPSAVER PLAN                        10/13/2017 $411.43                   ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.395.   COMSAL - TAXPSAVER PLAN                        10/6/2017    $348.75                 ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.396.   COMSAL - TAXPSAVER PLAN                        9/22/2017    $768.00                 ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.397.   COMSAL - TAXPSAVER PLAN                        9/15/2017    $495.77                 ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.398.   COMSAL - TAXPSAVER PLAN                        8/25/2017    $339.45                 ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.399.   COMSAL - TAXPSAVER PLAN                        8/18/2017    $780.00                 ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.400.   COMSAL - TAXPSAVER PLAN                        7/28/2017    $3,764.21               ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.401.   COMSAL - TAXPSAVER PLAN                        7/21/2017    $993.00                 ¨ Secured debt
         PO BOX 609002
         DALLAS TX 75360                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.402.   COSCO FIREOTECTION, INC.                       9/29/2017    $1,579.80               ¨ Secured debt
         1075 W LAMBERT RD, BLDG D
         BREA CA 92821-2944                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.403.   COSCO FIREOTECTION, INC.                       9/22/2017    $1,039.90               ¨ Secured debt
         1075 W LAMBERT RD, BLDG D
         BREA CA 92821-2944                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.404.   COSCO FIREOTECTION, INC.                       9/15/2017    $1,800.00               ¨ Secured debt
         1075 W LAMBERT RD, BLDG D
         BREA CA 92821-2944                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.405.   COSCO FIREOTECTION, INC.                       9/8/2017     $1,216.56               ¨ Secured debt
         1075 W LAMBERT RD, BLDG D
         BREA CA 92821-2944                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.406.   COSCO FIREOTECTION, INC.                       8/25/2017    $756.66                 ¨ Secured debt
         1075 W LAMBERT RD, BLDG D
         BREA CA 92821-2944                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.407.   COSCO FIREOTECTION, INC.                       8/18/2017    $415.00                 ¨ Secured debt
         1075 W LAMBERT RD, BLDG D
         BREA CA 92821-2944                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.408.   COUNTY OF ORANGE                               9/29/2017    $2,113.37               ¨ Secured debt
         PO BOX 4005
         SANTA ANA CA 92702                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.409.   COUNTY OF ORANGE                               8/31/2017    $27,594.29              ¨ Secured debt
         PO BOX 4005
         SANTA ANA CA 92702                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.410.   COZZINI BROS INC (SUPPLY)                      10/13/2017 $2,512.72                 ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.411.   COZZINI BROS INC (SUPPLY)                      10/6/2017    $3,158.05               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.412.   COZZINI BROS INC (SUPPLY)                      9/29/2017    $3,835.70               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.413.   COZZINI BROS INC (SUPPLY)                      9/15/2017    $4,627.79               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.414.   COZZINI BROS INC (SUPPLY)                      9/8/2017     $3,346.52               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.415.   COZZINI BROS INC (SUPPLY)                      9/1/2017     $6,071.69               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.416.   COZZINI BROS INC (SUPPLY)                      8/25/2017    $6,717.65               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.417.   COZZINI BROS INC (SUPPLY)                      8/18/2017    $2,075.91               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.418.   COZZINI BROS INC (SUPPLY)                      8/11/2017    $1,564.67               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.419.   COZZINI BROS INC (SUPPLY)                      8/4/2017     $2,510.40               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.420.   COZZINI BROS INC (SUPPLY)                      7/28/2017    $3,842.80               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.421.   COZZINI BROS INC (SUPPLY)                      7/21/2017    $1,711.24               ¨ Secured debt
         350 HOWARD AVE
         DES PLAINES IL 60018                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.422.   CPY - CHAS P YOUNG COMPANY                     10/13/2017 $20,000.00                ¨ Secured debt
         7810 SOLUTIONS CENTER
         CHICAGO IL 60677-7008                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.423.   CPY - CHAS P YOUNG COMPANY                     9/29/2017    $20,000.00              ¨ Secured debt
         7810 SOLUTIONS CENTER
         CHICAGO IL 60677-7008                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.424.   CPY - CHAS P YOUNG COMPANY                     9/15/2017    $20,000.00              ¨ Secured debt
         7810 SOLUTIONS CENTER
         CHICAGO IL 60677-7008                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.425.   CPY - CHAS P YOUNG COMPANY                     8/25/2017    $22,335.60              ¨ Secured debt
         7810 SOLUTIONS CENTER
         CHICAGO IL 60677-7008                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224

         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.426.   CPY - CHAS P YOUNG COMPANY                       8/11/2017    $16,269.43              ¨ Secured debt
         7810 SOLUTIONS CENTER
         CHICAGO IL 60677-7008                                                                 ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.427.   CPY - CHAS P YOUNG COMPANY                       7/28/2017    $17,516.78              ¨ Secured debt
         7810 SOLUTIONS CENTER
         CHICAGO IL 60677-7008                                                                 ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.428.   CRAIG BURT                                       9/14/2017    $14,079.17              ¨ Secured debt
         1855 BLAKE ST #200
         DENVER CO 80202                                                                       ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.429.   CRUNCHTIME                                       10/12/17     $50,000.00              ¨ Secured debt
         129 PORTLAND STREET
         BOSTON MA 02114                                                                       ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.430.   CSP - CLARK ASSOCIATES                           10/13/2017 $412.86                   ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.431.   CSP - CLARK ASSOCIATES                           10/6/2017    $1,596.85               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.432.   CSP - CLARK ASSOCIATES                         9/29/2017    $3,051.00               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.433.   CSP - CLARK ASSOCIATES                         9/22/2017    $2,130.81               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.434.   CSP - CLARK ASSOCIATES                         9/15/2017    $4,437.23               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.435.   CSP - CLARK ASSOCIATES                         9/8/2017     $4,175.30               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.436.   CSP - CLARK ASSOCIATES                         9/1/2017     $2,324.84               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.437.   CSP - CLARK ASSOCIATES                         8/25/2017    $3,650.38               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.438.   CSP - CLARK ASSOCIATES                         8/18/2017    $3,877.54               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.439.   CSP - CLARK ASSOCIATES                         8/11/2017    $409.94                 ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.440.   CSP - CLARK ASSOCIATES                         7/21/2017    $1,562.37               ¨ Secured debt
         121 KANE STREET
         BALTIMORE MD 21224                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.441.   CWS OVIEDO DEVELOPMENT LLC                     10/2/2017    $17,756.65              ¨ Secured debt
         12302 MARBLEHEAD DRIVE
         TAMPA FL 33626                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.442.   CWS OVIEDO DEVELOPMENT LLC                     9/5/2017     $17,756.65              ¨ Secured debt
         12302 MARBLEHEAD DRIVE
         TAMPA FL 33626                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.443.   CWS OVIEDO DEVELOPMENT LLC                     8/1/2017     $17,756.65              ¨ Secured debt
         12302 MARBLEHEAD DRIVE
         TAMPA FL 33626                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.444.   DARYL FLOOD - VERSA RELOCATION INC.            7/28/2017    $13,853.01              ¨ Secured debt
         450 AIRLINE DRIVE #100
         COPPELL TX 75019                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.445.   DDR CORP DBA DDR WINTER GARDEN                 9/8/2017     $13,179.38              ¨ Secured debt
         DEPT 367045-21146-51876
         PO BOX 37691                                                                        ¨ Unsecured loan repayments
         BALTIMORE MD 21297                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.446.   DEMAND COOLING LLC                             9/22/2017    $2,018.81               ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.447.   DEMAND COOLING LLC                             9/15/2017    $1,376.25               ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.448.   DEMAND COOLING LLC                             9/8/2017     $651.21                 ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.449.   DEMAND COOLING LLC                             9/1/2017     $2,605.92               ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.450.   DEMAND COOLING LLC                             8/25/2017    $1,302.72               ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.451.   DEMAND COOLING LLC                             8/18/2017    $490.72                 ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.452.   DEMAND COOLING LLC                             7/28/2017    $1,171.51               ¨ Secured debt
         2540 GLENDA LANE STE. 112
         DALLAS TX 75229                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.453.   DENVER WEST VILLAGE LP                         9/5/2017     $9,142.20               ¨ Secured debt
         24081 NETWORK PLACE
         CHICAGO IL 60673                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.454.   DENVER WEST VILLAGE LP                         8/1/2017     $9,142.20               ¨ Secured debt
         24081 NETWORK PLACE
         CHICAGO IL 60673                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.455.   DEVELPERS DIVERSIFIED REALTY                   9/5/2017     $10,128.53              ¨ Secured debt
         DEPT 362478-20155-1213
         PO BOX 951049                                                                       ¨ Unsecured loan repayments
         CLEVELAND OH 44193                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.456.   DEVELPERS DIVERSIFIED REALTY                   8/1/2017     $10,128.53              ¨ Secured debt
         DEPT 362478-20155-1213
         PO BOX 951049                                                                       ¨ Unsecured loan repayments
         CLEVELAND OH 44193                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.457.   DIRECTV 008743641                              10/6/2017    $11,961.67              ¨ Secured debt
         PO BOX 105249
         ATLANTA GA 30348-5249                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.458.   DIRECTV 008743641                              9/15/2017    $12,834.82              ¨ Secured debt
         PO BOX 105249
         ATLANTA GA 30348-5249                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.459.   DIRECTV 008743641                              8/11/2017    $15,123.85              ¨ Secured debt
         PO BOX 105249
         ATLANTA GA 30348-5249                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.460.   DIRECTV 008743641                              7/24/2017    $15,036.34              ¨ Secured debt
         PO BOX 105249
         ATLANTA GA 30348-5249                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.461.   DISCOVERLINK INC.                              9/22/2017    $14,936.00              ¨ Secured debt
         1525 KAUTZ ROAD STE. 700
         WEST CHICAGO IL 60185                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.462.   DMX INC                                        10/17/2017 $3,082.20                 ¨ Secured debt
         PO BOX 602777
         CHARLOTTE NC 28260-2777                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.463.   DMX INC                                        9/29/2017    $190.00                 ¨ Secured debt
         PO BOX 602777
         CHARLOTTE NC 28260-2777                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.464.   DMX INC                                        9/22/2017    $275.00                 ¨ Secured debt
         PO BOX 602777
         CHARLOTTE NC 28260-2777                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.465.   DMX INC                                        9/15/2017    $6,511.06               ¨ Secured debt
         PO BOX 602777
         CHARLOTTE NC 28260-2777                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.466.   DMX INC                                        8/25/2017    $3,759.20               ¨ Secured debt
         PO BOX 602777
         CHARLOTTE NC 28260-2777                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.467.   DMX INC                                        8/18/2017    $237.50                 ¨ Secured debt
         PO BOX 602777
         CHARLOTTE NC 28260-2777                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.468.   DON KENT TRESURER                              8/31/2017    $14,231.75              ¨ Secured debt
         4080 LEMON ST (1ST FLOOR)
         PO BOX 12005                                                                        ¨ Unsecured loan repayments
         RIVERSIDE CA 92502-2205                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.469.   DUCK DELIVERY OF WASHINGTON INC                10/16/2017 $1,240.68                 ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.470.   DUCK DELIVERY OF WASHINGTON INC                10/10/2017 $678.98                   ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.471.   DUCK DELIVERY OF WASHINGTON INC                10/2/2017    $2,208.00               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.472.   DUCK DELIVERY OF WASHINGTON INC                9/25/2017    $1,390.74               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.473.   DUCK DELIVERY OF WASHINGTON INC                9/18/2017    $2,795.99               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.474.   DUCK DELIVERY OF WASHINGTON INC                9/11/2017    $530.51                 ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.475.   DUCK DELIVERY OF WASHINGTON INC                9/5/2017     $994.35                 ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.476.   DUCK DELIVERY OF WASHINGTON INC                8/28/2017    $1,076.92               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.477.   DUCK DELIVERY OF WASHINGTON INC                8/21/2017    $1,414.32               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.478.   DUCK DELIVERY OF WASHINGTON INC                8/14/2017    $2,268.97               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.479.   DUCK DELIVERY OF WASHINGTON INC                8/7/2017     $1,089.89               ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.480.   DUCK DELIVERY OF WASHINGTON INC                7/31/2017    $738.22                 ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.481.   DUCK DELIVERY OF WASHINGTON INC                7/24/2017    $634.87                 ¨ Secured debt
         1509 45TH STREET E
         SUMNER WA 98390                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.482.   DUFF PHELPS SECURITIES                         11/8/17      $57,000.00              ¨ Secured debt
         10100 SANTA MONICA BLVD
         LOS ANGELES CA 90067                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.483.   DUNBAR ARMORED INC                             10/13/2017 $2,429.80                 ¨ Secured debt
         PO BOX 64115
         BALTIMORE MD 21264                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.484.   DUNBAR ARMORED INC                             9/8/2017     $1,956.83               ¨ Secured debt
         PO BOX 64115
         BALTIMORE MD 21264                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.485.   DUNBAR ARMORED INC                             8/25/2017    $1,980.75               ¨ Secured debt
         PO BOX 64115
         BALTIMORE MD 21264                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.486.   DUNBAR ARMORED INC                             8/18/2017    $2,029.20               ¨ Secured debt
         PO BOX 64115
         BALTIMORE MD 21264                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.487.   DUNBAR ARMORED INC                             7/28/2017    $2,014.27               ¨ Secured debt
         PO BOX 64115
         BALTIMORE MD 21264                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.488.   ECOLAB EQUIPMENT CARE (PROFESSION)             10/6/2017    $1,074.11               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.489.   ECOLAB EQUIPMENT CARE (PROFESSION)             9/29/2017    $1,502.30               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.490.   ECOLAB EQUIPMENT CARE (PROFESSION)             9/8/2017     $2,073.44               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.491.   ECOLAB EQUIPMENT CARE (PROFESSION)             9/1/2017     $1,667.02               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.492.   ECOLAB EQUIPMENT CARE (PROFESSION)             8/25/2017    $2,083.20               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.493.   ECOLAB EQUIPMENT CARE (PROFESSION)             8/18/2017    $1,333.03               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.494.   ECOLAB EQUIPMENT CARE (PROFESSION)             8/11/2017    $1,881.84               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.495.   ECOLAB EQUIPMENT CARE (PROFESSION)             8/4/2017     $1,886.11               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.496.   ECOLAB EQUIPMENT CARE (PROFESSION)             7/28/2017    $1,806.31               ¨ Secured debt
         GCS SERVICE INC.
         24673 NETWORK PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60673                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.497.   ECOLAB INC (PROFESSION)                        9/29/2017    $17,832.15              ¨ Secured debt
         PO BOX 70343
         CHICAGO IL 60673                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.498.   ECOLAB INC (PROFESSION)                        9/22/2017    $30,033.86              ¨ Secured debt
         PO BOX 70343
         CHICAGO IL 60673                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.499.   ECOLAB INC (PROFESSION)                        9/1/2017     $31,012.81              ¨ Secured debt
         PO BOX 70343
         CHICAGO IL 60673                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.500.   ECOLAB INC (PROFESSION)                        7/28/2017    $25,330.77              ¨ Secured debt
         PO BOX 70343
         CHICAGO IL 60673                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.501.   ECOLAB INC. DBA ECOSURE                        9/15/2017    $14,805.00              ¨ Secured debt
         1601 W DIELHL ROAD
         NAPERVILLE IL 60563                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.502.   ECOLAB INC. DBA ECOSURE                        9/8/2017     $11,025.00              ¨ Secured debt
         1601 W DIELHL ROAD
         NAPERVILLE IL 60563                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.503.   ECOLAB PEST ELIMINATION (PROFESSION)           10/6/2017    $3,127.71               ¨ Secured debt
         26252 NETWORK PLACE
         CHICAGO IL 60673-1262                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.504.   ECOLAB PEST ELIMINATION (PROFESSION)           9/29/2017    $3,116.40               ¨ Secured debt
         26252 NETWORK PLACE
         CHICAGO IL 60673-1262                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.505.   ECOLAB PEST ELIMINATION (PROFESSION)           8/18/2017    $32,437.03              ¨ Secured debt
         26252 NETWORK PLACE
         CHICAGO IL 60673-1262                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.506.   ECOLAB PEST ELIMINATION (PROFESSION)           7/21/2017    $34,604.83              ¨ Secured debt
         26252 NETWORK PLACE
         CHICAGO IL 60673-1262                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.507.   EDENS LIMITED PARTNERSHIP                      10/3/2017    $8,416.67               ¨ Secured debt
         1155 LAKE WOODLANDS DRIVE LLC
         PO BOX 536856                                                                       ¨ Unsecured loan repayments
         ATLANTA GA 30353                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.508.   EDENS LIMITED PARTNERSHIP                      9/5/2017     $8,416.67               ¨ Secured debt
         1155 LAKE WOODLANDS DRIVE LLC
         PO BOX 536856                                                                       ¨ Unsecured loan repayments
         ATLANTA GA 30353                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.509.   EDENS LIMITED PARTNERSHIP                      8/11/2017    $8,416.67               ¨ Secured debt
         1155 LAKE WOODLANDS DRIVE LLC
         PO BOX 536856                                                                       ¨ Unsecured loan repayments
         ATLANTA GA 30353                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.510.   EDWARD DON & COMPANY (SUPPLY)                  10/13/2017 $67,307.02                ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.511.   EDWARD DON & COMPANY (SUPPLY)                  10/6/2017    $67,922.19              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.512.   EDWARD DON & COMPANY (SUPPLY)                  9/29/2017    $77,540.54              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.513.   EDWARD DON & COMPANY (SUPPLY)                  9/22/2017    $66,720.33              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.514.   EDWARD DON & COMPANY (SUPPLY)                  9/15/2017    $88,183.08              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.515.   EDWARD DON & COMPANY (SUPPLY)                  9/8/2017     $59,805.33              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.516.   EDWARD DON & COMPANY (SUPPLY)                  9/5/2017     $1,453.87               ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.517.   EDWARD DON & COMPANY (SUPPLY)                  9/1/2017     $57,477.83              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.518.   EDWARD DON & COMPANY (SUPPLY)                  8/25/2017    $72,758.13              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.519.   EDWARD DON & COMPANY (SUPPLY)                  8/18/2017    $54,978.51              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.520.   EDWARD DON & COMPANY (SUPPLY)                  8/11/2017    $66,841.02              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.521.   EDWARD DON & COMPANY (SUPPLY)                  8/4/2017     $52,723.83              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.522.   EDWARD DON & COMPANY (SUPPLY)                  7/28/2017    $71,016.39              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.523.   EDWARD DON & COMPANY (SUPPLY)                  7/21/2017    $66,614.47              ¨ Secured debt
         2562 PAYSPHERE CIRCLE
         CHICAGO IL 60674                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.524.   EKS & H LLLP                                   10/6/2017    $3,406.00               ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.525.   EKS & H LLLP                                   9/29/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.526.   EKS & H LLLP                                   9/22/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.527.   EKS & H LLLP                                   9/15/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.528.   EKS & H LLLP                                   9/8/2017     $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.529.   EKS & H LLLP                                   9/1/2017     $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.530.   EKS & H LLLP                                   8/25/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.531.   EKS & H LLLP                                   8/18/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.532.   EKS & H LLLP                                   8/11/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.533.   EKS & H LLLP                                   8/4/2017     $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.534.   EKS & H LLLP                                   7/28/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.535.   EKS & H LLLP                                   7/21/2017    $10,000.00              ¨ Secured debt
         8181 EAST TUFTS AVE SUITE 600
         DENVER CO 80237                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.536.   ELSA CARENBAUER                                10/6/2017    $2,850.00               ¨ Secured debt
         2073 N. DOWNING ST
         DENVER CO 80205                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.537.   ELSA CARENBAUER                                9/22/2017    $150.00                 ¨ Secured debt
         2073 N. DOWNING ST
         DENVER CO 80205                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.538.   ELSA CARENBAUER                                9/15/2017    $2,175.00               ¨ Secured debt
         2073 N. DOWNING ST
         DENVER CO 80205                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.539.   ELSA CARENBAUER                                9/1/2017     $1,905.00               ¨ Secured debt
         2073 N. DOWNING ST
         DENVER CO 80205                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.540.   ELSA CARENBAUER                                8/11/2017    $1,275.00               ¨ Secured debt
         2073 N. DOWNING ST
         DENVER CO 80205                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.541.   ELSA CARENBAUER                                7/28/2017    $2,025.00               ¨ Secured debt
         2073 N. DOWNING ST
         DENVER CO 80205                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.542.   EMERGENCY PLUMBING SERVICE                     9/22/2017    $2,094.98               ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.543.   EMERGENCY PLUMBING SERVICE                     9/15/2017    $2,323.16               ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.544.   EMERGENCY PLUMBING SERVICE                     9/8/2017     $580.57                 ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.545.   EMERGENCY PLUMBING SERVICE                     9/1/2017     $1,283.00               ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.546.   EMERGENCY PLUMBING SERVICE                     8/25/2017    $836.38                 ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.547.   EMERGENCY PLUMBING SERVICE                     8/18/2017    $2,653.65               ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.548.   EMERGENCY PLUMBING SERVICE                     8/11/2017    $505.13                 ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.549.   EMERGENCY PLUMBING SERVICE                     7/28/2017    $2,206.89               ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.550.   EMERGENCY PLUMBING SERVICE                     7/21/2017    $2,895.48               ¨ Secured debt
         C/O CRESTMARK BANK
         DRAWER #2176 PO BOX 5935                                                            ¨ Unsecured loan repayments
         TROY MI 48007-5935                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.551.   EMPIRE MERCHANTS NORTH LLC                     9/22/2017    $389.10                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.552.   EMPIRE MERCHANTS NORTH LLC                     9/21/2017    $820.27                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.553.   EMPIRE MERCHANTS NORTH LLC                     9/15/2017    $1,674.29               ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.554.   EMPIRE MERCHANTS NORTH LLC                     9/8/2017     $156.00                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.555.   EMPIRE MERCHANTS NORTH LLC                     9/1/2017     $611.59                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.556.   EMPIRE MERCHANTS NORTH LLC                     8/25/2017    $549.65                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.557.   EMPIRE MERCHANTS NORTH LLC                     8/14/2017    $2,049.56               ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224

         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.558.   EMPIRE MERCHANTS NORTH LLC                       8/4/2017     $129.60                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.559.   EMPIRE MERCHANTS NORTH LLC                       7/28/2017    $759.54                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.560.   EMPIRE MERCHANTS NORTH LLC                       7/28/2017    $147.66                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.561.   EMPIRE MERCHANTS NORTH LLC                       7/27/2017    $147.66                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.562.   EMPIRE MERCHANTS NORTH LLC                       7/21/2017    $906.66                 ¨ Secured debt
         PO BOX 10
         COXSACKIE NY 12051-0010                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.563.   EPIC SERVICES LLC                                10/13/2017 $1,313.39                 ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224

         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.564.   EPIC SERVICES LLC                                10/6/2017    $2,452.47               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.565.   EPIC SERVICES LLC                                9/29/2017    $4,426.36               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.566.   EPIC SERVICES LLC                                9/22/2017    $4,136.03               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.567.   EPIC SERVICES LLC                                9/15/2017    $5,072.93               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.568.   EPIC SERVICES LLC                                9/8/2017     $3,499.07               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.569.   EPIC SERVICES LLC                                9/1/2017     $4,784.69               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224

         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.570.   EPIC SERVICES LLC                                8/25/2017    $2,977.67               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.571.   EPIC SERVICES LLC                                8/18/2017    $10,821.00              ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.572.   EPIC SERVICES LLC                                8/11/2017    $6,219.01               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.573.   EPIC SERVICES LLC                                8/4/2017     $2,128.80               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.574.   EPIC SERVICES LLC                                7/21/2017    $1,770.78               ¨ Secured debt
         PO BOX 1015
         KAYSVILLE UT 84037                                                                    ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
         Creditor’s name and address                      Dates        Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.575.   EVCO HEATING & AIR CONDITIONING, INC.            10/13/2017 $1,021.04                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                   ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.576.   EVCO HEATING & AIR CONDITIONING, INC.          10/6/2017    $1,070.00               ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.577.   EVCO HEATING & AIR CONDITIONING, INC.          9/29/2017    $975.00                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.578.   EVCO HEATING & AIR CONDITIONING, INC.          9/22/2017    $3,776.32               ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.579.   EVCO HEATING & AIR CONDITIONING, INC.          9/15/2017    $1,323.44               ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.580.   EVCO HEATING & AIR CONDITIONING, INC.          9/8/2017     $444.00                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.581.   EVCO HEATING & AIR CONDITIONING, INC.          9/1/2017     $490.00                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.582.   EVCO HEATING & AIR CONDITIONING, INC.          8/25/2017    $1,103.60               ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.583.   EVCO HEATING & AIR CONDITIONING, INC.          8/18/2017    $744.80                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.584.   EVCO HEATING & AIR CONDITIONING, INC.          8/11/2017    $711.02                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.585.   EVCO HEATING & AIR CONDITIONING, INC.          8/4/2017     $815.00                 ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.586.   EVCO HEATING & AIR CONDITIONING, INC.          7/28/2017    $2,275.00               ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.587.   EVCO HEATING & AIR CONDITIONING, INC.          7/21/2017    $1,473.00               ¨ Secured debt
         8863 GREENBACK LANE, #330
         ORANGEVALE CA 95662                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.588.   EVENT TRAVEL MANAGEMENT, R&A TRAVEL            10/4/2017    $75,000.00              ¨ Secured debt
         INC.
         4500 CHERRY CREEK DRIVE S, STE. 900                                                 ¨ Unsecured loan repayments
         GLENDALE CO 80246                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.589.   EVENT TRAVEL MANAGEMENT, R&A TRAVEL            8/31/2017    $48,192.74              ¨ Secured debt
         INC.
         4500 CHERRY CREEK DRIVE S, STE. 900                                                 ¨ Unsecured loan repayments
         GLENDALE CO 80246                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.590.   EWH ESCONDIDO ASSOCIATES LP                    9/12/2017    $16,167.66              ¨ Secured debt
         C/O WESTFIELD SHOPPINGTOWN LLC
         FILE #55697                                                                         ¨ Unsecured loan repayments
         LOS ANGELES CA 90074                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.591.   EWH ESCONDIDO ASSOCIATES LP                    8/11/2017    $16,167.66              ¨ Secured debt
         C/O WESTFIELD SHOPPINGTOWN LLC
         FILE #55697                                                                         ¨ Unsecured loan repayments
         LOS ANGELES CA 90074                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.592.   FACILITY SOLUTIONS GROUP INC ACH               10/13/2017 $5,126.92                 ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.593.   FACILITY SOLUTIONS GROUP INC ACH               9/29/2017    $3,342.95               ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.594.   FACILITY SOLUTIONS GROUP INC ACH               9/8/2017     $574.63                 ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.595.   FACILITY SOLUTIONS GROUP INC ACH               9/1/2017     $6,314.68               ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.596.   FACILITY SOLUTIONS GROUP INC ACH               8/18/2017    $6,889.91               ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.597.   FACILITY SOLUTIONS GROUP INC ACH               8/11/2017    $6,171.20               ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.598.   FACILITY SOLUTIONS GROUP INC ACH               8/4/2017     $8,140.13               ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.599.   FACILITY SOLUTIONS GROUP INC ACH               7/28/2017    $16,999.44              ¨ Secured debt
         (SUPPLY)
         PO BOX 896508                                                                       ¨ Unsecured loan repayments
         CHARLOTTE NC 28289                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.600.   FEDERAL HEATH SIGN CO                          9/29/2017    $1,780.00               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.601.   FEDERAL HEATH SIGN CO                          9/15/2017    $1,990.00               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.602.   FEDERAL HEATH SIGN CO                          9/8/2017     $1,983.40               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.603.   FEDERAL HEATH SIGN CO                          9/1/2017     $890.35                 ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.604.   FEDERAL HEATH SIGN CO                          8/25/2017    $2,915.57               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.605.   FEDERAL HEATH SIGN CO                          8/18/2017    $1,784.21               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.606.   FEDERAL HEATH SIGN CO                          8/11/2017    $2,537.66               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.607.   FEDERAL HEATH SIGN CO                          7/28/2017    $2,622.89               ¨ Secured debt
         DEPT 41283, PO BOX 650823
         DALLAS TX 75265                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.608.   FEDEX                                          10/13/2017 $5,641.59                 ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.609.   FEDEX                                          10/6/2017    $6,398.82               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.610.   FEDEX                                          9/29/2017    $4,863.45               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.611.   FEDEX                                          9/22/2017    $4,255.09               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.612.   FEDEX                                          9/15/2017    $4,823.18               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.613.   FEDEX                                          8/25/2017    $16,336.61              ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.614.   FEDEX                                          8/18/2017    $8,252.75               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.615.   FEDEX                                          8/11/2017    $13,406.17              ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.616.   FEDEX                                          8/4/2017     $19,175.74              ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.617.   FEDEX                                          7/28/2017    $4,553.17               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.618.   FEDEX                                          7/21/2017    $5,847.10               ¨ Secured debt
         PO BOX 660481
         DALLAS TX 75266                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.619.   FINTECH                                        10/20/17     $4,512.70               ¨ Secured debt
         3109 W. DR. MARTIN LUTHER KING BLVD
         TAMPA FL 33607                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.620.   FINTECH                                        10/23/17     $433.01                 ¨ Secured debt
         3109 W DR MARTIN LUTHER KING BVD
         TAMPA FL 33607                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.621.   FINTECH                                        7/19/17      $264.00                 ¨ Secured debt
         3109 W DR MARTIN LUTHER KING JR
         TAMPA FL 33607                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.622.   FIREHOUSE BLOCK, LLC                           9/12/2017    $34,315.49              ¨ Secured debt
         C/O MCWHINNEY REAL ESTATE SERVICES, INC.
         2725 ROCKY MOUNTAIN AVE., STE. 200                                                  ¨ Unsecured loan repayments
         LOVELAND CO 80538                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.623.   FIREHOUSE BLOCK, LLC                           8/11/2017    $34,315.49              ¨ Secured debt
         C/O MCWHINNEY REAL ESTATE SERVICES, INC.
         2725 ROCKY MOUNTAIN AVE., STE. 200                                                  ¨ Unsecured loan repayments
         LOVELAND CO 80538                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.624.   FIRST MICHIGAN MAC ASSOCIATES LLC              9/5/2017     $11,863.28              ¨ Secured debt
         80 NASHUA ROADS STE. 24
         LONDONDERRY NH 03053                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.625.   FIRST MICHIGAN MAC ASSOCIATES LLC              8/1/2017     $11,863.28              ¨ Secured debt
         80 NASHUA ROADS STE. 24
         LONDONDERRY NH 03053                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.626.   FISHBOWL INC                                   10/6/2017    $12,913.44              ¨ Secured debt
         PO BOX 740513
         ATLANTA GA 30374-0513                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.627.   FISHBOWL INC                                   9/15/2017    $12,917.88              ¨ Secured debt
         PO BOX 740513
         ATLANTA GA 30374-0513                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.628.   FISHBOWL INC                                   8/18/2017    $12,802.08              ¨ Secured debt
         PO BOX 740513
         ATLANTA GA 30374-0513                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.629.   FISHBOWL INC                                   7/28/2017    $13,513.56              ¨ Secured debt
         PO BOX 740513
         ATLANTA GA 30374-0513                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.630.   FITZGERALD PETERSEN COMMUNICATIONS             9/29/2017    $5,000.00               ¨ Secured debt
         INC.
         7033 E BUCKNELL PLACE                                                               ¨ Unsecured loan repayments
         DENVER CO 80224                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.631.   FITZGERALD PETERSEN COMMUNICATIONS             9/1/2017     $5,000.00               ¨ Secured debt
         INC.
         7033 E BUCKNELL PLACE                                                               ¨ Unsecured loan repayments
         DENVER CO 80224                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.632.   FITZGERALD PETERSEN COMMUNICATIONS             8/4/2017     $5,170.00               ¨ Secured debt
         INC.
         7033 E BUCKNELL PLACE                                                               ¨ Unsecured loan repayments
         DENVER CO 80224                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.633.   FIX RIGHT LLC                                  10/6/2017    $241.88                 ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.634.   FIX RIGHT LLC                                  9/22/2017    $847.77                 ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.635.   FIX RIGHT LLC                                  9/15/2017    $1,730.49               ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.636.   FIX RIGHT LLC                                  9/8/2017     $359.49                 ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.637.   FIX RIGHT LLC                                  9/1/2017     $994.50                 ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.638.   FIX RIGHT LLC                                  8/25/2017    $2,199.31               ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.639.   FIX RIGHT LLC                                  8/18/2017    $873.57                 ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.640.   FIX RIGHT LLC                                  7/28/2017    $1,031.05               ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.641.   FIX RIGHT LLC                                  7/21/2017    $801.51                 ¨ Secured debt
         10 LA POBLANA ROAD NW
         ALBUQUERQUE NM 87107                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.642.   FLUSHING QUAIL LLC                             9/21/2017    $9,618.00               ¨ Secured debt
         PO BOX 82515
         C/O LEE JAMISON                                                                     ¨ Unsecured loan repayments
         BAKERSFIELD CA 93380                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.643.   FLUSHING QUAIL LLC                             9/8/2017     $9,618.00               ¨ Secured debt
         PO BOX 82515
         C/O LEE JAMISON                                                                     ¨ Unsecured loan repayments
         BAKERSFIELD CA 93380                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.644.   FORESTWOOD FARM INC                            10/16/2017 $470.36                   ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.645.   FORESTWOOD FARM INC                            10/10/2017 $1,109.09                 ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.646.   FORESTWOOD FARM INC                            10/2/2017    $408.93                 ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.647.   FORESTWOOD FARM INC                            9/25/2017    $1,280.24               ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.648.   FORESTWOOD FARM INC                            9/18/2017    $1,118.07               ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.649.   FORESTWOOD FARM INC                            9/11/2017    $1,037.74               ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.650.   FORESTWOOD FARM INC                            9/5/2017     $917.13                 ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.651.   FORESTWOOD FARM INC                            8/28/2017    $807.28                 ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.652.   FORESTWOOD FARM INC                            8/7/2017     $678.91                 ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.653.   FORESTWOOD FARM INC                            7/31/2017    $2,164.44               ¨ Secured debt
         PO BOX 310728
         BIRMINGHAM AL 35231                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.654.   FRANKLIN MACHINEODUCTS INC                     10/13/2017 $3,037.27                 ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.655.   FRANKLIN MACHINEODUCTS INC                     10/6/2017    $3,694.84               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.656.   FRANKLIN MACHINEODUCTS INC                     9/29/2017    $4,205.09               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.657.   FRANKLIN MACHINEODUCTS INC                     9/22/2017    $4,913.44               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.658.   FRANKLIN MACHINEODUCTS INC                     9/8/2017     $3,909.87               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.659.   FRANKLIN MACHINEODUCTS INC                     9/1/2017     $5,879.82               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.660.   FRANKLIN MACHINEODUCTS INC                     8/25/2017    $2,856.00               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.661.   FRANKLIN MACHINEODUCTS INC                     8/18/2017    $2,663.49               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.662.   FRANKLIN MACHINEODUCTS INC                     8/11/2017    $2,841.96               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.663.   FRANKLIN MACHINEODUCTS INC                     8/4/2017     $1,124.49               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.664.   FRANKLIN MACHINEODUCTS INC                     7/28/2017    $2,695.93               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.665.   FRANKLIN MACHINEODUCTS INC                     7/21/2017    $3,134.63               ¨ Secured debt
         PO BOX 781570
         PHILADELPHIA PA 19178                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.666.   FREDERICK WESTVIEWOPERTIES                     9/12/2017    $14,467.96              ¨ Secured debt
         PO BOX 4835
         TIMONIUM MD 21094                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.667.   FREDERICK WESTVIEWOPERTIES                     8/11/2017    $14,427.38              ¨ Secured debt
         PO BOX 4835
         TIMONIUM MD 21094                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.668.   FRESHPOINT ATLANTA                             10/16/2017 $3,012.51                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.669.   FRESHPOINT ATLANTA                             10/10/2017 $2,663.09                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.670.   FRESHPOINT ATLANTA                             10/2/2017    $3,402.10               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.671.   FRESHPOINT ATLANTA                             9/25/2017    $3,886.54               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.672.   FRESHPOINT ATLANTA                             9/18/2017    $3,272.72               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.673.   FRESHPOINT ATLANTA                             9/11/2017    $2,613.90               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.674.   FRESHPOINT ATLANTA                             9/5/2017     $3,480.65               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.675.   FRESHPOINT ATLANTA                             8/28/2017    $2,333.50               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.676.   FRESHPOINT ATLANTA                             8/21/2017    $2,497.07               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.677.   FRESHPOINT ATLANTA                             8/14/2017    $3,344.08               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.678.   FRESHPOINT ATLANTA                             8/7/2017     $2,483.22               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.679.   FRESHPOINT ATLANTA                             7/31/2017    $2,304.34               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.680.   FRESHPOINT ATLANTA                             7/24/2017    $2,912.24               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.681.   FRESHPOINT CENTRAL CALIFORNIA                  10/16/2017 $11,161.28                ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.682.   FRESHPOINT CENTRAL CALIFORNIA                  10/10/2017 $9,428.60                 ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.683.   FRESHPOINT CENTRAL CALIFORNIA                  10/2/2017    $10,948.11              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.684.   FRESHPOINT CENTRAL CALIFORNIA                  9/25/2017    $10,325.75              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.685.   FRESHPOINT CENTRAL CALIFORNIA                  9/18/2017    $12,276.66              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.686.   FRESHPOINT CENTRAL CALIFORNIA                  9/11/2017    $13,372.75              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.687.   FRESHPOINT CENTRAL CALIFORNIA                  9/5/2017     $11,792.69              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.688.   FRESHPOINT CENTRAL CALIFORNIA                  8/28/2017    $3,794.66               ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.689.   FRESHPOINT CENTRAL CALIFORNIA                  8/21/2017    $912.56                 ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.690.   FRESHPOINT CENTRAL CALIFORNIA                  8/14/2017    $6,559.47               ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.691.   FRESHPOINT CENTRAL CALIFORNIA                  8/7/2017     $11,331.80              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.692.   FRESHPOINT CENTRAL CALIFORNIA                  7/31/2017    $19,844.36              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.693.   FRESHPOINT CENTRAL CALIFORNIA                  7/24/2017    $14,212.74              ¨ Secured debt
         5900 N GOLDEN STATE BLVD
         TURLOCK CA 95382                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.694.   FRESHPOINT CENTRAL FL                          10/16/2017 $4,052.53                 ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.695.   FRESHPOINT CENTRAL FL                          10/10/2017 $3,734.46                 ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.696.   FRESHPOINT CENTRAL FL                          10/2/2017    $3,671.64               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.697.   FRESHPOINT CENTRAL FL                          9/25/2017    $4,164.94               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.698.   FRESHPOINT CENTRAL FL                          9/18/2017    $4,357.76               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.699.   FRESHPOINT CENTRAL FL                          9/11/2017    $4,203.39               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.700.   FRESHPOINT CENTRAL FL                          9/5/2017     $3,380.43               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.701.   FRESHPOINT CENTRAL FL                          8/28/2017    $3,941.84               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.702.   FRESHPOINT CENTRAL FL                          8/21/2017    $3,828.78               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.703.   FRESHPOINT CENTRAL FL                          8/14/2017    $3,838.64               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.704.   FRESHPOINT CENTRAL FL                          8/7/2017     $3,924.28               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.705.   FRESHPOINT CENTRAL FL                          7/31/2017    $4,746.96               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.706.   FRESHPOINT CENTRAL FL                          7/24/2017    $4,242.65               ¨ Secured debt
         8801 EXCHANGE DRIVE
         ORLANDO FL 32809                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.707.   FRESHPOINT CHARLOTTE CORP                      10/16/2017 $1,730.83                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.708.   FRESHPOINT CHARLOTTE CORP                      10/10/2017 $1,652.33                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.709.   FRESHPOINT CHARLOTTE CORP                      10/2/2017    $1,881.57               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.710.   FRESHPOINT CHARLOTTE CORP                      9/25/2017    $1,619.76               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.711.   FRESHPOINT CHARLOTTE CORP                      9/18/2017    $1,140.64               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.712.   FRESHPOINT CHARLOTTE CORP                      9/15/2017    $127.80                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.713.   FRESHPOINT CHARLOTTE CORP                      9/14/2017    $1,025.16               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.714.   FRESHPOINT CHARLOTTE CORP                      9/11/2017    $1,411.23               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.715.   FRESHPOINT CHARLOTTE CORP                      9/5/2017     $1,835.53               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.716.   FRESHPOINT CHARLOTTE CORP                      8/28/2017    $1,666.30               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.717.   FRESHPOINT CHARLOTTE CORP                      8/21/2017    $1,527.34               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.718.   FRESHPOINT CHARLOTTE CORP                      8/14/2017    $318.02                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.719.   FRESHPOINT CHARLOTTE CORP                      7/31/2017    $765.64                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.720.   FRESHPOINT DALLAS INC                          10/16/2017 $6,132.37                 ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.721.   FRESHPOINT DALLAS INC                          10/10/2017 $8,147.29                 ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.722.   FRESHPOINT DALLAS INC                          10/2/2017    $7,604.14               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.723.   FRESHPOINT DALLAS INC                          9/25/2017    $7,830.81               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.724.   FRESHPOINT DALLAS INC                          9/18/2017    $6,877.57               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.725.   FRESHPOINT DALLAS INC                          9/11/2017    $7,861.56               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.726.   FRESHPOINT DALLAS INC                          9/5/2017     $7,571.05               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.727.   FRESHPOINT DALLAS INC                          8/28/2017    $6,225.47               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.728.   FRESHPOINT DALLAS INC                          8/21/2017    $8,121.14               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.729.   FRESHPOINT DALLAS INC                          8/14/2017    $5,848.88               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.730.   FRESHPOINT DALLAS INC                          8/7/2017     $6,898.73               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.731.   FRESHPOINT DALLAS INC                          7/31/2017    $7,558.59               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.732.   FRESHPOINT DALLAS INC                          7/24/2017    $7,568.16               ¨ Secured debt
         4721 SIMONTON ROAD
         DALLAS TX 75244                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.733.   FRESHPOINT DENVER INC                          10/16/2017 $5,901.91                 ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.734.   FRESHPOINT DENVER INC                          10/10/2017 $4,925.71                 ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.735.   FRESHPOINT DENVER INC                          10/2/2017    $5,141.96               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.736.   FRESHPOINT DENVER INC                          9/25/2017    $4,657.34               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.737.   FRESHPOINT DENVER INC                          9/18/2017    $6,131.08               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.738.   FRESHPOINT DENVER INC                          9/11/2017    $5,947.91               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.739.   FRESHPOINT DENVER INC                          9/5/2017     $5,282.16               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.740.   FRESHPOINT DENVER INC                          8/28/2017    $3,221.52               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.741.   FRESHPOINT DENVER INC                          8/21/2017    $2,400.33               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.742.   FRESHPOINT DENVER INC                          8/14/2017    $1,466.85               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.743.   FRESHPOINT DENVER INC                          8/7/2017     $3,539.31               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.744.   FRESHPOINT DENVER INC                          7/31/2017    $11,755.34              ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.745.   FRESHPOINT DENVER INC                          7/24/2017    $9,272.23               ¨ Secured debt
         PO BOX 815219
         DALLAS TX 75381                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.746.   FRESHPOINT NASHVILLE                           10/16/2017 $2,089.36                 ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.747.   FRESHPOINT NASHVILLE                           10/10/2017 $1,853.36                 ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.748.   FRESHPOINT NASHVILLE                           10/2/2017    $2,168.09               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.749.   FRESHPOINT NASHVILLE                           9/25/2017    $1,852.31               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.750.   FRESHPOINT NASHVILLE                           9/18/2017    $1,610.40               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.751.   FRESHPOINT NASHVILLE                           9/11/2017    $1,617.21               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.752.   FRESHPOINT NASHVILLE                           9/5/2017     $2,685.66               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.753.   FRESHPOINT NASHVILLE                           8/28/2017    $1,568.66               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.754.   FRESHPOINT NASHVILLE                           8/21/2017    $1,460.16               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.755.   FRESHPOINT NASHVILLE                           8/14/2017    $2,114.07               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.756.   FRESHPOINT NASHVILLE                           8/7/2017     $1,842.03               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.757.   FRESHPOINT NASHVILLE                           7/31/2017    $1,889.09               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.758.   FRESHPOINT NASHVILLE                           7/24/2017    $1,216.36               ¨ Secured debt
         740 MASSMAN DRIVE
         NASHVILLE TN 37210                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.759.   FRESHPOINT OF LAS VEGAS                        10/16/2017 $1,117.22                 ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.760.   FRESHPOINT OF LAS VEGAS                        10/10/2017 $1,383.88                 ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.761.   FRESHPOINT OF LAS VEGAS                        10/2/2017    $2,573.47               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.762.   FRESHPOINT OF LAS VEGAS                        9/25/2017    $1,764.31               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.763.   FRESHPOINT OF LAS VEGAS                        9/18/2017    $1,279.24               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.764.   FRESHPOINT OF LAS VEGAS                        9/11/2017    $1,502.15               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.765.   FRESHPOINT OF LAS VEGAS                        9/5/2017     $1,784.72               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.766.   FRESHPOINT OF LAS VEGAS                        8/28/2017    $535.84                 ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.767.   FRESHPOINT OF LAS VEGAS                        8/21/2017    $1,190.16               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.768.   FRESHPOINT OF LAS VEGAS                        8/14/2017    $446.73                 ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.769.   FRESHPOINT OF LAS VEGAS                        7/31/2017    $988.30                 ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.770.   FRESHPOINT OF LAS VEGAS                        7/24/2017    $1,826.57               ¨ Secured debt
         155 N. ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.771.   FRESHPOINT OF SO. CA                           10/16/2017 $15,391.77                ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.772.   FRESHPOINT OF SO. CA                           10/10/2017 $16,957.62                ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.773.   FRESHPOINT OF SO. CA                           10/2/2017    $15,542.34              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.774.   FRESHPOINT OF SO. CA                           9/25/2017    $14,939.40              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.775.   FRESHPOINT OF SO. CA                           9/18/2017    $17,126.53              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.776.   FRESHPOINT OF SO. CA                           9/11/2017    $15,676.76              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.777.   FRESHPOINT OF SO. CA                           9/5/2017     $14,158.53              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.778.   FRESHPOINT OF SO. CA                           8/28/2017    $15,057.33              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.779.   FRESHPOINT OF SO. CA                           8/21/2017    $13,127.76              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.780.   FRESHPOINT OF SO. CA                           8/14/2017    $13,947.76              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.781.   FRESHPOINT OF SO. CA                           8/7/2017     $14,721.74              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.782.   FRESHPOINT OF SO. CA                           7/31/2017    $16,922.43              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.783.   FRESHPOINT OF SO. CA                           7/24/2017    $16,629.92              ¨ Secured debt
         155 N ORANGE AVE
         CITY OF INDUSTRY CA 91744                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.784.   FRESHPOINT RALEIGH                             10/16/2017 $1,359.62                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.785.   FRESHPOINT RALEIGH                             10/10/2017 $1,549.88                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.786.   FRESHPOINT RALEIGH                             10/2/2017    $1,183.25               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.787.   FRESHPOINT RALEIGH                             9/25/2017    $767.27                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.788.   FRESHPOINT RALEIGH                             9/22/2017    $1,398.27               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.789.   FRESHPOINT RALEIGH                             9/22/2017    $346.16                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.790.   FRESHPOINT RALEIGH                             9/18/2017    $645.26                 ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.791.   FRESHPOINT RALEIGH                             9/15/2017    $2,565.33               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.792.   FRESHPOINT RALEIGH                             9/11/2017    $1,550.90               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.793.   FRESHPOINT RALEIGH                             9/5/2017     $1,578.85               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.794.   FRESHPOINT RALEIGH                             8/28/2017    $1,104.83               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.795.   FRESHPOINT RALEIGH                             8/21/2017    $1,980.21               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.796.   FRESHPOINT RALEIGH                             8/14/2017    $1,275.63               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.797.   FRESHPOINT RALEIGH                             8/7/2017     $1,471.00               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.798.   FRESHPOINT RALEIGH                             7/31/2017    $2,287.04               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.799.   FRESHPOINT RALEIGH                             7/24/2017    $2,018.65               ¨ Secured debt
         1200 OAKLEY INDUSTRIAL BLVD, STE. B
         FAIRBURN GA 30213                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.800.   FRESHPOINT SOUTH FLORIDA INC                   10/16/2017 $983.59                   ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.801.   FRESHPOINT SOUTH FLORIDA INC                   10/10/2017 $2,306.67                 ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.802.   FRESHPOINT SOUTH FLORIDA INC                   10/2/2017    $2,899.55               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.803.   FRESHPOINT SOUTH FLORIDA INC                   9/25/2017    $2,353.90               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.804.   FRESHPOINT SOUTH FLORIDA INC                   9/18/2017    $1,895.34               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.805.   FRESHPOINT SOUTH FLORIDA INC                   9/15/2017    $1,312.08               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.806.   FRESHPOINT SOUTH FLORIDA INC                   9/11/2017    $805.77                 ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.807.   FRESHPOINT SOUTH FLORIDA INC                   9/8/2017     $843.78                 ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.808.   FRESHPOINT SOUTH FLORIDA INC                   9/5/2017     $2,177.61               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.809.   FRESHPOINT SOUTH FLORIDA INC                   8/28/2017    $1,227.71               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.810.   FRESHPOINT SOUTH FLORIDA INC                   8/21/2017    $1,844.69               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.811.   FRESHPOINT SOUTH FLORIDA INC                   8/14/2017    $1,835.11               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.812.   FRESHPOINT SOUTH FLORIDA INC                   8/11/2017    $2,635.65               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.813.   FRESHPOINT SOUTH FLORIDA INC                   8/7/2017     $2,702.84               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.814.   FRESHPOINT SOUTH FLORIDA INC                   7/31/2017    $3,343.73               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.815.   FRESHPOINT SOUTH FLORIDA INC                   7/24/2017    $3,315.63               ¨ Secured debt
         2300 NW 19TH ST
         POMPANO BEACH FL 33069                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.816.   FRESHPOINT W COAST FL                          10/16/2017 $3,173.67                 ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.817.   FRESHPOINT W COAST FL                          10/10/2017 $2,447.23                 ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.818.   FRESHPOINT W COAST FL                          10/2/2017    $3,734.50               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.819.   FRESHPOINT W COAST FL                          9/25/2017    $2,901.27               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.820.   FRESHPOINT W COAST FL                          9/18/2017    $4,096.89               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.821.   FRESHPOINT W COAST FL                          9/11/2017    $2,880.58               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.822.   FRESHPOINT W COAST FL                          9/5/2017     $2,895.20               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.823.   FRESHPOINT W COAST FL                          8/28/2017    $1,877.35               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.824.   FRESHPOINT W COAST FL                          8/21/2017    $2,086.52               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.825.   FRESHPOINT W COAST FL                          8/14/2017    $2,488.18               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.826.   FRESHPOINT W COAST FL                          8/7/2017     $2,751.93               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.827.   FRESHPOINT W COAST FL                          7/31/2017    $3,072.10               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.828.   FRESHPOINT W COAST FL                          7/24/2017    $2,729.95               ¨ Secured debt
         5445 BONACKER DRIVE
         TAMPA FL 33610                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.829.   G AND I VIII CBL TRIANGLE LLC                  9/12/2017    $11,308.38              ¨ Secured debt
         PO BOX 959727
         ST. LOUIS MO 63195                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.830.   G AND I VIII CBL TRIANGLE LLC                  8/11/2017    $12,929.53              ¨ Secured debt
         PO BOX 959727
         ST. LOUIS MO 63195                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.831.   GARDA CL SOUTHWEST INC.                        10/6/2017    $2,685.89               ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.832.   GARDA CL SOUTHWEST INC.                        9/15/2017    $2,816.54               ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.833.   GARDA CL SOUTHWEST INC.                        8/25/2017    $345.11                 ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.834.   GARDA CL SOUTHWEST INC.                        8/11/2017    $2,816.52               ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.835.   GARDA CL SOUTHWEST INC.                        8/4/2017     $431.01                 ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.836.   GARDA CL SOUTHWEST INC.                        7/28/2017    $3,256.41               ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.837.   GARDA CL SOUTHWEST INC.                        7/21/2017    $2,816.54               ¨ Secured debt
         LOCKBOX 233209
         3209 MOMENTUM PLACE                                                                 ¨ Unsecured loan repayments
         CHICAGO IL 60689                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.838.   GASTON HEATING & AIR CONDITIONING              10/13/2017 $900.00                   ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.839.   GASTON HEATING & AIR CONDITIONING              10/6/2017    $805.00                 ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.840.   GASTON HEATING & AIR CONDITIONING              9/29/2017    $2,633.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.841.   GASTON HEATING & AIR CONDITIONING              9/22/2017    $1,150.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.842.   GASTON HEATING & AIR CONDITIONING              9/15/2017    $680.00                 ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.843.   GASTON HEATING & AIR CONDITIONING              9/8/2017     $2,180.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.844.   GASTON HEATING & AIR CONDITIONING              9/1/2017     $1,935.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.845.   GASTON HEATING & AIR CONDITIONING              8/25/2017    $3,568.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.846.   GASTON HEATING & AIR CONDITIONING              8/18/2017    $3,026.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.847.   GASTON HEATING & AIR CONDITIONING              8/11/2017    $1,845.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.848.   GASTON HEATING & AIR CONDITIONING              8/4/2017     $1,605.00               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.849.   GASTON HEATING & AIR CONDITIONING              7/24/2017    $2,004.27               ¨ Secured debt
         PO BOX 1120
         COLUMBUS NC 28782                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.850.   GERRITY ATLANT RTL PTNRS INC                   9/12/2017    $12,525.81              ¨ Secured debt
         DBA CERRITOS GARP LLC
         PO BOX 848850                                                                       ¨ Unsecured loan repayments
         LOS ANGELES CA 90084                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.851.   GERRITY ATLANT RTL PTNRS INC                   9/8/2017     $12,525.81              ¨ Secured debt
         DBA CERRITOS GARP LLC
         PO BOX 848850                                                                       ¨ Unsecured loan repayments
         LOS ANGELES CA 90084                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.852.   GGP HOLDING II INC                             10/3/2017    $24,882.24              ¨ Secured debt
         C/O NORTHRIDGE FASHION CENTER
         SDS 12 1664, PO BOX 86                                                              ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.853.   GGP HOLDING II INC                             9/5/2017     $24,882.24              ¨ Secured debt
         C/O NORTHRIDGE FASHION CENTER
         SDS 12 1664, PO BOX 86                                                              ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.854.   GGP HOLDING II INC                             8/1/2017     $24,882.24              ¨ Secured debt
         C/O NORTHRIDGE FASHION CENTER
         SDS 12 1664, PO BOX 86                                                              ¨ Unsecured loan repayments
         MINNEAPOLIS MN 55486                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.855.   GGP HOMART II LLC                              9/5/2017     $16,582.33              ¨ Secured debt
         DBA GGP OTAY RANCH LP
         PO BOX 6352                                                                         ¨ Unsecured loan repayments
         CAROL STREAM IL 60197                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.856.   GGP HOMART II LLC                              8/1/2017     $14,509.55              ¨ Secured debt
         DBA GGP OTAY RANCH LP
         PO BOX 6352                                                                         ¨ Unsecured loan repayments
         CAROL STREAM IL 60197                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.857.   GOODY GOODY LIQUOR, INC.                       9/25/2017    $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.858.   GOODY GOODY LIQUOR, INC.                       9/22/2017    $1,985.52               ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.859.   GOODY GOODY LIQUOR, INC.                       9/20/2017    $47.98                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.860.   GOODY GOODY LIQUOR, INC.                       9/14/2017    $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.861.   GOODY GOODY LIQUOR, INC.                       9/8/2017     $2,982.42               ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.862.   GOODY GOODY LIQUOR, INC.                       9/8/2017     $79.97                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.863.   GOODY GOODY LIQUOR, INC.                       9/7/2017     $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.864.   GOODY GOODY LIQUOR, INC.                       8/31/2017    $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.865.   GOODY GOODY LIQUOR, INC.                       8/30/2017    $107.41                 ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.866.   GOODY GOODY LIQUOR, INC.                       8/28/2017    $107.64                 ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.867.   GOODY GOODY LIQUOR, INC.                       8/24/2017    $1,962.13               ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.868.   GOODY GOODY LIQUOR, INC.                       8/24/2017    $71.97                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.869.   GOODY GOODY LIQUOR, INC.                       8/16/2017    $47.98                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.870.   GOODY GOODY LIQUOR, INC.                       8/14/2017    $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.871.   GOODY GOODY LIQUOR, INC.                       8/10/2017    $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.872.   GOODY GOODY LIQUOR, INC.                       8/9/2017     $1,977.66               ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.873.   GOODY GOODY LIQUOR, INC.                       8/9/2017     $71.97                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.874.   GOODY GOODY LIQUOR, INC.                       8/8/2017     $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.875.   GOODY GOODY LIQUOR, INC.                       8/4/2017     $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.876.   GOODY GOODY LIQUOR, INC.                       8/3/2017     $23.99                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.877.   GOODY GOODY LIQUOR, INC.                       8/2/2017     $47.98                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.878.   GOODY GOODY LIQUOR, INC.                       7/27/2017    $47.98                  ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.879.   GOODY GOODY LIQUOR, INC.                       7/24/2017    $2,038.65               ¨ Secured debt
         10370 OLYMPIC DR
         DALLAS TX 75220                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.880.   GRAMPIAN STRIPING, INC.                        9/29/2017    $1,690.00               ¨ Secured debt
         PO BOX 154
         OXFORD MI 48371                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.881.   GRAMPIAN STRIPING, INC.                        9/8/2017     $3,390.00               ¨ Secured debt
         PO BOX 154
         OXFORD MI 48371                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.882.   GRAMPIAN STRIPING, INC.                        8/25/2017    $2,990.00               ¨ Secured debt
         PO BOX 154
         OXFORD MI 48371                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.883.   GRASS IS ALWAYS GREENER LLC                    10/13/2017 $900.00                   ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.884.   GRASS IS ALWAYS GREENER LLC                    9/29/2017    $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.885.   GRASS IS ALWAYS GREENER LLC                    9/22/2017    $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.886.   GRASS IS ALWAYS GREENER LLC                    9/15/2017    $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.887.   GRASS IS ALWAYS GREENER LLC                    9/1/2017     $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.888.   GRASS IS ALWAYS GREENER LLC                    8/25/2017    $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.889.   GRASS IS ALWAYS GREENER LLC                    8/18/2017    $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.890.   GRASS IS ALWAYS GREENER LLC                    8/11/2017    $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.891.   GRASS IS ALWAYS GREENER LLC                    8/4/2017     $900.00                 ¨ Secured debt
         9551 FOUNTAINBLEAU #405
         MIAMI FL 33172                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.892.   GREAT HILLS RETAIL INC                         10/2/2017    $21,360.17              ¨ Secured debt
         16976 COLLECTIONS CENTER DRIVE
         CHICAGO IL 60693                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.893.   GREAT HILLS RETAIL INC                         9/5/2017     $21,360.17              ¨ Secured debt
         16976 COLLECTIONS CENTER DRIVE
         CHICAGO IL 60693                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.894.   GREAT HILLS RETAIL INC                         8/1/2017     $21,360.17              ¨ Secured debt
         16976 COLLECTIONS CENTER DRIVE
         CHICAGO IL 60693                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.895.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/25/2017    $81.00                  ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.896.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/22/2017    $1,226.28               ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.897.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/20/2017    $624.60                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.898.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/18/2017    $228.00                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.899.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/15/2017    $1,597.14               ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.900.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/13/2017    $596.52                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.901.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/11/2017    $1,776.80               ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.902.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/11/2017    $1,029.00               ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.903.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/7/2017     $695.72                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.904.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      9/1/2017     $648.36                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.905.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/30/2017    $521.76                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.906.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/28/2017    $681.84                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.907.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/25/2017    $955.06                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.908.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/23/2017    $460.26                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.909.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/21/2017    $303.00                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.910.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/18/2017    $807.00                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.911.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/15/2017    $108.00                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.912.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/14/2017    $640.68                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.913.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/11/2017    $1,132.62               ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.914.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/9/2017     $324.00                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.915.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/7/2017     $794.30                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.916.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      8/4/2017     $1,297.40               ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.917.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      7/31/2017    $759.18                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.918.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      7/28/2017    $515.52                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.919.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      7/26/2017    $382.38                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.920.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      7/24/2017    $249.00                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.921.   GREAT LAKES WINE & SPIRITS - GENERAL WINE      7/21/2017    $667.26                 ¨ Secured debt
         DBA J LEWIS COOPER CO
         3101 S GULLEY RD STE 1                                                              ¨ Unsecured loan repayments
         DEARBORN MI 48124                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.922.   GREATER CHARLOTTE REFRIGERATION, INC.          9/29/2017    $1,241.17               ¨ Secured debt
         6120-J BROOKSHIRE BLVD
         CHARLOTTE NC 28216                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.923.   GREATER CHARLOTTE REFRIGERATION, INC.          9/22/2017    $3,326.18               ¨ Secured debt
         6120-J BROOKSHIRE BLVD
         CHARLOTTE NC 28216                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.924.   GREATER CHARLOTTE REFRIGERATION, INC.          9/1/2017     $723.80                 ¨ Secured debt
         6120-J BROOKSHIRE BLVD
         CHARLOTTE NC 28216                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.925.   GREATER CHARLOTTE REFRIGERATION, INC.          8/18/2017    $302.45                 ¨ Secured debt
         6120-J BROOKSHIRE BLVD
         CHARLOTTE NC 28216                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.926.   GREATER CHARLOTTE REFRIGERATION, INC.          8/11/2017    $812.50                 ¨ Secured debt
         6120-J BROOKSHIRE BLVD
         CHARLOTTE NC 28216                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.927.   GREATER CHARLOTTE REFRIGERATION, INC.          7/21/2017    $812.50                 ¨ Secured debt
         6120-J BROOKSHIRE BLVD
         CHARLOTTE NC 28216                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.928.   GREENCARE LANDSCAPE MANAGEMENT                 10/13/2017 $677.29                   ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.929.   GREENCARE LANDSCAPE MANAGEMENT                 9/22/2017    $1,354.58               ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.930.   GREENCARE LANDSCAPE MANAGEMENT                 9/8/2017     $1,354.58               ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.931.   GREENCARE LANDSCAPE MANAGEMENT                 9/1/2017     $1,354.58               ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.932.   GREENCARE LANDSCAPE MANAGEMENT                 8/25/2017    $1,354.58               ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.933.   GREENCARE LANDSCAPE MANAGEMENT                 8/18/2017    $40.00                  ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.934.   GREENCARE LANDSCAPE MANAGEMENT                 7/21/2017    $1,354.58               ¨ Secured debt
         125 PLEASANT HILL ROAD
         SCARBOROUGH ME 04074                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.935.   GRILLONI LLC                                   9/12/2017    $10,833.33              ¨ Secured debt
         222 GRAND AVENUE
         ENGLEWOOD NJ 07631                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.936.   GRILLONI LLC                                   8/11/2017    $10,833.33              ¨ Secured debt
         222 GRAND AVENUE
         ENGLEWOOD NJ 07631                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.937.   GTT COMMUNICATIONS INC.                        9/15/2017    $19,101.53              ¨ Secured debt
         PO BOX 842630
         DALLAS TX 75284-2630                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.938.   GTT COMMUNICATIONS INC.                        8/22/2017    $24,735.75              ¨ Secured debt
         PO BOX 842630
         DALLAS TX 75284-2630                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.939.   GTT COMMUNICATIONS INC.                        7/21/2017    $24,739.98              ¨ Secured debt
         PO BOX 842630
         DALLAS TX 75284-2630                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.940.   H & Y NORTHERN CALIFORNIA, LLC                 9/5/2017     $13,504.91              ¨ Secured debt
         253 E HARRIS AVE
         SOUTH SAN FRANCISCO CA 94080                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.941.   H & Y NORTHERN CALIFORNIA, LLC                 8/1/2017     $13,504.91              ¨ Secured debt
         253 E HARRIS AVE
         SOUTH SAN FRANCISCO CA 94080                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.942.   HARBOR DIST - CA DBA GATE                      9/15/2017    $464.60                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.943.   HARBOR DIST - CA DBA GATE                      9/14/2017    $196.60                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.944.   HARBOR DIST - CA DBA GATE                      9/13/2017    $556.30                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.945.   HARBOR DIST - CA DBA GATE                      9/13/2017    $238.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.946.   HARBOR DIST - CA DBA GATE                      9/12/2017    $470.10                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.947.   HARBOR DIST - CA DBA GATE                      9/8/2017     $946.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.948.   HARBOR DIST - CA DBA GATE                      9/8/2017     $21.80                  ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.949.   HARBOR DIST - CA DBA GATE                      9/7/2017     $740.10                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.950.   HARBOR DIST - CA DBA GATE                      9/1/2017     $274.55                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.951.   HARBOR DIST - CA DBA GATE                      8/31/2017    $1,486.75               ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.952.   HARBOR DIST - CA DBA GATE                      8/30/2017    $208.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.953.   HARBOR DIST - CA DBA GATE                      8/29/2017    $472.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.954.   HARBOR DIST - CA DBA GATE                      8/28/2017    $118.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.955.   HARBOR DIST - CA DBA GATE                      8/25/2017    $178.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.956.   HARBOR DIST - CA DBA GATE                      8/23/2017    $262.20                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.957.   HARBOR DIST - CA DBA GATE                      8/18/2017    $224.05                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.958.   HARBOR DIST - CA DBA GATE                      8/17/2017    $148.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.959.   HARBOR DIST - CA DBA GATE                      8/15/2017    $676.10                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.960.   HARBOR DIST - CA DBA GATE                      8/11/2017    $464.50                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.961.   HARBOR DIST - CA DBA GATE                      8/11/2017    $282.60                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.962.   HARBOR DIST - CA DBA GATE                      8/9/2017     $460.05                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.963.   HARBOR DIST - CA DBA GATE                      8/9/2017     $208.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.964.   HARBOR DIST - CA DBA GATE                      8/8/2017     $286.50                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.965.   HARBOR DIST - CA DBA GATE                      8/4/2017     $205.45                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.966.   HARBOR DIST - CA DBA GATE                      8/3/2017     $680.10                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.967.   HARBOR DIST - CA DBA GATE                      8/2/2017     $324.20                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.968.   HARBOR DIST - CA DBA GATE                      8/1/2017     $442.00                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.969.   HARBOR DIST - CA DBA GATE                      7/28/2017    $411.30                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.970.   HARBOR DIST - CA DBA GATE                      7/28/2017    $198.50                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.971.   HARBOR DIST - CA DBA GATE                      7/27/2017    $408.40                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.972.   HARBOR DIST - CA DBA GATE                      7/26/2017    $320.85                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.973.   HARBOR DIST - CA DBA GATE                      7/21/2017    $500.10                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.974.   HARBOR DIST - CA DBA GATE                      7/20/2017    $1,263.10               ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.975.   HARBOR DIST - CA DBA GATE                      7/20/2017    $413.45                 ¨ Secured debt
         CITY/ALLIED/UNIQUE CRAFT
         DBA GATE CITY BEVERAGE DISTR                                                        ¨ Unsecured loan repayments
         PO BOX 842685
         LOS ANGELES CA 90084
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.976.   HARRISON LANDSCAPE & DESIGN, LLC               10/13/2017 $273.87                   ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.977.   HARRISON LANDSCAPE & DESIGN, LLC               10/6/2017    $778.87                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.978.   HARRISON LANDSCAPE & DESIGN, LLC               9/29/2017    $600.09                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.979.   HARRISON LANDSCAPE & DESIGN, LLC               9/22/2017    $757.22                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.980.   HARRISON LANDSCAPE & DESIGN, LLC               9/15/2017    $687.39                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.981.   HARRISON LANDSCAPE & DESIGN, LLC               9/8/2017     $303.10                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.982.   HARRISON LANDSCAPE & DESIGN, LLC               9/1/2017     $2,010.06               ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.983.   HARRISON LANDSCAPE & DESIGN, LLC               8/25/2017    $370.22                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.984.   HARRISON LANDSCAPE & DESIGN, LLC               8/18/2017    $1,454.20               ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.985.   HARRISON LANDSCAPE & DESIGN, LLC               8/11/2017    $1,625.70               ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.986.   HARRISON LANDSCAPE & DESIGN, LLC               8/4/2017     $1,508.87               ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.987.   HARRISON LANDSCAPE & DESIGN, LLC               7/28/2017    $769.99                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.988.   HARRISON LANDSCAPE & DESIGN, LLC               7/21/2017    $982.92                 ¨ Secured debt
         2745 N DALLAS PKWY #455
         PLANO TX 75093                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.989.   HARSCH INVESTMENTOPERTIES                      9/12/2017    $10,132.00              ¨ Secured debt
         HIP STEPHANIE LLC
         POWER CENTER UNIT 31, PO BOX 4500                                                   ¨ Unsecured loan repayments
         PORTLAND OR 97208                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor   MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.990.   HARSCH INVESTMENTOPERTIES                      8/11/2017    $10,132.00              ¨ Secured debt
         HIP STEPHANIE LLC
         POWER CENTER UNIT 31, PO BOX 4500                                                   ¨ Unsecured loan repayments
         PORTLAND OR 97208                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.991.   HEIDELBERG DIST. - CLEVELAND                   9/22/2017    $1,118.74               ¨ Secured debt
         9101 E PLEASANT VALLEY ROAD
         INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.992.   HEIDELBERG DIST. - CLEVELAND                   9/20/2017    $793.94                 ¨ Secured debt
         9101 E PLEASANT VALLEY ROAD
         INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.993.   HEIDELBERG DIST. - CLEVELAND                   9/15/2017    $2,728.23               ¨ Secured debt
         9101 E PLEASANT VALLEY ROAD
         INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.994.   HEIDELBERG DIST. - CLEVELAND                   9/13/2017    $1,083.40               ¨ Secured debt
         9101 E PLEASANT VALLEY ROAD
         INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
         Creditor’s name and address                    Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.995.   HEIDELBERG DIST. - CLEVELAND                   9/8/2017     $1,517.80               ¨ Secured debt
         9101 E PLEASANT VALLEY ROAD
         INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                         Case number (if known) 17-12224

          Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                               Check all that apply

3.996.    HEIDELBERG DIST. - CLEVELAND                   9/6/2017     $831.94                  ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                                ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
          Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                               Check all that apply

3.997.    HEIDELBERG DIST. - CLEVELAND                   9/5/2017     $192.00                  ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                                ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
          Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                               Check all that apply

3.998.    HEIDELBERG DIST. - CLEVELAND                   9/1/2017     $1,915.15                ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                                ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
          Creditor’s name and address                    Dates        Total amount or value    Reasons for payment or transfer
                                                                                               Check all that apply

3.999.    HEIDELBERG DIST. - CLEVELAND                   8/30/2017    $577.23                  ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                                ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
           Creditor’s name and address                   Dates         Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.1000.    HEIDELBERG DIST. - CLEVELAND                  8/25/2017     $1,094.45               ¨ Secured debt
           9101 E PLEASANT VALLEY ROAD
           INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________
           Creditor’s name and address                   Dates         Total amount or value   Reasons for payment or transfer
                                                                                               Check all that apply

3.1001.    HEIDELBERG DIST. - CLEVELAND                  8/23/2017     $1,161.00               ¨ Secured debt
           9101 E PLEASANT VALLEY ROAD
           INDEPENDENCE OH 44131                                                               ¨ Unsecured loan repayments
                                                                                               þ Suppliers or vendors
                                                                                               ¨ Services
                                                                                               ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1002.   HEIDELBERG DIST. - CLEVELAND                  8/18/2017    $946.97                 ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1003.   HEIDELBERG DIST. - CLEVELAND                  8/16/2017    $768.85                 ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1004.   HEIDELBERG DIST. - CLEVELAND                  8/14/2017    $290.50                 ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1005.   HEIDELBERG DIST. - CLEVELAND                  8/11/2017    $1,729.40               ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1006.   HEIDELBERG DIST. - CLEVELAND                  8/9/2017     $479.85                 ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1007.   HEIDELBERG DIST. - CLEVELAND                  8/7/2017     $785.20                 ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1008.   HEIDELBERG DIST. - CLEVELAND                  8/4/2017     $1,467.57               ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1009.   HEIDELBERG DIST. - CLEVELAND                  7/31/2017    $389.94                 ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1010.   HEIDELBERG DIST. - CLEVELAND                  7/28/2017    $1,318.41               ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1011.   HEIDELBERG DIST. - CLEVELAND                  7/21/2017    $1,025.89               ¨ Secured debt
          9101 E PLEASANT VALLEY ROAD
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1012.   HELMSMAN MANAGEMENT SERVICES LLC              9/29/2017    $89,825.45              ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1013.   HELMSMAN MANAGEMENT SERVICES LLC              9/8/2017     $4,859.00               ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1014.   HELMSMAN MANAGEMENT SERVICES LLC              9/1/2017     $11,957.07              ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1015.   HELMSMAN MANAGEMENT SERVICES LLC              8/25/2017    $2,671.00               ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1016.   HELMSMAN MANAGEMENT SERVICES LLC              7/28/2017    $7,885.98               ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1017.   HINES GLOBAL REIT INC                         10/3/2017    $12,051.00              ¨ Secured debt
          GLOBAL REIT 2615 MED CNT
          PO BOX 742644                                                                      ¨ Unsecured loan repayments
          ATLANTA GA 30374                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1018.   HINES GLOBAL REIT INC                         9/5/2017     $12,051.00              ¨ Secured debt
          GLOBAL REIT 2615 MED CNT
          PO BOX 742644                                                                      ¨ Unsecured loan repayments
          ATLANTA GA 30374                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1019.   HINES GLOBAL REIT INC                         8/1/2017     $12,051.00              ¨ Secured debt
          GLOBAL REIT 2615 MED CNT
          PO BOX 742644                                                                      ¨ Unsecured loan repayments
          ATLANTA GA 30374                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1020.   HI-TECH MECHANICAL CONTRACTORS INC.           9/15/2017    $287.65                 ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1021.   HI-TECH MECHANICAL CONTRACTORS INC.           9/8/2017     $684.17                 ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1022.   HI-TECH MECHANICAL CONTRACTORS INC.           9/1/2017     $1,069.15               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1023.   HI-TECH MECHANICAL CONTRACTORS INC.           8/25/2017    $1,277.26               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1024.   HI-TECH MECHANICAL CONTRACTORS INC.           8/18/2017    $2,590.03               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1025.   HI-TECH MECHANICAL CONTRACTORS INC.           8/11/2017    $1,644.75               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1026.   HI-TECH MECHANICAL CONTRACTORS INC.           8/4/2017     $1,835.09               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1027.   HI-TECH MECHANICAL CONTRACTORS INC.           7/28/2017    $1,382.67               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1028.   HI-TECH MECHANICAL CONTRACTORS INC.           7/21/2017    $1,751.46               ¨ Secured debt
          2580 AUBURN FOLSOM ROAD
          NEWCASTLE CA 95658                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1029.   HOBART SERVICE                                10/6/2017    $425.00                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1030.   HOBART SERVICE                                9/29/2017    $1,073.83               ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1031.   HOBART SERVICE                                9/22/2017    $227.29                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1032.   HOBART SERVICE                                9/15/2017    $1,835.61               ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1033.   HOBART SERVICE                                9/8/2017     $913.41                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1034.   HOBART SERVICE                                9/1/2017     $355.00                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1035.   HOBART SERVICE                                8/25/2017    $213.50                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1036.   HOBART SERVICE                                8/18/2017    $370.44                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1037.   HOBART SERVICE                                8/11/2017    $465.92                 ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                        ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                         þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1038.   HOBART SERVICE                                7/28/2017   $1,304.20               ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                       ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                        þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1039.   HOBART SERVICE                                7/21/2017   $1,042.89               ¨ Secured debt
          ITW FOOD EQUIP GROUP LLC
          PO BOX 2517                                                                       ¨ Unsecured loan repayments
          CAROL STREAM IL 60132-2517                                                        þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1040.   HOTSCHEDULES.COM INC                          10/13/2017 $12,130.93               ¨ Secured debt
          PO BOX 848472
          DALLAS TX 75284                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1041.   HOTSCHEDULES.COM INC                          9/27/2017   $12,130.93              ¨ Secured debt
          PO BOX 848472
          DALLAS TX 75284                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1042.   HOTSCHEDULES.COM INC                          8/18/2017   $12,130.93              ¨ Secured debt
          PO BOX 848472
          DALLAS TX 75284                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1043.   HOTSCHEDULES.COM INC                          7/21/2017   $12,130.93              ¨ Secured debt
          PO BOX 848472
          DALLAS TX 75284                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1044.   HOV SERVICES INC                              8/18/2017    $7,664.94               ¨ Secured debt
          PO BOX 142589
          DRAWER #9092                                                                       ¨ Unsecured loan repayments
          IRVING TX 75014-2589                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1045.   HOV SERVICES INC                              8/4/2017     $6,024.44               ¨ Secured debt
          PO BOX 142589
          DRAWER #9092                                                                       ¨ Unsecured loan repayments
          IRVING TX 75014-2589                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1046.   HY-TECH ROOFING SERVICES                      9/29/2017    $2,405.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1047.   HY-TECH ROOFING SERVICES                      9/22/2017    $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1048.   HY-TECH ROOFING SERVICES                      9/15/2017    $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1049.   HY-TECH ROOFING SERVICES                      9/8/2017     $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1050.   HY-TECH ROOFING SERVICES                      9/1/2017     $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1051.   HY-TECH ROOFING SERVICES                      8/25/2017    $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1052.   HY-TECH ROOFING SERVICES                      8/18/2017    $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1053.   HY-TECH ROOFING SERVICES                      8/11/2017    $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1054.   HY-TECH ROOFING SERVICES                      8/4/2017     $2,400.00               ¨ Secured debt
          10371 AIRLINE HIGHWAY
          ST. ROSE LA 70087                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1055.   ILLINOIS ST BRD OF INVEST                     9/21/2017    $20,726.45              ¨ Secured debt
          2222 ARLINGTON AVENUE S
          BIRMINGHAM AL 35205                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1056.   ILLINOIS ST BRD OF INVEST                     9/8/2017     $20,726.45              ¨ Secured debt
          2222 ARLINGTON AVENUE S
          BIRMINGHAM AL 35205                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1057.   ILLINOIS ST BRD OF INVEST                     8/31/2017    $20,726.45              ¨ Secured debt
          2222 ARLINGTON AVENUE S
          BIRMINGHAM AL 35205                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1058.   ILLINOIS ST BRD OF INVEST                     8/23/2017    $19,296.95              ¨ Secured debt
          2222 ARLINGTON AVENUE S
          BIRMINGHAM AL 35205                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1059.   IMAGE LAWN INC.                               10/13/2017 $875.00                   ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1060.   IMAGE LAWN INC.                               9/22/2017    $500.00                 ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1061.   IMAGE LAWN INC.                               9/15/2017    $350.00                 ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1062.   IMAGE LAWN INC.                               9/8/2017     $500.00                 ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1063.   IMAGE LAWN INC.                               9/1/2017     $1,340.00               ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1064.   IMAGE LAWN INC.                               8/25/2017    $1,517.00               ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1065.   IMAGE LAWN INC.                               8/18/2017    $1,297.00               ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1066.   IMAGE LAWN INC.                               7/28/2017    $1,297.00               ¨ Secured debt
          7380 SPOUT SPRINGS RD STE 210 BOX 232
          FLOWERY BRANCH GA 30542                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1067.   INCONTACT                                     10/13/2017 $6,610.73                 ¨ Secured debt
          PAYMENT CENTER #5450
          PO BOX 410468                                                                      ¨ Unsecured loan repayments
          SALT LAKE CITY UT 84141                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1068.   INCONTACT                                     9/15/2017    $6,709.49               ¨ Secured debt
          PAYMENT CENTER #5450
          PO BOX 410468                                                                      ¨ Unsecured loan repayments
          SALT LAKE CITY UT 84141                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1069.   INCONTACT                                     8/4/2017     $6,716.39               ¨ Secured debt
          PAYMENT CENTER #5450
          PO BOX 410468                                                                      ¨ Unsecured loan repayments
          SALT LAKE CITY UT 84141                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1070.   INTERFACE COMMUNICATIONS CO                   9/8/2017     $9,405.00               ¨ Secured debt
          5400 MT MEEKER ROAD SUITE A
          BOULDER CO 80301                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1071.   INTERFACE COMMUNICATIONS CO                   8/4/2017     $1,369.32               ¨ Secured debt
          5400 MT MEEKER ROAD SUITE A
          BOULDER CO 80301                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1072.   J HARTLEY KANTOR DBA HARKANOPERTIES           9/5/2017     $19,735.44              ¨ Secured debt
          2122 N FIFE STREET
          TACOMA WA 98406                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1073.   J HARTLEY KANTOR DBA HARKANOPERTIES           8/1/2017     $19,735.44              ¨ Secured debt
          2122 N FIFE STREET
          TACOMA WA 98406                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1074.   JACKSON COMFORT SYSTEMS, INC                  10/13/2017 $384.00                   ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1075.   JACKSON COMFORT SYSTEMS, INC                  10/6/2017    $234.00                 ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1076.   JACKSON COMFORT SYSTEMS, INC                  9/29/2017    $613.56                 ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1077.   JACKSON COMFORT SYSTEMS, INC                  9/22/2017    $1,639.73               ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1078.   JACKSON COMFORT SYSTEMS, INC                  9/15/2017    $2,551.30               ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1079.   JACKSON COMFORT SYSTEMS, INC                  9/8/2017     $2,282.61               ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1080.   JACKSON COMFORT SYSTEMS, INC                  9/1/2017     $2,769.17               ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1081.   JACKSON COMFORT SYSTEMS, INC                  8/25/2017    $117.00                 ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1082.   JACKSON COMFORT SYSTEMS, INC                  8/18/2017    $1,402.95               ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1083.   JACKSON COMFORT SYSTEMS, INC                  7/28/2017    $405.48                 ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1084.   JACKSON COMFORT SYSTEMS, INC                  7/21/2017    $566.18                 ¨ Secured debt
          40 CHAMISA RD STE A
          COVINGTON GA 30016                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1085.   JD HIGGINS COMPANY INC                        9/22/2017    $2,819.87               ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1086.   JD HIGGINS COMPANY INC                        9/15/2017    $1,440.00               ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1087.   JD HIGGINS COMPANY INC                        8/25/2017    $245.43                 ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1088.   JD HIGGINS COMPANY INC                        8/18/2017    $242.47                 ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1089.   JD HIGGINS COMPANY INC                        8/11/2017    $702.48                 ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1090.   JD HIGGINS COMPANY INC                        8/4/2017     $526.15                 ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1091.   JD HIGGINS COMPANY INC                        7/28/2017    $935.69                 ¨ Secured debt
          PO BOX 5948
          ARLINGTON TX 76005                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1092.   JEFFERSON CO DEPT OF REVENUE                  10/10/2017 $1,101.87                 ¨ Secured debt
          PO BOX 830710
          BIRMINGHAM AL 35283                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1093.   JEFFERSON CO DEPT OF REVENUE                  10/10/2017 $1,101.87                 ¨ Secured debt
          PO BOX 830710
          BIRMINGHAM AL 35283                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1094.   JEFFERSON CO DEPT OF REVENUE                  9/8/2017     $1,365.43               ¨ Secured debt
          PO BOX 830710
          BIRMINGHAM AL 35283                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1095.   JEFFERSON CO DEPT OF REVENUE                  9/8/2017     $1,365.43               ¨ Secured debt
          PO BOX 830710
          BIRMINGHAM AL 35283                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1096.   JEFFERSON CO DEPT OF REVENUE                  8/10/2017    $1,303.28               ¨ Secured debt
          PO BOX 830710
          BIRMINGHAM AL 35283                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1097.   JEFFERSON CO DEPT OF REVENUE                  8/10/2017    $1,303.28               ¨ Secured debt
          PO BOX 830710
          BIRMINGHAM AL 35283                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1098.   JNC MANAGEMENT COMPANY, LLC                   9/12/2017    $14,310.00              ¨ Secured debt
          2 TOWER PLACE
          ALBANY NY 12203                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1099.   JNC MANAGEMENT COMPANY, LLC                   9/7/2017     $14,310.00              ¨ Secured debt
          2 TOWER PLACE
          ALBANY NY 12203                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1100.   JOHN KELLER TRUSTEE                           9/12/2017    $16,561.21              ¨ Secured debt
          KELLER FAMILY TRUST
          14435C BIG BASIN WAY PMB 291                                                       ¨ Unsecured loan repayments
          SARATOGA CA 95070                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1101.   JOHN KELLER TRUSTEE                           9/8/2017     $16,561.21              ¨ Secured debt
          KELLER FAMILY TRUST
          14435C BIG BASIN WAY PMB 291                                                       ¨ Unsecured loan repayments
          SARATOGA CA 95070                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1102.   KATSIROUBAS BROS                              10/16/2017 $1,220.45                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1103.   KATSIROUBAS BROS                              10/10/2017 $1,064.54                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1104.   KATSIROUBAS BROS                              10/2/2017    $857.04                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1105.   KATSIROUBAS BROS                              9/25/2017    $1,129.60               ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1106.   KATSIROUBAS BROS                              9/18/2017    $1,430.25               ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1107.   KATSIROUBAS BROS                              9/11/2017    $1,152.99               ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1108.   KATSIROUBAS BROS                              9/5/2017     $855.24                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1109.   KATSIROUBAS BROS                              8/28/2017    $402.40                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1110.   KATSIROUBAS BROS                              8/14/2017    $549.31                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1111.   KATSIROUBAS BROS                              8/7/2017     $1,470.28               ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1112.   KATSIROUBAS BROS                              7/31/2017    $1,063.41               ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1113.   KATSIROUBAS BROS                              7/24/2017    $564.38                 ¨ Secured debt
          40 NEWMARKET SQUARE
          BOSTON MA 02118                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1114.   KEATHLEY SERVICE CO INC                       9/22/2017    $648.56                 ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1115.   KEATHLEY SERVICE CO INC                       9/8/2017     $218.00                 ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1116.   KEATHLEY SERVICE CO INC                       9/1/2017     $2,370.76               ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1117.   KEATHLEY SERVICE CO INC                       8/25/2017    $433.82                 ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1118.   KEATHLEY SERVICE CO INC                       8/11/2017    $1,573.98               ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1119.   KEATHLEY SERVICE CO INC                       7/28/2017    $718.79                 ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1120.   KEATHLEY SERVICE CO INC                       7/21/2017    $981.62                 ¨ Secured debt
          196 MAJESTIC CIRCLE
          MAUMELLE AR 72113                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1121.   KENDALLGATE CENTER ASSOC LTD                  9/12/2017    $26,181.08              ¨ Secured debt
          2665 S BAYESHORE DRIVE #1200
          COCONUT GROVE FL 33133                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1122.   KENDALLGATE CENTER ASSOC LTD                  8/31/2017   $26,181.08              ¨ Secured debt
          2665 S BAYESHORE DRIVE #1200
          COCONUT GROVE FL 33133                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1123.   KIMBALL & THOMPSONODUCE CO INC                10/16/2017 $806.21                  ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1124.   KIMBALL & THOMPSONODUCE CO INC                10/10/2017 $584.88                  ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1125.   KIMBALL & THOMPSONODUCE CO INC                10/2/2017   $679.51                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1126.   KIMBALL & THOMPSONODUCE CO INC                9/25/2017   $976.17                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1127.   KIMBALL & THOMPSONODUCE CO INC                9/18/2017   $672.55                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1128.   KIMBALL & THOMPSONODUCE CO INC                9/11/2017    $927.08                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1129.   KIMBALL & THOMPSONODUCE CO INC                9/5/2017     $632.36                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1130.   KIMBALL & THOMPSONODUCE CO INC                8/28/2017    $615.49                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1131.   KIMBALL & THOMPSONODUCE CO INC                8/21/2017    $542.73                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1132.   KIMBALL & THOMPSONODUCE CO INC                8/14/2017    $673.23                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1133.   KIMBALL & THOMPSONODUCE CO INC                8/7/2017     $868.07                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1134.   KIMBALL & THOMPSONODUCE CO INC                7/31/2017    $707.86                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1135.   KIMBALL & THOMPSONODUCE CO INC                7/24/2017    $601.67                 ¨ Secured debt
          305 S LINCOLN ST
          LOWELL AR 72745                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1136.   KIMCO REALTY CORP                             9/5/2017     $15,636.08              ¨ Secured debt
          3333 NEW HYDE PARK ROAD, STE. 100
          PO BOX 5020                                                                        ¨ Unsecured loan repayments
          NEW HYDE PARK NY 11042                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1137.   KIMCO REALTY CORP                             8/1/2017     $15,522.08              ¨ Secured debt
          3333 NEW HYDE PARK ROAD, STE. 100
          PO BOX 5020                                                                        ¨ Unsecured loan repayments
          NEW HYDE PARK NY 11042                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1138.   KINGSTOWNE TOWN CENTER LP                     9/5/2017     $17,573.67              ¨ Secured debt
          C/O COMAR MANAGEMENT INC
          2900 LINDEN LANE STE 300                                                           ¨ Unsecured loan repayments
          SILVER SPRING MD 20910                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1139.   KINGSTOWNE TOWN CENTER LP                     8/1/2017     $17,573.67              ¨ Secured debt
          C/O COMAR MANAGEMENT INC
          2900 LINDEN LANE STE 300                                                           ¨ Unsecured loan repayments
          SILVER SPRING MD 20910                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1140.   KRISTEN SCALISE FISCAL OFFICER                8/29/2017    $24,058.19              ¨ Secured debt
          175 S MAIN STREET, STE. 320
          AKRON OH 44308                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1141.   KWAMI LADZEKPO                                8/25/2017    $1,500.00               ¨ Secured debt
          15035 WESTPARK DRIVE, APT 413
          HOUSTON TX 77082                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1142.   KWAMI LADZEKPO                                8/18/2017    $1,500.00               ¨ Secured debt
          15035 WESTPARK DRIVE, APT 413
          HOUSTON TX 77082                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1143.   KWAMI LADZEKPO                                8/4/2017     $1,000.00               ¨ Secured debt
          15035 WESTPARK DRIVE, APT 413
          HOUSTON TX 77082                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1144.   KWAMI LADZEKPO                                7/28/2017    $3,500.00               ¨ Secured debt
          15035 WESTPARK DRIVE, APT 413
          HOUSTON TX 77082                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1145.   LA GRASSO BROS INC                            10/16/2017 $4,013.47                 ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1146.   LA GRASSO BROS INC                            10/10/2017 $3,147.03                 ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1147.   LA GRASSO BROS INC                            10/2/2017    $3,721.34               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1148.   LA GRASSO BROS INC                            9/25/2017    $2,970.73               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1149.   LA GRASSO BROS INC                            9/18/2017    $3,849.47               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1150.   LA GRASSO BROS INC                            9/11/2017    $3,718.70               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1151.   LA GRASSO BROS INC                            9/5/2017     $3,056.84               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1152.   LA GRASSO BROS INC                            8/28/2017    $2,520.77               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1153.   LA GRASSO BROS INC                            8/21/2017    $2,345.35               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1154.   LA GRASSO BROS INC                            8/14/2017    $3,268.33               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1155.   LA GRASSO BROS INC                            8/7/2017     $2,566.49               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1156.   LA GRASSO BROS INC                            7/31/2017    $3,724.26               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1157.   LA GRASSO BROS INC                            7/24/2017    $3,541.10               ¨ Secured debt
          PO BOX 2638
          DETRIOT MI 48202                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1158.   LAPAN FAMILY EXEMPT TRUST                     9/21/2017    $21,196.50              ¨ Secured debt
          DAVID LAPAN TRUST
          6363 CHRISTIE AVE #2925                                                            ¨ Unsecured loan repayments
          EMERYVILLE CA 94608                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1159.   LAPAN FAMILY EXEMPT TRUST                     8/17/2017    $21,196.50              ¨ Secured debt
          DAVID LAPAN TRUST
          6363 CHRISTIE AVE #2925                                                            ¨ Unsecured loan repayments
          EMERYVILLE CA 94608                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1160.   LEEREEDY                                      10/30/17     $126,000.00             ¨ Secured debt
          1480 HUMBOLDT STREET
          DENVER TX 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1161.   LEEREEDY                                      11/6/17      $17,333.33              ¨ Secured debt
          1480 HUMBOLDT STREET
          DENVER TX 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1162.   LEEREEDY DBA LRXD                             10/13/2017 $40,000.00                ¨ Secured debt
          1480 HUMBOLDT ST
          DENVER CO 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1163.   LEEREEDY DBA LRXD                             9/15/2017    $40,000.00              ¨ Secured debt
          1480 HUMBOLDT ST
          DENVER CO 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1164.   LEEREEDY DBA LRXD                             9/8/2017     $15,000.00              ¨ Secured debt
          1480 HUMBOLDT ST
          DENVER CO 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1165.   LEEREEDY DBA LRXD                             8/4/2017     $15,000.00              ¨ Secured debt
          1480 HUMBOLDT ST
          DENVER CO 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1166.   LEEREEDY DBA LRXD                             7/27/2017    $122,500.00             ¨ Secured debt
          1480 HUMBOLDT ST
          DENVER CO 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1167.   LEEREEDY DBA LRXD                             7/20/2017    $122,500.00             ¨ Secured debt
          1480 HUMBOLDT ST
          DENVER CO 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1168.   LEEREEDY, INC.                                10/23/17     $126,000.00             ¨ Secured debt
          1480 HUMBOLDT STREET
          DENVER TX 80218                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1169.   LEGACY AIR - NEVADA                           9/29/2017    $577.32                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1170.   LEGACY AIR - NEVADA                           9/22/2017    $2,955.00               ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1171.   LEGACY AIR - NEVADA                           9/15/2017    $1,111.35               ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1172.   LEGACY AIR - NEVADA                           9/8/2017     $1,488.04               ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1173.   LEGACY AIR - NEVADA                           9/1/2017     $3,307.73               ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1174.   LEGACY AIR - NEVADA                           8/25/2017    $210.00                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1175.   LEGACY AIR - NEVADA                           8/18/2017    $330.24                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1176.   LEGACY AIR - NEVADA                           8/11/2017    $700.00                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1177.   LEGACY AIR - NEVADA                           8/4/2017     $895.05                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1178.   LEGACY AIR - NEVADA                           7/28/2017    $500.00                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1179.   LEGACY AIR - NEVADA                           7/21/2017    $985.00                 ¨ Secured debt
          6525 BUTTON QUAIL ST
          NORTH LAS VEGAS NV 89084                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1180.   LEWIS ROCA ROTHGERBER CHRISTIE                9/22/17      $11,925.47              ¨ Secured debt
          201 E WASHINGTON STE 1200
          PHOENIX AZ 85004                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1181.   LEWIS ROCA ROTHGERBER CHRISTIE LLP            9/22/2017    $11,925.47              ¨ Secured debt
          201 E. WASHINGTON STREET
          SUITE 1200                                                                         ¨ Unsecured loan repayments
          PHOENIX AZ 85004                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1182.   LEWIS ROCA ROTHGERBER CHRISTIE LLP            9/15/2017    $3,873.40               ¨ Secured debt
          201 E. WASHINGTON STREET
          SUITE 1200                                                                         ¨ Unsecured loan repayments
          PHOENIX AZ 85004                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1183.   LEWIS ROCA ROTHGERBER CHRISTIE LLP            9/29/17      $8,557.50               ¨ Secured debt
          201 EAST WASHINGTON STREET
          PHOENIX AZ 85004-2595                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1184.   LIBERTY MUTUAL GROUP INC.                     9/29/2017    $7,991.51               ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1185.   LIBERTY MUTUAL GROUP INC.                     9/15/2017    $152,237.28             ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1186.   LIBERTY MUTUAL GROUP INC.                     9/1/2017     $35,613.17              ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1187.   LIBERTY MUTUAL GROUP INC.                     8/18/2017    $12,558.75              ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1188.   LIBERTY MUTUAL GROUP INC.                     7/28/2017    $23,464.14              ¨ Secured debt
          PO BOX 85307
          SAN DIEGO CA 92186-5307                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1189.   LIQUID ENVIRONMENTAL SOLUTIONS                9/8/2017     $19,017.90              ¨ Secured debt
          PO BOX 733372
          DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1190.   LIQUID ENVIRONMENTAL SOLUTIONS                9/1/2017     $8,398.07               ¨ Secured debt
          PO BOX 733372
          DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1191.   LIQUID ENVIRONMENTAL SOLUTIONS                8/25/2017    $14,536.00              ¨ Secured debt
          PO BOX 733372
          DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1192.   LIQUID ENVIRONMENTAL SOLUTIONS                8/18/2017    $12,813.00              ¨ Secured debt
          PO BOX 733372
          DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1193.   LIQUID ENVIRONMENTAL SOLUTIONS                7/28/2017    $6,322.00               ¨ Secured debt
          PO BOX 733372
          DALLAS TX 75373                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1194.   LODGING SOURCE, LLC                           10/13/2017 $5,541.97                 ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1195.   LODGING SOURCE, LLC                           10/6/2017    $5,191.41               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1196.   LODGING SOURCE, LLC                           9/29/2017    $3,325.71               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1197.   LODGING SOURCE, LLC                           9/22/2017    $10,959.27              ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1198.   LODGING SOURCE, LLC                           9/8/2017     $2,514.29               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1199.   LODGING SOURCE, LLC                           9/1/2017     $1,902.47               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1200.   LODGING SOURCE, LLC                           8/25/2017    $4,442.80               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1201.   LODGING SOURCE, LLC                           8/18/2017    $1,755.14               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1202.   LODGING SOURCE, LLC                           8/4/2017     $4,850.09               ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1203.   LODGING SOURCE, LLC                           7/21/2017    $875.92                 ¨ Secured debt
          PO BOX 744
          MT. PLEASANT SC 29465                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1204.   LOS ANGELES COUNTY TAX COLLECTOR              8/31/2017    $16,411.98              ¨ Secured debt
          PO BOX 54018
          LOS ANGELES CA 90054-0018                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1205.   LOS ANGELES COUNTY TAX COLLECTOR              8/31/2017    $13,115.64              ¨ Secured debt
          PO BOX 54027
          LOS ANGELES CA 90054-0027                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1206.   LUKE LANDRY                                   10/13/2017 $25.00                    ¨ Secured debt
          1506 HOVEDEN DR
          KATY TX 77450                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1207.   LUKE LANDRY                                   9/22/2017    $1,882.09               ¨ Secured debt
          1506 HOVEDEN DR
          KATY TX 77450                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1208.   LUKE LANDRY                                   9/1/2017     $2,143.26               ¨ Secured debt
          1506 HOVEDEN DR
          KATY TX 77450                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1209.   LUKE LANDRY                                   8/23/2017    $1,600.19               ¨ Secured debt
          1506 HOVEDEN DR
          KATY TX 77450                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1210.   LUKE LANDRY                                   7/31/2017    $3,788.66               ¨ Secured debt
          1506 HOVEDEN DR
          KATY TX 77450                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1211.   LUKE LANDRY                                   7/21/2017    $894.38                 ¨ Secured debt
          1506 HOVEDEN DR
          KATY TX 77450                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1212.   MACARONI RR I-35 PARTNERSHIP                  9/21/2017    $5,000.00               ¨ Secured debt
          PO BOX 42262
          HOUSTON TX 77242                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1213.   MACARONI RR I-35 PARTNERSHIP                  8/17/2017    $5,000.00               ¨ Secured debt
          PO BOX 42262
          HOUSTON TX 77242                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1214.   MALL AT BRIARWOOD, LLC                        9/5/2017     $11,750.00              ¨ Secured debt
          PO BOX 404570
          ATLANTA GA 30384-4570                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1215.   MALL AT BRIARWOOD, LLC                        8/1/2017     $11,750.00              ¨ Secured debt
          PO BOX 404570
          ATLANTA GA 30384-4570                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1216.   MARICOPA COUNTY TREASURER                     10/3/2017    $14,701.53              ¨ Secured debt
          PO BOX 52133
          PHOENIX AZ 85072                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1217.   MARKET FORCE INFORMATION, INC.                10/6/2017    $2,867.25               ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1218.   MARKET FORCE INFORMATION, INC.                9/15/2017    $264.00                 ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1219.   MARKET FORCE INFORMATION, INC.                9/8/2017     $1,064.00               ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1220.   MARKET FORCE INFORMATION, INC.                9/1/2017     $2,776.00               ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1221.   MARKET FORCE INFORMATION, INC.                8/25/2017    $3,341.00               ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1222.   MARKET FORCE INFORMATION, INC.                8/18/2017    $3,256.00               ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1223.   MARKET FORCE INFORMATION, INC.                8/11/2017    $3,515.25               ¨ Secured debt
          DEPT. 0320
          PO BOX 120320                                                                      ¨ Unsecured loan repayments
          DALLAS TX 75312-0320                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1224.   METROPOLITAN LIFE INSURANCE CO                10/13/2017 $14,355.85                ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1225.   METROPOLITAN LIFE INSURANCE CO                9/25/2017    $446.36                 ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1226.   METROPOLITAN LIFE INSURANCE CO                9/22/2017    $14,278.64              ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1227.   METROPOLITAN LIFE INSURANCE CO                9/14/2017    $3,595.57               ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1228.   METROPOLITAN LIFE INSURANCE CO                8/4/2017     $14,826.35              ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1229.   METROPOLITAN LIFE INSURANCE CO                7/28/2017    $16,076.16              ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1230.   METROPOLITAN LIFE INSURANCE CO                7/21/2017    $2,622.18               ¨ Secured debt
          PO BOX 360229
          PITTSBURGH PA 15251                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1231.   MG AVC LLC                                    10/2/2017    $18,953.39              ¨ Secured debt
          C/O DDD FAMILY LLC SOLE MEMBER
          1330 SW 61ST PL RD                                                                 ¨ Unsecured loan repayments
          OCALA FL 34481                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1232.   MG AVC LLC                                    9/5/2017     $18,953.39              ¨ Secured debt
          C/O DDD FAMILY LLC SOLE MEMBER
          1330 SW 61ST PL RD                                                                 ¨ Unsecured loan repayments
          OCALA FL 34481                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1233.   MG AVC LLC                                    8/1/2017     $18,953.39              ¨ Secured debt
          C/O DDD FAMILY LLC SOLE MEMBER
          1330 SW 61ST PL RD                                                                 ¨ Unsecured loan repayments
          OCALA FL 34481                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1234.   MIAMI-DADE COUNTY TAX COLLECTOR               10/16/2017 $1,432.92                 ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1235.   MIAMI-DADE COUNTY TAX COLLECTOR               10/16/2017 $1,267.35                 ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1236.   MIAMI-DADE COUNTY TAX COLLECTOR               9/15/2017    $1,758.78               ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1237.   MIAMI-DADE COUNTY TAX COLLECTOR               9/15/2017    $1,688.15               ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1238.   MIAMI-DADE COUNTY TAX COLLECTOR               9/1/2017     $300.00                 ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1239.   MIAMI-DADE COUNTY TAX COLLECTOR               9/1/2017     $180.00                 ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1240.   MIAMI-DADE COUNTY TAX COLLECTOR               8/11/2017    $1,715.03               ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1241.   MIAMI-DADE COUNTY TAX COLLECTOR               8/11/2017    $1,620.63               ¨ Secured debt
          CONVENTION AND TOURIST TAX COLLECTOR
          PO BOX 10099                                                                       ¨ Unsecured loan repayments
          MIAMI FL 33101                                                                     þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1242.   MICROSOFT CORPORATION                         10/6/2017    $5,059.37               ¨ Secured debt
          PO BOX 842103
          DALLAS TX 75284                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1243.   MICROSOFT CORPORATION                         9/15/2017    $1,351.81               ¨ Secured debt
          PO BOX 842103
          DALLAS TX 75284                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1244.   MICROSOFT CORPORATION                         9/8/2017     $4,763.00               ¨ Secured debt
          PO BOX 842103
          DALLAS TX 75284                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1245.   MICROSOFT CORPORATION                         8/25/2017    $6,114.81               ¨ Secured debt
          PO BOX 842103
          DALLAS TX 75284                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1246.   MICROSOFT CORPORATION                         7/28/2017    $4,763.00               ¨ Secured debt
          PO BOX 842103
          DALLAS TX 75284                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1247.   MICROSOFT CORPORATION                         7/21/2017    $1,351.81               ¨ Secured debt
          PO BOX 842103
          DALLAS TX 75284                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1248.   MID SOUTH MAINTENANCE OF TN INC               9/29/2017    $520.19                 ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1249.   MID SOUTH MAINTENANCE OF TN INC               9/22/2017    $1,130.86               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1250.   MID SOUTH MAINTENANCE OF TN INC               9/15/2017    $1,323.77               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1251.   MID SOUTH MAINTENANCE OF TN INC               9/8/2017     $1,250.66               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1252.   MID SOUTH MAINTENANCE OF TN INC               9/1/2017     $4,425.58               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1253.   MID SOUTH MAINTENANCE OF TN INC               8/25/2017    $2,445.02               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1254.   MID SOUTH MAINTENANCE OF TN INC               8/18/2017    $1,000.00               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1255.   MID SOUTH MAINTENANCE OF TN INC               7/28/2017    $436.43                 ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1256.   MID SOUTH MAINTENANCE OF TN INC               7/21/2017    $1,000.00               ¨ Secured debt
          1055 RIDGECREST DR
          GOODLETTSVILLE TN 37072                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1257.   MIDNIGHT CONTROL SERVICES INC                 9/29/2017    $498.30                 ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1258.   MIDNIGHT CONTROL SERVICES INC                 9/22/2017    $563.85                 ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1259.   MIDNIGHT CONTROL SERVICES INC                 9/8/2017     $1,573.87               ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1260.   MIDNIGHT CONTROL SERVICES INC                 9/1/2017     $2,200.76               ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1261.   MIDNIGHT CONTROL SERVICES INC                 8/25/2017    $1,731.48               ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1262.   MIDNIGHT CONTROL SERVICES INC                 8/18/2017    $1,570.66               ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1263.   MIDNIGHT CONTROL SERVICES INC                 7/28/2017    $1,455.06               ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1264.   MIDNIGHT CONTROL SERVICES INC                 7/21/2017    $1,933.00               ¨ Secured debt
          420 E LEMON STREET
          TAPPON SPRINGS FL 34689                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1265.   MIKE WITT                                     9/21/2017    $9,583.33               ¨ Secured debt
          3300 E LAKE CREEK ROAD
          HEBER CITY UT 84032                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1266.   MIKE WITT                                     8/17/2017   $9,583.33               ¨ Secured debt
          3300 E LAKE CREEK ROAD
          HEBER CITY UT 84032                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1267.   MORIAH INVESTMENTS LLC                        9/12/2017   $7,325.00               ¨ Secured debt
          11409 BUSINESS PARK CIR, STE. 300
          FIRESTONE CO 80504                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1268.   MORIAH INVESTMENTS LLC                        8/11/2017   $7,325.00               ¨ Secured debt
          11409 BUSINESS PARK CIR, STE. 300
          FIRESTONE CO 80504                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1269.   MUTUAL DISTRIBUTING COMPANY                   9/25/2017   $478.72                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1270.   MUTUAL DISTRIBUTING COMPANY                   9/22/2017   $150.21                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1271.   MUTUAL DISTRIBUTING COMPANY                   9/18/2017   $690.02                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1272.   MUTUAL DISTRIBUTING COMPANY                   9/15/2017    $288.24                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1273.   MUTUAL DISTRIBUTING COMPANY                   9/11/2017    $512.80                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1274.   MUTUAL DISTRIBUTING COMPANY                   9/8/2017     $423.84                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1275.   MUTUAL DISTRIBUTING COMPANY                   9/5/2017     $745.15                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1276.   MUTUAL DISTRIBUTING COMPANY                   8/28/2017    $958.09                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1277.   MUTUAL DISTRIBUTING COMPANY                   8/22/2017    $212.94                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1278.   MUTUAL DISTRIBUTING COMPANY                   8/18/2017    $266.91                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1279.   MUTUAL DISTRIBUTING COMPANY                   8/15/2017    $272.75                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1280.   MUTUAL DISTRIBUTING COMPANY                   8/14/2017    $459.70                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1281.   MUTUAL DISTRIBUTING COMPANY                   8/11/2017    $433.08                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1282.   MUTUAL DISTRIBUTING COMPANY                   8/7/2017     $209.13                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1283.   MUTUAL DISTRIBUTING COMPANY                   8/1/2017     $80.57                  ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1284.   MUTUAL DISTRIBUTING COMPANY                   7/31/2017    $885.78                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1285.   MUTUAL DISTRIBUTING COMPANY                   7/24/2017    $92.40                  ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1286.   MUTUAL DISTRIBUTING COMPANY                   7/21/2017    $278.94                 ¨ Secured debt
          2233 CAPITAL BLVD
          RALEIGH NC 27604                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1287.   NAPPI DISTRIBUTORS                            9/21/2017    $990.53                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                 ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1288.   NAPPI DISTRIBUTORS                            9/14/2017    $482.67                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                 ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1289.   NAPPI DISTRIBUTORS                            9/7/2017     $820.32                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                 ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1290.   NAPPI DISTRIBUTORS                            8/31/2017   $716.57                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1291.   NAPPI DISTRIBUTORS                            8/24/2017   $897.32                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1292.   NAPPI DISTRIBUTORS                            8/23/2017   $164.88                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1293.   NAPPI DISTRIBUTORS                            8/21/2017   $167.52                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1294.   NAPPI DISTRIBUTORS                            8/17/2017   $675.26                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1295.   NAPPI DISTRIBUTORS                            8/10/2017   $981.48                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1296.   NAPPI DISTRIBUTORS                            8/3/2017     $764.06                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                 ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1297.   NAPPI DISTRIBUTORS                            7/27/2017    $761.03                 ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                 ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1298.   NAPPI DISTRIBUTORS                            7/20/2017    $1,148.38               ¨ Secured debt
          ATTN ACCOUNTS RECEIVABLE
          193 PRESUMPSCOT ST                                                                 ¨ Unsecured loan repayments
          PORTLAND ME 04103                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1299.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        9/21/2017    $1,125.31               ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1300.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        9/14/2017    $451.46                 ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1301.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        9/7/2017     $641.51                 ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1302.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        8/31/2017    $1,313.92               ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1303.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        8/24/2017    $991.56                 ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1304.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        8/17/2017    $1,117.43               ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1305.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        8/10/2017    $542.53                 ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1306.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        8/3/2017     $688.12                 ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1307.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        7/27/2017    $758.19                 ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1308.   NATIONAL DISTRIBUTING CO. - NEW MEXICO        7/20/2017    $1,035.88               ¨ Secured debt
          5920 OFFICE BLVD NE
          ALBUQUERQUE NM 87109                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1309.   NATIONAL RETAIL CONCEPT PARTNERS LLC          10/6/2017    $2,663.53               ¨ Secured debt
          PO BOX #682544
          FRANKLIN TN 37068-2544                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1310.   NATIONAL RETAIL CONCEPT PARTNERS LLC          9/29/2017    $10,382.52              ¨ Secured debt
          PO BOX #682544
          FRANKLIN TN 37068-2544                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1311.   NATIONAL RETAIL CONCEPT PARTNERS LLC          8/15/2017    $10,000.00              ¨ Secured debt
          PO BOX #682544
          FRANKLIN TN 37068-2544                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1312.   NATIONAL RETAIL CONCEPT PARTNERS LLC          7/25/2017    $10,000.00              ¨ Secured debt
          PO BOX #682544
          FRANKLIN TN 37068-2544                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1313.   NATIONAL WHOLESALE SUPPLY INC.                9/8/2017     $766.10                 ¨ Secured debt
          PO BOX 54007
          DALLAS TX 75354                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1314.   NATIONAL WHOLESALE SUPPLY INC.                9/1/2017     $1,606.49               ¨ Secured debt
          PO BOX 54007
          DALLAS TX 75354                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1315.   NATIONAL WHOLESALE SUPPLY INC.                8/11/2017    $9,221.88               ¨ Secured debt
          PO BOX 54007
          DALLAS TX 75354                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1316.   NC GREEN HEAT                                 10/13/2017 $573.79                   ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1317.   NC GREEN HEAT                                 10/6/2017    $589.88                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1318.   NC GREEN HEAT                                 9/22/2017    $573.79                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1319.   NC GREEN HEAT                                 9/15/2017    $573.79                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1320.   NC GREEN HEAT                                 9/8/2017     $589.88                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1321.   NC GREEN HEAT                                 9/1/2017     $589.88                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1322.   NC GREEN HEAT                                 8/25/2017    $1,179.76               ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1323.   NC GREEN HEAT                                 8/18/2017    $707.85                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1324.   NC GREEN HEAT                                 8/11/2017    $1,147.58               ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1325.   NC GREEN HEAT                                 8/4/2017     $589.88                 ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                  ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1326.   NC GREEN HEAT                                 7/28/2017   $1,737.46               ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                 ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                              þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1327.   NC GREEN HEAT                                 7/21/2017   $1,163.67               ¨ Secured debt
          9932 ADLIE DRIVE
          DBA NC GREEN HEAT                                                                 ¨ Unsecured loan repayments
          WAKE FOREST NC 27587                                                              þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1328.   NEGOTIUM TECHNOLOGIES CORP                    10/13/2017 $16,520.00               ¨ Secured debt
          980 NINTH ST, 16TH FLOOR
          PMB 1626                                                                          ¨ Unsecured loan repayments
          SACRAMENTO CA 95814                                                               þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1329.   NEGOTIUM TECHNOLOGIES CORP                    8/18/2017   $1,704.28               ¨ Secured debt
          980 NINTH ST, 16TH FLOOR
          PMB 1626                                                                          ¨ Unsecured loan repayments
          SACRAMENTO CA 95814                                                               þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1330.   NEGOTIUM TECHNOLOGIES CORP                    7/28/2017   $1,518.75               ¨ Secured debt
          980 NINTH ST, 16TH FLOOR
          PMB 1626                                                                          ¨ Unsecured loan repayments
          SACRAMENTO CA 95814                                                               þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1331.   NEVADA EMPLOYMENT SECURITY DIVISION           7/25/2017   $11,307.82              ¨ Secured debt
          CONTRIBUTIONS SECTION, BOND UNIT
          500 E THIRD STREET                                                                ¨ Unsecured loan repayments
          CARSON CITY NV 89713-0030                                                         þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1332.   NEVADA EMPLOYMENT SECURITY DIVISION           7/25/2017   $5,276.98               ¨ Secured debt
          CONTRIBUTIONS SECTION, BOND UNIT
          500 E THIRD STREET                                                                ¨ Unsecured loan repayments
          CARSON CITY NV 89713-0030                                                         þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1333.   NEVADA EMPLOYMENT SECURITY DIVISION           7/25/2017   $135.93                 ¨ Secured debt
          CONTRIBUTIONS SECTION, BOND UNIT
          500 E THIRD STREET                                                                ¨ Unsecured loan repayments
          CARSON CITY NV 89713-0030                                                         þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1334.   NFC LLC                                       9/12/2017   $11,426.21              ¨ Secured debt
          2300 W SAHARA AVE
          BOX 1 SUITE 530                                                                   ¨ Unsecured loan repayments
          LAS VEGAS NV 89102                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1335.   NFC LLC                                       8/11/2017   $11,426.21              ¨ Secured debt
          2300 W SAHARA AVE
          BOX 1 SUITE 530                                                                   ¨ Unsecured loan repayments
          LAS VEGAS NV 89102                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1336.   NICHOLAS & COMPANY INC                        10/16/2017 $843.13                  ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1337.   NICHOLAS & COMPANY INC                        10/10/2017 $1,567.87                ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1338.   NICHOLAS & COMPANY INC                        10/2/2017    $1,967.46               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1339.   NICHOLAS & COMPANY INC                        9/29/2017    $138.67                 ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1340.   NICHOLAS & COMPANY INC                        9/25/2017    $1,349.63               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1341.   NICHOLAS & COMPANY INC                        9/18/2017    $1,224.60               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1342.   NICHOLAS & COMPANY INC                        9/11/2017    $958.78                 ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1343.   NICHOLAS & COMPANY INC                        9/5/2017     $1,651.02               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1344.   NICHOLAS & COMPANY INC                        8/28/2017    $661.59                 ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1345.   NICHOLAS & COMPANY INC                        8/7/2017     $1,071.92               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1346.   NICHOLAS & COMPANY INC                        7/31/2017    $4,609.07               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1347.   NICHOLAS & COMPANY INC                        7/24/2017    $1,195.39               ¨ Secured debt
          PO BOX 45005
          SALT LAKE CITY UT 84145                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1348.   NIETO TECHNOLOGY PARTNERS LLC                 9/5/2017     $9,257.54               ¨ Secured debt
          20714 SLEEP HOLLOW LANE
          SPRING TX 77388                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1349.   NIGEL FRANK INTERNATIONAL                     10/17/2017 $3,080.00                 ¨ Secured debt
          110 WILLIAM STREET
          21ST FLOOR                                                                         ¨ Unsecured loan repayments
          NEW YORK NY 10038                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1350.   NIGEL FRANK INTERNATIONAL                     10/16/2017 $20,615.00                ¨ Secured debt
          110 WILLIAM STREET
          21ST FLOOR                                                                         ¨ Unsecured loan repayments
          NEW YORK NY 10038                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1351.   NIGEL FRANK INTERNATIONAL                     8/25/2017    $2,590.00               ¨ Secured debt
          110 WILLIAM STREET
          21ST FLOOR                                                                         ¨ Unsecured loan repayments
          NEW YORK NY 10038                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1352.   NORTON CREATIVE LLC                           9/8/2017     $10,000.00              ¨ Secured debt
          9434 OLD KATY RD, STE. 400
          HOUSTON TX 77055                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1353.   NORTON CREATIVE LLC                           8/25/2017    $10,000.00              ¨ Secured debt
          9434 OLD KATY RD, STE. 400
          HOUSTON TX 77055                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1354.   NORTON CREATIVE LLC                           8/11/2017    $10,000.00              ¨ Secured debt
          9434 OLD KATY RD, STE. 400
          HOUSTON TX 77055                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1355.   NORTON CREATIVE LLC                           7/28/2017    $10,000.00              ¨ Secured debt
          9434 OLD KATY RD, STE. 400
          HOUSTON TX 77055                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1356.   NUCO2 INC                                     10/13/2017 $10,927.19                ¨ Secured debt
          PO BOX 9011
          STUART FL 34995                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1357.   NUCO2 INC                                     10/6/2017    $6,327.12               ¨ Secured debt
          PO BOX 9011
          STUART FL 34995                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1358.   NUCO2 INC                                     9/22/2017    $6,035.47               ¨ Secured debt
          PO BOX 9011
          STUART FL 34995                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1359.   NUCO2 INC                                     7/28/2017    $9,289.77               ¨ Secured debt
          PO BOX 9011
          STUART FL 34995                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1360.   OHIO DIVISION OF LIQUOR CONTROL               9/1/2017     $3,128.00               ¨ Secured debt
          6606 TUSSING ROAD
          PO BOX 4005                                                                        ¨ Unsecured loan repayments
          REYNOLDSBURG OH 43068                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1361.   OHIO DIVISION OF LIQUOR CONTROL               9/1/2017     $2,844.00               ¨ Secured debt
          6606 TUSSING ROAD
          PO BOX 4005                                                                        ¨ Unsecured loan repayments
          REYNOLDSBURG OH 43068                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1362.   OHIO DIVISION OF LIQUOR CONTROL               9/1/2017     $2,844.00               ¨ Secured debt
          6606 TUSSING ROAD
          PO BOX 4005                                                                        ¨ Unsecured loan repayments
          REYNOLDSBURG OH 43068                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1363.   OMILOS 1, LLC                                 9/12/2017    $13,135.42              ¨ Secured debt
          5242 YORKTOWN BLVD
          C/O GEORGE NICHOLAKOS                                                              ¨ Unsecured loan repayments
          ARLINGTON VA 22207                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1364.   OMILOS 1, LLC                                 8/11/2017    $13,135.42              ¨ Secured debt
          5242 YORKTOWN BLVD
          C/O GEORGE NICHOLAKOS                                                              ¨ Unsecured loan repayments
          ARLINGTON VA 22207                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1365.   OPRY MILLS MALL LIMITED PARTNERSHIP           9/5/2017     $28,648.89              ¨ Secured debt
          PO BOX 402242
          ATLANTA GA 30384                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1366.   OPRY MILLS MALL LIMITED PARTNERSHIP           8/1/2017     $27,196.61              ¨ Secured debt
          PO BOX 402242
          ATLANTA GA 30384                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1367.   OPTIMUM CARD SOLUTIONS LLC                    10/13/2017 $4,453.50                 ¨ Secured debt
          855 S FIENE DRIVE
          ADDISON IL 60101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1368.   OPTIMUM CARD SOLUTIONS LLC                    10/6/2017    $633.60                 ¨ Secured debt
          855 S FIENE DRIVE
          ADDISON IL 60101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1369.   OPTIMUM CARD SOLUTIONS LLC                    8/11/2017    $1,287.49               ¨ Secured debt
          855 S FIENE DRIVE
          ADDISON IL 60101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1370.   OPTIMUM CARD SOLUTIONS LLC                    7/28/2017    $4,462.50               ¨ Secured debt
          855 S FIENE DRIVE
          ADDISON IL 60101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1371.   OTR ANAHEIM HILLS FESTIVAL                    9/12/2017    $13,095.00              ¨ Secured debt
          PO BOX 633276
          CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1372.   OTR ANAHEIM HILLS FESTIVAL                    8/11/2017    $13,095.00              ¨ Secured debt
          PO BOX 633276
          CINCINNATI OH 45263                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1373.   OXFORD VALLEY RD ASSOCIATES LP                9/5/2017     $16,087.32              ¨ Secured debt
          350 SENTRY PKWY
          BLDG 630 STE 300                                                                   ¨ Unsecured loan repayments
          BLUE BELL PA 19422                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1374.   OXFORD VALLEY RD ASSOCIATES LP                8/1/2017     $15,423.09              ¨ Secured debt
          350 SENTRY PKWY
          BLDG 630 STE 300                                                                   ¨ Unsecured loan repayments
          BLUE BELL PA 19422                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1375.   PAC - ACH (SUPPLY)                            10/6/2017    $3,581.49               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1376.   PAC - ACH (SUPPLY)                            9/29/2017    $3,172.60               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1377.   PAC - ACH (SUPPLY)                            9/15/2017    $3,456.96               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1378.   PAC - ACH (SUPPLY)                            9/8/2017     $3,290.93               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1379.   PAC - ACH (SUPPLY)                            9/1/2017     $1,377.57               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1380.   PAC - ACH (SUPPLY)                            8/25/2017    $2,808.98               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1381.   PAC - ACH (SUPPLY)                            8/11/2017    $5,150.69               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1382.   PAC - ACH (SUPPLY)                            7/28/2017    $8,399.15               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1383.   PAC - ACH (SUPPLY)                            7/21/2017    $7,146.98               ¨ Secured debt
          FILE 916241 PO BOX 961094
          FORT WORTH TX 76161                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1384.   PAPPAS LAGUNA NO 2 LP                         9/8/2017     $14,313.75              ¨ Secured debt
          2020 L STREET STE. 500
          SACRAMENTO CA 95825                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1385.   PAYTRONIX SYSTEMS INC                         10/6/2017    $250.00                 ¨ Secured debt
          80 BRIDGE STREET STREET
          NEWTON MA 02458                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1386.   PAYTRONIX SYSTEMS INC                         9/29/2017    $250.00                 ¨ Secured debt
          80 BRIDGE STREET STREET
          NEWTON MA 02458                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1387.   PAYTRONIX SYSTEMS INC                         9/15/2017    $5,291.66               ¨ Secured debt
          80 BRIDGE STREET STREET
          NEWTON MA 02458                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1388.   PAYTRONIX SYSTEMS INC                         9/1/2017     $5,928.94               ¨ Secured debt
          80 BRIDGE STREET STREET
          NEWTON MA 02458                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1389.   PAYTRONIX SYSTEMS INC                         8/11/2017    $6,250.88               ¨ Secured debt
          80 BRIDGE STREET STREET
          NEWTON MA 02458                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1390.   PELICAN ASSET MANAGEMENT GROUP LLC            9/5/2017     $11,711.83              ¨ Secured debt
          3184-H AIRWAY AVENUE
          COSTA MESA CA 92626                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1391.   PELICAN ASSET MANAGEMENT GROUP LLC            8/1/2017     $11,711.83              ¨ Secured debt
          3184-H AIRWAY AVENUE
          COSTA MESA CA 92626                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1392.   PEMBROKE SQUARE ASSOCIATES                    10/3/2017    $13,952.96              ¨ Secured debt
          C/O PEMBROKE COMMERCIAL REALTY
          4460 CORPORATION LN STE 300                                                        ¨ Unsecured loan repayments
          VIRGINIA BEACH VA 23462                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1393.   PEMBROKE SQUARE ASSOCIATES                    9/5/2017     $13,952.96              ¨ Secured debt
          C/O PEMBROKE COMMERCIAL REALTY
          4460 CORPORATION LN STE 300                                                        ¨ Unsecured loan repayments
          VIRGINIA BEACH VA 23462                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1394.   PEMBROKE SQUARE ASSOCIATES                    8/1/2017     $13,952.96              ¨ Secured debt
          C/O PEMBROKE COMMERCIAL REALTY
          4460 CORPORATION LN STE 300                                                        ¨ Unsecured loan repayments
          VIRGINIA BEACH VA 23462                                                            þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1395.   PEOPLE REPORT                                 9/8/2017     $10,463.00              ¨ Secured debt
          17304 PRESTON ROAD, STE. 430
          DALLAS TX 75252                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1396.   PERFORMANCE AIR MECHANICAL, INC.              10/13/2017 $517.49                   ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1397.   PERFORMANCE AIR MECHANICAL, INC.              10/6/2017    $1,269.48               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1398.   PERFORMANCE AIR MECHANICAL, INC.              9/29/2017    $615.99                 ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1399.   PERFORMANCE AIR MECHANICAL, INC.              9/22/2017    $2,226.86               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1400.   PERFORMANCE AIR MECHANICAL, INC.              9/15/2017    $1,929.64               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1401.   PERFORMANCE AIR MECHANICAL, INC.              9/8/2017     $3,121.85               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1402.   PERFORMANCE AIR MECHANICAL, INC.              9/1/2017     $1,041.73               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1403.   PERFORMANCE AIR MECHANICAL, INC.              8/25/2017    $1,100.08               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1404.   PERFORMANCE AIR MECHANICAL, INC.              8/18/2017    $2,308.22               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1405.   PERFORMANCE AIR MECHANICAL, INC.              8/11/2017    $899.50                 ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1406.   PERFORMANCE AIR MECHANICAL, INC.              8/4/2017     $1,730.60               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1407.   PERFORMANCE AIR MECHANICAL, INC.              7/28/2017    $3,044.47               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1408.   PERFORMANCE AIR MECHANICAL, INC.              7/21/2017    $2,541.58               ¨ Secured debt
          3720 PARK CENTRAL BLVD NORTH
          POMPANO BEACH FL 33064                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1409.   PFP TEMECULA RE HOLDINGS LLC                  9/5/2017     $25,633.44              ¨ Secured debt
          FILE #1870
          PASADENA CA 91199                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1410.   PFP TEMECULA RE HOLDINGS LLC                  8/1/2017     $13,564.85              ¨ Secured debt
          FILE #1870
          PASADENA CA 91199                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1411.   PGI -EMIERE GLOBAL SERVICES                   10/13/2017 $2,408.51                 ¨ Secured debt
          PO BOX 404351
          ATLANTA GA 30384                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1412.   PGI -EMIERE GLOBAL SERVICES                   9/25/2017    $2,451.10               ¨ Secured debt
          PO BOX 404351
          ATLANTA GA 30384                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1413.   PGI -EMIERE GLOBAL SERVICES                   9/1/2017     $2,870.38               ¨ Secured debt
          PO BOX 404351
          ATLANTA GA 30384                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1414.   PGI -EMIERE GLOBAL SERVICES                   8/7/2017     $2,674.07               ¨ Secured debt
          PO BOX 404351
          ATLANTA GA 30384                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1415.   PHILBROOK AVENUE ASSOC LLC                    9/12/2017    $13,482.72              ¨ Secured debt
          PO BOX 0853
          BRATTLEBORO VT 05302-0853                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1416.   PHILBROOK AVENUE ASSOC LLC                    8/11/2017    $13,482.72              ¨ Secured debt
          PO BOX 0853
          BRATTLEBORO VT 05302-0853                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1417.   PIONEER REAL ESTATE DEVEL INC                 9/12/2017    $12,416.25              ¨ Secured debt
          ATTN: DENNIS TATE
          742 PEACHOID ROAD                                                                  ¨ Unsecured loan repayments
          GAFFNEY SC 29341                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1418.   PIONEER REAL ESTATE DEVEL INC                 8/11/2017    $12,416.25              ¨ Secured debt
          ATTN: DENNIS TATE
          742 PEACHOID ROAD                                                                  ¨ Unsecured loan repayments
          GAFFNEY SC 29341                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1419.   PK II EL CAMINO NORTH LP                      9/5/2017     $13,103.04              ¨ Secured debt
          PO BOX 82565
          DEPT CODE SCAO 1409                                                                ¨ Unsecured loan repayments
          GOLETA CA 93118                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1420.   PK II EL CAMINO NORTH LP                      8/1/2017     $13,103.04              ¨ Secured debt
          PO BOX 82565
          DEPT CODE SCAO 1409                                                                ¨ Unsecured loan repayments
          GOLETA CA 93118                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1421.   PLAINFIELD FRUIT &ODUCE CO                    10/16/2017 $1,394.30                 ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1422.   PLAINFIELD FRUIT &ODUCE CO                    10/10/2017 $868.22                   ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1423.   PLAINFIELD FRUIT &ODUCE CO                    10/2/2017    $1,216.09               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1424.   PLAINFIELD FRUIT &ODUCE CO                    9/25/2017    $658.44                 ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1425.   PLAINFIELD FRUIT &ODUCE CO                    9/18/2017    $1,054.52               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1426.   PLAINFIELD FRUIT &ODUCE CO                    9/11/2017    $1,328.51               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1427.   PLAINFIELD FRUIT &ODUCE CO                    9/5/2017     $857.87                 ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1428.   PLAINFIELD FRUIT &ODUCE CO                    8/28/2017    $1,160.16               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1429.   PLAINFIELD FRUIT &ODUCE CO                    8/21/2017    $4,426.35               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1430.   PLAINFIELD FRUIT &ODUCE CO                    8/14/2017    $1,026.98               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1431.   PLAINFIELD FRUIT &ODUCE CO                    8/7/2017     $963.15                 ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1432.   PLAINFIELD FRUIT &ODUCE CO                    7/31/2017    $3,545.43               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1433.   PLAINFIELD FRUIT &ODUCE CO                    7/24/2017    $2,316.19               ¨ Secured debt
          82 EXECUTIVE AVE
          EDISON NJ 08817                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1434.   PORTER HEDGES LLP                             8/25/2017   $1,479.25               ¨ Secured debt
          PO BOX 4346
          DEPT 510                                                                          ¨ Unsecured loan repayments
          HOUSTON TX 77210                                                                  þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1435.   PORTER HEDGES LLP                             7/27/2017   $7,639.30               ¨ Secured debt
          PO BOX 4346
          DEPT 510                                                                          ¨ Unsecured loan repayments
          HOUSTON TX 77210                                                                  þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1436.   PRECISION APPLIANCE OF FLA INC                10/13/2017 $457.80                  ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1437.   PRECISION APPLIANCE OF FLA INC                10/6/2017   $399.64                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1438.   PRECISION APPLIANCE OF FLA INC                9/22/2017   $1,451.00               ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1439.   PRECISION APPLIANCE OF FLA INC                9/15/2017   $2,801.09               ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1440.   PRECISION APPLIANCE OF FLA INC                9/8/2017     $725.50                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1441.   PRECISION APPLIANCE OF FLA INC                9/1/2017     $362.75                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1442.   PRECISION APPLIANCE OF FLA INC                8/25/2017    $725.50                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1443.   PRECISION APPLIANCE OF FLA INC                8/18/2017    $985.82                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1444.   PRECISION APPLIANCE OF FLA INC                8/11/2017    $622.10                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1445.   PRECISION APPLIANCE OF FLA INC                8/4/2017     $519.37                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1446.   PRECISION APPLIANCE OF FLA INC                7/28/2017    $845.90                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1447.   PRECISION APPLIANCE OF FLA INC                7/21/2017    $900.10                 ¨ Secured debt
          2414 MERCHANT AVENUE
          ODESSA FL 33556                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1448.   PREMIER BEVERAGE CO.DBA BREAKTHRU             9/22/2017    $1,213.21               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1449.   PREMIER BEVERAGE CO.DBA BREAKTHRU             9/15/2017    $414.80                 ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1450.   PREMIER BEVERAGE CO.DBA BREAKTHRU             9/8/2017     $1,501.42               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1451.   PREMIER BEVERAGE CO.DBA BREAKTHRU             9/1/2017     $2,293.58               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1452.   PREMIER BEVERAGE CO.DBA BREAKTHRU             8/25/2017    $1,078.28               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1453.   PREMIER BEVERAGE CO.DBA BREAKTHRU             8/18/2017    $1,399.23               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1454.   PREMIER BEVERAGE CO.DBA BREAKTHRU             8/11/2017    $1,041.40               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1455.   PREMIER BEVERAGE CO.DBA BREAKTHRU             8/4/2017     $1,114.36               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1456.   PREMIER BEVERAGE CO.DBA BREAKTHRU             7/28/2017    $1,887.16               ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1457.   PREMIER BEVERAGE CO.DBA BREAKTHRU             7/21/2017    $666.96                 ¨ Secured debt
          BEVERAGE FLORIDA
          PO BOX 820410                                                                      ¨ Unsecured loan repayments
          SOUTH FLORIDA FL 33082                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1458.   PRISA LHC LLC                                 9/5/2017     $16,506.70              ¨ Secured debt
          3625 DALLAS HIGHWAY STE. 470
          MARIETTA GA 30064                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1459.   PRISA LHC LLC                                 8/1/2017     $16,506.70              ¨ Secured debt
          3625 DALLAS HIGHWAY STE. 470
          MARIETTA GA 30064                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1460.   PRO REFRIGERATION INC                         10/13/2017 $1,085.78                 ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1461.   PRO REFRIGERATION INC                         10/6/2017    $1,996.20               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1462.   PRO REFRIGERATION INC                         9/29/2017    $1,708.19               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1463.   PRO REFRIGERATION INC                         9/22/2017    $4,731.66               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1464.   PRO REFRIGERATION INC                         9/15/2017    $3,472.41               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1465.   PRO REFRIGERATION INC                         9/8/2017     $3,985.75               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1466.   PRO REFRIGERATION INC                         9/1/2017     $3,247.09               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1467.   PRO REFRIGERATION INC                         8/25/2017    $3,633.71               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1468.   PRO REFRIGERATION INC                         8/18/2017    $821.83                 ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1469.   PRO REFRIGERATION INC                         8/11/2017    $1,921.65               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1470.   PRO REFRIGERATION INC                         8/4/2017     $2,935.31               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1471.   PRO REFRIGERATION INC                         7/28/2017    $5,035.64               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1472.   PRO REFRIGERATION INC                         7/21/2017    $5,235.81               ¨ Secured debt
          13089 PEYTON DRIVE
          STE. C152                                                                          ¨ Unsecured loan repayments
          CHINO HILLS CA 91709                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1473.   PTW STASSNEY, LLC                             9/21/2017    $9,075.00               ¨ Secured debt
          2208 CASEY KEY RD
          NOKOMIS FL 34275                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1474.   PTW STASSNEY, LLC                             8/17/2017    $9,075.00               ¨ Secured debt
          2208 CASEY KEY RD
          NOKOMIS FL 34275                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1475.   QUALITY FRUIT & VEG CO                        10/16/2017 $2,778.28                 ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1476.   QUALITY FRUIT & VEG CO                        10/10/2017 $955.92                   ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1477.   QUALITY FRUIT & VEG CO                        10/2/2017    $2,218.85               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1478.   QUALITY FRUIT & VEG CO                        9/25/2017    $1,754.19               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1479.   QUALITY FRUIT & VEG CO                        9/18/2017    $4,093.38               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1480.   QUALITY FRUIT & VEG CO                        9/11/2017    $2,263.05               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1481.   QUALITY FRUIT & VEG CO                        9/5/2017     $2,719.88               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1482.   QUALITY FRUIT & VEG CO                        8/7/2017     $2,930.36               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1483.   QUALITY FRUIT & VEG CO                        7/31/2017    $5,020.94               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1484.   QUALITY FRUIT & VEG CO                        7/24/2017    $1,343.99               ¨ Secured debt
          10 ZANE GREY STREET
          EL PASO TX 79906                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1485.   RADIOTAXI 3570 SOC.COOP                       9/28/16      $622.10                 ¨ Secured debt
          VIA DEL CASALE LUMBROSO 167
          ROMA                                                                               ¨ Unsecured loan repayments
          ITALY                                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1486.   RANCH TOWN CENTER LLC                         9/5/2017     $10,813.55              ¨ Secured debt
          101 N WESTLAKE BLVD STE 201
          WESTLAKE VILLAGE CA 91362                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1487.   RANCH TOWN CENTER LLC                         8/1/2017     $11,596.17              ¨ Secured debt
          101 N WESTLAKE BLVD STE 201
          WESTLAKE VILLAGE CA 91362                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1488.   RAVEN CAPITAL                                 10/23/17     $10,000.00              ¨ Secured debt
          110 GREENE STREET
          NEW YORK NY 10012                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1489.   RAVEN CAPITAL MANAGEMENT,LLC                  9/22/17      $50,000.00              ¨ Secured debt
          1100 GREENE ST 9G
          NEW YORK NY 10012                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1490.   RAYMARK AIR CONDITIONING & HEATING INC        10/6/2017    $635.00                 ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1491.   RAYMARK AIR CONDITIONING & HEATING INC        9/29/2017    $358.85                 ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1492.   RAYMARK AIR CONDITIONING & HEATING INC        9/22/2017    $836.77                 ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1493.   RAYMARK AIR CONDITIONING & HEATING INC        9/15/2017    $218.66                 ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1494.   RAYMARK AIR CONDITIONING & HEATING INC        8/25/2017    $2,031.41               ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1495.   RAYMARK AIR CONDITIONING & HEATING INC        8/18/2017    $1,366.55               ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1496.   RAYMARK AIR CONDITIONING & HEATING INC        8/11/2017    $2,731.11               ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1497.   RAYMARK AIR CONDITIONING & HEATING INC        8/4/2017     $2,991.00               ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1498.   RAYMARK AIR CONDITIONING & HEATING INC        7/26/2017    $5,314.70               ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1499.   RAYMARK AIR CONDITIONING & HEATING INC        7/21/2017    $955.30                 ¨ Secured debt
          DBA MARK'S SERVICES
          PO BOX 168                                                                         ¨ Unsecured loan repayments
          PORTER TX 77365                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1500.   RB3 ASSOCIATES                                9/12/2017    $12,375.00              ¨ Secured debt
          ATTN LEASE ADMINISTRATION
          PO BOX 823201                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19182                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1501.   RB3 ASSOCIATES                                8/11/2017    $12,375.00              ¨ Secured debt
          ATTN LEASE ADMINISTRATION
          PO BOX 823201                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19182                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1502.   RDT LIMITED PARTNERSHIP                       10/3/2017    $9,976.32               ¨ Secured debt
          C/O RICHARD THURMAN
          10000 SHELBYVILLE RD STE 210                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40223                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1503.   RDT LIMITED PARTNERSHIP                       9/5/2017     $9,976.32               ¨ Secured debt
          C/O RICHARD THURMAN
          10000 SHELBYVILLE RD STE 210                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40223                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1504.   RDT LIMITED PARTNERSHIP                       8/1/2017     $9,976.32               ¨ Secured debt
          C/O RICHARD THURMAN
          10000 SHELBYVILLE RD STE 210                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40223                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1505.   RECEIVER OF TAXES HENRIETTA                   9/29/2017    $17,903.82              ¨ Secured debt
          PO BOX 579
          HENRIETTA NY 14467                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1506.   REDLANDS JOINT VENTURE LLC                    10/2/2017   $9,853.38               ¨ Secured debt
          13191 CROSSROADS PKWY N
          6TH FLOOR                                                                         ¨ Unsecured loan repayments
          CITY OF INDUSTRY CA 91746                                                         þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1507.   REDLANDS JOINT VENTURE LLC                    9/12/2017   $9,853.38               ¨ Secured debt
          13191 CROSSROADS PKWY N
          6TH FLOOR                                                                         ¨ Unsecured loan repayments
          CITY OF INDUSTRY CA 91746                                                         þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1508.   REDLANDS JOINT VENTURE LLC                    8/11/2017   $9,853.38               ¨ Secured debt
          13191 CROSSROADS PKWY N
          6TH FLOOR                                                                         ¨ Unsecured loan repayments
          CITY OF INDUSTRY CA 91746                                                         þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1509.   REGAL WINE COMPANY                            9/25/2017   $300.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1510.   REGAL WINE COMPANY                            9/22/2017   $1,104.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1511.   REGAL WINE COMPANY                            9/20/2017   $348.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1512.   REGAL WINE COMPANY                            9/15/2017    $1,311.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1513.   REGAL WINE COMPANY                            9/8/2017     $1,017.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1514.   REGAL WINE COMPANY                            9/6/2017     $300.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1515.   REGAL WINE COMPANY                            9/1/2017     $780.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1516.   REGAL WINE COMPANY                            8/28/2017    $696.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1517.   REGAL WINE COMPANY                            8/24/2017    $1,980.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1518.   REGAL WINE COMPANY                            8/24/2017    $348.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1519.   REGAL WINE COMPANY                            8/18/2017    $369.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1520.   REGAL WINE COMPANY                            8/15/2017    $2,202.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1521.   REGAL WINE COMPANY                            8/10/2017    $300.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1522.   REGAL WINE COMPANY                            8/8/2017     $1,284.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1523.   REGAL WINE COMPANY                            8/4/2017     $1,185.00               ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1524.   REGAL WINE COMPANY                            8/3/2017     $774.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1525.   REGAL WINE COMPANY                            8/1/2017     $426.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1526.   REGAL WINE COMPANY                            7/28/2017    $717.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1527.   REGAL WINE COMPANY                            7/26/2017    $825.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1528.   REGAL WINE COMPANY                            7/21/2017    $300.00                 ¨ Secured debt
          1190 KITTYHAWK BLVD
          SANTA ROSA CA 95403                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1529.   RENAUD COOK DRURY MESAROS, PA                 10/13/2017 $8,257.58                 ¨ Secured debt
          1 NORTH CENTRAL AVE STE, 900
          PHOENIX AZ 85004                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1530.   RENAUD COOK DRURY MESAROS, PA                 8/11/2017    $5,324.35               ¨ Secured debt
          1 NORTH CENTRAL AVE STE, 900
          PHOENIX AZ 85004                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1531.   RENODIS INC                                   9/29/2017    $2,295.00               ¨ Secured debt
          476 ROBERT STREET N
          ST PAUL MN 55101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1532.   RENODIS INC                                   9/1/2017     $5,500.00               ¨ Secured debt
          476 ROBERT STREET N
          ST PAUL MN 55101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1533.   RENODIS INC                                   8/11/2017    $7,796.25               ¨ Secured debt
          476 ROBERT STREET N
          ST PAUL MN 55101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1534.   RENODIS INC                                   7/21/2017    $5,500.00               ¨ Secured debt
          476 ROBERT STREET N
          ST PAUL MN 55101                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1535.   REPUBLIC NATIONAL DIST - ASHLAND              9/21/2017    $851.58                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1536.   REPUBLIC NATIONAL DIST - ASHLAND              9/14/2017    $1,047.85               ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1537.   REPUBLIC NATIONAL DIST - ASHLAND              9/7/2017     $1,232.30               ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1538.   REPUBLIC NATIONAL DIST - ASHLAND              8/31/2017    $500.94                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1539.   REPUBLIC NATIONAL DIST - ASHLAND              8/24/2017    $886.02                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1540.   REPUBLIC NATIONAL DIST - ASHLAND              8/17/2017    $663.99                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1541.   REPUBLIC NATIONAL DIST - ASHLAND              8/10/2017    $970.34                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1542.   REPUBLIC NATIONAL DIST - ASHLAND              8/3/2017     $377.70                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1543.   REPUBLIC NATIONAL DIST - ASHLAND              7/27/2017    $895.66                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1544.   REPUBLIC NATIONAL DIST - ASHLAND              7/20/2017    $430.44                 ¨ Secured debt
          5401 EUBANK RD
          SANDSTON VA 23150                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1545.   REPUBLIC NATIONAL DIST - CO                   9/22/2017    $1,742.13               ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1546.   REPUBLIC NATIONAL DIST - CO                   9/21/2017    $175.54                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1547.   REPUBLIC NATIONAL DIST - CO                   9/15/2017    $1,442.50               ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1548.   REPUBLIC NATIONAL DIST - CO                   9/8/2017     $890.14                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1549.   REPUBLIC NATIONAL DIST - CO                   9/7/2017     $213.82                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1550.   REPUBLIC NATIONAL DIST - CO                   9/1/2017     $527.96                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1551.   REPUBLIC NATIONAL DIST - CO                   8/31/2017    $221.39                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1552.   REPUBLIC NATIONAL DIST - CO                   8/25/2017    $1,395.15               ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1553.   REPUBLIC NATIONAL DIST - CO                   8/18/2017    $1,155.55               ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1554.   REPUBLIC NATIONAL DIST - CO                   8/17/2017    $30.16                  ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1555.   REPUBLIC NATIONAL DIST - CO                   8/11/2017    $933.05                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1556.   REPUBLIC NATIONAL DIST - CO                   8/4/2017     $937.57                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1557.   REPUBLIC NATIONAL DIST - CO                   7/28/2017    $562.83                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1558.   REPUBLIC NATIONAL DIST - CO                   7/27/2017    $104.86                 ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1559.   REPUBLIC NATIONAL DIST - CO                   7/21/2017    $1,133.61               ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1560.   REPUBLIC NATIONAL DIST - CO                   7/20/2017    $95.05                  ¨ Secured debt
          8000 SOUTHPARK TERR
          LITTLETON CO 80120                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1561.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       9/22/2017    $984.30                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1562.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       9/14/2017    $1,216.74               ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1563.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       9/7/2017     $171.12                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1564.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       9/5/2017     $917.06                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1565.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       8/25/2017    $554.62                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1566.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       8/17/2017    $760.62                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1567.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       8/14/2017    $102.00                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1568.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       8/10/2017    $585.84                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1569.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       8/3/2017     $472.96                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1570.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       8/1/2017     $138.42                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1571.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       7/28/2017    $422.52                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1572.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       7/25/2017    $186.84                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1573.   REPUBLIC NATIONAL DIST - CORPUS CHRISTI       7/20/2017    $726.90                 ¨ Secured debt
          434 45TH ST
          CORPUS CHRISTI TX 78405                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1574.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       9/15/2017    $1,069.50               ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1575.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       9/8/2017     $934.27                 ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1576.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       9/1/2017     $1,372.51               ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1577.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       8/25/2017    $1,129.35               ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1578.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       8/18/2017    $1,060.72               ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1579.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       8/11/2017    $581.04                 ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1580.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       8/4/2017     $1,035.66               ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1581.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       7/28/2017    $728.95                 ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1582.   REPUBLIC NATIONAL DIST - DEERFIELD BCH.       7/21/2017    $1,060.87               ¨ Secured debt
          441 SW 12TH AVE
          DEERFIELD BEACH FL 33442                                                           ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1583.   REPUBLIC NATIONAL DIST - GRANDAIRIE           9/22/2017    $7,949.82               ¨ Secured debt
          1010 ISUZU PKWY
          GRAND PRAIRIE TX 75053                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1584.   REPUBLIC NATIONAL DIST - GRANDAIRIE           9/8/2017     $14,571.37              ¨ Secured debt
          1010 ISUZU PKWY
          GRAND PRAIRIE TX 75053                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1585.   REPUBLIC NATIONAL DIST - GRANDAIRIE           8/24/2017    $9,460.34               ¨ Secured debt
          1010 ISUZU PKWY
          GRAND PRAIRIE TX 75053                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1586.   REPUBLIC NATIONAL DIST - GRANDAIRIE           8/9/2017     $6,000.57               ¨ Secured debt
          1010 ISUZU PKWY
          GRAND PRAIRIE TX 75053                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1587.   REPUBLIC NATIONAL DIST - GRANDAIRIE           7/24/2017    $9,474.16               ¨ Secured debt
          1010 ISUZU PKWY
          GRAND PRAIRIE TX 75053                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1588.   REPUBLIC NATIONAL DIST - JESSUP               9/21/2017    $1,001.58               ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1589.   REPUBLIC NATIONAL DIST - JESSUP               9/20/2017    $991.39                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1590.   REPUBLIC NATIONAL DIST - JESSUP               9/15/2017    $1,390.38               ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1591.   REPUBLIC NATIONAL DIST - JESSUP               9/8/2017     $803.80                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1592.   REPUBLIC NATIONAL DIST - JESSUP               9/7/2017     $1,216.58               ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1593.   REPUBLIC NATIONAL DIST - JESSUP               9/1/2017     $2,074.91               ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1594.   REPUBLIC NATIONAL DIST - JESSUP               8/31/2017    $692.25                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1595.   REPUBLIC NATIONAL DIST - JESSUP               8/18/2017    $551.87                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1596.   REPUBLIC NATIONAL DIST - JESSUP               8/17/2017    $815.93                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1597.   REPUBLIC NATIONAL DIST - JESSUP               8/11/2017    $723.42                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1598.   REPUBLIC NATIONAL DIST - JESSUP               8/10/2017    $792.59                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1599.   REPUBLIC NATIONAL DIST - JESSUP               8/4/2017     $1,216.19               ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1600.   REPUBLIC NATIONAL DIST - JESSUP               8/3/2017     $685.06                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1601.   REPUBLIC NATIONAL DIST - JESSUP               7/27/2017    $299.18                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                        ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1602.   REPUBLIC NATIONAL DIST - JESSUP               7/21/2017   $1,102.99               ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1603.   REPUBLIC NATIONAL DIST - JESSUP               7/20/2017   $675.61                 ¨ Secured debt
          PO BOX 687
          ANNAPOLIS JUNCTION MD 20701                                                       ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1604.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/25/2017   $174.52                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1605.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/21/2017   $904.44                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1606.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/20/2017   $558.34                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1607.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/14/2017   $558.58                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1608.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/13/2017    $372.78                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1609.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/8/2017     $859.42                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1610.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/7/2017     $1,222.86               ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1611.   REPUBLIC NATIONAL DIST - SAN ANTONIO          9/1/2017     $310.32                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1612.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/31/2017    $548.10                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1613.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/25/2017    $858.54                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1614.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/24/2017   $763.66                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1615.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/23/2017   $653.32                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1616.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/18/2017   $386.64                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1617.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/17/2017   $779.86                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1618.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/16/2017   $1,140.76               ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1619.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/11/2017   $485.88                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1620.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/10/2017    $423.42                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1621.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/9/2017     $758.64                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1622.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/4/2017     $1,042.48               ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1623.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/3/2017     $1,171.00               ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1624.   REPUBLIC NATIONAL DIST - SAN ANTONIO          8/2/2017     $492.40                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1625.   REPUBLIC NATIONAL DIST - SAN ANTONIO          7/28/2017    $506.52                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1626.   REPUBLIC NATIONAL DIST - SAN ANTONIO          7/27/2017    $883.42                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1627.   REPUBLIC NATIONAL DIST - SAN ANTONIO          7/26/2017    $680.04                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1628.   REPUBLIC NATIONAL DIST - SAN ANTONIO          7/21/2017    $729.36                 ¨ Secured debt
          6511 TRI COUNTY PKWY
          SCHERTZ TX 78154                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1629.   REPUBLIC NATIONAL DIST - TAMPA                9/22/2017    $1,357.71               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1630.   REPUBLIC NATIONAL DIST - TAMPA                9/15/2017    $1,625.63               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1631.   REPUBLIC NATIONAL DIST - TAMPA                9/8/2017     $1,855.55               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1632.   REPUBLIC NATIONAL DIST - TAMPA                9/1/2017     $2,012.70               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1633.   REPUBLIC NATIONAL DIST - TAMPA                8/25/2017    $3,435.53               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1634.   REPUBLIC NATIONAL DIST - TAMPA                8/18/2017    $1,732.47               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1635.   REPUBLIC NATIONAL DIST - TAMPA                8/11/2017    $1,993.81               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1636.   REPUBLIC NATIONAL DIST - TAMPA                8/4/2017     $1,808.96               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1637.   REPUBLIC NATIONAL DIST - TAMPA                7/28/2017    $2,355.44               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1638.   REPUBLIC NATIONAL DIST - TAMPA                7/21/2017    $1,960.51               ¨ Secured debt
          4901 SAVARESE CIRCLE
          TAMPA FL 33634                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1639.   RESTAURANT TECHNICAL SERVICES                 10/13/2017 $469.19                   ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1640.   RESTAURANT TECHNICAL SERVICES                 10/6/2017    $589.50                 ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1641.   RESTAURANT TECHNICAL SERVICES                 9/22/2017    $398.16                 ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1642.   RESTAURANT TECHNICAL SERVICES                 9/15/2017    $532.41                 ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1643.   RESTAURANT TECHNICAL SERVICES                 9/8/2017     $244.75                 ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1644.   RESTAURANT TECHNICAL SERVICES                 8/18/2017    $802.15                 ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1645.   RESTAURANT TECHNICAL SERVICES                 8/11/2017    $3,500.14               ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1646.   RESTAURANT TECHNICAL SERVICES                 8/4/2017     $2,940.52               ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1647.   RESTAURANT TECHNICAL SERVICES                 7/28/2017    $1,768.65               ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1648.   RESTAURANT TECHNICAL SERVICES                 7/21/2017    $865.57                 ¨ Secured debt
          PO BOX 1206
          CAMPBELL CA 95009                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1649.   RICHARD J. ROSENTHAL                          10/3/2017    $21,759.58              ¨ Secured debt
          PO BOX 837
          VENICE CA 90294                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1650.   RICHARD J. ROSENTHAL                          9/5/2017     $21,759.58              ¨ Secured debt
          PO BOX 837
          VENICE CA 90294                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1651.   RICHARD J. ROSENTHAL                          9/1/2017     $3,351.18               ¨ Secured debt
          PO BOX 837
          VENICE CA 90294                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1652.   RICHARD J. ROSENTHAL                          8/1/2017     $22,468.05              ¨ Secured debt
          PO BOX 837
          VENICE CA 90294                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1653.   RISTORANTE ROMEO SRL                          9/23/16      $1,804.00               ¨ Secured debt
          VICOLO DEL CINQUE 58
          ROMA                                                                               ¨ Unsecured loan repayments
          ITALY                                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1654.   RIVER PARKOPERTIES II                         9/5/2017     $8,625.00               ¨ Secured debt
          265 E RIVER PARK CIRCLE STE. 150
          FRESNO CA 93720                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1655.   RIVER PARKOPERTIES II                         9/5/2017     $4,188.01               ¨ Secured debt
          DBA THE SHOPS AT RIVER PARK
          265 E RIVER PARK CIR #150                                                          ¨ Unsecured loan repayments
          FRESNO CA 93720                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1656.   RIVER PARKOPERTIES II                         8/1/2017     $8,625.00               ¨ Secured debt
          265 E RIVER PARK CIRCLE STE. 150
          FRESNO CA 93720                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1657.   RIVER PARKOPERTIES II                         8/1/2017     $4,188.01               ¨ Secured debt
          DBA THE SHOPS AT RIVER PARK
          265 E RIVER PARK CIR #150                                                          ¨ Unsecured loan repayments
          FRESNO CA 93720                                                                    þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1658.   ROBERT HALF INTERNATIONAL                     10/13/2017 $6,041.92                 ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1659.   ROBERT HALF INTERNATIONAL                     10/6/2017    $6,686.40               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1660.   ROBERT HALF INTERNATIONAL                     9/29/2017    $5,232.00               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1661.   ROBERT HALF INTERNATIONAL                     9/22/2017    $5,944.63               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1662.   ROBERT HALF INTERNATIONAL                     9/15/2017    $6,839.08               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1663.   ROBERT HALF INTERNATIONAL                     9/8/2017     $6,864.65               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1664.   ROBERT HALF INTERNATIONAL                     9/1/2017     $6,837.74               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1665.   ROBERT HALF INTERNATIONAL                     8/25/2017    $5,411.00               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1666.   ROBERT HALF INTERNATIONAL                     8/18/2017    $4,298.97               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1667.   ROBERT HALF INTERNATIONAL                     8/11/2017    $6,862.07               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1668.   ROBERT HALF INTERNATIONAL                     8/4/2017     $2,642.92               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1669.   ROBERT HALF INTERNATIONAL                     7/28/2017    $4,204.32               ¨ Secured debt
          PO BOX 743295
          DBA RH MANAGEMENT RESOURCES                                                        ¨ Unsecured loan repayments
          LOS ANGELES CA 90074                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1670.   ROCKY RIDGE STATION LLC                       9/5/2017     $18,317.23              ¨ Secured debt
          C/O PHILLIPS EDISON & COMPANY
          PO BOX 645622                                                                      ¨ Unsecured loan repayments
          PITTSBURGH PA 15264-5254                                                           þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1671.   ROCKY RIDGE STATION LLC                       8/1/2017     $18,317.23              ¨ Secured debt
          C/O PHILLIPS EDISON & COMPANY
          PO BOX 645622                                                                      ¨ Unsecured loan repayments
          PITTSBURGH PA 15264-5254                                                           þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1672.   RODERICK ENTERPRISES                          9/5/2017     $13,047.68              ¨ Secured debt
          PO BOX 186
          MIDVALE UT 84047                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1673.   RODERICK ENTERPRISES                          8/1/2017     $13,352.48              ¨ Secured debt
          PO BOX 186
          MIDVALE UT 84047                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1674.   ROOTER SERVICE INC. ROOTER 2000               9/22/2017    $564.05                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1675.   ROOTER SERVICE INC. ROOTER 2000               9/15/2017    $360.31                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1676.   ROOTER SERVICE INC. ROOTER 2000               9/8/2017     $836.25                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1677.   ROOTER SERVICE INC. ROOTER 2000               9/1/2017     $1,302.48               ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1678.   ROOTER SERVICE INC. ROOTER 2000               8/25/2017    $1,916.08               ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1679.   ROOTER SERVICE INC. ROOTER 2000               8/18/2017    $324.41                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1680.   ROOTER SERVICE INC. ROOTER 2000               8/11/2017   $758.46                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1681.   ROOTER SERVICE INC. ROOTER 2000               7/28/2017   $624.67                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1682.   ROOTER SERVICE INC. ROOTER 2000               7/21/2017   $490.92                 ¨ Secured debt
          PO BOX 40111
          MESA AZ 85274                                                                     ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1683.   ROYAL CUP INC                                 10/16/2017 $1,023.40                ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1684.   ROYAL CUP INC                                 10/10/2017 $3,609.69                ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1685.   ROYAL CUP INC                                 10/2/2017   $3,972.91               ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1686.   ROYAL CUP INC                                 9/25/2017    $1,711.08               ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1687.   ROYAL CUP INC                                 9/18/2017    $2,589.05               ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1688.   ROYAL CUP INC                                 9/11/2017    $4,995.62               ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1689.   ROYAL CUP INC                                 9/5/2017     $12,081.60              ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1690.   ROYAL CUP INC                                 8/28/2017    $4,720.17               ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1691.   ROYAL CUP INC                                 8/21/2017    $1,746.22               ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1692.   ROYAL CUP INC                                 8/14/2017    $574.86                 ¨ Secured debt
          PO BOX 206011
          DALLAS TX 75320                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1693.   RR DONNELLEY                                  10/20/17     $9,428.58               ¨ Secured debt
          14100 LEAR BLVD. SUITE 130
          RENO NV 89506                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1694.   SACRAMENTO COUNTY                             8/31/2017    $5,650.83               ¨ Secured debt
          TAX COLLECTOR'S OFFICE
          PO BOX 508                                                                         ¨ Unsecured loan repayments
          SACRAMENTO CA 95812-0508                                                           þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1695.   SACRAMENTO COUNTY                             8/21/2017    $16,795.13              ¨ Secured debt
          TAX COLLECTOR'S OFFICE
          PO BOX 508                                                                         ¨ Unsecured loan repayments
          SACRAMENTO CA 95812-0508                                                           þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1696.   SBC TAX COLLECTOR                             8/31/2017    $8,806.67               ¨ Secured debt
          268 W HOSPITALITY LANE, FIRST FLOOT
          SAN BERNARDINO CA 92415-0360                                                       ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1697.   SCHOENMANNODUCE CO INC                        10/16/2017 $5,541.76                 ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1698.   SCHOENMANNODUCE CO INC                        10/10/2017 $3,487.90                 ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1699.   SCHOENMANNODUCE CO INC                        10/2/2017    $5,972.71               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1700.   SCHOENMANNODUCE CO INC                        9/25/2017    $4,211.49               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1701.   SCHOENMANNODUCE CO INC                        9/18/2017    $5,401.27               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1702.   SCHOENMANNODUCE CO INC                        9/11/2017    $6,112.73               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1703.   SCHOENMANNODUCE CO INC                        9/5/2017     $4,799.38               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1704.   SCHOENMANNODUCE CO INC                        8/28/2017    $4,463.90               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1705.   SCHOENMANNODUCE CO INC                        8/21/2017    $442.29                 ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1706.   SCHOENMANNODUCE CO INC                        8/14/2017    $4,472.85               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1707.   SCHOENMANNODUCE CO INC                        8/7/2017     $5,364.26               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1708.   SCHOENMANNODUCE CO INC                        7/31/2017    $11,553.30              ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1709.   SCHOENMANNODUCE CO INC                        7/24/2017    $8,105.99               ¨ Secured debt
          PO BOX 51705
          LAFAYETTE LA 77061                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1710.   SCOTT C MCDERMAND AS TRUSTEE                  9/21/2017   $18,953.39              ¨ Secured debt
          PO BOX 691
          JAMUL CA 91935                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1711.   SCOTT C MCDERMAND AS TRUSTEE                  8/17/2017   $18,953.39              ¨ Secured debt
          PO BOX 691
          JAMUL CA 91935                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1712.   SERITAGE GROWTHOPERTIES LP                    9/29/2017   $32,099.82              ¨ Secured debt
          PO BOX 776148
          CHICAGO IL 60677                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1713.   SERITAGE GROWTHOPERTIES LP                    9/21/2017   $9,170.79               ¨ Secured debt
          PO BOX 776148
          CHICAGO IL 60677                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1714.   SERITAGE GROWTHOPERTIES LP                    8/17/2017   $9,170.79               ¨ Secured debt
          PO BOX 776148
          CHICAGO IL 60677                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1715.   SERVCO LLC                                    10/6/2017   $458.00                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1716.   SERVCO LLC                                    9/22/2017    $685.00                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1717.   SERVCO LLC                                    9/15/2017    $2,189.06               ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1718.   SERVCO LLC                                    9/8/2017     $966.16                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1719.   SERVCO LLC                                    9/1/2017     $772.30                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1720.   SERVCO LLC                                    8/25/2017    $685.48                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1721.   SERVCO LLC                                    8/18/2017    $456.17                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1722.   SERVCO LLC                                    7/28/2017    $290.27                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1723.   SERVCO LLC                                    7/21/2017    $680.09                 ¨ Secured debt
          701 BAGLEY DR
          TRUSSVILLE AL 35173                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1724.   SHANKAR NEVADA LLC                            9/8/2017     $11,518.12              ¨ Secured debt
          DEPT 34683
          PO BOX 39000                                                                       ¨ Unsecured loan repayments
          SAN FRANCISCO CA 94139                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1725.   SHUTTS & BOWEN                                8/11/2017    $9,809.93               ¨ Secured debt
          C/O SUNTRUST BANK, N.A.
          25 PARK PLACE                                                                      ¨ Unsecured loan repayments
          ATLANTA GA 30308                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1726.   SILVERSTATE REFRIGERATION & HVAC LLC          10/13/2017 $356.50                   ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1727.   SILVERSTATE REFRIGERATION & HVAC LLC          10/6/2017    $1,767.88               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1728.   SILVERSTATE REFRIGERATION & HVAC LLC          9/29/2017    $2,582.25               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1729.   SILVERSTATE REFRIGERATION & HVAC LLC          9/22/2017    $524.14                 ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1730.   SILVERSTATE REFRIGERATION & HVAC LLC          9/15/2017    $3,294.38               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1731.   SILVERSTATE REFRIGERATION & HVAC LLC          9/8/2017     $1,823.37               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1732.   SILVERSTATE REFRIGERATION & HVAC LLC          9/1/2017     $1,475.00               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1733.   SILVERSTATE REFRIGERATION & HVAC LLC          8/25/2017    $2,011.09               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1734.   SILVERSTATE REFRIGERATION & HVAC LLC          8/18/2017    $2,719.32               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1735.   SILVERSTATE REFRIGERATION & HVAC LLC          8/11/2017    $1,820.00               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1736.   SILVERSTATE REFRIGERATION & HVAC LLC          7/28/2017    $1,202.97               ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1737.   SILVERSTATE REFRIGERATION & HVAC LLC          7/21/2017    $780.81                 ¨ Secured debt
          4535 COPPER SAGE ST
          LAS VEGAS NV 89115                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1738.   SIMON ROOFING AND SHEET METAL CORP            9/22/2017    $1,671.02               ¨ Secured debt
          PO BOX 951109
          CLEVELAND OH 44193                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1739.   SIMON ROOFING AND SHEET METAL CORP            9/8/2017     $1,533.56               ¨ Secured debt
          PO BOX 951109
          CLEVELAND OH 44193                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1740.   SIMON ROOFING AND SHEET METAL CORP            8/11/2017    $2,096.22               ¨ Secured debt
          PO BOX 951109
          CLEVELAND OH 44193                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1741.   SIMON ROOFING AND SHEET METAL CORP            8/4/2017     $5,327.77               ¨ Secured debt
          PO BOX 951109
          CLEVELAND OH 44193                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1742.   SIMON ROOFING AND SHEET METAL CORP            7/28/2017    $1,088.84               ¨ Secured debt
          PO BOX 951109
          CLEVELAND OH 44193                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1743.   SIMON ROOFING AND SHEET METAL CORP            7/21/2017    $1,074.75               ¨ Secured debt
          PO BOX 951109
          CLEVELAND OH 44193                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1744.   SIRNA & SONS MAINLINEODUCE                    10/16/2017 $3,426.07                 ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1745.   SIRNA & SONS MAINLINEODUCE                    10/10/2017 $3,502.13                 ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1746.   SIRNA & SONS MAINLINEODUCE                    10/2/2017    $3,942.09               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1747.   SIRNA & SONS MAINLINEODUCE                    9/25/2017    $2,796.37               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1748.   SIRNA & SONS MAINLINEODUCE                    9/18/2017    $3,488.87               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1749.   SIRNA & SONS MAINLINEODUCE                    9/11/2017    $3,598.14               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1750.   SIRNA & SONS MAINLINEODUCE                    9/5/2017     $2,625.60               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1751.   SIRNA & SONS MAINLINEODUCE                    8/28/2017    $2,919.71               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1752.   SIRNA & SONS MAINLINEODUCE                    8/21/2017    $3,390.33               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1753.   SIRNA & SONS MAINLINEODUCE                    8/14/2017    $2,631.65               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1754.   SIRNA & SONS MAINLINEODUCE                    8/7/2017     $3,835.69               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1755.   SIRNA & SONS MAINLINEODUCE                    7/31/2017    $3,386.29               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1756.   SIRNA & SONS MAINLINEODUCE                    7/24/2017    $2,571.13               ¨ Secured debt
          7176 STATE ROUTE 88
          RAVENNA OH 44266                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1757.   SLM WASTE & RECYCLING SVC INC                 10/13/2017 $51,102.19                ¨ Secured debt
          PO BOX 782678
          PHILADELPHIA PA 19178-2678                                                         ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1758.   SLM WASTE & RECYCLING SVC INC                 9/29/2017    $54,997.67              ¨ Secured debt
          PO BOX 782678
          PHILADELPHIA PA 19178-2678                                                         ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1759.   SLM WASTE & RECYCLING SVC INC                 8/25/2017    $56,857.83              ¨ Secured debt
          PO BOX 782678
          PHILADELPHIA PA 19178-2678                                                         ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1760.   SLM WASTE & RECYCLING SVC INC                 8/4/2017     $57,505.08              ¨ Secured debt
          PO BOX 782678
          PHILADELPHIA PA 19178-2678                                                         ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1761.   SOUTH STREET CENTER LLC                       9/12/2017    $9,612.08               ¨ Secured debt
          EL PASEO SIMI
          101 N WESTLAKE BLVD #201                                                           ¨ Unsecured loan repayments
          WESTLAKE VILLAGE CA 91362                                                          þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1762.   SOUTH STREET CENTER LLC                       9/8/2017     $2,018.63               ¨ Secured debt
          EL PASEO SIMI
          101 N WESTLAKE BLVD #201                                                           ¨ Unsecured loan repayments
          WESTLAKE VILLAGE CA 91362                                                          þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1763.   SOUTH STREET CENTER LLC                       8/11/2017    $9,612.08               ¨ Secured debt
          EL PASEO SIMI
          101 N WESTLAKE BLVD #201                                                           ¨ Unsecured loan repayments
          WESTLAKE VILLAGE CA 91362                                                          þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1764.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/25/2017   $1,478.28               ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1765.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/22/2017   $469.17                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1766.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/19/2017   $313.82                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1767.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/18/2017   $189.26                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1768.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/15/2017   $255.35                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1769.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/14/2017   $813.84                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1770.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/12/2017    $467.86                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1771.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/11/2017    $620.70                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1772.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/6/2017     $1,021.10               ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1773.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        9/5/2017     $440.91                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1774.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/31/2017    $618.04                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1775.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/29/2017    $1,631.41               ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1776.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/25/2017   $416.00                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1777.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/24/2017   $358.80                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1778.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/22/2017   $229.04                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1779.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/21/2017   $489.21                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1780.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/18/2017   $332.77                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1781.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/17/2017   $421.93                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1782.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/14/2017    $1,123.99               ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1783.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/8/2017     $747.52                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1784.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/7/2017     $678.46                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1785.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        8/4/2017     $393.20                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1786.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        7/31/2017    $1,460.27               ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1787.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        7/27/2017    $373.80                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1788.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        7/25/2017   $706.88                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1789.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        7/24/2017   $461.20                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1790.   SOUTHERN GLAZER'S WINE & SPIRITS OF AZ        7/21/2017   $206.14                 ¨ Secured debt
          2404 S WILSON ST STE 102
          TEMPE AZ 85282                                                                    ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1791.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/22/2017   $691.06                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1792.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/21/2017   $583.46                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1793.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/15/2017   $696.93                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1794.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/14/2017    $424.67                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1795.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/8/2017     $605.48                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1796.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/7/2017     $253.36                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1797.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        9/1/2017     $160.95                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1798.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/31/2017    $493.76                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1799.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/25/2017    $792.15                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1800.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/18/2017    $263.94                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1801.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/17/2017    $539.84                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1802.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/10/2017    $563.17                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1803.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/4/2017     $618.59                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1804.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        8/3/2017     $340.81                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1805.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        7/28/2017    $557.53                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1806.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        7/27/2017    $535.56                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1807.   SOUTHERN GLAZER'S WINE & SPIRITS OF CO        7/20/2017    $906.75                 ¨ Secured debt
          5270 FOX ST
          DENVER CO 80217                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1808.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        9/22/2017    $2,086.34               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1809.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        9/15/2017    $3,246.93               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1810.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        9/8/2017     $4,016.33               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1811.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        9/1/2017     $3,649.82               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1812.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        8/25/2017    $3,680.67               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1813.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        8/18/2017    $3,768.36               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1814.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        8/11/2017    $3,193.71               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1815.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        8/4/2017     $4,433.80               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1816.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        7/28/2017    $3,066.72               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1817.   SOUTHERN GLAZER'S WINE & SPIRITS OF FL        7/21/2017    $2,996.17               ¨ Secured debt
          2400 SW 145TH AVE STE 300
          MIRAMAR FL 33027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1818.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/25/2017   $170.83                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1819.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/22/2017   $432.71                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1820.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/22/2017   $116.00                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1821.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/18/2017   $217.42                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1822.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/15/2017   $532.82                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1823.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/15/2017   $367.99                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1824.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/15/2017    $54.00                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1825.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/11/2017    $174.31                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1826.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/8/2017     $456.93                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1827.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/8/2017     $358.96                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1828.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/5/2017     $88.71                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1829.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/1/2017     $655.66                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1830.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        9/1/2017     $520.54                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1831.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/25/2017    $315.25                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1832.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/25/2017    $311.79                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1833.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/21/2017    $162.83                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1834.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/18/2017    $502.62                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1835.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/18/2017    $349.69                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1836.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/18/2017    $210.00                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1837.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/11/2017    $652.10                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1838.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/11/2017    $307.63                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1839.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/10/2017    $153.42                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1840.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/4/2017     $553.99                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1841.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/4/2017     $193.42                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1842.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        8/4/2017     $47.75                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1843.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/31/2017    $74.12                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1844.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/28/2017    $325.51                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1845.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/26/2017    $33.51                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1846.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/25/2017    $254.56                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1847.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/24/2017    $96.61                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1848.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/21/2017   $523.14                 ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1849.   SOUTHERN GLAZER'S WINE & SPIRITS OF LA        7/21/2017   $51.94                  ¨ Secured debt
          4377 NW 112TH ST
          URBANDALE IA 50322                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1850.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/22/2017   $348.56                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1851.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/21/2017   $959.56                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1852.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/20/2017   $6,091.40               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1853.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/13/2017   $5,078.98               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1854.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/12/2017    $1,558.26               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1855.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/7/2017     $824.35                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1856.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/6/2017     $6,940.99               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1857.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      9/5/2017     $30.13                  ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1858.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/31/2017    $2,182.18               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1859.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/30/2017    $4,000.16               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1860.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/25/2017   $734.28                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1861.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/23/2017   $5,822.01               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1862.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/18/2017   $1,798.53               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1863.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/17/2017   $2,800.11               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1864.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/16/2017   $1,806.90               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1865.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/11/2017   $349.33                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1866.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/10/2017    $3,058.64               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1867.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/9/2017     $4,134.66               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1868.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/4/2017     $845.18                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1869.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/3/2017     $1,008.76               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1870.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      8/2/2017     $5,289.68               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1871.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      7/27/2017    $693.89                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1872.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      7/26/2017    $4,720.22               ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1873.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      7/25/2017    $606.24                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1874.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      7/21/2017    $520.31                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1875.   SOUTHERN GLAZER'S WINE & SPIRITS OF N.CA      7/20/2017    $327.74                 ¨ Secured debt
          33321 DOWE AVE
          UNION CITY CA 94587                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1876.   SOUTHERN GLAZER'S WINE & SPIRITS OF NV        9/8/2017     $10,417.10              ¨ Secured debt
          PO BOX 19299
          LAS VEGAS NV 89132                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1877.   SOUTHERN GLAZER'S WINE & SPIRITS OF NV        8/9/2017     $7,433.39               ¨ Secured debt
          PO BOX 19299
          LAS VEGAS NV 89132                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1878.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/25/2017       $16.30                  ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1879.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/22/2017       $1,187.99               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1880.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/21/2017       $1,516.62               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1881.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/20/2017       $6,077.49               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1882.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/19/2017       $3,281.86               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1883.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/14/2017       $573.43                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1884.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/13/2017       $10,032.76              ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1885.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/12/2017       $899.65                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1886.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/8/2017        $1,038.26               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1887.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/7/2017        $2,403.18               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1888.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/6/2017        $12,137.32              ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1889.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 9/5/2017        $119.00                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1890.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/31/2017       $6,031.03               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1891.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/30/2017       $9,433.76               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1892.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/29/2017       $1,725.02               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1893.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/24/2017       $1,065.81               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1894.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/23/2017       $11,685.75              ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1895.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/22/2017       $879.41                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1896.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/18/2017       $576.83                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1897.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/17/2017       $1,743.84               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1898.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/16/2017       $6,792.96               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1899.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/15/2017       $1,725.32               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1900.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/11/2017       $1,129.79               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1901.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/10/2017       $1,110.15               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1902.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/9/2017        $10,738.03              ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1903.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/8/2017        $1,030.02               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1904.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/3/2017        $3,120.91               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1905.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/2/2017        $8,266.08               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1906.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 8/1/2017        $4,415.74               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1907.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 7/27/2017       $4,467.51               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1908.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 7/26/2017       $6,261.80               ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1909.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 7/25/2017       $634.36                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1910.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 7/21/2017       $446.56                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1911.   SOUTHERN GLAZER'S WINE & SPIRITS OF S. CA 7/20/2017       $858.61                 ¨ Secured debt
          17101 VALLEY VIEW AVE
          CERRITOS CA 90703                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1912.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/25/2017   $572.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1913.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/22/2017   $723.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1914.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/21/2017   $525.12                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1915.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/20/2017   $162.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1916.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/18/2017   $354.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1917.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/15/2017   $320.40                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1918.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/14/2017   $380.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1919.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/14/2017   $204.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1920.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/11/2017    $828.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1921.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/11/2017    $3.90                   ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1922.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/8/2017     $552.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1923.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/7/2017     $187.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1924.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/5/2017     $732.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1925.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        9/1/2017     $354.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1926.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/31/2017   $579.12                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1927.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/30/2017   $330.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1928.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/28/2017   $551.20                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1929.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/25/2017   $696.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1930.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/24/2017   $179.92                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1931.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/21/2017   $660.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1932.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/18/2017   $390.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1933.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/17/2017   $162.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1934.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/16/2017   $366.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1935.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/14/2017   $357.20                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1936.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/11/2017   $264.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1937.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/10/2017   $150.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1938.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/10/2017    $99.00                  ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1939.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/7/2017     $672.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1940.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/4/2017     $1,104.00               ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1941.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/3/2017     $162.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1942.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        8/1/2017     $60.00                  ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1943.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        7/31/2017    $774.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1944.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        7/28/2017    $444.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1945.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        7/27/2017    $216.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1946.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        7/21/2017    $960.00                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1947.   SOUTHERN GLAZER'S WINE & SPIRITS OF TX        7/20/2017    $250.32                 ¨ Secured debt
          14911 QUORUM DRIVE SUITE 400
          DALLAS TX 75254                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1948.   SOUTHERN GLAZER'S WINE & SPIRITS OF           9/22/2017    $3,106.07               ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1949.   SOUTHERN GLAZER'S WINE & SPIRITS OF           9/8/2017     $353.90                 ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1950.   SOUTHERN GLAZER'S WINE & SPIRITS OF           9/1/2017     $1,866.13               ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1951.   SOUTHERN GLAZER'S WINE & SPIRITS OF           8/18/2017    $1,115.17               ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1952.   SOUTHERN GLAZER'S WINE & SPIRITS OF           8/4/2017     $1,704.53               ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1953.   SOUTHERN GLAZER'S WINE & SPIRITS OF           7/28/2017    $195.61                 ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1954.   SOUTHERN GLAZER'S WINE & SPIRITS OF           7/21/2017    $140.18                 ¨ Secured debt
          UPSTATE NY
          3063 COURT ST                                                                      ¨ Unsecured loan repayments
          SYRACUSE NY 13208                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1955.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      9/20/2017    $1,010.56               ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1956.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      9/13/2017    $973.70                 ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1957.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      9/5/2017     $889.63                 ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1958.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      8/30/2017    $935.66                 ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1959.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      8/23/2017    $4,105.48               ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1960.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      8/16/2017    $1,535.61               ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1961.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      8/2/2017     $1,164.53               ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                 ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                  þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1962.   SOUTHERN GLAZER'S WINE & SPIRITS OF WA -      7/31/2017   $2,103.50               ¨ Secured debt
          PNW
          1025 VALLEY AVE NW                                                                ¨ Unsecured loan repayments
          PUYALLUP WA 98371                                                                 þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1963.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        10/13/2017 $4,777.12                ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1964.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        10/6/2017   $4,777.12               ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1965.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        9/29/2017   $4,777.12               ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1966.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        9/15/2017   $4,777.12               ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1967.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        8/11/2017   $1,082.95               ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1968.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        8/4/2017     $619.76                 ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1969.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        7/28/2017    $608.56                 ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1970.   SS KEMP AND CO LLC DBA TRIMARK SS KEMP        7/21/2017    $3,571.64               ¨ Secured debt
          PO BOX 536326
          PITTSBURGH PA 15253                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1971.   STANLEY CONVERGENT SECURITY SOLUTIONS 9/8/2017             $3,596.21               ¨ Secured debt
          INC
          DEPT CH 10651                                                                      ¨ Unsecured loan repayments
          PALASTINE IL 60055                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1972.   STANLEY CONVERGENT SECURITY SOLUTIONS 9/1/2017             $3,693.67               ¨ Secured debt
          INC
          DEPT CH 10651                                                                      ¨ Unsecured loan repayments
          PALASTINE IL 60055                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1973.   STANLEY CONVERGENT SECURITY SOLUTIONS 8/11/2017            $16,007.14              ¨ Secured debt
          INC
          DEPT CH 10651                                                                      ¨ Unsecured loan repayments
          PALASTINE IL 60055                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1974.   STANLEY CONVERGENT SECURITY SOLUTIONS 7/28/2017            $3,809.92               ¨ Secured debt
          INC
          DEPT CH 10651                                                                      ¨ Unsecured loan repayments
          PALASTINE IL 60055                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1975.   STAPLES BUSINESS ADVANTAGE (SUPPLY)           10/6/2017    $8,149.46               ¨ Secured debt
          PO BOX 83689
          CHICAGO IL 60696                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1976.   STAPLES BUSINESS ADVANTAGE (SUPPLY)           9/8/2017     $9,929.98               ¨ Secured debt
          PO BOX 83689
          CHICAGO IL 60696                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1977.   STAPLES BUSINESS ADVANTAGE (SUPPLY)           8/18/2017    $1,055.41               ¨ Secured debt
          PO BOX 83689
          CHICAGO IL 60696                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1978.   STAPLES BUSINESS ADVANTAGE (SUPPLY)           8/4/2017     $11,890.13              ¨ Secured debt
          PO BOX 83689
          CHICAGO IL 60696                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1979.   STAPLES BUSINESS ADVANTAGE (SUPPLY)           7/28/2017    $131.40                 ¨ Secured debt
          PO BOX 83689
          CHICAGO IL 60696                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1980.   STAPLES BUSINESS ADVANTAGE (SUPPLY)           7/21/2017    $877.70                 ¨ Secured debt
          PO BOX 83689
          CHICAGO IL 60696                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1981.   STAR WEST JV LLC                              9/12/2017    $18,254.79              ¨ Secured debt
          DBA SOUTHPARK MALL LLC
          PO BOX 780135                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19178                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1982.   STAR WEST JV LLC                              8/17/2017    $18,254.79              ¨ Secured debt
          DBA SOUTHPARK MALL LLC
          PO BOX 780135                                                                      ¨ Unsecured loan repayments
          PHILADELPHIA PA 19178                                                              þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1983.   STEPHEN COHEN                                 9/5/2017     $10,000.00              ¨ Secured debt
          315 PARKVIEW TERRACE
          GOLDEN VALLEY MN 55416                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1984.   STEPHEN COHEN                                 7/27/17      $15,000.00              ¨ Secured debt
          315 PARKVIEW TERRACE
          GOLDEN VALLEY MN 55416                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1985.   STEPHEN COHEN                                 8/18/17      $15,000.00              ¨ Secured debt
          315 PARKVIEW TERRACE
          GOLDEN VALLEY MN 55416                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1986.   STERNODUCE CO INC.                            10/16/2017 $1,240.39                ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1987.   STERNODUCE CO INC.                            10/10/2017 $1,643.34                ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1988.   STERNODUCE CO INC.                            10/2/2017   $1,838.80               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1989.   STERNODUCE CO INC.                            9/25/2017   $2,320.56               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1990.   STERNODUCE CO INC.                            9/18/2017   $2,506.17               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1991.   STERNODUCE CO INC.                            9/11/2017   $2,430.21               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1992.   STERNODUCE CO INC.                            9/5/2017     $2,543.45               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1993.   STERNODUCE CO INC.                            8/28/2017    $625.91                 ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1994.   STERNODUCE CO INC.                            8/21/2017    $298.75                 ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1995.   STERNODUCE CO INC.                            8/14/2017    $37.23                  ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1996.   STERNODUCE CO INC.                            8/7/2017     $3,003.71               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.1997.   STERNODUCE CO INC.                            7/31/2017    $7,425.60               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1998.   STERNODUCE CO INC.                            7/24/2017   $2,090.32               ¨ Secured debt
          3200 S. 7TH STREET
          PHOENIX AZ 85040                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.1999.   SUMMIT ENERGY SERVICES, INC.                  10/17/2017 $28,876.00               ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2000.   SUMMIT ENERGY SERVICES, INC.                  10/16/2017 $48,840.81               ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2001.   SUMMIT ENERGY SERVICES, INC.                  10/13/2017 $9,351.99                ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2002.   SUMMIT ENERGY SERVICES, INC.                  10/12/2017 $57,544.21               ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2003.   SUMMIT ENERGY SERVICES, INC.                  10/11/2017 $29,679.30               ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2004.   SUMMIT ENERGY SERVICES, INC.                  10/10/2017 $20,791.54               ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2005.   SUMMIT ENERGY SERVICES, INC.                  10/6/2017   $160,453.38             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2006.   SUMMIT ENERGY SERVICES, INC.                  10/2/2017   $72,895.21              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2007.   SUMMIT ENERGY SERVICES, INC.                  9/27/2017   $90,130.93              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2008.   SUMMIT ENERGY SERVICES, INC.                  9/25/2017   $59,377.91              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2009.   SUMMIT ENERGY SERVICES, INC.                  9/20/2017   $102,668.48             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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                                                                                             Check all that apply

3.2010.   SUMMIT ENERGY SERVICES, INC.                  9/18/2017    $91,941.93              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2011.   SUMMIT ENERGY SERVICES, INC.                  9/13/2017    $73,618.19              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2012.   SUMMIT ENERGY SERVICES, INC.                  9/11/2017    $77,042.21              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2013.   SUMMIT ENERGY SERVICES, INC.                  9/6/2017     $20,020.15              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2014.   SUMMIT ENERGY SERVICES, INC.                  9/5/2017     $119,797.72             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2015.   SUMMIT ENERGY SERVICES, INC.                  8/30/2017    $107,694.46             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2016.   SUMMIT ENERGY SERVICES, INC.                  8/28/2017    $75,044.24              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2017.   SUMMIT ENERGY SERVICES, INC.                  8/23/2017    $89,219.78              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2018.   SUMMIT ENERGY SERVICES, INC.                  8/21/2017    $105,211.13             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2019.   SUMMIT ENERGY SERVICES, INC.                  8/16/2017    $147,271.77             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2020.   SUMMIT ENERGY SERVICES, INC.                  8/14/2017    $67,631.12              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2021.   SUMMIT ENERGY SERVICES, INC.                  8/9/2017     $81,589.39              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2022.   SUMMIT ENERGY SERVICES, INC.                  8/7/2017     $68,862.52              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2023.   SUMMIT ENERGY SERVICES, INC.                  8/2/2017     $124,980.76             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2024.   SUMMIT ENERGY SERVICES, INC.                  7/31/2017    $54,852.19              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2025.   SUMMIT ENERGY SERVICES, INC.                  7/26/2017    $144,884.75             ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2026.   SUMMIT ENERGY SERVICES, INC.                  7/24/2017    $63,141.05              ¨ Secured debt
          25716 NETWORK PLACE
          CHICAGO IL 60673                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2027.   SUNDERLAND STOCK FARM LLC                     10/13/2017 $572.40                   ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2028.   SUNDERLAND STOCK FARM LLC                     10/6/2017    $572.40                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2029.   SUNDERLAND STOCK FARM LLC                     9/29/2017    $477.00                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2030.   SUNDERLAND STOCK FARM LLC                     9/15/2017    $477.00                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2031.   SUNDERLAND STOCK FARM LLC                     9/8/2017     $954.00                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2032.   SUNDERLAND STOCK FARM LLC                     9/1/2017     $1,049.40               ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2033.   SUNDERLAND STOCK FARM LLC                     8/25/2017    $540.60                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2034.   SUNDERLAND STOCK FARM LLC                     8/18/2017    $540.60                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2035.   SUNDERLAND STOCK FARM LLC                     8/11/2017    $508.80                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2036.   SUNDERLAND STOCK FARM LLC                     7/28/2017    $477.00                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2037.   SUNDERLAND STOCK FARM LLC                     7/21/2017    $572.40                 ¨ Secured debt
          1720 OLD LAIR ROAD
          CYNTHIANA KY 41031                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2038.   SUPER LLC                                     9/5/2017     $16,657.52              ¨ Secured debt
          DBA BPR SHOPPING CENTER
          PO BOX 645346                                                                      ¨ Unsecured loan repayments
          CINCINNATI OH 75264                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2039.   SUPER LLC                                     8/11/2017    $16,657.52              ¨ Secured debt
          DBA BPR SHOPPING CENTER
          PO BOX 645346                                                                      ¨ Unsecured loan repayments
          CINCINNATI OH 75264                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2040.   SURVOY'S SUPERIOR SERVICE INC.                10/13/2017 $453.10                   ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2041.   SURVOY'S SUPERIOR SERVICE INC.                10/6/2017    $965.90                 ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2042.   SURVOY'S SUPERIOR SERVICE INC.                9/15/2017    $562.08                 ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2043.   SURVOY'S SUPERIOR SERVICE INC.                9/8/2017     $874.50                 ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2044.   SURVOY'S SUPERIOR SERVICE INC.                8/18/2017    $450.00                 ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2045.   SURVOY'S SUPERIOR SERVICE INC.                8/11/2017    $847.36                 ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2046.   SURVOY'S SUPERIOR SERVICE INC.                8/4/2017     $602.20                 ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2047.   SURVOY'S SUPERIOR SERVICE INC.                7/28/2017    $1,369.18               ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2048.   SURVOY'S SUPERIOR SERVICE INC.                7/21/2017    $2,495.28               ¨ Secured debt
          5180 W 164TH STREET
          BROOKPARK OH 44142                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2049.   SYNERGYSUITE INC                              10/27/17     $81,877.20              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94025                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2050.   SYNERGYSUITE INC.                             10/17/2017 $15,000.00                ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2051.   SYNERGYSUITE INC.                             10/17/2017 $15,000.00                ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2052.   SYNERGYSUITE INC.                             10/6/2017    $15,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2053.   SYNERGYSUITE INC.                             9/29/2017    $15,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2054.   SYNERGYSUITE INC.                             9/15/2017    $15,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2055.   SYNERGYSUITE INC.                             9/1/2017     $10,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2056.   SYNERGYSUITE INC.                             8/11/2017    $5,542.00               ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2057.   SYNERGYSUITE INC.                             8/4/2017     $15,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2058.   SYNERGYSUITE INC.                             7/28/2017   $15,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2059.   SYNERGYSUITE INC.                             7/21/2017   $15,000.00              ¨ Secured debt
          68 WILLOW ROAD
          MENLO PARK CA 94040                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2060.   SYNQ3 RESTAURANT SOLUTIONS LLC                10/13/2017 $12,565.54               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2061.   SYNQ3 RESTAURANT SOLUTIONS LLC                10/6/2017   $11,780.55              ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2062.   SYNQ3 RESTAURANT SOLUTIONS LLC                9/29/2017   $10,802.46              ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2063.   SYNQ3 RESTAURANT SOLUTIONS LLC                9/22/2017   $6,132.62               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2064.   SYNQ3 RESTAURANT SOLUTIONS LLC                9/15/2017    $5,452.65               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2065.   SYNQ3 RESTAURANT SOLUTIONS LLC                9/8/2017     $13,504.15              ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2066.   SYNQ3 RESTAURANT SOLUTIONS LLC                9/1/2017     $11,584.37              ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2067.   SYNQ3 RESTAURANT SOLUTIONS LLC                8/25/2017    $7,320.91               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2068.   SYNQ3 RESTAURANT SOLUTIONS LLC                8/18/2017    $6,257.93               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2069.   SYNQ3 RESTAURANT SOLUTIONS LLC                8/11/2017    $7,537.38               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2070.   SYNQ3 RESTAURANT SOLUTIONS LLC                8/4/2017     $7,746.75               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2071.   SYNQ3 RESTAURANT SOLUTIONS LLC                7/21/2017    $7,278.08               ¨ Secured debt
          5825 MARK DABLING BLVD, STE. 100
          COLORADO SPRINGS CO 80919                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2072.   SYSCO ARIZONA                                 10/16/2017 $35,446.43                ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2073.   SYSCO ARIZONA                                 10/10/2017 $31,439.54                ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2074.   SYSCO ARIZONA                                 10/2/2017    $27,431.29              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2075.   SYSCO ARIZONA                                 9/29/2017    $140.26                 ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2076.   SYSCO ARIZONA                                 9/25/2017    $31,874.33              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2077.   SYSCO ARIZONA                                 9/18/2017    $39,834.94              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2078.   SYSCO ARIZONA                                 9/11/2017    $30,960.94              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2079.   SYSCO ARIZONA                                 9/5/2017     $28,236.13              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2080.   SYSCO ARIZONA                                 8/28/2017    $34,231.98              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2081.   SYSCO ARIZONA                                 8/21/2017    $27,848.59              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2082.   SYSCO ARIZONA                                 8/14/2017    $29,995.99              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2083.   SYSCO ARIZONA                                 8/7/2017     $28,148.83              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2084.   SYSCO ARIZONA                                 7/31/2017    $27,798.80              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2085.   SYSCO ARIZONA                                 7/24/2017    $26,494.83              ¨ Secured debt
          611 SOUTH 80TH AVENUE
          TOLLESON AZ 85353                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2086.   SYSCO ARKANSAS                                10/16/2017 $4,659.29                 ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2087.   SYSCO ARKANSAS                                10/10/2017 $5,087.67                 ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2088.   SYSCO ARKANSAS                                10/2/2017    $6,387.70               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2089.   SYSCO ARKANSAS                                9/25/2017    $5,074.74               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2090.   SYSCO ARKANSAS                                9/18/2017    $6,411.34               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2091.   SYSCO ARKANSAS                                9/11/2017    $6,126.28               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2092.   SYSCO ARKANSAS                                9/5/2017     $5,610.19               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2093.   SYSCO ARKANSAS                                8/28/2017    $6,865.86               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2094.   SYSCO ARKANSAS                                8/21/2017    $5,417.45               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2095.   SYSCO ARKANSAS                                8/14/2017    $6,322.01               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2096.   SYSCO ARKANSAS                                8/7/2017     $5,389.40               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2097.   SYSCO ARKANSAS                                7/31/2017    $4,638.83               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2098.   SYSCO ARKANSAS                                7/24/2017    $6,007.44               ¨ Secured debt
          5800 FROZEN ROAD
          PO BOX 194060                                                                      ¨ Unsecured loan repayments
          LITTLE ROCK AR 72209                                                               þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2099.   SYSCO ATLANTA                                 10/16/2017 $20,520.19                ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2100.   SYSCO ATLANTA                                 10/10/2017 $18,452.11               ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2101.   SYSCO ATLANTA                                 10/2/2017   $20,771.37              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2102.   SYSCO ATLANTA                                 9/29/2017   $3,435.75               ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2103.   SYSCO ATLANTA                                 9/25/2017   $19,701.05              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2104.   SYSCO ATLANTA                                 9/18/2017   $20,945.44              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2105.   SYSCO ATLANTA                                 9/11/2017   $18,493.09              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2106.   SYSCO ATLANTA                                 9/5/2017     $21,100.20              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2107.   SYSCO ATLANTA                                 8/28/2017    $21,721.36              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2108.   SYSCO ATLANTA                                 8/21/2017    $20,656.95              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2109.   SYSCO ATLANTA                                 8/14/2017    $16,863.02              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2110.   SYSCO ATLANTA                                 8/7/2017     $18,450.42              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2111.   SYSCO ATLANTA                                 7/31/2017    $24,440.10              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2112.   SYSCO ATLANTA                                 7/24/2017   $22,810.13              ¨ Secured debt
          2225 RIVERDALE ROAD
          COLLEGE PARK GA 30349                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2113.   SYSCO BALTIMORE                               10/16/2017 $17,256.27               ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2114.   SYSCO BALTIMORE                               10/10/2017 $18,252.89               ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2115.   SYSCO BALTIMORE                               10/2/2017   $20,275.88              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2116.   SYSCO BALTIMORE                               9/29/2017   $2,596.02               ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2117.   SYSCO BALTIMORE                               9/25/2017   $17,122.52              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2118.   SYSCO BALTIMORE                               9/18/2017    $15,544.99              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2119.   SYSCO BALTIMORE                               9/11/2017    $18,500.85              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2120.   SYSCO BALTIMORE                               9/5/2017     $16,720.49              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2121.   SYSCO BALTIMORE                               8/28/2017    $19,646.73              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2122.   SYSCO BALTIMORE                               8/21/2017    $14,235.16              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2123.   SYSCO BALTIMORE                               8/14/2017    $16,800.06              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2124.   SYSCO BALTIMORE                               8/7/2017     $18,424.65              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2125.   SYSCO BALTIMORE                               7/31/2017    $22,635.62              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2126.   SYSCO BALTIMORE                               7/24/2017    $21,112.73              ¨ Secured debt
          8000 DORSEY RUN ROAD
          JESSUP MD 20794                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2127.   SYSCO CENTRAL FLORIDA                         10/16/2017 $32,944.06                ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2128.   SYSCO CENTRAL FLORIDA                         10/10/2017 $18,370.68                ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2129.   SYSCO CENTRAL FLORIDA                         10/2/2017    $23,421.39              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2130.   SYSCO CENTRAL FLORIDA                         9/29/2017    $1,031.91               ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2131.   SYSCO CENTRAL FLORIDA                         9/25/2017    $21,793.65              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2132.   SYSCO CENTRAL FLORIDA                         9/18/2017    $25,417.36              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2133.   SYSCO CENTRAL FLORIDA                         9/11/2017    $29,997.69              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2134.   SYSCO CENTRAL FLORIDA                         9/5/2017     $28,555.86              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2135.   SYSCO CENTRAL FLORIDA                         8/28/2017    $28,489.00              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2136.   SYSCO CENTRAL FLORIDA                         8/21/2017    $30,358.92              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2137.   SYSCO CENTRAL FLORIDA                         8/14/2017    $29,171.75              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2138.   SYSCO CENTRAL FLORIDA                         8/7/2017     $27,269.44              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2139.   SYSCO CENTRAL FLORIDA                         7/31/2017    $30,669.26              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2140.   SYSCO CENTRAL FLORIDA                         7/24/2017    $23,122.27              ¨ Secured debt
          200 WEST STORY ROAD
          OCOEE FL 34761                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2141.   SYSCO CENTRAL TEXAS                           10/16/2017 $29,566.81                ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2142.   SYSCO CENTRAL TEXAS                           10/10/2017 $32,328.52               ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2143.   SYSCO CENTRAL TEXAS                           10/2/2017   $26,642.12              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2144.   SYSCO CENTRAL TEXAS                           9/29/2017   $1,713.53               ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2145.   SYSCO CENTRAL TEXAS                           9/25/2017   $31,766.33              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2146.   SYSCO CENTRAL TEXAS                           9/18/2017   $30,953.68              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2147.   SYSCO CENTRAL TEXAS                           9/11/2017   $28,555.01              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2148.   SYSCO CENTRAL TEXAS                           9/5/2017     $35,564.29              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2149.   SYSCO CENTRAL TEXAS                           8/28/2017    $31,767.68              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2150.   SYSCO CENTRAL TEXAS                           8/21/2017    $28,740.47              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2151.   SYSCO CENTRAL TEXAS                           8/14/2017    $30,821.15              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2152.   SYSCO CENTRAL TEXAS                           8/7/2017     $24,112.32              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2153.   SYSCO CENTRAL TEXAS                           7/31/2017    $35,193.76              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                             ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2154.   SYSCO CENTRAL TEXAS                           7/24/2017   $36,908.33              ¨ Secured debt
          1260 SCHWAB ROAD
          NEW BRAUNFELS TX 78132                                                            ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2155.   SYSCO CHARLOTTE                               10/16/2017 $23,137.93               ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2156.   SYSCO CHARLOTTE                               10/10/2017 $20,307.34               ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2157.   SYSCO CHARLOTTE                               10/2/2017   $22,637.51              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2158.   SYSCO CHARLOTTE                               9/29/2017   $6,239.11               ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2159.   SYSCO CHARLOTTE                               9/25/2017   $18,574.92              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2160.   SYSCO CHARLOTTE                               9/18/2017    $23,750.95              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2161.   SYSCO CHARLOTTE                               9/11/2017    $22,449.79              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2162.   SYSCO CHARLOTTE                               9/5/2017     $21,231.36              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2163.   SYSCO CHARLOTTE                               8/28/2017    $19,442.62              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2164.   SYSCO CHARLOTTE                               8/21/2017    $19,679.57              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2165.   SYSCO CHARLOTTE                               8/14/2017    $20,379.10              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2166.   SYSCO CHARLOTTE                               8/7/2017     $18,154.43              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2167.   SYSCO CHARLOTTE                               7/31/2017    $22,219.65              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2168.   SYSCO CHARLOTTE                               7/24/2017    $24,093.25              ¨ Secured debt
          4500 CORPORATE DRIVE NW
          CONCORD NC 28027                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2169.   SYSCO CLEVELAND                               10/16/2017 $27,312.11                ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2170.   SYSCO CLEVELAND                               10/10/2017 $19,366.91                ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2171.   SYSCO CLEVELAND                               10/2/2017    $31,153.50              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2172.   SYSCO CLEVELAND                               9/25/2017    $19,509.23              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2173.   SYSCO CLEVELAND                               9/18/2017    $24,040.36              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2174.   SYSCO CLEVELAND                               9/11/2017    $24,882.50              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2175.   SYSCO CLEVELAND                               9/5/2017     $24,411.16              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2176.   SYSCO CLEVELAND                               8/28/2017    $24,902.74              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2177.   SYSCO CLEVELAND                               8/21/2017    $23,547.94              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2178.   SYSCO CLEVELAND                               8/14/2017    $21,066.75              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2179.   SYSCO CLEVELAND                               8/7/2017     $18,443.71              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2180.   SYSCO CLEVELAND                               7/31/2017    $20,135.41              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2181.   SYSCO CLEVELAND                               7/24/2017    $21,487.50              ¨ Secured debt
          4747 GRAYTON ROAD
          PO BOX 94570                                                                       ¨ Unsecured loan repayments
          CLEVELAND OH 44135                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2182.   SYSCO DALLAS                                  10/16/2017 $51,385.91                ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2183.   SYSCO DALLAS                                  10/10/2017 $39,593.81                ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2184.   SYSCO DALLAS                                  10/2/2017    $50,744.69              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2185.   SYSCO DALLAS                                  9/29/2017    $5,590.77               ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2186.   SYSCO DALLAS                                  9/25/2017    $53,031.48              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2187.   SYSCO DALLAS                                  9/18/2017    $58,905.48              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2188.   SYSCO DALLAS                                  9/11/2017    $47,185.49              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2189.   SYSCO DALLAS                                  9/5/2017     $55,704.08              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2190.   SYSCO DALLAS                                  8/28/2017    $51,766.28              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2191.   SYSCO DALLAS                                  8/21/2017    $44,425.83              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2192.   SYSCO DALLAS                                  8/14/2017    $50,425.19              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2193.   SYSCO DALLAS                                  8/7/2017     $43,536.18              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2194.   SYSCO DALLAS                                  7/31/2017    $44,725.57              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2195.   SYSCO DALLAS                                  7/24/2017    $51,540.73              ¨ Secured debt
          800 TRINITY DRIVE
          PO BOX 561000                                                                      ¨ Unsecured loan repayments
          LEWISVILLE TX 75056                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2196.   SYSCO DENVER                                  10/16/2017 $30,117.63               ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2197.   SYSCO DENVER                                  10/10/2017 $39,393.20               ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2198.   SYSCO DENVER                                  10/2/2017   $30,624.18              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2199.   SYSCO DENVER                                  9/29/2017   $2,020.28               ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2200.   SYSCO DENVER                                  9/25/2017   $33,403.38              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2201.   SYSCO DENVER                                  9/18/2017   $33,407.52              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2202.   SYSCO DENVER                                  9/11/2017    $38,340.43              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2203.   SYSCO DENVER                                  9/5/2017     $32,318.70              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2204.   SYSCO DENVER                                  8/28/2017    $35,425.81              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2205.   SYSCO DENVER                                  8/21/2017    $31,543.66              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2206.   SYSCO DENVER                                  8/14/2017    $30,974.10              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2207.   SYSCO DENVER                                  8/7/2017     $31,175.11              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2208.   SYSCO DENVER                                  7/31/2017   $30,666.57              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2209.   SYSCO DENVER                                  7/24/2017   $37,118.67              ¨ Secured debt
          50000 BEELER STREET
          DENVER CO 80238                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2210.   SYSCO DETROIT                                 10/16/2017 $22,158.41               ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2211.   SYSCO DETROIT                                 10/10/2017 $22,763.44               ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2212.   SYSCO DETROIT                                 10/2/2017   $25,442.80              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2213.   SYSCO DETROIT                                 9/29/2017   $388.80                 ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                   ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2214.   SYSCO DETROIT                                 9/25/2017    $22,804.17              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2215.   SYSCO DETROIT                                 9/18/2017    $25,487.62              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2216.   SYSCO DETROIT                                 9/11/2017    $22,237.28              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2217.   SYSCO DETROIT                                 9/5/2017     $23,670.04              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2218.   SYSCO DETROIT                                 8/28/2017    $24,602.60              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2219.   SYSCO DETROIT                                 8/21/2017    $20,993.35              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2220.   SYSCO DETROIT                                 8/14/2017    $26,757.65              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2221.   SYSCO DETROIT                                 8/7/2017     $16,821.88              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2222.   SYSCO DETROIT                                 7/31/2017    $23,828.00              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2223.   SYSCO DETROIT                                 7/24/2017    $25,428.06              ¨ Secured debt
          41600 VAN BORN ROAD
          CANTON MI 48188                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2224.   SYSCO GULF COAST                              10/16/2017 $4,882.54                 ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2225.   SYSCO GULF COAST                              10/10/2017 $5,365.12                 ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2226.   SYSCO GULF COAST                              10/2/2017    $5,131.32               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2227.   SYSCO GULF COAST                              9/29/2017    $498.85                 ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2228.   SYSCO GULF COAST                              9/25/2017    $4,981.51               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2229.   SYSCO GULF COAST                              9/18/2017    $5,573.05               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2230.   SYSCO GULF COAST                              9/11/2017    $5,739.90               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2231.   SYSCO GULF COAST                              9/5/2017     $5,296.02               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2232.   SYSCO GULF COAST                              8/28/2017    $5,755.18               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2233.   SYSCO GULF COAST                              8/21/2017    $3,469.15               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2234.   SYSCO GULF COAST                              8/14/2017    $5,847.48               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2235.   SYSCO GULF COAST                              8/7/2017     $5,802.33               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2236.   SYSCO GULF COAST                              7/31/2017    $10,480.68              ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2237.   SYSCO GULF COAST                              7/24/2017    $8,223.78               ¨ Secured debt
          2001 WEST MAGNOLIA AVENUE
          GENEVA AL 36340                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2238.   SYSCO HAMPTON ROADS                           10/16/2017 $5,076.63                ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2239.   SYSCO HAMPTON ROADS                           10/10/2017 $6,664.08                ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2240.   SYSCO HAMPTON ROADS                           10/2/2017   $6,237.70               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2241.   SYSCO HAMPTON ROADS                           9/29/2017   $114.87                 ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2242.   SYSCO HAMPTON ROADS                           9/25/2017   $5,782.76               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2243.   SYSCO HAMPTON ROADS                           9/18/2017   $4,987.88               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2244.   SYSCO HAMPTON ROADS                           9/11/2017    $7,647.89               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2245.   SYSCO HAMPTON ROADS                           9/5/2017     $4,893.12               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2246.   SYSCO HAMPTON ROADS                           8/28/2017    $7,357.34               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2247.   SYSCO HAMPTON ROADS                           8/21/2017    $7,548.62               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2248.   SYSCO HAMPTON ROADS                           8/14/2017    $6,056.93               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2249.   SYSCO HAMPTON ROADS                           8/7/2017     $5,078.94               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2250.   SYSCO HAMPTON ROADS                           7/31/2017   $5,513.84               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2251.   SYSCO HAMPTON ROADS                           7/24/2017   $4,606.57               ¨ Secured debt
          7000 HARBOUR VIEW BLVD
          SUFFOLK VA 23435                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2252.   SYSCO HOUSTON                                 10/16/2017 $7,911.45                ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2253.   SYSCO HOUSTON                                 10/10/2017 $8,692.30                ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2254.   SYSCO HOUSTON                                 10/2/2017   $11,307.45              ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2255.   SYSCO HOUSTON                                 9/29/2017   $70.13                  ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2256.   SYSCO HOUSTON                                 9/18/2017    $9,489.51               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2257.   SYSCO HOUSTON                                 9/11/2017    $8,015.51               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2258.   SYSCO HOUSTON                                 9/5/2017     $8,518.06               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2259.   SYSCO HOUSTON                                 8/28/2017    $6,413.44               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2260.   SYSCO HOUSTON                                 8/21/2017    $7,836.32               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2261.   SYSCO HOUSTON                                 8/14/2017    $9,175.45               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2262.   SYSCO HOUSTON                                 8/7/2017     $7,761.30               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2263.   SYSCO HOUSTON                                 7/31/2017    $8,744.57               ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2264.   SYSCO HOUSTON                                 7/24/2017    $10,546.71              ¨ Secured debt
          10710 GREENS CROSSING BLVD
          HOUSTON TX 77038                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2265.   SYSCO INTERMOUNTAIN                           10/16/2017 $8,937.10                 ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2266.   SYSCO INTERMOUNTAIN                           10/10/2017 $8,969.27                 ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2267.   SYSCO INTERMOUNTAIN                           10/2/2017    $8,140.44               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2268.   SYSCO INTERMOUNTAIN                           9/29/2017    $171.16                 ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2269.   SYSCO INTERMOUNTAIN                           9/25/2017    $11,467.86              ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2270.   SYSCO INTERMOUNTAIN                           9/18/2017    $8,589.94               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2271.   SYSCO INTERMOUNTAIN                           9/11/2017    $9,884.22               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2272.   SYSCO INTERMOUNTAIN                           9/5/2017     $8,656.33               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2273.   SYSCO INTERMOUNTAIN                           8/28/2017    $8,567.25               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2274.   SYSCO INTERMOUNTAIN                           8/21/2017    $9,489.10               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2275.   SYSCO INTERMOUNTAIN                           8/14/2017    $6,356.89               ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2276.   SYSCO INTERMOUNTAIN                           8/7/2017     $11,987.93              ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2277.   SYSCO INTERMOUNTAIN                           7/31/2017    $12,830.51              ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2278.   SYSCO INTERMOUNTAIN                           7/24/2017    $13,096.56              ¨ Secured debt
          9494 SOUTH PROSPERITY
          WEST JORDAN UT 84081                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2279.   SYSCO LOUISVILLE                              10/16/2017 $6,939.96                 ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2280.   SYSCO LOUISVILLE                              10/10/2017 $6,975.50                 ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2281.   SYSCO LOUISVILLE                              10/2/2017    $6,948.56               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2282.   SYSCO LOUISVILLE                              9/25/2017    $7,832.20               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2283.   SYSCO LOUISVILLE                              9/18/2017    $6,868.15               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2284.   SYSCO LOUISVILLE                              9/11/2017    $5,693.18               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2285.   SYSCO LOUISVILLE                              9/5/2017     $7,188.64               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2286.   SYSCO LOUISVILLE                              8/28/2017    $8,548.17               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2287.   SYSCO LOUISVILLE                              8/21/2017    $7,349.99               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2288.   SYSCO LOUISVILLE                              8/14/2017    $7,353.34               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2289.   SYSCO LOUISVILLE                              8/7/2017     $5,779.58               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2290.   SYSCO LOUISVILLE                              7/31/2017    $6,668.38               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2291.   SYSCO LOUISVILLE                              7/24/2017    $9,102.21               ¨ Secured debt
          7705 NATIONAL TURNPIKE
          PO BOX 32470                                                                       ¨ Unsecured loan repayments
          LOUISVILLE KY 40214                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2292.   SYSCO METRO NEW YORK                          9/29/2017    $3,273.03               ¨ Secured debt
          20 THEODORE CONRAD DRIVE
          JERSEY CITY NJ 73050                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2293.   SYSCO METRO NEW YORK                          8/7/2017     $3,002.01               ¨ Secured debt
          20 THEODORE CONRAD DRIVE
          JERSEY CITY NJ 73050                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2294.   SYSCO METRO NEW YORK                          7/31/2017    $8,161.94               ¨ Secured debt
          20 THEODORE CONRAD DRIVE
          JERSEY CITY NJ 73050                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2295.   SYSCO METRO NEW YORK                          7/24/2017    $9,763.79               ¨ Secured debt
          20 THEODORE CONRAD DRIVE
          JERSEY CITY NJ 73050                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2296.   SYSCO NASHVILLE                               10/16/2017 $20,399.31                ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2297.   SYSCO NASHVILLE                               10/10/2017 $17,272.59                ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2298.   SYSCO NASHVILLE                               10/2/2017    $19,299.23              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2299.   SYSCO NASHVILLE                               9/29/2017    $3,374.91               ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2300.   SYSCO NASHVILLE                               9/25/2017    $19,019.48              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2301.   SYSCO NASHVILLE                               9/18/2017    $22,619.19              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2302.   SYSCO NASHVILLE                               9/11/2017    $17,020.19              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2303.   SYSCO NASHVILLE                               9/5/2017     $19,962.94              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2304.   SYSCO NASHVILLE                               8/28/2017    $19,947.59              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2305.   SYSCO NASHVILLE                               8/21/2017    $17,646.47              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2306.   SYSCO NASHVILLE                               8/14/2017    $23,169.61              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2307.   SYSCO NASHVILLE                               8/7/2017     $24,100.96              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2308.   SYSCO NASHVILLE                               7/31/2017    $20,868.50              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2309.   SYSCO NASHVILLE                               7/24/2017    $18,632.57              ¨ Secured debt
          ONE HERMITAGE PLAZA
          NASHVILLE TN 37209                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2310.   SYSCO NEW MEXICO                              10/16/2017 $17,632.38               ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2311.   SYSCO NEW MEXICO                              10/10/2017 $13,732.19               ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2312.   SYSCO NEW MEXICO                              10/2/2017   $15,363.98              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2313.   SYSCO NEW MEXICO                              9/29/2017   $140.26                 ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2314.   SYSCO NEW MEXICO                              9/25/2017   $15,030.76              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2315.   SYSCO NEW MEXICO                              9/18/2017   $19,157.56              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2316.   SYSCO NEW MEXICO                              9/11/2017    $16,776.25              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2317.   SYSCO NEW MEXICO                              9/5/2017     $15,009.19              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2318.   SYSCO NEW MEXICO                              8/28/2017    $17,575.58              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2319.   SYSCO NEW MEXICO                              8/21/2017    $15,670.58              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2320.   SYSCO NEW MEXICO                              8/14/2017    $13,593.17              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2321.   SYSCO NEW MEXICO                              8/7/2017     $15,362.08              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2322.   SYSCO NEW MEXICO                              7/31/2017   $13,090.86              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2323.   SYSCO NEW MEXICO                              7/24/2017   $15,234.62              ¨ Secured debt
          602 CARMONY NE
          ALBUQUERQUE NM 87107                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2324.   SYSCO NORTHERN NEW ENGLAND                    10/16/2017 $6,872.77                ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                       ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2325.   SYSCO NORTHERN NEW ENGLAND                    10/10/2017 $7,925.73                ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                       ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2326.   SYSCO NORTHERN NEW ENGLAND                    10/2/2017   $8,090.36               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                       ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2327.   SYSCO NORTHERN NEW ENGLAND                    9/25/2017   $7,781.96               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                       ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2328.   SYSCO NORTHERN NEW ENGLAND                    9/18/2017    $10,045.36              ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2329.   SYSCO NORTHERN NEW ENGLAND                    9/11/2017    $8,474.94               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2330.   SYSCO NORTHERN NEW ENGLAND                    9/5/2017     $8,511.65               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2331.   SYSCO NORTHERN NEW ENGLAND                    8/28/2017    $6,809.39               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2332.   SYSCO NORTHERN NEW ENGLAND                    8/21/2017    $7,578.46               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2333.   SYSCO NORTHERN NEW ENGLAND                    8/14/2017    $7,361.05               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2334.   SYSCO NORTHERN NEW ENGLAND                    8/7/2017     $8,594.47               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2335.   SYSCO NORTHERN NEW ENGLAND                    7/31/2017    $10,575.25              ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2336.   SYSCO NORTHERN NEW ENGLAND                    7/24/2017    $3,128.59               ¨ Secured debt
          55 THOMAS DRIVE
          PO BOX 4657                                                                        ¨ Unsecured loan repayments
          WESTBROOK ME 40920                                                                 þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2337.   SYSCO PHILADELPHIA                            10/16/2017 $14,000.73                ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2338.   SYSCO PHILADELPHIA                            10/10/2017 $12,535.85                ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2339.   SYSCO PHILADELPHIA                            10/2/2017    $16,165.44              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2340.   SYSCO PHILADELPHIA                            9/29/2017    $1,546.14               ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2341.   SYSCO PHILADELPHIA                            9/25/2017    $14,385.92              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2342.   SYSCO PHILADELPHIA                            9/18/2017    $18,386.64              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2343.   SYSCO PHILADELPHIA                            9/11/2017    $13,353.20              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2344.   SYSCO PHILADELPHIA                            9/5/2017     $15,631.80              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2345.   SYSCO PHILADELPHIA                            8/28/2017    $14,133.37              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2346.   SYSCO PHILADELPHIA                            8/21/2017    $14,258.68              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2347.   SYSCO PHILADELPHIA                            8/14/2017    $10,417.54              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2348.   SYSCO PHILADELPHIA                            8/7/2017     $15,959.36              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2349.   SYSCO PHILADELPHIA                            7/31/2017    $18,583.31              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2350.   SYSCO PHILADELPHIA                            7/24/2017    $17,535.03              ¨ Secured debt
          600 PACKER AVENUE
          PHILADELPHIA PA 19148                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2351.   SYSCO RIVERSIDE                               10/16/2017 $123,766.01               ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2352.   SYSCO RIVERSIDE                               10/10/2017 $127,336.24              ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2353.   SYSCO RIVERSIDE                               10/2/2017   $174,033.64             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2354.   SYSCO RIVERSIDE                               9/29/2017   $5,477.74               ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2355.   SYSCO RIVERSIDE                               9/25/2017   $130,403.98             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2356.   SYSCO RIVERSIDE                               9/18/2017   $141,820.72             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2357.   SYSCO RIVERSIDE                               9/11/2017   $126,735.07             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2358.   SYSCO RIVERSIDE                               9/5/2017     $139,241.28             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2359.   SYSCO RIVERSIDE                               8/28/2017    $139,529.91             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2360.   SYSCO RIVERSIDE                               8/21/2017    $129,017.79             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2361.   SYSCO RIVERSIDE                               8/14/2017    $135,573.44             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2362.   SYSCO RIVERSIDE                               8/7/2017     $126,514.58             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2363.   SYSCO RIVERSIDE                               7/31/2017    $60,146.12              ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2364.   SYSCO RIVERSIDE                               7/24/2017   $128,925.26             ¨ Secured debt
          15750 MERIDIAN PARKWAY
          RIVERSIDE CA 92518                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2365.   SYSCO SACRAMENTO                              10/16/2017 $78,990.18               ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2366.   SYSCO SACRAMENTO                              10/10/2017 $75,725.88               ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2367.   SYSCO SACRAMENTO                              10/2/2017   $78,155.69              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2368.   SYSCO SACRAMENTO                              9/29/2017   $491.66                 ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2369.   SYSCO SACRAMENTO                              9/25/2017   $72,135.41              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2370.   SYSCO SACRAMENTO                              9/18/2017    $77,618.70              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2371.   SYSCO SACRAMENTO                              9/11/2017    $65,407.73              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2372.   SYSCO SACRAMENTO                              9/5/2017     $77,197.17              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2373.   SYSCO SACRAMENTO                              8/28/2017    $72,095.83              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2374.   SYSCO SACRAMENTO                              8/21/2017    $74,063.51              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2375.   SYSCO SACRAMENTO                              8/14/2017    $71,877.35              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2376.   SYSCO SACRAMENTO                              8/7/2017     $67,500.59              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2377.   SYSCO SACRAMENTO                              7/31/2017    $67,994.42              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2378.   SYSCO SACRAMENTO                              7/24/2017    $72,852.58              ¨ Secured debt
          7062 PACIFIC AVENUE
          PLEASANT GROVE CA 95668                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2379.   SYSCO SEATTLE                                 10/16/2017 $9,369.81                 ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2380.   SYSCO SEATTLE                                 10/10/2017 $8,919.04                 ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2381.   SYSCO SEATTLE                                 10/2/2017    $8,537.61               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2382.   SYSCO SEATTLE                                 9/25/2017    $9,843.50               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2383.   SYSCO SEATTLE                                 9/18/2017    $11,178.95              ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2384.   SYSCO SEATTLE                                 9/11/2017    $9,516.98               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2385.   SYSCO SEATTLE                                 9/5/2017     $8,562.03               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2386.   SYSCO SEATTLE                                 8/28/2017    $7,864.24               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2387.   SYSCO SEATTLE                                 8/21/2017    $10,640.60              ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2388.   SYSCO SEATTLE                                 8/14/2017    $9,436.53               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2389.   SYSCO SEATTLE                                 8/7/2017     $8,240.49               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2390.   SYSCO SEATTLE                                 7/31/2017    $8,465.83               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2391.   SYSCO SEATTLE                                 7/24/2017    $9,995.45               ¨ Secured debt
          22820 54TH AVENUE SOUTH
          KENT WA 98032                                                                      ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2392.   SYSCO SOUTH FLORIDA                           10/16/2017 $22,745.37                ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2393.   SYSCO SOUTH FLORIDA                           10/10/2017 $8,051.37                 ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2394.   SYSCO SOUTH FLORIDA                           10/2/2017    $7,164.95               ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2395.   SYSCO SOUTH FLORIDA                           9/29/2017    $433.44                 ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2396.   SYSCO SOUTH FLORIDA                           9/25/2017    $18,277.47              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2397.   SYSCO SOUTH FLORIDA                           9/18/2017    $20,619.31              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2398.   SYSCO SOUTH FLORIDA                           9/11/2017    $16,851.87              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2399.   SYSCO SOUTH FLORIDA                           9/5/2017     $15,068.59              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2400.   SYSCO SOUTH FLORIDA                           8/28/2017    $19,044.58              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2401.   SYSCO SOUTH FLORIDA                           8/21/2017    $16,039.89              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2402.   SYSCO SOUTH FLORIDA                           8/14/2017    $15,415.61              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2403.   SYSCO SOUTH FLORIDA                           8/7/2017     $14,020.93              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2404.   SYSCO SOUTH FLORIDA                           7/31/2017    $15,549.96              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2405.   SYSCO SOUTH FLORIDA                           7/24/2017    $21,042.69              ¨ Secured debt
          12500 SYSCO WAY
          MEDLEY FL 33178                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2406.   SYSCO SYRACUSE                                10/16/2017 $11,198.87               ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2407.   SYSCO SYRACUSE                                10/10/2017 $12,494.64               ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2408.   SYSCO SYRACUSE                                10/2/2017   $11,642.18              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2409.   SYSCO SYRACUSE                                9/29/2017   $631.17                 ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2410.   SYSCO SYRACUSE                                9/25/2017   $17,114.35              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2411.   SYSCO SYRACUSE                                9/18/2017   $12,894.58              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2412.   SYSCO SYRACUSE                                9/11/2017    $12,231.04              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2413.   SYSCO SYRACUSE                                9/5/2017     $12,819.24              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2414.   SYSCO SYRACUSE                                8/28/2017    $10,720.74              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2415.   SYSCO SYRACUSE                                8/21/2017    $11,674.40              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2416.   SYSCO SYRACUSE                                8/14/2017    $10,859.08              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2417.   SYSCO SYRACUSE                                8/7/2017     $10,907.74              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2418.   SYSCO SYRACUSE                                7/31/2017   $13,568.60              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2419.   SYSCO SYRACUSE                                7/24/2017   $13,833.89              ¨ Secured debt
          ROUTE 173 NORTH, WARNER ROAD
          WARNERS NY 13164                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2420.   SYSCO WEST COAST FLORIDA                      10/16/2017 $24,340.43               ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2421.   SYSCO WEST COAST FLORIDA                      10/10/2017 $8,137.79                ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2422.   SYSCO WEST COAST FLORIDA                      10/2/2017   $23,503.91              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2423.   SYSCO WEST COAST FLORIDA                      9/29/2017   $8,218.52               ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2424.   SYSCO WEST COAST FLORIDA                      9/25/2017    $18,574.81              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2425.   SYSCO WEST COAST FLORIDA                      9/18/2017    $18,190.65              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2426.   SYSCO WEST COAST FLORIDA                      9/11/2017    $21,975.31              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2427.   SYSCO WEST COAST FLORIDA                      9/5/2017     $18,346.75              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2428.   SYSCO WEST COAST FLORIDA                      8/28/2017    $17,873.12              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2429.   SYSCO WEST COAST FLORIDA                      8/21/2017    $16,377.06              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2430.   SYSCO WEST COAST FLORIDA                      8/14/2017    $17,289.64              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2431.   SYSCO WEST COAST FLORIDA                      8/7/2017     $15,437.34              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2432.   SYSCO WEST COAST FLORIDA                      7/31/2017    $14,270.82              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2433.   SYSCO WEST COAST FLORIDA                      7/24/2017    $20,581.89              ¨ Secured debt
          3000 69TH STREET EAST
          PALMETTO FL 34221                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2434.   T GOEBEL LLC                                  9/12/2017    $17,845.52              ¨ Secured debt
          PO BOX 31088
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2435.   T GOEBEL LLC                                  9/8/2017     $17,845.52              ¨ Secured debt
          PO BOX 31088
          INDEPENDENCE OH 44131                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2436.   TAGEX SALES                                   8/4/2017     $15,980.00              ¨ Secured debt
          121 SULLY'S TRAIL SUITE 8
          PITTSFORD NY 14534                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2437.   TAGEX SALES, LLC                              7/19/17      $35,375.00              ¨ Secured debt
          121 SULLY'S TRAIL, STE 8
          PITTSFORD NY 14534                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2438.   TALX CORP, EQUIFAX WORKFORCE                  9/29/2017    $2,729.80               ¨ Secured debt
          SOLUTIONS
          4076 PAYSPHERE CIRCLE                                                              ¨ Unsecured loan repayments
          CHICAGO IL 60674                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2439.   TALX CORP, EQUIFAX WORKFORCE                  9/15/2017    $17,218.23              ¨ Secured debt
          SOLUTIONS
          4076 PAYSPHERE CIRCLE                                                              ¨ Unsecured loan repayments
          CHICAGO IL 60674                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2440.   TALX CORP, EQUIFAX WORKFORCE                  8/18/2017    $1,790.85               ¨ Secured debt
          SOLUTIONS
          4076 PAYSPHERE CIRCLE                                                              ¨ Unsecured loan repayments
          CHICAGO IL 60674                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2441.   TALX CORP, EQUIFAX WORKFORCE                  8/11/2017    $16,716.73              ¨ Secured debt
          SOLUTIONS
          4076 PAYSPHERE CIRCLE                                                              ¨ Unsecured loan repayments
          CHICAGO IL 60674                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2442.   TAMIM SOUFAN                                  9/15/2017    $3,037.64               ¨ Secured debt
          4940 CORINTHIAN BAY DRIVE
          FRISCO TX 75034                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2443.   TAMIM SOUFAN                                  9/8/2017     $3,019.21               ¨ Secured debt
          4940 CORINTHIAN BAY DRIVE
          FRISCO TX 75034                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2444.   TAMIM SOUFAN                                  8/25/2017    $7,500.00               ¨ Secured debt
          4940 CORINTHIAN BAY DRIVE
          FRISCO TX 75034                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2445.   TAMIM SOUFAN                                  8/11/2017    $7,500.00               ¨ Secured debt
          4940 CORINTHIAN BAY DRIVE
          FRISCO TX 75034                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2446.   TAMIM SOUFAN                                  7/28/2017    $7,500.00               ¨ Secured debt
          4940 CORINTHIAN BAY DRIVE
          FRISCO TX 75034                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2447.   TARANTINO FOODS, LLC                          10/16/2017 $833.25                   ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2448.   TARANTINO FOODS, LLC                          10/10/2017 $1,107.89                 ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2449.   TARANTINO FOODS, LLC                          10/2/2017    $1,280.53               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2450.   TARANTINO FOODS, LLC                          9/25/2017    $935.43                 ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2451.   TARANTINO FOODS, LLC                          9/18/2017    $1,141.48               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2452.   TARANTINO FOODS, LLC                          9/11/2017    $1,239.93               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2453.   TARANTINO FOODS, LLC                          9/5/2017     $905.49                 ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2454.   TARANTINO FOODS, LLC                          8/28/2017    $758.73                 ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2455.   TARANTINO FOODS, LLC                          8/21/2017    $802.17                 ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2456.   TARANTINO FOODS, LLC                          8/18/2017    $1,405.92               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2457.   TARANTINO FOODS, LLC                          8/14/2017    $1,047.14               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2458.   TARANTINO FOODS, LLC                          8/7/2017     $1,070.72               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2459.   TARANTINO FOODS, LLC                          7/31/2017    $1,259.00               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2460.   TARANTINO FOODS, LLC                          7/24/2017   $2,743.20               ¨ Secured debt
          530 BAILEY AVENUE
          BUFFALO NY 14206                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2461.   TEXAS RESTAURANT EQUIPMENT SERVICE            10/13/2017 $706.17                  ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2462.   TEXAS RESTAURANT EQUIPMENT SERVICE            10/6/2017   $486.04                 ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2463.   TEXAS RESTAURANT EQUIPMENT SERVICE            9/29/2017   $456.41                 ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2464.   TEXAS RESTAURANT EQUIPMENT SERVICE            9/22/2017   $615.56                 ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2465.   TEXAS RESTAURANT EQUIPMENT SERVICE            9/15/2017   $1,302.79               ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2466.   TEXAS RESTAURANT EQUIPMENT SERVICE            9/8/2017     $692.25                 ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2467.   TEXAS RESTAURANT EQUIPMENT SERVICE            9/1/2017     $2,893.21               ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2468.   TEXAS RESTAURANT EQUIPMENT SERVICE            8/25/2017    $1,257.36               ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2469.   TEXAS RESTAURANT EQUIPMENT SERVICE            8/18/2017    $374.05                 ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2470.   TEXAS RESTAURANT EQUIPMENT SERVICE            7/28/2017    $1,424.03               ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2471.   TEXAS RESTAURANT EQUIPMENT SERVICE            7/21/2017    $339.91                 ¨ Secured debt
          6411 BIG SPRINGS DRIVE
          ARLINGTON TX 76001                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2472.   TFO PHOENIX, INC.                             8/7/2017     $7,200.00               ¨ Secured debt
          ATTN. ACCOUNTS RECEIVABLE
          5060 NORTH 40TH STREET                                                             ¨ Unsecured loan repayments
          PHOENIX AZ 85018                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2473.   THE HARTFORD GROUP BENEFITS DIVISION          10/13/2017 $10,546.09                ¨ Secured debt
          PO BOX 783690
          PHILADELPHIA PA 19178                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2474.   THE HARTFORD GROUP BENEFITS DIVISION          9/15/2017    $10,795.94              ¨ Secured debt
          PO BOX 783690
          PHILADELPHIA PA 19178                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2475.   THE HARTFORD GROUP BENEFITS DIVISION          9/1/2017     $11,509.84              ¨ Secured debt
          PO BOX 783690
          PHILADELPHIA PA 19178                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2476.   THE HARTFORD GROUP BENEFITS DIVISION          8/4/2017     $12,291.80              ¨ Secured debt
          PO BOX 783690
          PHILADELPHIA PA 19178                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2477.   THE HARTFORD GROUP BENEFITS DIVISION          7/28/2017    $12,627.79              ¨ Secured debt
          PO BOX 783690
          PHILADELPHIA PA 19178                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2478.   THE IRVINE CO LLC                             9/12/2017    $21,976.42              ¨ Secured debt
          PO BOX 842568
          LOS ANGELES CA 90084                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2479.   THE IRVINE CO LLC                             8/11/2017    $22,053.03              ¨ Secured debt
          PO BOX 842568
          LOS ANGELES CA 90084                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2480.   THE LUCILA G ORTEGA 1995 TRUST                9/8/2017     $23,952.66              ¨ Secured debt
          300 ARVIDA PARKWAY
          CORAL GABLES FL 33156                                                              ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2481.   THE P&L TRUST DATED 9/22/1999                 9/8/2017     $25,990.06              ¨ Secured debt
          2000 NW 92 AVENUE
          DORAL FL 33172                                                                     ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2482.   THE RETAILOPERTY TRUST                        9/5/2017     $14,198.60              ¨ Secured debt
          DBA MALL OF GEORGIA-SIXPACK
          P O BOX 772805                                                                     ¨ Unsecured loan repayments
          CHICAGO IL 60677                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2483.   THE RETAILOPERTY TRUST                        8/1/2017     $14,198.60              ¨ Secured debt
          DBA MALL OF GEORGIA-SIXPACK
          P O BOX 772805                                                                     ¨ Unsecured loan repayments
          CHICAGO IL 60677                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2484.   TIME WARNER 053826101                         10/6/2017   $1,846.91               ¨ Secured debt
          PO BOX 223085
          PITTSBURGH PA 15251                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2485.   TIME WARNER 053826101                         9/15/2017   $4,546.38               ¨ Secured debt
          PO BOX 223085
          PITTSBURGH PA 15251                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2486.   TIME WARNER 053826101                         8/11/2017   $4,546.38               ¨ Secured debt
          PO BOX 223085
          PITTSBURGH PA 15251                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2487.   TIME WARNER 053826101                         7/28/2017   $4,546.38               ¨ Secured debt
          PO BOX 223085
          PITTSBURGH PA 15251                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2488.   TOWN CENTER INC                               10/13/2017 $545.00                  ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2489.   TOWN CENTER INC                               10/6/2017   $541.45                 ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2490.   TOWN CENTER INC                               9/29/2017    $900.00                 ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2491.   TOWN CENTER INC                               9/22/2017    $1,874.97               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2492.   TOWN CENTER INC                               9/15/2017    $1,564.54               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2493.   TOWN CENTER INC                               9/8/2017     $2,830.03               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2494.   TOWN CENTER INC                               9/1/2017     $1,891.40               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2495.   TOWN CENTER INC                               8/25/2017    $1,753.68               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2496.   TOWN CENTER INC                               8/18/2017   $2,646.27               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2497.   TOWN CENTER INC                               8/11/2017   $2,310.02               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2498.   TOWN CENTER INC                               7/28/2017   $2,637.73               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2499.   TOWN CENTER INC                               7/21/2017   $2,265.51               ¨ Secured debt
          PO BOX 2273
          BRIGHTON MI 48116                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2500.   TRANSWORLD ADVERTISING INC.                   10/13/2017 $2,040.00                ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2501.   TRANSWORLD ADVERTISING INC.                   10/6/2017   $1,940.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2502.   TRANSWORLD ADVERTISING INC.                   10/3/2017    $1,545.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2503.   TRANSWORLD ADVERTISING INC.                   9/28/2017    $5,200.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2504.   TRANSWORLD ADVERTISING INC.                   9/22/2017    $2,215.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2505.   TRANSWORLD ADVERTISING INC.                   9/15/2017    $5,278.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2506.   TRANSWORLD ADVERTISING INC.                   9/8/2017     $2,030.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2507.   TRANSWORLD ADVERTISING INC.                   9/5/2017     $10,400.00              ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2508.   TRANSWORLD ADVERTISING INC.                   9/1/2017     $9,200.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2509.   TRANSWORLD ADVERTISING INC.                   8/25/2017    $2,000.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2510.   TRANSWORLD ADVERTISING INC.                   8/18/2017    $2,000.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2511.   TRANSWORLD ADVERTISING INC.                   8/11/2017    $4,440.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2512.   TRANSWORLD ADVERTISING INC.                   8/4/2017     $1,905.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2513.   TRANSWORLD ADVERTISING INC.                   7/28/2017    $5,200.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                 ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2514.   TRANSWORLD ADVERTISING INC.                   7/21/2017   $1,890.00               ¨ Secured debt
          3684 N WICKHAM ROAD, STE. C
          MELBOURNE FL 32935                                                                ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2515.   TREASURER, CITY OF MEMPHIS                    8/31/2017   $29,838.52              ¨ Secured debt
          PO BOX 185
          MEMPHIS TN 38101-0185                                                             ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2516.   TREASURER, VIRGINIA BEACH                     10/16/2017 $6,085.20                ¨ Secured debt
          2401 COURTHOUSE DRIVE BLDG 1
          VIRGINIA BEACH VA 23456                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2517.   TREASURER, VIRGINIA BEACH                     9/15/2017   $6,778.71               ¨ Secured debt
          2401 COURTHOUSE DRIVE BLDG 1
          VIRGINIA BEACH VA 23456                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2518.   TREASURER, VIRGINIA BEACH                     8/11/2017   $7,106.38               ¨ Secured debt
          2401 COURTHOUSE DRIVE BLDG 1
          VIRGINIA BEACH VA 23456                                                           ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2519.   TRI STAR SERVICES USA                         10/13/2017 $300.00                  ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2520.   TRI STAR SERVICES USA                         10/6/2017    $604.17                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2521.   TRI STAR SERVICES USA                         9/29/2017    $775.42                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2522.   TRI STAR SERVICES USA                         9/22/2017    $536.67                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2523.   TRI STAR SERVICES USA                         9/15/2017    $744.17                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2524.   TRI STAR SERVICES USA                         9/8/2017     $944.17                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2525.   TRI STAR SERVICES USA                         9/1/2017     $1,916.26               ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2526.   TRI STAR SERVICES USA                         8/25/2017   $2,216.26               ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2527.   TRI STAR SERVICES USA                         8/18/2017   $1,036.67               ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2528.   TRI STAR SERVICES USA                         8/11/2017   $775.42                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2529.   TRI STAR SERVICES USA                         7/28/2017   $944.17                 ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2530.   TRI STAR SERVICES USA                         7/21/2017   $1,379.59               ¨ Secured debt
          8619 VIA BELLA NOTTE
          ORLANDO FL 32836                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2531.   TRINTECH INC                                  10/13/2017 $10,998.99               ¨ Secured debt
          15851 DALLAS PARKWAY, STE. 900
          ADDISON TX 75320                                                                  ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2532.   TRINTECH INC                                  10/6/2017    $625.00                 ¨ Secured debt
          15851 DALLAS PARKWAY, STE. 900
          ADDISON TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2533.   TRINTECH INC                                  9/15/2017    $106.60                 ¨ Secured debt
          15851 DALLAS PARKWAY, STE. 900
          ADDISON TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2534.   TRINTECH INC                                  8/18/2017    $10,892.39              ¨ Secured debt
          15851 DALLAS PARKWAY, STE. 900
          ADDISON TX 75320                                                                   ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2535.   TWC SERVICES INC                              10/13/2017 $321.27                   ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2536.   TWC SERVICES INC                              9/8/2017     $1,243.67               ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2537.   TWC SERVICES INC                              9/1/2017     $1,249.09               ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                                ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2538.   TWC SERVICES INC                              8/25/2017   $957.89                 ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2539.   TWC SERVICES INC                              8/18/2017   $4,206.07               ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2540.   TWC SERVICES INC                              8/11/2017   $3,042.92               ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2541.   TWC SERVICES INC                              7/28/2017   $4,891.67               ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2542.   TWC SERVICES INC                              7/21/2017   $296.74                 ¨ Secured debt
          PO BOX 1612
          DES MOINES IA 50306                                                               ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2543.   UNITED DISTRIBUTORS - ATLANTA                 9/25/2017   $161.00                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2544.   UNITED DISTRIBUTORS - ATLANTA                 9/22/2017   $113.69                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2545.   UNITED DISTRIBUTORS - ATLANTA                 9/21/2017   $214.88                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2546.   UNITED DISTRIBUTORS - ATLANTA                 9/20/2017   $132.39                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2547.   UNITED DISTRIBUTORS - ATLANTA                 9/18/2017   $378.87                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2548.   UNITED DISTRIBUTORS - ATLANTA                 9/15/2017   $290.51                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2549.   UNITED DISTRIBUTORS - ATLANTA                 9/14/2017   $347.88                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2550.   UNITED DISTRIBUTORS - ATLANTA                 9/12/2017    $492.95                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2551.   UNITED DISTRIBUTORS - ATLANTA                 9/8/2017     $66.00                  ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2552.   UNITED DISTRIBUTORS - ATLANTA                 9/7/2017     $199.97                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2553.   UNITED DISTRIBUTORS - ATLANTA                 8/31/2017    $299.35                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2554.   UNITED DISTRIBUTORS - ATLANTA                 8/30/2017    $181.01                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2555.   UNITED DISTRIBUTORS - ATLANTA                 8/28/2017    $131.00                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2556.   UNITED DISTRIBUTORS - ATLANTA                 8/25/2017   $66.00                  ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2557.   UNITED DISTRIBUTORS - ATLANTA                 8/24/2017   $636.23                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2558.   UNITED DISTRIBUTORS - ATLANTA                 8/23/2017   $318.29                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2559.   UNITED DISTRIBUTORS - ATLANTA                 8/17/2017   $466.08                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2560.   UNITED DISTRIBUTORS - ATLANTA                 8/16/2017   $618.62                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2561.   UNITED DISTRIBUTORS - ATLANTA                 8/10/2017   $406.60                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                 ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2562.   UNITED DISTRIBUTORS - ATLANTA                 8/9/2017     $208.43                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2563.   UNITED DISTRIBUTORS - ATLANTA                 8/4/2017     $96.00                  ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2564.   UNITED DISTRIBUTORS - ATLANTA                 8/3/2017     $426.36                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2565.   UNITED DISTRIBUTORS - ATLANTA                 8/2/2017     $46.16                  ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2566.   UNITED DISTRIBUTORS - ATLANTA                 7/27/2017    $521.40                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2567.   UNITED DISTRIBUTORS - ATLANTA                 7/26/2017    $201.49                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2568.   UNITED DISTRIBUTORS - ATLANTA                 7/24/2017    $423.00                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2569.   UNITED DISTRIBUTORS - ATLANTA                 7/21/2017    $96.00                  ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2570.   UNITED DISTRIBUTORS - ATLANTA                 7/20/2017    $350.37                 ¨ Secured debt
          770 KING GEORGE BLVD
          SAVANNAH GA 31419                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2571.   VECTOR INTELLIGENT SOLUTIONS, LLC             10/13/2017 $1,265.56                 ¨ Secured debt
          PO BOX 645096
          PITTSBURG PA 15264-5096                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2572.   VECTOR INTELLIGENT SOLUTIONS, LLC             9/15/2017    $1,837.68               ¨ Secured debt
          PO BOX 645096
          PITTSBURG PA 15264-5096                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2573.   VECTOR INTELLIGENT SOLUTIONS, LLC             9/1/2017     $2,906.08               ¨ Secured debt
          PO BOX 645096
          PITTSBURG PA 15264-5096                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2574.   VECTOR INTELLIGENT SOLUTIONS, LLC             7/28/2017    $3,745.54               ¨ Secured debt
          PO BOX 645096
          PITTSBURG PA 15264-5096                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2575.   VERIZON WIRELESS 742078376-00001              10/6/2017    $2,751.81               ¨ Secured debt
          PO BOX 660108
          DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2576.   VERIZON WIRELESS 742078376-00001              9/15/2017    $3,429.01               ¨ Secured debt
          PO BOX 660108
          DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2577.   VERIZON WIRELESS 742078376-00001              8/25/2017    $2,387.12               ¨ Secured debt
          PO BOX 660108
          DALLAS TX 75266                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2578.   VESTAR DRM-OPCO LLC                           9/5/2017     $17,177.18              ¨ Secured debt
          DEPT #880116
          2425 E CAMELBACK ROAD #750                                                         ¨ Unsecured loan repayments
          PHOENIX AZ 85016                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2579.   VESTAR DRM-OPCO LLC                           8/1/2017     $17,177.18              ¨ Secured debt
          DEPT #880116
          2425 E CAMELBACK ROAD #750                                                         ¨ Unsecured loan repayments
          PHOENIX AZ 85016                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2580.   VIRTEVA LLC                                   10/13/2017 $25,000.00                ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2581.   VIRTEVA LLC                                   10/6/2017    $24,218.95              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2582.   VIRTEVA LLC                                   9/29/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2583.   VIRTEVA LLC                                   9/22/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2584.   VIRTEVA LLC                                   9/15/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2585.   VIRTEVA LLC                                   9/8/2017     $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2586.   VIRTEVA LLC                                   9/1/2017     $24,826.54              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2587.   VIRTEVA LLC                                   8/25/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2588.   VIRTEVA LLC                                   8/18/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2589.   VIRTEVA LLC                                   8/11/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2590.   VIRTEVA LLC                                   8/4/2017     $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2591.   VIRTEVA LLC                                   7/28/2017    $25,546.44              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2592.   VIRTEVA LLC                                   7/21/2017    $25,000.00              ¨ Secured debt
          6110 GOLDEN HILLS DRIVE
          MINNEAPOLIS MN 55416                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2593.   VISION SERVICE PLAN INS CO                    9/15/2017    $10,014.15              ¨ Secured debt
          PO BOX 742788
          LOS ANGELES CA 90074                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2594.   VISION SERVICE PLAN INS CO                    8/25/2017    $3,264.91               ¨ Secured debt
          PO BOX 742788
          LOS ANGELES CA 90074                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2595.   VR PARTNERS I LP                              10/2/2017    $7,562.50               ¨ Secured debt
          6831 PRESTONSHIRE LANE
          DALLAS TX 75225                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2596.   VR PARTNERS I LP                              9/5/2017     $7,562.50               ¨ Secured debt
          6831 PRESTONSHIRE LANE
          DALLAS TX 75225                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2597.   VR PARTNERS I LP                              8/1/2017     $7,562.50               ¨ Secured debt
          6831 PRESTONSHIRE LANE
          DALLAS TX 75225                                                                    ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2598.   WEINGARTEN MILLER AURORA LLC                  9/12/2017    $12,825.75              ¨ Secured debt
          PO BOX 924133
          TENANT 124626 / CO 49510                                                           ¨ Unsecured loan repayments
          HOUSTON TX 77292                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2599.   WEINGARTEN MILLER AURORA LLC                  8/17/2017    $12,825.75              ¨ Secured debt
          PO BOX 924133
          TENANT 124626 / CO 49510                                                           ¨ Unsecured loan repayments
          HOUSTON TX 77292                                                                   þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2600.   WELLS LAEK BUENA VISTA LLC                    9/8/2017     $24,682.97              ¨ Secured debt
          PO BOX 2890
          HENDERSONVILLE NC 28793                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2601.   WELLS PLANO LLC                               9/21/2017    $21,299.56              ¨ Secured debt
          PO BOX 2890
          HENDERSONVILLE NC 28793                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2602.   WELLS PLANO LLC                               8/17/2017    $21,299.56              ¨ Secured debt
          PO BOX 2890
          HENDERSONVILLE NC 28793                                                            ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2603.   WIGGLYDOG RE VENTURES LLC SERIES C            10/3/2017    $13,801.01              ¨ Secured debt
          2885 SANFORD AVE SW # 27891
          DBA WDRE MG LLC                                                                    ¨ Unsecured loan repayments
          GRANDVILLE MI 49418                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2604.   WIGGLYDOG RE VENTURES LLC SERIES C            9/8/2017     $27,602.02              ¨ Secured debt
          2885 SANFORD AVE SW # 27891
          DBA WDRE MG LLC                                                                    ¨ Unsecured loan repayments
          GRANDVILLE MI 49418                                                                þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2605.   WINE WAREHOUSE                                9/22/2017    $545.17                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2606.   WINE WAREHOUSE                                9/21/2017    $1,526.14               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2607.   WINE WAREHOUSE                                9/15/2017    $669.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2608.   WINE WAREHOUSE                                9/14/2017    $884.52                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2609.   WINE WAREHOUSE                                9/13/2017    $534.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2610.   WINE WAREHOUSE                                9/13/2017    $168.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2611.   WINE WAREHOUSE                                9/7/2017     $1,076.77               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2612.   WINE WAREHOUSE                                9/1/2017     $1,474.90               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2613.   WINE WAREHOUSE                                8/31/2017    $2,977.29               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2614.   WINE WAREHOUSE                                8/30/2017    $768.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2615.   WINE WAREHOUSE                                8/25/2017    $1,012.19               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2616.   WINE WAREHOUSE                                8/24/2017   $461.40                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2617.   WINE WAREHOUSE                                8/18/2017   $396.29                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2618.   WINE WAREHOUSE                                8/17/2017   $1,739.77               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2619.   WINE WAREHOUSE                                8/16/2017   $147.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2620.   WINE WAREHOUSE                                8/11/2017   $902.77                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2621.   WINE WAREHOUSE                                8/10/2017   $1,285.68               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                         ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2622.   WINE WAREHOUSE                                8/9/2017     $276.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2623.   WINE WAREHOUSE                                8/4/2017     $1,397.52               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2624.   WINE WAREHOUSE                                8/3/2017     $856.55                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2625.   WINE WAREHOUSE                                8/1/2017     $170.04                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2626.   WINE WAREHOUSE                                7/28/2017    $1,613.61               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2627.   WINE WAREHOUSE                                7/27/2017    $1,085.52               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2628.   WINE WAREHOUSE                                7/26/2017    $405.00                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2629.   WINE WAREHOUSE                                7/21/2017    $824.23                 ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2630.   WINE WAREHOUSE                                7/20/2017    $1,672.92               ¨ Secured debt
          PO BOX 910900
          LOS ANGELES CA 90091-0900                                                          ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2631.   WINROCK PARTNERS LLC                          10/2/2017    $26,438.07              ¨ Secured debt
          PO BOX 844416
          LOS ANGELES CA 90084                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2632.   WINROCK PARTNERS LLC                          9/5/2017     $26,438.07              ¨ Secured debt
          PO BOX 844416
          LOS ANGELES CA 90084                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2633.   WINROCK PARTNERS LLC                          8/1/2017     $26,438.07              ¨ Secured debt
          PO BOX 844416
          LOS ANGELES CA 90084                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2634.   WINSTON STRAWN LLP                            10/23/17     $102,184.71             ¨ Secured debt
          200 PARK AVENUE
          NEW YORK NY 10166                                                                  ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2635.   YOUNG'S MARKET OF CA, LLC                     9/21/2017    $2,163.87               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2636.   YOUNG'S MARKET OF CA, LLC                     9/20/2017    $242.22                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2637.   YOUNG'S MARKET OF CA, LLC                     9/18/2017    $247.21                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2638.   YOUNG'S MARKET OF CA, LLC                     9/15/2017    $587.91                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2639.   YOUNG'S MARKET OF CA, LLC                     9/14/2017    $781.95                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2640.   YOUNG'S MARKET OF CA, LLC                     9/11/2017    $29.36                  ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2641.   YOUNG'S MARKET OF CA, LLC                     9/8/2017     $292.83                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2642.   YOUNG'S MARKET OF CA, LLC                     9/7/2017     $3,269.33               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2643.   YOUNG'S MARKET OF CA, LLC                     9/1/2017     $1,831.10               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2644.   YOUNG'S MARKET OF CA, LLC                     8/31/2017    $3,004.99               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2645.   YOUNG'S MARKET OF CA, LLC                     8/28/2017    $302.42                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2646.   YOUNG'S MARKET OF CA, LLC                     8/25/2017   $693.99                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2647.   YOUNG'S MARKET OF CA, LLC                     8/24/2017   $1,030.01               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2648.   YOUNG'S MARKET OF CA, LLC                     8/24/2017   $626.37                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2649.   YOUNG'S MARKET OF CA, LLC                     8/23/2017   $260.22                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2650.   YOUNG'S MARKET OF CA, LLC                     8/21/2017   $648.26                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________
          Creditor’s name and address                   Dates       Total amount or value   Reasons for payment or transfer
                                                                                            Check all that apply

3.2651.   YOUNG'S MARKET OF CA, LLC                     8/18/2017   $284.29                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                              ¨ Unsecured loan repayments
                                                                                            þ Suppliers or vendors
                                                                                            ¨ Services
                                                                                            ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2652.   YOUNG'S MARKET OF CA, LLC                     8/17/2017    $1,344.39               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2653.   YOUNG'S MARKET OF CA, LLC                     8/16/2017    $363.83                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2654.   YOUNG'S MARKET OF CA, LLC                     8/16/2017    $260.72                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2655.   YOUNG'S MARKET OF CA, LLC                     8/11/2017    $565.61                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2656.   YOUNG'S MARKET OF CA, LLC                     8/10/2017    $3,108.61               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2657.   YOUNG'S MARKET OF CA, LLC                     8/7/2017     $658.12                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2658.   YOUNG'S MARKET OF CA, LLC                     8/4/2017     $1,316.30               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2659.   YOUNG'S MARKET OF CA, LLC                     8/3/2017     $1,978.32               ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2660.   YOUNG'S MARKET OF CA, LLC                     8/1/2017     $267.90                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2661.   YOUNG'S MARKET OF CA, LLC                     7/28/2017    $436.64                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2662.   YOUNG'S MARKET OF CA, LLC                     7/27/2017    $853.68                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________
          Creditor’s name and address                   Dates        Total amount or value   Reasons for payment or transfer
                                                                                             Check all that apply

3.2663.   YOUNG'S MARKET OF CA, LLC                     7/27/2017    $258.06                 ¨ Secured debt
          500 S CENTRAL AVE
          LOS ANGELES CA 90013                                                               ¨ Unsecured loan repayments
                                                                                             þ Suppliers or vendors
                                                                                             ¨ Services
                                                                                             ¨ Other _______________


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Debtor       MAC ACQUISITION LLC                                                                                          Case number (if known) 17-12224

              Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                                  Check all that apply

3.2664.       YOUNG'S MARKET OF CA, LLC                                 7/26/2017     $92.35                      ¨ Secured debt
              500 S CENTRAL AVE
              LOS ANGELES CA 90013                                                                                ¨ Unsecured loan repayments
                                                                                                                  þ Suppliers or vendors
                                                                                                                  ¨ Services
                                                                                                                  ¨ Other _______________
              Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                                  Check all that apply

3.2665.       YOUNG'S MARKET OF CA, LLC                                 7/24/2017     $48.40                      ¨ Secured debt
              500 S CENTRAL AVE
              LOS ANGELES CA 90013                                                                                ¨ Unsecured loan repayments
                                                                                                                  þ Suppliers or vendors
                                                                                                                  ¨ Services
                                                                                                                  ¨ Other _______________
              Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                                  Check all that apply

3.2666.       YOUNG'S MARKET OF CA, LLC                                 7/21/2017     $449.73                     ¨ Secured debt
              500 S CENTRAL AVE
              LOS ANGELES CA 90013                                                                                ¨ Unsecured loan repayments
                                                                                                                  þ Suppliers or vendors
                                                                                                                  ¨ Services
                                                                                                                  ¨ Other _______________
              Creditor’s name and address                               Dates         Total amount or value       Reasons for payment or transfer
                                                                                                                  Check all that apply

3.2667.       YOUNG'S MARKET OF CA, LLC                                 7/20/2017     $2,418.85                   ¨ Secured debt
              500 S CENTRAL AVE
              LOS ANGELES CA 90013                                                                                ¨ Unsecured loan repayments
                                                                                                                  þ Suppliers or vendors
                                                                                                                  ¨ Services
                                                                                                                  ¨ Other _______________


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
       List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
       guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
       $6,425.00. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
       adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
       and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
       managing agent of the debtor. 11 U.S.C. § 101(31).

       ¨ None
         Insider’s name and address                                  Dates          Total amount or value       Reasons for payment or transfer

4.1.     ALIX UDELSON                                                10/18/16 -     $34,455.92                  COMPENSATION AND PHONE
         500 DALLALS ST                                              10/17/17                                   ALLOWANCE
         STE 3000
         HOUSTON TX 77002
         Relationship to debtor
         FORMER MANAGER



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Debtor       MAC ACQUISITION LLC                                                                                         Case number (if known) 17-12224

         Insider’s name and address                                  Dates         Total amount or value       Reasons for payment or transfer

4.2.     DEAN RIESEN                                                 10/18/16 -    $267,873.15                 COMPENSATION,
         1855 BLAKE STREET                                           10/17/17                                  TRANSPORTATION, VEHICLE AND
         SUITE 200                                                                                             PHONE ALLOWANCE AND
         DENVER CO 80202                                                                                       EXPENSES
         Relationship to debtor
         CHAIRMAN AND CO-CFO

         Insider’s name and address                                  Dates         Total amount or value       Reasons for payment or transfer

4.3.     JEFFREY MEYER                                               10/18/16 -    $151,133.07                 COMPENSATION AND PHONE
         1855 BLAKE STREET                                           10/17/17                                  ALLOWANCE
         SUITE 200
         DENVER CO 80202
         Relationship to debtor
         VICE PRESIDENT & ASSISTANT SECRETARY

         Insider’s name and address                                  Dates         Total amount or value       Reasons for payment or transfer

4.4.     JOHN GILBERT                                                10/18/16 -    $337,927.87                 COMPENSATION, TRANSPORTATION
                                                                     10/17/17                                  AND EXPENSES
         Relationship to debtor
         FORMER PRESIDENT & CEO

         Insider’s name and address                                  Dates         Total amount or value       Reasons for payment or transfer

4.5.     MAURY CUJE                                                  10/18/16 -    $94,759.99                  COMPENSATION AND PHONE
         1855 BLAKE STREET                                           10/17/17                                  ALLOWANCE
         SUITE 200
         DENVER CO 80202
         Relationship to debtor
         ASSISTANT SECRETARY

         Insider’s name and address                                  Dates         Total amount or value       Reasons for payment or transfer

4.6.     PASQUALE MATURO                                             10/18/16 -    $171,861.30                 COMPENSATION AND PHONE
         1855 BLAKE STREET                                           10/17/17                                  ALLOWANCE
         SUITE 200
         DENVER CO 80202
         Relationship to debtor
         CO-CFO AND TREASURER




5. Repossessions, foreclosures, and returns
       List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed
       by a creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property
       listed in line 6.

       ¨ None
         Creditor’s name and address                         Description of the property                         Date                   Value of property

5.1.     A. NAZZARO ASSOCIATES, INC.                         RESTAURANT FURNITURE, FIXTURES &                    6/1/2017               UNDETERMINED
         8 SAXON AVENUE, STE. C                              EQUIPMENT
         STE C
         BAY SHORE NY 11706




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Debtor       MAC ACQUISITION LLC                                                                                           Case number (if known) 17-12224

         Creditor’s name and address                          Description of the property                         Date                   Value of property

5.2.     MAROGIL FAMILY LLC                                   RESTAURANT FURNITURE, FIXTURES &                    7/9/2017               UNDETERMINED
         2151 ROBINSON RD                                     EQUIPMENT
         GRAND RAPIDS MI 49506

         Creditor’s name and address                          Description of the property                         Date                   Value of property

5.3.     MVP INVESTMENTS LLC                                  RESTAURANT FURNITURE, FIXTURES &                    7/10/2017              UNDETERMINED
         14613 N. KELLY AVE.                                  EQUIPMENT
         EDMOND OK 73013

         Creditor’s name and address                          Description of the property                         Date                   Value of property

5.4.     SCRANTON REALTY, INC.                                RESTAURANT FURNITURE, FIXTURES &                    4/2017                 UNDETERMINED
         7 PARK CENTER COURT                                  EQUIPMENT
         OWINGS MILLS MD 21117




6. Setoffs
       List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an
       account of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the
       debtor owed a debt.

       ¨ None
         Creditor’s name and address                  Description of the action creditor took                     Date action was        Amount
                                                                                                                  taken

6.1.     THE HIRAOKA FAMILY TRUST                     GARNISHMENT                                                 8/17/2017              $68,593.34
         ANDREW L. PLATT, ESQ.
         KUEVER & PLATT, LLC
         65 E. WACKER PLACE, STE. 2300                Last 4 digits of account number: XXXX–__________
         CHICAGO IL 60601

         Creditor’s name and address                  Description of the action creditor took                     Date action was        Amount
                                                                                                                  taken

6.2.     WALKER V. MAC ACQUISITION LLC                GARNISHMENT                                                 7/28/2017              $122,004.98
         TAYLOR ENGLISH DUMA LLP
         JOHN J. RICHARD
         1600 PARKWOOD CIRCLE                         Last 4 digits of account number: XXXX–__________
         SUITE 200
         ATLANTA GA 30339




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Debtor      MAC ACQUISITION LLC                                                                                       Case number (if known) 17-12224



 Part 3:       Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
       List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was
       involved in any capacity—within 1 year before filing this case.

       ¨ None
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.1.     100 UNIVERSITY LLC V MAC                REAL ESTATE LITIGATION                  CIRCUIT COURT, 17TH JUDICIAL                þ Pending
         ACQUISITION LLC                                                                 DISTRICT, BROWARD COUNTY, FL
                                                                                         201 SE 6TH ST                               ¨ On appeal
         Case number                                                                     FORT LAUDERDALE FL 33301                    ¨ Concluded
         CASE NO. CACE-17-013666

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.2.     2728 GANNON RD LLC V MAC                REAL ESTATE LITIGATION                  DISTRICT COURT OF JOHNSON                   þ Pending
         ACQUISITION LLC                                                                 COUNTY, KS, LIMITED ACTIONS
                                                                                         DIVISION, DIVISION M4, KSA                  ¨ On appeal
         Case number                                                                     CHAPTER 61
                                                                                         100 N. KANSAS AVE
                                                                                                                                     ¨ Concluded
         CASE NO. 17LA03132
                                                                                         OLATHE KS 66061

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.3.     ADAM CALABRESE V. MAC                   EMPLOYMENT                              U.S. DISTRICT COURT FOR THE                 ¨ Pending
         ACQUISITION LLC; GOLDEN                                                         EASTERN DISTRICT OF
         GATE CAPITAL; IGNITE                                                            PENNSYLVANIA                                ¨ On appeal
         RESTAURANT GROUP, INC.;
         REDROCK PARTNERS LLC
                                                                                         601 MARKET ST
                                                                                         PHILADELPHIA PA 19106
                                                                                                                                     þ Concluded
         Case number
         2:16-EV-00867-ER

         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.4.     ALONSO, FILEMON                         WORKMAN'S COMP                          WORKERS COMPENSATION                        þ Pending
                                                                                         APPEALS BOARD
         Case number                                                                     2550 MARIPOSA ST                            ¨ On appeal
         NO. 201612071343
                                                                                         ROOM 4078
                                                                                         FRESNO CA 93721-2219
                                                                                                                                     ¨ Concluded
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.5.     ARAUJO, GEORGE                          WORKMAN'S COMP                          WORKERS COMPENSATION                        ¨ Pending
                                                                                         APPEALS BOARD
         Case number                                                                     7575 METROPOLITAN RD                        ¨ On appeal
         NO. 201601251811
                                                                                         STE 202
                                                                                         SAN DIEGO CA 92108-4424
                                                                                                                                     þ Concluded
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.6.     ARCIGAZUNO, DAVID                       WORKMAN'S COMP                          WORKERS COMPENSATION                        þ Pending
                                                                                         APPEALS BOARD
         Case number                                                                     6150 VAN NUYS BLVD                          ¨ On appeal
         NO. 201507081136
                                                                                         ROOM 105
                                                                                         VAN NUYS CA 91401-3370
                                                                                                                                     ¨ Concluded
         Case title                              Nature of case                          Court or agency's name and address          Status of case

7.7.     ASHLEY MATIS AND SANDRA                 PERSONAL INJURY                         COMMON PLEAS COURT, COUNTY                  ¨ Pending
         SCHMIDT V. ROMANO'S                                                             OF CUYAHOGA, OHIO
         MACARONI GRILL                                                                  1200 ONTARIO ST                             ¨ On appeal
         Case number
                                                                                         CLEVELAND OH 44113                          þ Concluded
         CV-16-865502


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Debtor     MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

        Case title                      Nature of case                   Court or agency's name and address    Status of case

7.8.    BARBARA KIELY AND SM            PERSONAL INJURY                  CIRCUIT COURT FOR THE 17TH            ¨ Pending
        HUSSEIN HANIFF V. IGNITE                                         JUDICIAL DISTRICT, BROWARD
        RESTAURANT GROUP, INC. DBA                                       COUNTY, FLORIDA                       ¨ On appeal
        ROMANO'S MACARONI GRILL                                          201 SE 6TH ST
                                                                         FORT LAUDERDALE FL 33301
                                                                                                               þ Concluded
        Case number
        CACE-16-004735

        Case title                      Nature of case                   Court or agency's name and address    Status of case

7.9.    BENSON V. MAC ACQUISITION       PERSONAL INJURY                  DISTRICT COURT, CLARK COUNTY,         þ Pending
        LLC DBA ROMANO'S MACARONI                                        NV
        GRILL                                                            200 LEWIS AVE                         ¨ On appeal
        Case number
                                                                         LAS VEGAS NV 89155                    ¨ Concluded
        CASE NO. A-15-724314-C

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.10.    BGHIGH V. MAC PARENT LLC        PERSONAL INJURY                  DISTRICT COURT, HARRIS COUNTY,       þ Pending
         AND MAC ACQUISITION LLC                                          TX, 61ST JUDICIAL DISTRICT
                                                                          201 CAROLINE ST # 900                ¨ On appeal
         Case number                                                      HOUSTON TX 77002                     ¨ Concluded
         CAUSE NO. 2017-03317

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.11.    BRANDYWINE DEVELOPMENT          REAL ESTATE LITIGATION           SUPERIOR COURT, DELAWARE             þ Pending
         GROUP, LLC V MAC                                                 500 NORTH KING STREET
         ACQUISITION AND BRINKER                                          WILMINGTON DE 19801                  ¨ On appeal
         RESTAURANT CORPORATION                                                                                ¨ Concluded
         Case number
         CASE NO. N17C-08

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.12.    BRUNILDA GARCIA AND PEDRO       PERSONAL INJURY                  COUNTY COURT AT LAW NO. 2,           ¨ Pending
         GARCIA V. MAC ACQUISITION                                        NEUCES COUNTY, TX
         LLC                                                              901 LEOPARD                          ¨ On appeal
         Case number
                                                                          CORPUS CHRISTIE TX 78401             þ Concluded
         2016CCV-60423-2

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.13.    CARRILLO, JUANA                 WORKMAN'S COMP                   WORKERS' COMPENSATION                þ Pending
                                                                          APPEALS BOARD
         Case number                                                      1515 CLAY ST                         ¨ On appeal
         NO. 201507161205
                                                                          6TH FLOOR
                                                                          OAKLAND CA 94612-1402
                                                                                                               ¨ Concluded
         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.14.    CARRILLO, JUANA                 WORKMAN'S COMP                   WORKERS' COMPENSATION                þ Pending
                                                                          APPEALS BOARD
         Case number                                                      1515 CLAY ST                         ¨ On appeal
         NO. 201604201331
                                                                          6TH FLOOR
                                                                          OAKLAND CA 94612-1402
                                                                                                               ¨ Concluded




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Debtor    MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.15.    CASUAL DINING ALTAMONTE         REAL ESTATE LITIGATION           CIRCUIT COURT, 18TH JUDICIAL         þ Pending
         SPRINGS LLC V MAC                                                DISTRICT, SEMINOLE, FL
         ACQUISITION LLC AKA MAC                                          301 N PARK AVE                       ¨ On appeal
         ACQUISITION DELAWARE LLC                                         SANFORD FL 32771                     ¨ Concluded
         Case number
         CASE NO. 2017-CA-000895-15-W

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.16.    CASUAL DINING COOL SPRINGS      REAL ESTATE LITIGATION           GENERAL SESSIONS COURT,              þ Pending
         LLC V MAC ACQUISITION LLC                                        WILLIAMSON COUNTY, TN
                                                                          135 4TH AVE S STE 136                ¨ On appeal
         Case number                                                      FRANKLIN TN 37064                    ¨ Concluded
         CASE NO. 2017-CV-1153

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.17.    CBL-FRIENDLY CENTER CMBS        REAL ESTATE LITIGATION           GENERAL COURT OF JUSTICE,            þ Pending
         LLC V MAC ACQUISITION LLC                                        DISTRICT COURT DIVISION,
         AND REDROCK PARTNERS LLC                                         COUNTY OF GUILFORD, NC               ¨ On appeal
         Case number
                                                                          505 EAST GREEN DRIVE
                                                                          HIGH POINT NC 27261
                                                                                                               ¨ Concluded
         CASE NO. 17-CVD-7502

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.18.    CHADHA, ET AL. V. MAC           CONSUMER LIABILITY               CALIFORNIA SUPERIOR COURT,           þ Pending
         ACQUISITION LLC                                                  ORANGE COUNTY
                                                                          751 WEST SANTA ANA BLVD.             ¨ On appeal
         Case number                                                      SANTA ANA CA 92701                   ¨ Concluded
         CASE NO. 30-2016-00862227-CU-
         PO-CJC

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.19.    CHARESE CRAYTON V.              CHARGE OF DISCRIMINATION         EEOC                                 þ Pending
         ROMANO'S MACARONI GRILL                                          1130 22ND ST S
                                                                          STE 2000                             ¨ On appeal
         Case number                                                      BIRMINGHAM AL 35205                  ¨ Concluded
         EEOC CHARGE NO. 420-2016-
         01077

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.20.    CINDA TAYLOR V. ROMANO'S        PERSONAL INJURY                  DISTRICT COURT                       ¨ Pending
         MACARONI GRILL                                                   JEFFERSON COUNTY, COLORADO
                                                                          100 JEFFERSON COUNTY PKWY            ¨ On appeal
         Case number                                                      GOLDEN CO 80401                      þ Concluded
         CASE NO. 2017CV030053

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.21.    COATES, RAMON                   WORKMAN'S COMP                   HOWARD COUNTY CIRCUIT COURT          ¨ Pending
                                                                          8360 COURT AVE
         Case number                                                      ELLICOTT CITY MD 21043               ¨ On appeal
         BOARD NO. W072101                                                                                     þ Concluded
         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.22.    COLUMBUS DINING DST V MAC       REAL ESTATE LITIGATION           FRANKLIN C COUNTY COMMON             þ Pending
         ACQUISITION LLC                                                  PLEAS COURT, COLUMBUS, OH,
                                                                          CIVIL DIVISION                       ¨ On appeal
         Case number                                                      345 S HIGH ST
                                                                          COLUMBUS OH 43215
                                                                                                               ¨ Concluded
         CASE NO. 17CV-04-3549



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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.23.    DAVID G. WALKER AND SANDRA PERSONAL INJURY                         STATE COURT OF GWINNETT              ¨ Pending
         R. WALKER V. MAC ACQUISITION                                       COUNTY, GA
         LLC                                                                75 LANGLEY DRIVE                     ¨ On appeal
         Case number
                                                                            LAWRENCEVILLE GA 30046               þ Concluded
         14C-06264-5

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.24.    DAWN PROCTOR, SARAH               BREACH OF CONTRACT;              SUPERIOR COURT OF CALIFORNIA,        ¨ Pending
         MILLER, KATIE DOZIER, MALEN       INDEMNITY; DECLARATORY           VENTURA COUNTY
         HOUNSHELL V. ROBERTSON            RELIEF                           800 S. VICTORIA AVENUE               ¨ On appeal
         PROPERTIES GROUP; VENTURA
         GATEWAY, LLC V. MAC
                                                                            VENTURA CA 93009                     þ Concluded
         ACQUISITION LLC
         Case number
         CASE NO. 56-2012-00421358-CU-
         PO-VTA

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.25.    DB FIVE GRILL, LP V MAC           REAL ESTATE LITIGATION           DISTRICT COURT, DALLAS               þ Pending
         ACQUISITION LLC                                                    COUNTY, TX, 162ND JUDICIAL
                                                                            DISTRICT                             ¨ On appeal
         Case number                                                        600 COMMERCE STREET
                                                                            7TH FLOOR NEW TOWER
                                                                                                                 ¨ Concluded
         CASE NO. DC-17-05064
                                                                            DALLAS TX 75202

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.26.    DEPARTMENT OF BUSINESS            ADMINISTRATIVE PROCEEDING        DEPARTMENT OF BUSINESS AND           þ Pending
         AND PROFESSIONAL                                                   PROFESSIONAL REGULATION,
         REGULATION, DIVISION OF                                            DIVISION OF HOTELS AND               ¨ On appeal
         HOTELS AND RESTAURANTS V.
         MAC ACQUISITION OF
                                                                            RESTAURANTS
                                                                            2601 BLAIR STONE RD
                                                                                                                 ¨ Concluded
         DELAWARE LLC DBA ROMANO'S                                          TALLAHASSEE FL 32399
         MACARONI GRILL,
         Case number
         CASE NO. 2017-027313

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.27.    DESMOND CAMPBELL V. MAC           EMPLOYMENT                       LABOR COMMISSIONER, STATE OF         ¨ Pending
         ACQUISITION LLC                                                    CALIFORNIA
                                                                            DEPARTMENT OF INDUSTRIAL             ¨ On appeal
         Case number                                                        RELATIONS, DIVISION OF LABOR
                                                                            STANDARDS ENFORCEMENT
                                                                                                                 þ Concluded
         CASE NO. 05-64981LP
                                                                            300 OCEANGATE
                                                                            STE 302
                                                                            LONG BEACH CA 90802

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.28.    DINOVA, INC. V. MAC               BREACH OF CONTRACT               SUPERIOR COURT OF GWINNETT           þ Pending
         ACQUISITION LLC                                                    COUNTY
                                                                            75 LANGLEY DRIVE                     ¨ On appeal
         Case number                                                        JUSTICE & ADMINISTRATION
                                                                            CENTER
                                                                                                                 ¨ Concluded
         STATE OF GEORGIA, CIVIL
                                                                            LAWRENCEVILLE GA 30046
         ACTION NO. 17A 09176-8




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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.29.    EKRYSS V. IGNITE RESTAURANT       WAGE AND HOUR                    U.S. COURT OF APPEALS FOR THE        ¨ Pending
         GROUP, ET AL. *INCLUDES                                            SECOND CIRCUIT
         DEFENDANTS RAYMOND A.                                              40 FOLEY SQUARE                      þ On appeal
         BLANCHETTE, III; KEVIN
         COTTINGHAM; RODNEY
                                                                            THURGOOD MARSHALL U.S.
                                                                            COURTHOUSE
                                                                                                                 ¨ Concluded
         MORRIS, MAC PARENT LLC                                             NEW YORK NY 10007
         JOHN GILBERT, REDROCK
         PARTNERS LLC AND DEAN
         RIESEN
         Case number
         CIVIL ACTION NO. 6:15-CV-06742

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.30.    EKRYSS V. IGNITE RESTAURANT       WAGE AND HOUR                    US DISTRICT COURT                    þ Pending
         GROUP, ET AL. *INCLUDES                                            WESTERN DISTRICT OF NEW YORK
         DEFENDANTS RAYMOND A.                                              100 STATE ST                         ¨ On appeal
         BLANCHETTE, III; KEVIN
         COTTINGHAM; RODNEY
                                                                            ROCHESTER NY 14614                   ¨ Concluded
         MORRIS, MAC PARENT LLC
         JOHN GILBERT, REDROCK
         PARTNERS LLC AND DEAN
         RIESEN
         Case number
         CASE NO. 15-CV-6742

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.31.    ERIKA SANCHEZ V. ROMANO'S         CHARGE OF DISCRIMINATION         EEOC                                 þ Pending
         MACARONI GRILL                                                     CALIFORNIA DEPARTMENT OF FAIR
                                                                            EMPLOYMENT & HOUSING                 ¨ On appeal
         Case number                                                        ROYBAL FEDERAL BUILDING
                                                                            255 EAST TEMPLE ST., 4TH FLOOR
                                                                                                                 ¨ Concluded
         CHARGE NO. 480-2017-02489
                                                                            LOS ANGELES CA 90012

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.32.    FRANSISCA MORALES V. MAC          PERSONAL INJURY                  U.S. DISTRICT COURT FOR THE          þ Pending
         ACQUISITION LLC DBA                                                NORTHERN DISTRICT OF
         ROMANO'S MACARONI GRILL;                                           CALIFORNIA                           ¨ On appeal
         8000 EL CERRITO INVESTORS
         LLC
                                                                            450 GOLDEN GATE AVE
                                                                            SAN FRANCISCO CA 94102
                                                                                                                 ¨ Concluded
         Case number
         CASE NO. 3:17-CV-060921-LB

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.33.    GABRIELA CABRERA V. PELICAN       ADA PUBLIC ACCOMMODATIONS SUPERIOR COURT OF CALIFORNIA,               ¨ Pending
         ASSET MANAGEMENT GROUP                                      COUNTY OF LOS ANGELES
         LLC; MAC ACQUISITION LLC                                    400 CIVIC CENTER PLAZA                      ¨ On appeal
         Case number
                                                                     POMONA COURTHOUSE SOUTH
                                                                     POMONA CA 91766
                                                                                                                 þ Concluded
         KC068643

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.34.    GOMEZ, MARIO                      WORKMAN'S COMP                   WORKERS COMPENSATION                 ¨ Pending
                                                                            DIVISION
         Case number                                                        3111 S DIXIE HWY #123                ¨ On appeal
         NO. 4771294
                                                                            WEST PALM BEACH FL 33405             þ Concluded



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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.35.    HERNADEZ MART, JOSE D            WORKMAN'S COMP                   WORKERS COMPENSATION                 þ Pending
                                                                           APPEALS BOARD
         Case number                                                       605 W SANTA ANA BLVD                 ¨ On appeal
         NO. 201603021248
                                                                           BLDG 28 STE 451
                                                                           SANTA ANA CA 92701
                                                                                                                ¨ Concluded
         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.36.    HERNANDEZ,NELDA S                WORKMAN'S COMP                   DIVISION OF WORKERS                  þ Pending
                                                                           COMPENSATION
         Case number                                                       ELIAS RAMIREZ BUILDING               ¨ On appeal
         NO. 17282281                                                                                           ¨ Concluded
         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.37.    HOLLY V. MAC ACQUISITION LLC     PERSONAL INJURY                  SUPERIOR COURT, STATE OF             þ Pending
                                                                           ARIZONA, MARICOPA COUNTY
         Case number                                                       222 E JAVELINA AVE STE 2400          ¨ On appeal
         CASE NO. CV2017-002500
                                                                           MESA AZ 85210                        ¨ Concluded
         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.38.    JENKINS, XIOME V. MAC            EMPLOYMENT                       U.S. DISTRICT COURT FOR THE          ¨ Pending
         ACQUISITION OF DELAWARE                                           MIDDLE DISTRICT OF FLORIDA,
         LLC                                                               TAMPA DIVISION                       ¨ On appeal
         Case number
                                                                           801 N. FLORIDA AVE
                                                                           TAMPA FL 33602
                                                                                                                þ Concluded
         CASE NO. 8:17-CV-1825-T-27AAS

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.39.    JESSICA BROWN V. LISA            PERSONAL INJURY                  SACRAMENTO SUPERIOR COURT,           ¨ Pending
         KALAVERAS, LINDA ENIEX                                            CA
         MOSELY, AND MAC                                                   720 9TH ST                           ¨ On appeal
         ACQUISITION LLC                                                   SACRAMENTO CA 95814                  þ Concluded
         Case number
         CASE NO. 34-2014-00172240

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.40.    LARA, JORGE                      WORKMAN'S COMP                   WORKERS COMPENSATION                 þ Pending
                                                                           APPEALS BOARD
         Case number                                                       1065 N PACIFICENTER DR               ¨ On appeal
         NO. 201605261530
                                                                           ANAHEIM CA 92806                     ¨ Concluded
         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.41.    LOWE, DEANNA                     WORKMAN'S COMP                   WORKERS' COMPENSATION                þ Pending
                                                                           APPEALS BOARD
         Case number                                                       320 WEST 4TH ST                      ¨ On appeal
         NO. 20176081150
                                                                           9TH FLOOR
                                                                           LOS ANGELES CA 90013-2329
                                                                                                                ¨ Concluded
         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.42.    LUKSO V. MAC ACQUISITION LLC NEGLIGENCE                           SUPERIOR COURT, STATE OF             þ Pending
                                                                           ARIZONA, PIMA COUNTY
         Case number                                                       110 W CONGRESS ST                    ¨ On appeal
         CASE NO. C20164230
                                                                           TUCSON AZ 85701                      ¨ Concluded




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.43.    MATTHEW FIVEASH V. MAC           EMPLOYMENT                       CIRCUIT COURT OF THE 13TH            ¨ Pending
         ACQUISITION OF DELAWARE                                           JUDICIAL DISTRICT FOR
         LLC DBA ROMANO'S MACARONI                                         HILLSBOROUGH, FLORIDA                ¨ On appeal
         GRILL                                                             800 E. TWIGGS ST
                                                                           TAMPA FL 33602
                                                                                                                þ Concluded
         Case number
         16-CA-6731, DIVISION "D"

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.44.    MENDIETA, LAZARO                 WORKMAN'S COMP                   WORKERS COMPENSATION                 ¨ Pending
                                                                           APPEALS BOARD
         Case number                                                       1065 N PACIFICENTER DR               ¨ On appeal
         NO. 2017-03011458
                                                                           ANAHEIM CA 92806                     þ Concluded
         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.45.    MENDOZA V. MAC ACQUISITION       EMPLOYMENT                       U.S. DISTRICT COURT FOR THE          þ Pending
         LLC                                                               CENTRAL DISTRICT OF CALIFORNIA
                                                                           - SOUTHERN DIVISION                  ¨ On appeal
         Case number                                                       411 WEST 4TH STREET, ROOM 1053
                                                                           SANTA ANA CA 92701-4516
                                                                                                                ¨ Concluded
         CASE NO. 8:17-CV-00557(JEMX)

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.46.    MICHAEL A. RUZICHO V.            CHARGE OF DISCRIMINATION         OHIO CIVIL RIGHTS DIVISION AND       þ Pending
         ROMANO'S MACARONI GRILL,,                                         CLEVELAND EEOC FIELD OFFICE
         OHIO CIVIL RIGHTS DIVISION                                        7162 READING RD # 1001               ¨ On appeal
         AND CLEVELAND EEOC FIELD
         OFFICE.
                                                                           CINCINNATI OH 45237                  ¨ Concluded
         Case number
         EEOC CHARGE NO. 532-2017-
         01547

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.47.    MJDEL LLC V MAC ACQUISITION      REAL ESTATE LITIGATION           SUPERIOR COURT, DEPARTMENT           þ Pending
         LLC (BANK OF AMERICA,                                             OF THE TRIAL COURT, MIDDLESEX,
         TRUSTEE PROCESS                                                   MA                                   ¨ On appeal
         DEFENDANT)                                                        200 TRADE CENTER
                                                                           2ND FLOOR
                                                                                                                ¨ Concluded
         Case number                                                       WOBURN MA 01801
         CASE NO. 1781CV00631

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.48.    MVP INVESTMENTS LLC V MAC        REAL ESTATE LITIGATION           DISTRICT COURT OF OKLAHOMA           þ Pending
         ACQUISITION LLC                                                   COUNTY, OK
                                                                           200 NW 4TH ST                        ¨ On appeal
         Case number                                                       OKLAHOMA CITY OK 73102               ¨ Concluded
         CASE NO. CJ-2017-4433

         Case title                       Nature of case                   Court or agency's name and address   Status of case

7.49.    OGUIS, WILFREDO                  WORKMAN'S COMP                   WORKERS COMPENSATION                 þ Pending
                                                                           200 EAST GAINES ST
         Case number                                                       TALLAHASSEE FL 32399-0318            ¨ On appeal
         NO. 4630788                                                                                            ¨ Concluded




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7.50.    PATRICIA L DEMUTH               CONSUMER COMPLAINT               ATTORNEY GENERAL OF MISSOURI         ¨ Pending
                                                                          CONSUMER ADVOCATE DIVISION
         Case number                                                      PO BOX 899                           ¨ On appeal
         COMPLAINT NO. CC-2017-03-
                                                                          JEFFERSON CITY MO 65102              þ Concluded
         002227

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.51.    PPF RTL ROSEDALE SHOPPING       REAL ESTATE LITIGATION           DISTRICT COURT, SECOND               þ Pending
         CENTER LLC V ROJO ROSEDALE                                       JUDICIAL DISTRICT, RAMSEY
         LLC AND BRINKER                                                  COUNTY, MN                           ¨ On appeal
         INTERNATIONAL INC.                                               50 KELLOGG BLVD W STE 6560
                                                                          ST PAUL MN 55102
                                                                                                               ¨ Concluded
         Case number
         CASE NO. 62-CV-17-2961

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.52.    RAITHEL, MARGO V. ROMANO'S      EMPLOYMENT                       EEOC, LITTLE ROCK FIELD OFFICE       ¨ Pending
         MACARONI GRIL                                                    EMPLOYMENT
                                                                          820 LOUISIANA                        ¨ On appeal
         Case number                                                      STE 200
                                                                          LITTLE ROCK AR 72201
                                                                                                               þ Concluded
         CHARGE NO. 493-2017-00671

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.53.    RANDY JAMES V. BRINKER          PERSONAL INJURY                  SUPERIOR COURT OF CALIFORNIA,        ¨ Pending
         RESTAURANT CORP, MAC                                             COUNTY OF SACRAMENTO
         ACQUISITION LLC, MAC PARENT                                      SMALL CLAIMS DIVISION                ¨ On appeal
         LLC, REDROCK PARTNERS LLC                                        301 BICENTENNIAL CIRCLE
                                                                          SACRAMENTO CA 95826-2701
                                                                                                               þ Concluded
         Case number
         17SC02781

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.54.    RUIZ, MELODI                    WORKMAN'S COMP                   WORKERS COMPENSATION                 ¨ Pending
                                                                          APPEALS BOARD
         Case number                                                      3737 MAIN ST                         ¨ On appeal
         _____________________________
                                                                          STE 300
                                                                          RIVERSIDE CA 92501-3337
                                                                                                               þ Concluded
         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.55.    SAMANTHA GURTLER V.             CHARGE OF DISCRIMINATION         COLORADO CIVIL RIGHTS DIVISION       þ Pending
         ROMANO'S MACARONI GRILL                                          1560 BROADWAY 1050
                                                                          DENVER CO 80202                      ¨ On appeal
         Case number
                                                                                                               ¨ Concluded
         CASE NO. FE2017703326

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.56.    SANCHEZ ET AL. V. MAC           PERSONAL INJURY                  CIRCUIT COURT FOR THE 11TH           þ Pending
         ACQUISITION LLC                                                  JUDICIAL DISTRICT, MIAMI COUNTY,
                                                                          FLORIDA                              ¨ On appeal
         Case number                                                      175 NW 1ST AVE # 30
                                                                          MIAMI FL 33128
                                                                                                               ¨ Concluded
         CASE NO.: 2017-004695-CA-01

         Case title                      Nature of case                   Court or agency's name and address   Status of case

7.57.    SATCHER, SAMANTHA               WORKMAN'S COMP                   DELAWARE OFFICE OF WORKERS           þ Pending
                                                                          COMPENSATION
         Case number                                                      4425 N MARKET ST                     ¨ On appeal
         _____________________________
                                                                          3RD FLOOR
                                                                          WILMINGTON DE 19802
                                                                                                               ¨ Concluded


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7.58.    SECOND FLORIDA BS                 REAL ESTATE LITIGATION           CIRCUIT COURT, MADISON               þ Pending
         INVESTMENTS, LLC V MAC                                             COUNTY, AL
         ACQUISITION LLC                                                    100 NORTHSIDE SQ RM 821              ¨ On appeal
         Case number
                                                                            HUNTSVILLE AL 35801                  ¨ Concluded
         CASE NO. 47-CV-2017-900316.00

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.59.    SERVPRO VENTURA V. MAC            ACTION ON ACCOUNT                SUPERIOR COURT OF CALIFORNIA,        ¨ Pending
         ACQUISITION LLC                                                    COUNTY OF LOS ANGELES
                                                                            COUNTY OF VENTURA,                   ¨ On appeal
         Case number                                                        800 S. VICTORIA AVE
                                                                            VENTURA CA 93009
                                                                                                                 þ Concluded
         CASE NO. 56-2016-00488929

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.60.    SHARON DOBBINS V. ROMANO'S        PERSONAL INJURY                  SUPERIOR COURT OF CALIFORNIA,        ¨ Pending
         MACARONI GRILL, IGNITE                                             LOS ANGELES COUNTY
         RESTAURANT GROUP, INC.,                                            CENTRAL DISTRICT                     ¨ On appeal
         MAC ACQUISITION LLC,
         BRINKER INTERNATIONAL, INC.,
                                                                            111 N. HILL ST
                                                                            LOS ANGELES CA 90012
                                                                                                                 þ Concluded
         BRINKER CORPORATION
         Case number
         BC534600

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.61.    SHERIFF, LLC V. MAC               BREACH OF CONTRACT               CHANCERY COURT OF TENNESSEE          ¨ Pending
         ACQUISITION LLC                                                    140 ADAMS AVENUE
                                                                            MEMPHIS TN 38103                     ¨ On appeal
         Case number
                                                                                                                 þ Concluded
         CH15-0474-2

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.62.    SHOPPING CENTER                   REAL ESTATE LITIGATION           SUPERIOR COURT OF NEW                þ Pending
         ASSOCIATES V MAC                                                   JERSEY, MIDDLESEX COUNTY, LAW
         ACQUISITION LLC                                                    DIVISION                             ¨ On appeal
         Case number
                                                                            1201 BACHARACH BLVD
                                                                            ATLANTIC CITY NJ 08401
                                                                                                                 ¨ Concluded
         CASE NO. MID-L-4126-17

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.63.    SIMMONS, SUSAN                    WORKMAN'S COMP                   OFFICE OF ADMINISTRATIVE             þ Pending
                                                                            COURTS
         Case number                                                        WORKERS COMPENSATION BOARD           ¨ On appeal
         NO. 5028721
                                                                            COLORADO DEPARTMENT OF
                                                                            LABOR
                                                                                                                 ¨ Concluded
                                                                            633 17TH ST STE 400
                                                                            DENVER CO 80202

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.64.    SIMON PROPERTY GROUP, LP V        REAL ESTATE LITIGATION           CIRCUIT COURT, ESCAMBIA              þ Pending
         MAC ACQUISITION LLC AKA MAC                                        COUNTY, FL, DIVISION A
         ACQUISITION OF DELAWARE                                            190 W GOVERNMENT ST                  ¨ On appeal
         LLC                                                                PENSACOLA FL 32502                   ¨ Concluded
         Case number
         CASE NO. 2017-CA-001148




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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.65.    SMITH, CRYSTAL V MAMAKOS,         PERSONAL INJURY                  PASSAIC COUNTY COURTHOUSE            ¨ Pending
         ROMANO'S MACARONI GRILL,                                           77 HAMILTON ST
         INC. DBA ROMANO'S MACARONI                                         PATERSON NJ 07505                    ¨ On appeal
         GRILL                                                                                                   þ Concluded
         Case number
         DOCKET NO. PAS-L-4262-15

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.66.    STARTZEL V. MAC ACQUISITION       EMPLOYMENT                       SUPERIOR COURT, STATE OF             þ Pending
         LLC                                                                CALIFORNIA, ORANGE COUNTY
                                                                            751 WEST SANTA ANA BLVD.             ¨ On appeal
         Case number                                                        SANTA ANA CA 92701                   ¨ Concluded
         CASE NO. 30-2017-00905801-CU-
         WT-CJC

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.67.    STEIN V. MAC ACQUISITION LLC      PERSONAL INJURY                  COURT OF COMMON PLEAS,               þ Pending
                                                                            MONTGOMERY COUNTY, PA
         Case number                                                        2 E AIRY ST BLDG 1                   ¨ On appeal
         CASE NO. 2014-34091
                                                                            NORRISTOWN PA 19401                  ¨ Concluded
         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.68.    TATYANA AGROSKIN V. MAC           PERSONAL INJURY                  BERGEN COUNTY SUPERIOR               ¨ Pending
         ACQUISITION LLC                                                    COURT, NJ
                                                                            10 MAIN STREET                       ¨ On appeal
         Case number                                                        HACKENSACK NJ 07601                  þ Concluded
         BER-L-7209-15

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.69.    TESTILER V. MAC ACQUISITION       PERSONAL INJURY                  CIRCUIT COURT OF THE 13TH            þ Pending
         OF DELAWARE LLC DBA                                                JUDICIAL DISTRICT,
         ROMANO'S MACARONI GRILL                                            HILLSBOROUGH COUNTY, FLORIDA         ¨ On appeal
         Case number
                                                                            800 E TWIGGS ST
                                                                            TAMPA FL 33602
                                                                                                                 ¨ Concluded
         CASE NO. 17-CA-008860

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.70.    THE HIRAOKA FAMILY TRUST V        REAL ESTATE LITIGATION           CIRCUIT COURT, COOK COUNTY, IL       þ Pending
         MAC ACQUISITION LLC                                                3150 W FLOURNOY ST
                                                                            CHICAGO IL 60612                     ¨ On appeal
         Case number
                                                                                                                 ¨ Concluded
         CASE NO. 17 M3 003313

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.71.    TIGRISWOODS LLC V MAC             REAL ESTATE LITIGATION           4TH DISTRICT COURT OF UTAH           þ Pending
         ACQUISITION LLC                                                    COUNTY UT, UTAH COUNTY,
                                                                            PROVO DISTRICT COURT                 ¨ On appeal
         Case number                                                        125 N 100 W
                                                                            PROVO UT 84601
                                                                                                                 ¨ Concluded
         CASE NO. 170401457

         Case title                        Nature of case                   Court or agency's name and address   Status of case

7.72.    TOTAL LINE REFRIGERATION,         ACTION ON ACCOUNT                AKRON MUNICIPAL COURT,               þ Pending
         INC. V. MAC ACQUISITION LLC                                        SUMMIT COUNTY, OHIO, SMALL
                                                                            CLAIMS DIVISION                      ¨ On appeal
         Case number                                                        217 HIGH STREET
                                                                            CITY COURT HOUSE
                                                                                                                 ¨ Concluded
         CASE NO. 17CV-08457
                                                                            AKRON OH 44308



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           Case title                              Nature of case                         Court or agency's name and address          Status of case

7.73.      TRADECOR GILBERT & VAUGH                REAL ESTATE LITIGATION                 SUPERIOR COURT OF ARIZONA,                  þ Pending
           LLC V MAC ACQUISITION LLC                                                      MARICOPA COUNTY
                                                                                          125 W. WASHINGTON                           ¨ On appeal
           Case number                                                                    PHOENIX AZ 85003-2243                       ¨ Concluded
           CASE NO. CV-2017-006031

           Case title                              Nature of case                         Court or agency's name and address          Status of case

7.74.      TREJO, SAUL                             WORKMAN'S COMP                         WORKERS COMPENSATION                        ¨ Pending
                                                                                          APPEALS BOARD
           Case number                                                                    605 W SANTA ANA BLVD                        ¨ On appeal
           NO. 201508311207
                                                                                          BLDG 28 STE 451
                                                                                          SANTA ANA CA 92701
                                                                                                                                      þ Concluded
           Case title                              Nature of case                         Court or agency's name and address          Status of case

7.75.      WESTBROOK V. MAC PARENT                 PERSONAL INJURY                        COUNTY CIVIL COURT, TRAVIS                  þ Pending
           LLC ET AL.*, *COMPLAINT ALSO                                                   COUNTY, TEXAS
           NAMED MAC ACQUISITION LLC                                                      1000 GUADALUPE                              ¨ On appeal
           IGNITE RESTAURANT GROUP,
           INC., AND REDROCK PARTNERS
                                                                                          AUSTIN TX 78701                             ¨ Concluded
           LLC
           Case number
           CAUSE NO. C-1-CV-17-002413




8. Assignments and receivership
       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       þ None
         Custodian's name and address                     Description of the property                     Value

8.1.     ___________________________________              ___________________________________             $_________________________________
         ___________________________________
         ___________________________________              Case title                                      Court name and address
         ___________________________________
                                                          ___________________________________             ___________________________________
                                                                                                          ___________________________________
                                                          Case number                                     ___________________________________
                                                                                                          ___________________________________
                                                          ___________________________________
                                                          Date of order or assignment
                                                          ___________________________________




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Debtor     MAC ACQUISITION LLC                                                                           Case number (if known) 17-12224



 Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
   aggregate value of the gifts to that recipient is less than $1,000.
       ¨ None
        Recipient’s name and address                Description of the gifts or contributions      Dates given       Value

9.1.    COLORADO RESTAURANT ASSOCIATION             527 POLITICAL                                  8/29/2016         $5,000.00
        430 E 7TH AVE
        DENVER CO 80203
        Recipient’s relationship to debtor
        NONE




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Debtor     MAC ACQUISITION LLC                                                                              Case number (if known) 17-12224



 Part 5:    Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
    þ None
         Description of the property lost and how   Amount of payments received for the loss          Date of loss      Value of property
         the loss occurred                                                                                              lost
                                                    If you have received payments to cover the
                                                    loss, for example, from insurance, government
                                                    compensation, or tort liability, list the total
                                                    received.
                                                    List unpaid claims on Official Form 106A/B
                                                    (Schedule A/B: Assets – Real and Personal
                                                    Property).
10.1.    _____________________________________      $___________________________________              _______________ $_____________




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Debtor     MAC ACQUISITION LLC                                                                                      Case number (if known) 17-12224



 Part 6:    Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
    the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
    seeking bankruptcy relief, or filing a bankruptcy case.

    ¨ None
         Who was paid or who received the                 If not money, describe any property               Dates                 Total amount or
         transfer?                                        transferred                                                             value

11.1.    DONLIN RECANO & COMPANY                          _____________________________________             10/12/2017            $15,000.00
         Address
         PO BOX 199043
         BLYTHEBOURNE STATION
         BROOKLYN NY 11219
         Email or website address
         WWW.DONLINRECANO.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the                 If not money, describe any property               Dates                 Total amount or
         transfer?                                        transferred                                                             value

11.2.    GISON, DUNN, CRUTCHER                            _____________________________________             9/16/2017             $50,000.00
         Address
         555 SOUTH GRAND AVENUE
         LOS ANGELES CA 90071-3197
         Email or website address
         WWW.GIBSONDUNN.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the                 If not money, describe any property               Dates                 Total amount or
         transfer?                                        transferred                                                             value

11.3.    GISON, DUNN, CRUTCHER                            _____________________________________             10/12/2017            $375,000.00
         Address
         555 SOUTH GRAND AVENUE
         LOS ANGELES CA 90071-3197
         Email or website address
         WWW.GIBSONDUNN.COM
         Who made the payment, if not debtor?
         _____________________________________




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Debtor    MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.4.    MACKINAC PARTNERS                         _____________________________________     5/25/2017           $75,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.5.    MACKINAC PARTNERS                         _____________________________________     6/6/2017            $75,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.6.    MACKINAC PARTNERS                         _____________________________________     6/30/2017           $12,362.46
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.7.    MACKINAC PARTNERS                         _____________________________________     6/30/2017           $75,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         _____________________________________




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Debtor    MAC ACQUISITION LLC                                                                         Case number (if known) 17-12224

         Who was paid or who received the          If not money, describe any property       Dates                Total amount or
         transfer?                                 transferred                                                    value

11.8.    MACKINAC PARTNERS                         _____________________________________     7/19/2017            $75,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         _____________________________________

         Who was paid or who received the          If not money, describe any property       Dates                Total amount or
         transfer?                                 transferred                                                    value

11.9.    MACKINAC PARTNERS                         _____________________________________     8/1/2017             $43,103.28
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         _____________________________________

          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.10.    MACKINAC PARTNERS                         ____________________________________      8/1/2017            $75,000.00
          Address
          74 W LONG LAKE ROAD
          STE 205
          BLOOMFIELD HILLS MI 48304
          Email or website address
          WWW.MACKINACPARTNERS.COM
          Who made the payment, if not debtor?
          ____________________________________

          Who was paid or who received the          If not money, describe any property       Dates               Total amount or
          transfer?                                 transferred                                                   value

11.11.    MACKINAC PARTNERS                         ____________________________________      8/15/2017           $75,000.00
          Address
          74 W LONG LAKE ROAD
          STE 205
          BLOOMFIELD HILLS MI 48304
          Email or website address
          WWW.MACKINACPARTNERS.COM
          Who made the payment, if not debtor?
          ____________________________________




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Debtor   MAC ACQUISITION LLC                                                                         Case number (if known) 17-12224

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.12.   MACKINAC PARTNERS                         ____________________________________      9/1/2017            $31,635.77
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.13.   MACKINAC PARTNERS                         ____________________________________      9/1/2017            $75,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.14.   MACKINAC PARTNERS                         ____________________________________      10/3/2017           $21,225.21
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the          If not money, describe any property       Dates               Total amount or
         transfer?                                 transferred                                                   value

11.15.   MACKINAC PARTNERS                         ____________________________________      10/3/2017           $75,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         ____________________________________




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Debtor   MAC ACQUISITION LLC                                                                                        Case number (if known) 17-12224

         Who was paid or who received the                 If not money, describe any property               Dates                Total amount or
         transfer?                                        transferred                                                            value

11.16.   MACKINAC PARTNERS                                ____________________________________              10/17/2017           $200,000.00
         Address
         74 W LONG LAKE ROAD
         STE 205
         BLOOMFIELD HILLS MI 48304
         Email or website address
         WWW.MACKINACPARTNERS.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the                 If not money, describe any property               Dates                Total amount or
         transfer?                                        transferred                                                            value

11.17.   YOUNG CONAWAY STARGATT TAYLOR,                   ____________________________________              9/29/2017            $75,000.00
         LLP
         Address
         1000 NORTH KING STREET
         WILMINGTON DE 19801
         Email or website address
         WWW.YOUNGCONAWAY.COM
         Who made the payment, if not debtor?
         ____________________________________

         Who was paid or who received the                 If not money, describe any property               Dates                Total amount or
         transfer?                                        transferred                                                            value

11.18.   YOUNG CONAWAY STARGATT TAYLOR,                   ____________________________________              10/12/2017           $115,453.00
         LLP
         Address
         1001 NORTH KING STREET
         WILMINGTON DE 19802
         Email or website address
         WWW.YOUNGCONAWAY.COM
         Who made the payment, if not debtor?
         ____________________________________




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of
    this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

    þ None




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         Name of trust or device                          Describe any property transferred                  Dates transfers      Total amount or
                                                                                                             were made            value

12.1.    _____________________________________            _____________________________________              _______________ $_____________
         Trustee
         _____________________________________
         _____________________________________
         _____________________________________
         _____________________________________




13. Transfers not already listed on this statement
    List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.

    þ None
         Who received transfer?                           Description of property transferred or             Date transfer        Total amount or
                                                          payments received or debts paid in                 was made             value
                                                          exchange

13.1.    _____________________________________            _____________________________________              _______________ $_____________
         Address
         _____________________________________
         _____________________________________
         _____________________________________
         _____________________________________
         Relationship to debtor
         _____________________________________




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 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

    ¨ Does not apply
         Address                                                                                   Dates of occupancy

14.1.    1855 BLAKE ST.                                                                            From 4/20/2017 To CURRENT
         SUITE 200
         DENVER CO 80202

         Address                                                                                   Dates of occupancy

14.2.    3100 SOUTH GESSNER RD                                                                     From 4/17/2015 To 4/20/2017
         SUITE 125
         HOUSTON TX 77063

         Address                                                                                   Dates of occupancy

14.3.    9900 WESTPARK DRIVE                                                                       From 4/9/2013 To 4/16/2015
         SUITE 300
         HOUSTON TX 77063




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Debtor     MAC ACQUISITION LLC                                                                                     Case number (if known) 17-12224



 Part 8:    Healthcare Bankruptcies

15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    — diagnosing or treating injury, deformity, or disease, or
    — providing any surgical, psychiatric, drug treatment, or obstetric care?

    þ No. Go to Part 9.
    ¨ Yes. Fill in the information below.
         Facility name and address                 Nature of the business operation, including type of             If debtor provides meals and
                                                   services the debtor provides                                    housing, number of patients
                                                                                                                   in debtor’s care

15.1.    _______________________________           _______________________________________________                 __________________________
         _______________________________
         _______________________________           Location where patient records are maintained (if               How are records kept?
         _______________________________           different from facility address). If electronic, identify any
                                                   service provider                                                Check all that apply:

                                                   _______________________________________________                 ¨ Electronically
                                                   _______________________________________________
                                                   _______________________________________________
                                                                                                                   ¨ Paper
                                                   _______________________________________________




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 Part 9:    Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
    ¨ No
    þ Yes. State the nature of the information collected and retained. E-CLUB COLLECTS NAME, ADDRESS AND E-MAIL INFORMATION
    INFORMATION
            Does the debtor have a privacy policy about that information?

            ¨ No
            þ Yes


17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b)
    or other pension or profit-sharing plan made available by the debtor as an employee benefit?
    þ No. Go to Part 10.
    ¨ Yes. Does the debtor serve as plan administrator?
          ¨ No. Go to Part 10
          ¨ Yes. Fill in below:
                Name of plan                                                                 Employer identification number of the plan

                ____________________________________________________________                 EIN: __ __-__ __ __ __ __ __ __

                Has the plan been terminated?

                ¨ No
                ¨ Yes




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 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.

    ¨ None
         Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
         address                                  number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.1.    BANK OF AMERICA                          XXX-1402                    ¨ Checking                    9/6/2017             $0.00
         4535 BELT LINE RD.
         ADDISON TX 75001                                                     ¨ Savings
                                                                              ¨ Money market
                                                                              ¨ Brokerage
                                                                              þ Other: DEPOSITORY
         Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
         address                                  number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.2.    BANK OF AMERICA                          XXX-1428                    ¨ Checking                    9/6/2017             $0.00
         5858 W NORTHWEST HWY.
         DALLAS TX 75225                                                      ¨ Savings
                                                                              ¨ Money market
                                                                              ¨ Brokerage
                                                                              þ Other: DEPOSITORY
         Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
         address                                  number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.3.    BANK OF AMERICA                          XXX-1431                    ¨ Checking                    9/6/2017             $0.00
         9292 METCALF AVE.
         OVERLAND PARK KS 66212                                               ¨ Savings
                                                                              ¨ Money market
                                                                              ¨ Brokerage
                                                                              þ Other: DEPOSITORY
         Financial institution name and           Last 4 digits of account    Type of account               Date account         Last balance
         address                                  number                                                    was closed, sold,    before closing
                                                                                                            moved, or            or transfer
                                                                                                            transferred

18.4.    BANK OF AMERICA                          XXX-1457                    ¨ Checking                    4/11/2015            $0.00
         6603 S MEMORIAL DR.
         TULSA OK 74133                                                       ¨ Savings
                                                                              ¨ Money market
                                                                              ¨ Brokerage
                                                                              þ Other: DEPOSITORY




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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Financial institution name and       Last 4 digits of account   Type of account       Date account        Last balance
         address                              number                                           was closed, sold,   before closing
                                                                                               moved, or           or transfer
                                                                                               transferred

18.5.    BANK OF AMERICA                      XXX-1486                   ¨ Checking            9/6/2017            $0.00
         884 W STATE RD. 436
         ALTAMONTE SPRINGS FL 32714                                      ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account       Date account        Last balance
         address                              number                                           was closed, sold,   before closing
                                                                                               moved, or           or transfer
                                                                                               transferred

18.6.    BANK OF AMERICA                      XXX-1512                   ¨ Checking            9/6/2017            $0.00
         5802 WESTHEIMER RD.
         HOUSTON TX 77057                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account       Date account        Last balance
         address                              number                                           was closed, sold,   before closing
                                                                                               moved, or           or transfer
                                                                                               transferred

18.7.    BANK OF AMERICA                      XXX-1538                   ¨ Checking            9/6/2017            $0.00
         7245 E GOLD DUST AVE.
         SCOTTSDALE AZ 85258                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account       Date account        Last balance
         address                              number                                           was closed, sold,   before closing
                                                                                               moved, or           or transfer
                                                                                               transferred

18.8.    BANK OF AMERICA                      XXX-1541                   ¨ Checking            9/6/2017            $0.00
         2575 W HIGGINS RD.
         HOFFMAN ESTATES IL 60169                                        ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account       Date account        Last balance
         address                              number                                           was closed, sold,   before closing
                                                                                               moved, or           or transfer
                                                                                               transferred

18.9.    BANK OF AMERICA                      XXX-1554                   ¨ Checking            4/11/2016           $0.00
         138 STATE ROUTE 10 SUITE 2
         EAST HANOVER NJ 07936                                           ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.10.   BANK OF AMERICA                      XXX-1567                   ¨ Checking             9/6/2017          $0.00
         1712 GALLERIA BLVD.
         FRANKLIN TN 37067                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.11.   BANK OF AMERICA                      XXX-1606                   ¨ Checking             9/6/2017          $0.00
         9701 BEAVER DAM RD.
         TIMONIUM MD 21093                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.12.   BANK OF AMERICA                      XXX-1635                   ¨ Checking             9/6/2017          $0.00
         7607 FM 1960 RD. W
         HOUSTON TX 77070                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.13.   BANK OF AMERICA                      XXX-1680                   ¨ Checking             9/6/2017          $0.00
         3510 NW EXPWY
         OKLAHOMA CITY OK 73112                                          ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.14.   BANK OF AMERICA                      XXX-1758                   ¨ Checking             9/6/2017          $0.00
         1521 ROUTE 1
         EDISON NJ 08837                                                 ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.15.   BANK OF AMERICA                      XXX-1774                   ¨ Checking             9/6/2017          $0.00
         900 STATE RT. 17
         RAMSEY NJ 07446                                                 ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.16.   BANK OF AMERICA                      XXX-1826                   ¨ Checking             9/6/2017          $0.00
         21 BLANCHARD CIRCLE
         WHEATON IL 60189                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.17.   BANK OF AMERICA                      XXX-1839                   ¨ Checking             9/6/2017          $0.00
         1958 STATE ROUTE 23
         WAYNE NJ 07470                                                  ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.18.   BANK OF AMERICA                      XXX-1842                   ¨ Checking             9/6/2017          $0.00
         2004 NW EXECUTIVE CTR. CIRCLE
         BOCA RATON FL 33431                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.19.   BANK OF AMERICA                      XXX-1884                   ¨ Checking             9/6/2017          $0.00
         6115 PARKCENTER CIRCLE
         DUBLIN OH 43017                                                 ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.20.   BANK OF AMERICA                      XXX-1907                   ¨ Checking             9/6/2017          $0.00
         925 E KEMPER RD.
         CINCINNATI OH 45246                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.21.   BANK OF AMERICA                      XXX-1965                   ¨ Checking             9/6/2017          $0.00
         25720 THE OLD RD.
         STEVENSON RANCH CA 91381                                        ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.22.   BANK OF AMERICA                      XXX-1994                   ¨ Checking             2/25/2015         $0.00
         25352 CRENSHAW BLVD.
         TORRANCE CA 90505                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.23.   BANK OF AMERICA                      XXX-2045                   ¨ Checking             4/21/2016         $0.00
         6181 COLUMBIA CROSSING CIRCLE
         COLUMBIA MD 21045                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.24.   BANK OF AMERICA                      XXX-2061                   ¨ Checking             3/6/2017          $0.00
         50 SOUTH AVE.
         BURLINGTON MA 01803                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.25.   BANK OF AMERICA                      XXX-2126                   ¨ Checking             9/6/2017          $0.00
         8156 W BOWLES AVE.
         LITTLETON CO 80123                                              ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.26.   BANK OF AMERICA                      XXX-2171                   ¨ Checking             9/6/2017          $0.00
         4801 N UNIVERSITY AVE.
         PROVO UT 84604                                                  ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.27.   BANK OF AMERICA                      XXX-2207                   ¨ Checking             9/6/2017          $0.00
         3410 HIGHWAY 190
         MANDEVILLE LA 70471                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.28.   BANK OF AMERICA                      XXX-2210                   ¨ Checking             4/22/2015         $0.00
         13620 PINES BLVD.
         PEMBROKE PINES FL 33027                                         ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.29.   BANK OF AMERICA                      XXX-2223                   ¨ Checking             9/6/2017          $0.00
         4157 CONCORD PIKE
         WILMINGTON DE 19803                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.30.   BANK OF AMERICA                      XXX-2359                   ¨ Checking             8/31/2015         $0.00
         7651 FRANCE AVE. S
         MINNEAPOLIS MN 55435                                            ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.31.   BANK OF AMERICA                      XXX-2401                   ¨ Checking             2/29/2016         $0.00
         275 ROBERT C DANIEL JR. PKWY.
         AUGUSTA GA 30909                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.32.   BANK OF AMERICA                      XXX-2443                   ¨ Checking             9/6/2017          $0.00
         10706 PROVIDENCE RD.
         CHARLOTTE NC 28277                                              ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.33.   BANK OF AMERICA                      XXX-2456                   ¨ Checking             5/10/2016         $0.00
         148 HARBISON BLVD.
         COLUMBIA SC 29212                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.34.   BANK OF AMERICA                      XXX-2469                   ¨ Checking             9/6/2017          $0.00
         2535 S STATE RD. 7
         WELLINGTON FL 33414                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.35.   BANK OF AMERICA                      XXX-2540                   ¨ Checking             9/3/2017          $0.00
         51 INTERNATIONAL DR. S
         FLANDERS NJ 07836                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.36.   BANK OF AMERICA                      XXX-2634                   ¨ Checking             9/6/2017          $0.00
         4880 TELEPHONE RD.
         VENTURA CA 93003                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.37.   BANK OF AMERICA                      XXX-2647                   ¨ Checking             2/15/2016         $0.00
         1580 N DALE MABRY HWY.
         TAMPA FL 33607                                                  ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.38.   BANK OF AMERICA                      XXX-2650                   ¨ Checking             9/6/2017          $0.00
         11745 W IH 10 SUITE 300
         SAN ANTONIO TX 78230                                            ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.39.   BANK OF AMERICA                      XXX-2676                   ¨ Checking             9/6/2017          $0.00
         7804 ABERCORN ST. SUITE 70A
         SAVANNAH GA 31406                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.40.   BANK OF AMERICA                      XXX-2786                   ¨ Checking             9/6/2017          $0.00
         3250 AIRPORT BLVD. SUITE B6
         MOBILE AL 36606                                                 ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.41.   BANK OF AMERICA                      XXX-2919                   ¨ Checking             10/19/2015        $0.00
         13721 S TAMIAMI TRAIL
         FORT MYERS FL 33912                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.42.   BANK OF AMERICA                      XXX-3002                   ¨ Checking             9/6/2017          $0.00
         5100 N 9TH AVE.
         PENSACOLA FL 32504                                              ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.43.   BANK OF AMERICA                      XXX-3015                   ¨ Checking             7/7/2016          $0.00
         1350 SCENIC HWY. N SUITE 900
         SNELLVILLE GA 30078                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.44.   BANK OF AMERICA                      XXX-3057                   ¨ Checking             7/20/2015         $0.00
         3286 N JOHN YOUNG PKWY.
         KISSIMMEE FL 34741                                              ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.45.   BANK OF AMERICA                      XXX-3468                   ¨ Checking             11/15/2015        $0.00
         2271 GUNBARREL RD.
         CHATTANOOGA TN 37421                                            ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.46.   BANK OF AMERICA                      XXX-6135                   ¨ Checking             9/6/2017          $0.00
         5525 28TH ST. SE
         GRAND RAPIDS MI 49512                                           ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.47.   BANK OF AMERICA                      XXX-1711                   ¨ Checking             5/25/2016         $0.00
         3100 N. GESSNER STE 125
         HOUSTON TX 77063                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.48.   BANK OF AMERICA                      XXX-1703                   ¨ Checking             5/25/2016         $0.00
         3100 N. GESSNER STE 125
         HOUSTON TX 77063                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.49.   BANK OF AMERICA                      XXX-1380                   ¨ Checking             5/18/2016         $0.00
         3100 N. GESSNER STE 125
         HOUSTON TX 77063                                                ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.50.   WELLS FARGO                          XXX-6914                   ¨ Checking             9/21/2017         $0.00
         12169 FAIR LAKES PROMENADE
         DR.                                                             ¨ Savings
         FAIRFAX VA 22033                                                ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.51.   WELLS FARGO                          XXX-6927                   ¨ Checking             9/21/2017         $0.00
         1915 HAMPTON INN CT.
         WINSTON SALEM NC 27103                                          ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.52.   WELLS FARGO                          XXX-6930                   ¨ Checking             9/21/2017         $0.00
         PO BOX 63020
         SAN FRANCISCO CA 94163                                          ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.53.   WELLS FARGO                          XXX-6943                   ¨ Checking             9/21/2017         $0.00
         21055 DULLES TOWN CIRCLE
         STERLING VA 20166                                               ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY
         Financial institution name and       Last 4 digits of account   Type of account        Date account      Last balance
         address                              number                                            was closed, sold, before closing
                                                                                                moved, or         or transfer
                                                                                                transferred

18.54.   WELLS FARGO                          XXX-6956                   ¨ Checking             3/23/2017         $0.00
         5901 UNIVERSITY DR. NW
         HUNTSVILLE AL 35806                                             ¨ Savings
                                                                         ¨ Money market
                                                                         ¨ Brokerage
                                                                         þ Other: DEPOSITORY



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          Financial institution name and             Last 4 digits of account      Type of account               Date account      Last balance
          address                                    number                                                      was closed, sold, before closing
                                                                                                                 moved, or         or transfer
                                                                                                                 transferred

18.55.    WELLS FARGO                                XXX-6969                      ¨ Checking                    9/21/2017             $0.00
          3120 NORTHLINE AVE.
          GREENSBORO NC 27408                                                      ¨ Savings
                                                                                   ¨ Money market
                                                                                   ¨ Brokerage
                                                                                   þ Other: DEPOSITORY
          Financial institution name and             Last 4 digits of account      Type of account               Date account      Last balance
          address                                    number                                                      was closed, sold, before closing
                                                                                                                 moved, or         or transfer
                                                                                                                 transferred

18.56.    WELLS FARGO                                XXX-6972                      ¨ Checking                    9/21/2017             $0.00
          5925 KINGSTOWNE TOWNE CTR.
          ALEXANDRIA VA 22315                                                      ¨ Savings
                                                                                   ¨ Money market
                                                                                   ¨ Brokerage
                                                                                   þ Other: DEPOSITORY


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

    þ None
         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

19.1.    ______________________________            ______________________________             _____________________________            ¨ No
         ______________________________            ______________________________
         ______________________________            ______________________________                                                      ¨ Yes
         ______________________________            ______________________________




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

    ¨ None
         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

20.1.    TRIMARK SS KEMP                           JESSI FRASER                               VARIOUS RESTAURANT                       þ No
         SS KEMP                                   4567 WILLOW PARKWAY                        EQUIPMENT
         4567 WILLOW PARKWAY                       CLEVELAND OH 44125                                                                  ¨ Yes
         CLEVELAND OH 44125

         Depository institution name and           Name and address of anyone with            Description of the contents              Does debtor
         address                                   access to it                                                                        still have it?

20.2.    TRIMARK SS KEMP                           JESSI FRASER                               VARIOUS RESTAURANT                       ¨ No
         SS KEMP                                   4567 WILLOW PARKWAY                        EQUIPMENT
         4567 WILLOW PARKWAY                       CLEVELAND OH 44125                                                                  þ Yes
         CLEVELAND OH 44125



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Debtor    MAC ACQUISITION LLC                                                                                      Case number (if known) 17-12224



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
    trust. Do not list leased or rented property.

    ¨ None
         Owner’s name and address                         Location of the property            Description of the property         Value

21.1.    ALSCO INC.                                       5005 W. PARK BLVD                   LINEN/MISC                          $5,183.50
         175 S W TEMPLE                                   PLANO TX 75093
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.2.    ALSCO INC.                                       388 N. HIGHWAY 67                   LINEN/MISC                          $5,100.00
         175 S W TEMPLE                                   CEDAR HILL TX 75104
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.3.    ALSCO INC.                                       7205 N. CENTRAL EXPY                LINEN/MISC                          $1,500.00
         175 S W TEMPLE                                   PLANO TX 75205
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.4.    ALSCO INC.                                       3111 PRESTON RD                     LINEN/MISC                          $1,600.00
         175 S W TEMPLE                                   FRISCO TX 75039
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.5.    ALSCO INC.                                       1505 S UNIVERSITY DR                LINEN/MISC                          $2,110.00
         175 S W TEMPLE                                   FORT WORTH TX 76107
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.6.    ALSCO INC.                                       2437 S. STEMMONS FWY                LINEN/MISC                          $1,992.50
         175 S W TEMPLE                                   LEWISVILLE TX 75067
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.7.    ALSCO INC.                                       1670 W INTERSTATE 20                LINEN/MISC                          $2,137.50
         175 S W TEMPLE                                   ALEDO TX 76008
         SALT LAKE CITY UT 84101

         Owner’s name and address                         Location of the property            Description of the property         Value

21.8.    ALSCO INC.                                       5925 KINGSTOWNE TOWNE               LINEN/MISC                          $16,352.00
         175 S W TEMPLE                                   CTR
         SALT LAKE CITY UT 84101                          ALEXANDRIA VA 22315-5877

         Owner’s name and address                         Location of the property            Description of the property         Value

21.9.    ALSCO INC.                                       3591 GRAND OAKS                     LINEN/MISC                          $10,469.00
         175 S W TEMPLE                                   CORONA CA 92881-4634
         SALT LAKE CITY UT 84101

         Owner’s name and address                          Location of the property           Description of the property         Value

21.10.   ALSCO INC.                                        7901 EDINGER AVE                   LINEN/MISC                          $14,429.00
         175 S W TEMPLE                                    HUNTINGTON BEACH CA
         SALT LAKE CITY UT 84101                           92647-3634




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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property   Value

21.11.   ALSCO INC.                              26641 ALISO CREEK RD          LINEN/MISC                    $12,069.00
         175 S W TEMPLE                          ALISO VIEJO CA 92656-2883
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.12.   ALSCO INC.                              12875 TOWNE CENTER DR         LINEN/MISC                    $13,909.00
         175 S W TEMPLE                          CERRITOS CA 90703-8585
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.13.   ALSCO INC.                              8150 E SANTA ANA CANYON       LINEN/MISC                    $10,268.00
         175 S W TEMPLE                          RD
         SALT LAKE CITY UT 84101                 ANAHEIM CA 92808-1112

         Owner’s name and address                Location of the property      Description of the property   Value

21.14.   ALSCO INC.                              13652 JAMBOREE RD             LINEN/MISC                    $7,186.00
         175 S W TEMPLE                          IRVINE CA 92602-1201
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.15.   ALSCO INC.                              12380 SEAL BEACH BLVD         LINEN/MISC                    $9,248.00
         175 S W TEMPLE                          SEAL BEACH CA 90740-2709
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.16.   ALSCO INC.                              5045 WINDWARD PKWY            LINEN/MISC                    $7,815.00
         175 S W TEMPLE                          ALPHARETTA GA 30004-3890
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.17.   ALSCO INC.                              3625 DALLAS HWY               LINEN/MISC                    $8,313.00
         175 S W TEMPLE                          MARIETTA GA 30064-5912
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.18.   ALSCO INC.                              3207 BUFORD DR                LINEN/MISC                    $7,030.00
         175 S W TEMPLE                          BUFORD GA 30519-4937
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.19.   ALSCO INC.                              241 SUMMIT BLVD               LINEN/MISC                    $22,195.00
         175 S W TEMPLE                          BIRMINGHAM AL 35243-3108
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.20.   ALSCO INC.                              105 E BEACON DR               LINEN/MISC                    $5,840.00
         175 S W TEMPLE                          GREENVILLE SC 29615-5036
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.21.   ALSCO INC.                              8620 RESEARCH DR              LINEN/MISC                    $8,662.50
         175 S W TEMPLE                          CHARLOTTE NC 28262-8534
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.22.   ALSCO INC.                              14241 E ALAMEDA AVE           LINEN/MISC                    $10,721.25
         175 S W TEMPLE                          AURORA CO 80012-2534
         SALT LAKE CITY UT 84101



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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property   Value

21.23.   ALSCO INC.                              7979 E ARAPAHOE RD            LINEN/MISC                    $8,565.00
         175 S W TEMPLE                          GREENWOOD VILLAGE CO
         SALT LAKE CITY UT 84101                 80112-1379

         Owner’s name and address                Location of the property      Description of the property   Value

21.24.   ALSCO INC.                              10411 TOWN CENTER DR          LINEN/MISC                    $6,833.50
         175 S W TEMPLE                          WESTMINSTER CO 80021-
         SALT LAKE CITY UT 84101                 6067

         Owner’s name and address                Location of the property      Description of the property   Value

21.25.   ALSCO INC.                              14245 W COLFAX AVE            LINEN/MISC                    $9,484.25
         175 S W TEMPLE                          LAKEWOOD CO 80401-3211
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.26.   ALSCO INC.                              2510 TENDERFOOT HILL ST       LINEN/MISC                    $9,746.20
         175 S W TEMPLE                          COLORADO SPRINGS CO
         SALT LAKE CITY UT 84101                 80906-3998

         Owner’s name and address                Location of the property      Description of the property   Value

21.27.   ALSCO INC.                              2100 LOUISIANA BLVD NE        LINEN/MISC                    $6,379.30
         175 S W TEMPLE                          ALBUQUERQUE NM 87110-
         SALT LAKE CITY UT 84101                 5419

         Owner’s name and address                Location of the property      Description of the property   Value

21.28.   ALSCO INC.                              401 S HURSTBOURNE PKWY        LINEN/MISC                    $12,833.00
         175 S W TEMPLE                          LOUISVILLE KY 40222-5036
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.29.   ALSCO INC.                              4627 S TIMBERLINE RD          LINEN/MISC                    $13,208.00
         175 S W TEMPLE                          FORT COLLINS CO 80528-
         SALT LAKE CITY UT 84101                 3004

         Owner’s name and address                Location of the property      Description of the property   Value

21.30.   ALSCO INC.                              573 N STEPHANIE ST            LINEN/MISC                    $2,919.55
         175 S W TEMPLE                          HENDERSON NV 89014-6613
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.31.   ALSCO INC.                              2400 W SAHARA AVE             LINEN/MISC                    $3,644.30
         175 S W TEMPLE                          LAS VEGAS NV 89102-4312
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.32.   ALSCO INC.                              2001 N RAINBOW BLVD           LINEN/MISC                    $4,588.75
         175 S W TEMPLE                          LAS VEGAS NV 89108-7050
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.33.   ALSCO INC.                              17603 COLIMA RD               LINEN/MISC                    $14,160.00
         175 S W TEMPLE                          CITY OF INDUSTRY CA
         SALT LAKE CITY UT 84101                 91748-1712

         Owner’s name and address                Location of the property      Description of the property   Value

21.34.   ALSCO INC.                              2920 TAPO CANYON RD           LINEN/MISC                    $10,940.00
         175 S W TEMPLE                          SIMI VALLEY CA 93063-2171
         SALT LAKE CITY UT 84101



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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property   Value

21.35.   ALSCO INC.                              19400 PLUMMER ST              LINEN/MISC                    $16,605.00
         175 S W TEMPLE                          NORTHRIDGE CA 91324-2142
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.36.   ALSCO INC.                              2859 N GERMANTOWN PKWY        LINEN/MISC                    $7,168.00
         175 S W TEMPLE                          MEMPHIS TN 38133-8150
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.37.   ALSCO INC.                              11100 W MARKHAM ST            LINEN/MISC                    $12,143.00
         175 S W TEMPLE                          LITTLE ROCK AR 72211-2832
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.38.   ALSCO INC.                              12100 SW 88TH ST              LINEN/MISC                    $20,927.00
         175 S W TEMPLE                          MIAMI FL 33186-2004
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.39.   ALSCO INC.                              8700 NW 18TH TER              LINEN/MISC                    $20,964.50
         175 S W TEMPLE                          MIAMI FL 33172-2646
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.40.   ALSCO INC.                              521 OPRY MILLS DR             LINEN/MISC                    $2,091.50
         175 S W TEMPLE                          NASHVILLE TN 37214-2442
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.41.   ALSCO INC.                              2535 MEDICAL CENTER           LINEN/MISC                    $1,528.97
         175 S W TEMPLE                          PKWY
         SALT LAKE CITY UT 84101                 MURFREESBORO TN 37129-
                                                 2284

         Owner’s name and address                Location of the property      Description of the property   Value

21.42.   ALSCO INC.                              1712 GALLERIA BLVD            LINEN/MISC                    $_____________
         175 S W TEMPLE                          FRANKLIN TN 37067-6186
         SALT LAKE CITY UT 84101                 LOCATION CLOSED

         Owner’s name and address                Location of the property      Description of the property   Value

21.43.   ALSCO INC.                              12148 S APOPKA VINELAND       LINEN/MISC                    $11,580.00
         175 S W TEMPLE                          RD
         SALT LAKE CITY UT 84101                 ORLANDO FL 32836-6801

         Owner’s name and address                Location of the property      Description of the property   Value

21.44.   ALSCO INC.                              7123 RED BUG LAKE RD          LINEN/MISC                    $14,360.00
         175 S W TEMPLE                          OVIEDO FL 32765-8021
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.45.   ALSCO INC.                              3143 DANIELS RD               LINEN/MISC                    $14,415.00
         175 S W TEMPLE                          WINTER GARDEN FL 34787-
         SALT LAKE CITY UT 84101                 7007

         Owner’s name and address                Location of the property      Description of the property   Value

21.46.   ALSCO INC.                              5320 W IRLO BRONSON HWY       LINEN/MISC                    $11,495.00
         175 S W TEMPLE                          KISSIMMEE FL 34746-4754
         SALT LAKE CITY UT 84101


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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property   Value

21.47.   ALSCO INC.                              2949 W AGUA FRIA FWY          LINEN/MISC                    $4,884.00
         175 S W TEMPLE                          PHOENIX AZ 85027-3927
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.48.   ALSCO INC.                              21001 N TATUM BLVD            LINEN/MISC                    $6,310.00
         175 S W TEMPLE                          PHOENIX AZ 85050-4206
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.49.   ALSCO INC.                              1828 N LITCHFIELD RD          LINEN/MISC                    $6,958.00
         175 S W TEMPLE                          GOODYEAR AZ 85395-1618
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.50.   ALSCO INC.                              5100 E BROADWAY BLVD          LINEN/MISC                    $14,516.00
         175 S W TEMPLE                          TUCSON AZ 85711-3762
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.51.   ALSCO INC.                              2265 W INA RD                 LINEN/MISC                    $8,264.00
         175 S W TEMPLE                          TUCSON AZ 85741-2650
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.52.   ALSCO INC.                              740 SE MAYNARD RD             LINEN/MISC                    $6,466.00
         175 S W TEMPLE                          CARY NC 27511-5720
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.53.   ALSCO INC.                              3421 SUMNER BLVD              LINEN/MISC                    $2,026.20
         175 S W TEMPLE                          RALEIGH NC 27616-2951
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.54.   ALSCO INC.                              5505 S VIRGINIA ST            LINEN/MISC                    $5,332.00
         175 S W TEMPLE                          RENO NV 89502-6085
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.55.   ALSCO INC.                              5201 BUCKEYSTOWN PIKE         LINEN/MISC                    $12,800.00
         175 S W TEMPLE                          FREDERICK MD 21704
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.56.   ALSCO INC.                              760 JEFFERSON RD              LINEN/MISC                    $5,072.00
         175 S W TEMPLE                          ROCHESTER NY 14623-3232
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.57.   ALSCO INC.                              2010 DOUGLAS BLVD             LINEN/MISC                    $12,514.00
         175 S W TEMPLE                          ROSEVILLE CA 95661-3813
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.58.   ALSCO INC.                              8295 LAGUNA BLVD              LINEN/MISC                    $9,704.75
         175 S W TEMPLE                          ELK GROVE CA 95758
         SALT LAKE CITY UT 84101



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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property   Value

21.59.   ALSCO INC.                              5420 PACIFIC AVE              LINEN/MISC                    $6,345.25
         175 S W TEMPLE                          STOCKTON CA 95207-5614
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.60.   ALSCO INC.                              2739 E BIDWELL ST             LINEN/MISC                    $5,157.75
         175 S W TEMPLE                          FOLSOM CA 95630-6405
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.61.   ALSCO INC.                              7650 N BLACKSTONE AVE         LINEN/MISC                    $5,362.75
         175 S W TEMPLE                          FRESNO CA 93720-4300
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.62.   ALSCO INC.                              102 E WINCHESTER ST           LINEN/MISC                    $2,922.82
         175 S W TEMPLE                          MURRAY UT 84107-7211
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.63.   ALSCO INC.                              202 E VIA RANCHO              LINEN/MISC                    $10,488.00
         175 S W TEMPLE                          PARKWAY
         SALT LAKE CITY UT 84101                 ESCONDIDO CA 92025

         Owner’s name and address                Location of the property      Description of the property   Value

21.64.   ALSCO INC.                              2015 BIRCH RD STE 2500        LINEN/MISC                    $8,865.00
         175 S W TEMPLE                          CHULA VISTA CA 91915-2015
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.65.   ALSCO INC.                              2655 VISTA WAY                LINEN/MISC                    $6,562.00
         175 S W TEMPLE                          OCEANSIDE CA 92054-6342
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.66.   ALSCO INC.                              8353 AGORA PKWY               LINEN/MISC                    $15,505.00
         175 S W TEMPLE                          SELMA TX 78154
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.67.   ALSCO INC.                              8000 EL CERRITO PLZ           LINEN/MISC                    $11,745.50
         175 S W TEMPLE                          EL CERRITO CA 94530-4014
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.68.   ALSCO INC.                              2302 TYRONE BLVD N            LINEN/MISC                    $9,622.00
         175 S W TEMPLE                          SAINT PETERSBURG FL
         SALT LAKE CITY UT 84101                 33710-3924

         Owner’s name and address                Location of the property      Description of the property   Value

21.69.   ALSCO INC.                              3000 184TH ST SW STE 922      LINEN/MISC                    $9,622.00
         175 S W TEMPLE                          LYNNWOOD WA 98037-4700
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.70.   ALSCO INC.                              132 BRANDON TOWN              LINEN/MISC                    $6,935.00
         175 S W TEMPLE                          CENTER DR
         SALT LAKE CITY UT 84101                 BRANDON FL 33511-4753



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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property   Value

21.71.   ALSCO INC.                              14904 N DALE MABRY HWY        LINEN/MISC                    $19,963.44
         175 S W TEMPLE                          TAMPA FL 33618-1814
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.72.   ALSCO INC.                              4574 VIRGINIA BEACH BLVD      LINEN/MISC                    $7,150.00
         175 S W TEMPLE                          VIRGINIA BEACH VA 23462-
         SALT LAKE CITY UT 84101                 3004

         Owner’s name and address                Location of the property      Description of the property   Value

21.73.   ALSCO INC.                              178 JENNIFER RD               LINEN/MISC                    $4,000.00
         175 S W TEMPLE                          ANNAPOLIS MD 21401-3042
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.74.   ALSCO INC.                              2531 BRINDLE DR               LINEN/MISC                    $10,960.00
         175 S W TEMPLE                          HARRISBURG PA 17110-9704
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.75.   ALSCO INC.                              640 COMMERCE BLVD             LINEN/MISC                    $7,835.50
         175 S W TEMPLE                          FAIRLESS HILLS PA 19030-
         SALT LAKE CITY UT 84101                 1026

         Owner’s name and address                Location of the property      Description of the property   Value

21.76.   ALSCO INC.                              41221 MARGARITA RD            LINEN/MISC                    $3,152.50
         175 S W TEMPLE                          TEMECULA CA 92591-5553
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.77.   ALSCO INC.                              27490 W LUGONIA AVE           LINEN/MISC                    $6,941.00
         175 S W TEMPLE                          REDLANDS CA 92374-2057
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.78.   ALSCO INC.                              5133 S. PADRE ISLAND DR.      LINEN/MISC                    $15,011.30
         175 S W TEMPLE                          CORPUS CHRISTI TX 78411
         SALT LAKE CITY UT 84101

         Owner’s name and address                Location of the property      Description of the property   Value

21.79.   ALSCO INC.                              8850 ROSEDALE HWY             LINEN/MISC                    $8,564.50
         175 S W TEMPLE                          SPARKLE
         SALT LAKE CITY UT 84101                 BAKERSFIELD CA 93312

         Owner’s name and address                Location of the property      Description of the property   Value

21.80.   ALSCO INC.                              11885 GATEWAY BLVD W          LINEN/MISC                    $3,419.00
         175 S W TEMPLE                          AMERIPRIDE
         SALT LAKE CITY UT 84101                 EL PASO TX 79936

         Owner’s name and address                Location of the property      Description of the property   Value

21.81.   ALSCO INC.                              415 PHILBROOK AVE STE 100     LINEN/MISC                    $11,322.40
         175 S W TEMPLE                          AMERIPRIDE
         SALT LAKE CITY UT 84101                 SOUTH PORTLAND ME 04106

         Owner’s name and address                Location of the property      Description of the property   Value

21.82.   ALSCO INC.                              1 METRO PARK RD,              LINEN/MISC                    $4,585.50
         175 S W TEMPLE                          AMERIPRIDE
         SALT LAKE CITY UT 84101                 ALBANY NY 12205



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Debtor   MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

         Owner’s name and address                Location of the property      Description of the property    Value

21.83.   ALSCO INC.                              14331 HALL RD                 LINEN/MISC                     $10,852.47
         175 S W TEMPLE                          GENERAL LINEN
         SALT LAKE CITY UT 84101                 SHELBY TWNP MI 48315

         Owner’s name and address                Location of the property      Description of the property    Value

21.84.   ALSCO INC.                              211 N SQUIRREL RD             LINEN/MISC                     $8,126.98
         175 S W TEMPLE                          GENERAL LINEN
         SALT LAKE CITY UT 84101                 AUBURN HILLS MI 48326

         Owner’s name and address                Location of the property      Description of the property    Value

21.85.   ALSCO INC.                              39300 SEVEN MILE RD           LINEN/MISC                     $7,827.76
         175 S W TEMPLE                          GENERAL LINEN
         SALT LAKE CITY UT 84101                 LIVOINIA MI 48152

         Owner’s name and address                Location of the property      Description of the property    Value

21.86.   ALSCO INC.                              3010 S. STATE                 LINEN/MISC                     $8,892.00
         175 S W TEMPLE                          GENERAL LINEN
         SALT LAKE CITY UT 84101                 ANN ARBOR MI 48108

         Owner’s name and address                Location of the property      Description of the property    Value

21.87.   ALSCO INC.                              41 SPRINGSIDE DRIVE           LINEN/MISC                     $3,648.97
         175 S W TEMPLE                          CLEAN CARE
         SALT LAKE CITY UT 84101                 AKRON OH 44333

         Owner’s name and address                Location of the property      Description of the property    Value

21.88.   ALSCO INC.                              25001 COUNTRY CLUB BLVD       LINEN/MISC                     $3,294.25
         175 S W TEMPLE                          CLEAN CARE
         SALT LAKE CITY UT 84101                 NORTH OLMSTED, OH 44070

         Owner’s name and address                Location of the property      Description of the property    Value

21.89.   ALSCO INC.                              17095 SOUTHPARK CTR           LINEN/MISC                     $2,558.38
         175 S W TEMPLE                          CLEAN CARE
         SALT LAKE CITY UT 84101                 STRONGSVILLE OH 44136

         Owner’s name and address                Location of the property      Description of the property    Value

21.90.   CLEVELAND COCA COLA BOTTLING            9314967-ROMANOS               DI 2323100-830LESSFL           $2,295.72
         PO BOX 536321                           MACARONI GRILL
         PITTSBURGH PA 15253                     3143 DANIELS ROAD
                                                 WINTER GARDEN FL 34787

         Owner’s name and address                Location of the property      Description of the property    Value

21.91.   CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       CB FF100 1022BFP               $0.00
         PO BOX 536321                           GRILL
         PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                 HONOLULU HI 96814

         Owner’s name and address                Location of the property      Description of the property    Value

21.92.   CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       CB FF100 1022BFP               $0.00
         PO BOX 536321                           GRILL
         PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                 HONOLULU HI 96814

         Owner’s name and address                Location of the property      Description of the property    Value

21.93.   CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       CB FF100 1022BFP               $0.00
         PO BOX 536321                           GRILL
         PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                 HONOLULU HI 96814




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Owner’s name and address                Location of the property      Description of the property    Value

21.94.    CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       CB FF100 1022BFP               $0.00
          PO BOX 536321                           GRILL
          PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                  HONOLULU HI 96814

          Owner’s name and address                Location of the property      Description of the property    Value

21.95.    CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       DI 1523-60-630LESSFL           $0.00
          PO BOX 536321                           GRILL
          PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                  HONOLULU HI 96814

          Owner’s name and address                Location of the property      Description of the property    Value

21.96.    CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       DI 1523-60-630LESSFL           $0.00
          PO BOX 536321                           GRILL
          PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                  HONOLULU HI 96814

          Owner’s name and address                Location of the property      Description of the property    Value

21.97.    CLEVELAND COCA COLA BOTTLING            8084119-ROMANOS MACARNI       DI 2323100-8LELVFLXS           $0.00
          PO BOX 536321                           GRILL
          PITTSBURGH PA 15253                     1450 ALA MOANA BLVD
                                                  HONOLULU HI 96814

          Owner’s name and address                Location of the property      Description of the property    Value

21.98.    CLEVELAND COCA COLA BOTTLING            8055089-ROMANOS            DI 2323100-830LESSFL              $1,870.00
          PO BOX 536321                           MACARONI GRILL
          PITTSBURGH PA 15253                     3250 AIRPORT BLVD SUITE B-
                                                  6
                                                  MOBILE AL 36606

          Owner’s name and address                Location of the property      Description of the property    Value

21.99.    CLEVELAND COCA COLA BOTTLING            7001317-ROMANOS               DI 2323100-830LEPCFL           $2,738.12
          PO BOX 536321                           MACARONI GRILL
          PITTSBURGH PA 15253                     8150 E SANTA ANA CANYON
                                                  RD.
                                                  ANAHEIM CA 92808

           Owner’s name and address               Location of the property      Description of the property    Value

21.100.    CLEVELAND COCA COLA BOTTLING           6141081-ROMANOS               DI 2323100-830LESSFL           $2,345.92
           PO BOX 536321                          MACARONI GRILL
           PITTSBURGH PA 15253                    178 JENNIFER RD
                                                  ANNAPOLIS MD 21401

           Owner’s name and address               Location of the property      Description of the property    Value

21.101.    CLEVELAND COCA COLA BOTTLING           5428985-ROMANOS               CB FF100 NEW1022BFP            $3.85
           PO BOX 536321                          MACARONI GRILL
           PITTSBURGH PA 15253                    QUEENS MARKETPLACE
                                                  WAIKOLOA HI 96738

           Owner’s name and address               Location of the property      Description of the property    Value

21.102.    CLEVELAND COCA COLA BOTTLING           5428985-ROMANOS               CB FF100 NEW1022BFP            $3.85
           PO BOX 536321                          MACARONI GRILL
           PITTSBURGH PA 15253                    QUEENS MARKETPLACE
                                                  WAIKOLOA HI 96738

           Owner’s name and address               Location of the property      Description of the property    Value

21.103.    CLEVELAND COCA COLA BOTTLING           5428985-ROMANOS               CB FF100 NEW1022BFP            $3.85
           PO BOX 536321                          MACARONI GRILL
           PITTSBURGH PA 15253                    QUEENS MARKETPLACE
                                                  WAIKOLOA HI 96738



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          Owner’s name and address               Location of the property      Description of the property   Value

21.104.   CLEVELAND COCA COLA BOTTLING           5428985-ROMANOS               CB FF100 NEW1022BFP           $3.85
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    QUEENS MARKETPLACE
                                                 WAIKOLOA HI 96738

          Owner’s name and address               Location of the property      Description of the property   Value

21.105.   CLEVELAND COCA COLA BOTTLING           5428985-ROMANOS               DI 2323100-830LESSFL          $24.76
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    QUEENS MARKETPLACE
                                                 WAIKOLOA HI 96738

          Owner’s name and address               Location of the property      Description of the property   Value

21.106.   CLEVELAND COCA COLA BOTTLING           5428985-ROMANOS               DI 2323100-830LESSFL          $24.76
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    QUEENS MARKETPLACE
                                                 WAIKOLOA HI 96738

          Owner’s name and address               Location of the property      Description of the property   Value

21.107.   CLEVELAND COCA COLA BOTTLING           5031201-ROMANOS               DI 2323100-8LELVFLXS          $3,475.01
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    5420 PACIFIC AVE
                                                 STOCKTON CA 95207

          Owner’s name and address               Location of the property      Description of the property   Value

21.108.   CLEVELAND COCA COLA BOTTLING           4648671-ROMANOS               DI 2323100-830LESSFL          $2,875.73
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    8850 ROSEDALE HWY
                                                 BAKERSFIELD CA 93312

          Owner’s name and address               Location of the property      Description of the property   Value

21.109.   CLEVELAND COCA COLA BOTTLING           4371704-ROMANOS               CB FF100 NEW1022BFP           $810.54
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    9828 GREAT HILLS TRL
                                                 AUSTIN TX 78759

          Owner’s name and address               Location of the property      Description of the property   Value

21.110.   CLEVELAND COCA COLA BOTTLING           4371704-ROMANOS               DI 2323100-8LELVFLXS          $3,443.38
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    9828 GREAT HILLS TRL
                                                 AUSTIN TX 78759

          Owner’s name and address               Location of the property      Description of the property   Value

21.111.   CLEVELAND COCA COLA BOTTLING           3687894-ROMANOS               DI 2323100-830LESSFL          $2,211.56
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    21001 N TATUM BLVD
                                                 PHOENIX AZ 85050

          Owner’s name and address               Location of the property      Description of the property   Value

21.112.   CLEVELAND COCA COLA BOTTLING           3663103-ROMANOS               DI 2323100-830LESSFL          $2,395.77
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    2739 E BIDWELL ST
                                                 FOLSOM CA 95630

          Owner’s name and address               Location of the property      Description of the property   Value

21.113.   CLEVELAND COCA COLA BOTTLING           2347177-ROMANOS               DI 2323100-8LELVFLXS          $2,349.05
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    14331 HALL RD
                                                 SHELBY TOWNSHIP MI 48315




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          Owner’s name and address               Location of the property      Description of the property   Value

21.114.   CLEVELAND COCA COLA BOTTLING           2272666-ROMANOS               DI 2323100-8LELVFLXS          $2,919.57
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    5505 S VIRGINIA ST
                                                 RENO NV 89502

          Owner’s name and address               Location of the property      Description of the property   Value

21.115.   CLEVELAND COCA COLA BOTTLING           1966898-ROMANOS               DI 2323100-8LELVFLXS          $1,643.12
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    8700 NW 18TH TER
                                                 MIAMI FL 33172

          Owner’s name and address               Location of the property      Description of the property   Value

21.116.   CLEVELAND COCA COLA BOTTLING           1789958-ROMANOS               CB FF100 NEW1022BFP           $335.73
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    241 SUMMIT BLVD
                                                 BIRMINGHAM AL 35243

          Owner’s name and address               Location of the property      Description of the property   Value

21.117.   CLEVELAND COCA COLA BOTTLING           1789958-ROMANOS               CB FF100 NEW1022BFP           $335.73
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    241 SUMMIT BLVD
                                                 BIRMINGHAM AL 35243

          Owner’s name and address               Location of the property      Description of the property   Value

21.118.   CLEVELAND COCA COLA BOTTLING           1789958-ROMANOS               CB FF100 NEW1022BFP           $335.73
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    241 SUMMIT BLVD
                                                 BIRMINGHAM AL 35243

          Owner’s name and address               Location of the property      Description of the property   Value

21.119.   CLEVELAND COCA COLA BOTTLING           1789958-ROMANOS               DI 2323100-8LELVFLXS          $2,246.96
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    241 SUMMIT BLVD
                                                 BIRMINGHAM AL 35243

          Owner’s name and address               Location of the property      Description of the property   Value

21.120.   CLEVELAND COCA COLA BOTTLING           1789958-ROMANOS               DI 2323100-8LELVFLXS          $2,246.96
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    241 SUMMIT BLVD
                                                 BIRMINGHAM AL 35243

          Owner’s name and address               Location of the property      Description of the property   Value

21.121.   CLEVELAND COCA COLA BOTTLING           1240247-ROMANOS               DI 2323100-8LELVFLXS          $2,087.23
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    573 N STEPHANIE ST
                                                 HENDERSON NV 89014

          Owner’s name and address               Location of the property      Description of the property   Value

21.122.   CLEVELAND COCA COLA BOTTLING           1037000-ROMANOS               CB FF100 NEW1022BFP           $525.38
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    110 RANCH DR
                                                 MILPITAS CA 95035

          Owner’s name and address               Location of the property      Description of the property   Value

21.123.   CLEVELAND COCA COLA BOTTLING           1037000-ROMANOS               CB FF100 NEW1022BFP           $525.38
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    110 RANCH DR
                                                 MILPITAS CA 95035




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          Owner’s name and address               Location of the property      Description of the property   Value

21.124.   CLEVELAND COCA COLA BOTTLING           1037000-ROMANOS               DI 1522-60-6LELVFLXS          $2,218.68
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    110 RANCH DR
                                                 MILPITAS CA 95035

          Owner’s name and address               Location of the property      Description of the property   Value

21.125.   CLEVELAND COCA COLA BOTTLING           1037000-ROMANOS               DI 2323100-8LELVFLXS          $1,593.65
          PO BOX 536321                          MACARONI GRILL
          PITTSBURGH PA 15253                    110 RANCH DR
                                                 MILPITAS CA 95035

          Owner’s name and address               Location of the property      Description of the property   Value

21.126.   COZZINI BROS INC (SUPPLY)              5005 W. PARK BLVD             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    PLANO TX 75093
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.127.   COZZINI BROS INC (SUPPLY)              388 N. HIGHWAY 67             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CEDAR HILL TX 75104
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.128.   COZZINI BROS INC (SUPPLY)              7205 N. CENTRAL EXPY          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    PLANO TX 75205
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.129.   COZZINI BROS INC (SUPPLY)              3111 PRESTON RD               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FRISCO TX 75039
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.130.   COZZINI BROS INC (SUPPLY)              1505 S UNIVERSITY DR          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FORT WORTH TX 76107
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.131.   COZZINI BROS INC (SUPPLY)              2437 S. STEMMONS FWY          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LEWISVILLE TX 75067
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.132.   COZZINI BROS INC (SUPPLY)              1670 W INTERSTATE 20          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ALEDO TX 76008
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.133.   COZZINI BROS INC (SUPPLY)              5925 KINGSTOWNE TOWNE         KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CTR
          350 HOWARD AVE                         ALEXANDRIA VA 22315-5877
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.134.   COZZINI BROS INC (SUPPLY)              3591 GRAND OAKS               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CORONA CA 92881-4634
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.135.   COZZINI BROS INC (SUPPLY)              7901 EDINGER AVE              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    HUNTINGTON BEACH CA
          350 HOWARD AVE                         92647-3634
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.136.   COZZINI BROS INC (SUPPLY)              26641 ALISO CREEK RD          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ALISO VIEJO CA 92656-2883
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.137.   COZZINI BROS INC (SUPPLY)              12875 TOWNE CENTER DR         KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CERRITOS CA 90703-8585
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.138.   COZZINI BROS INC (SUPPLY)              8150 E SANTA ANA CANYON       KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    RD
          350 HOWARD AVE                         ANAHEIM CA 92808-1112
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.139.   COZZINI BROS INC (SUPPLY)              13652 JAMBOREE RD             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    IRVINE CA 92602-1201
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.140.   COZZINI BROS INC (SUPPLY)              12380 SEAL BEACH BLVD         KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    SEAL BEACH CA 90740-2709
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.141.   COZZINI BROS INC (SUPPLY)              5045 WINDWARD PKWY            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ALPHARETTA GA 30004-3890
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.142.   COZZINI BROS INC (SUPPLY)              3625 DALLAS HWY               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    MARIETTA GA 30064-5912
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.143.   COZZINI BROS INC (SUPPLY)              3207 BUFORD DR                KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    BUFORD GA 30519-4937
          350 HOWARD AVE
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.144.   COZZINI BROS INC (SUPPLY)              241 SUMMIT BLVD               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    BIRMINGHAM AL 35243-3108
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.145.   COZZINI BROS INC (SUPPLY)              105 E BEACON DR               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GREENVILLE SC 29615-5036
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.146.   COZZINI BROS INC (SUPPLY)              8620 RESEARCH DR              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CHARLOTTE NC 28262-8534
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.147.   COZZINI BROS INC (SUPPLY)              14241 E ALAMEDA AVE           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    AURORA CO 80012-2534
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.148.   COZZINI BROS INC (SUPPLY)              7979 E ARAPAHOE RD            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GREENWOOD VILLAGE CO
          350 HOWARD AVE                         80112-1379
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.149.   COZZINI BROS INC (SUPPLY)              10411 TOWN CENTER DR          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    WESTMINSTER CO 80021-
          350 HOWARD AVE                         6067
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.150.   COZZINI BROS INC (SUPPLY)              14245 W COLFAX AVE            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LAKEWOOD CO 80401-3211
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.151.   COZZINI BROS INC (SUPPLY)              2510 TENDERFOOT HILL ST       KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    COLORADO SPRINGS CO
          350 HOWARD AVE                         80906-3998
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.152.   COZZINI BROS INC (SUPPLY)              2100 LOUISIANA BLVD NE        KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ALBUQUERQUE NM 87110-
          350 HOWARD AVE                         5419
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.153.   COZZINI BROS INC (SUPPLY)              401 S HURSTBOURNE PKWY        KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LOUISVILLE KY 40222-5036
          350 HOWARD AVE
          DES PLAINES IL 60018




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.154.   COZZINI BROS INC (SUPPLY)              4627 S TIMBERLINE RD          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FORT COLLINS CO 80528-
          350 HOWARD AVE                         3004
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.155.   COZZINI BROS INC (SUPPLY)              573 N STEPHANIE ST            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    HENDERSON NV 89014-6613
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.156.   COZZINI BROS INC (SUPPLY)              2400 W SAHARA AVE             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LAS VEGAS NV 89102-4312
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.157.   COZZINI BROS INC (SUPPLY)              2001 N RAINBOW BLVD           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LAS VEGAS NV 89108-7050
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.158.   COZZINI BROS INC (SUPPLY)              17603 COLIMA RD               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CITY OF INDUSTRY CA
          350 HOWARD AVE                         91748-1712
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.159.   COZZINI BROS INC (SUPPLY)              2920 TAPO CANYON RD           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    SIMI VALLEY CA 93063-2171
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.160.   COZZINI BROS INC (SUPPLY)              19400 PLUMMER ST              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    NORTHRIDGE CA 91324-2142
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.161.   COZZINI BROS INC (SUPPLY)              2859 N GERMANTOWN PKWY KNIVES / CUTLERY                     $220.00
          EDWARD FINNEGAN CEO                    MEMPHIS TN 38133-8150
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.162.   COZZINI BROS INC (SUPPLY)              11100 W MARKHAM ST            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LITTLE ROCK AR 72211-2832
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.163.   COZZINI BROS INC (SUPPLY)              12100 SW 88TH ST              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    MIAMI FL 33186-2004
          350 HOWARD AVE
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.164.   COZZINI BROS INC (SUPPLY)              8700 NW 18TH TER              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    MIAMI FL 33172-2646
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.165.   COZZINI BROS INC (SUPPLY)              521 OPRY MILLS DR             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    NASHVILLE TN 37214-2442
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.166.   COZZINI BROS INC (SUPPLY)              2535 MEDICAL CENTER           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    PKWY
          350 HOWARD AVE                         MURFREESBORO TN 37129-
          DES PLAINES IL 60018                   2284

          Owner’s name and address               Location of the property      Description of the property   Value

21.167.   COZZINI BROS INC (SUPPLY)              1712 GALLERIA BLVD            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FRANKLIN TN 37067-6186
          350 HOWARD AVE                         LOCATION CLOSED
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.168.   COZZINI BROS INC (SUPPLY)              12148 S APOPKA VINELAND       KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    RD
          350 HOWARD AVE                         ORLANDO FL 32836-6801
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.169.   COZZINI BROS INC (SUPPLY)              7123 RED BUG LAKE RD          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    OVIEDO FL 32765-8021
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.170.   COZZINI BROS INC (SUPPLY)              3143 DANIELS RD               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    WINTER GARDEN FL 34787-
          350 HOWARD AVE                         7007
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.171.   COZZINI BROS INC (SUPPLY)              5320 W IRLO BRONSON HWY       KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    KISSIMMEE FL 34746-4754
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.172.   COZZINI BROS INC (SUPPLY)              2949 W AGUA FRIA FWY          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    PHOENIX AZ 85027-3927
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.173.   COZZINI BROS INC (SUPPLY)              21001 N TATUM BLVD            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    PHOENIX AZ 85050-4206
          350 HOWARD AVE
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.174.   COZZINI BROS INC (SUPPLY)              1828 N LITCHFIELD RD          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GOODYEAR AZ 85395-1618
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.175.   COZZINI BROS INC (SUPPLY)              5100 E BROADWAY BLVD          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    TUCSON AZ 85711-3762
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.176.   COZZINI BROS INC (SUPPLY)              2265 W INA RD                 KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    TUCSON AZ 85741-2650
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.177.   COZZINI BROS INC (SUPPLY)              740 SE MAYNARD RD             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CARY NC 27511-5720
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.178.   COZZINI BROS INC (SUPPLY)              3421 SUMNER BLVD              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    RALEIGH NC 27616-2951
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.179.   COZZINI BROS INC (SUPPLY)              5505 S VIRGINIA ST            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    RENO NV 89502-6085
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.180.   COZZINI BROS INC (SUPPLY)              5201 BUCKEYSTOWN PIKE         KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FREDERICK MD 21704
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.181.   COZZINI BROS INC (SUPPLY)              760 JEFFERSON RD              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ROCHESTER NY 14623-3232
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.182.   COZZINI BROS INC (SUPPLY)              2010 DOUGLAS BLVD             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ROSEVILLE CA 95661-3813
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.183.   COZZINI BROS INC (SUPPLY)              8295 LAGUNA BLVD              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ELK GROVE CA 95758
          350 HOWARD AVE
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.184.   COZZINI BROS INC (SUPPLY)              5420 PACIFIC AVE              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    STOCKTON CA 95207-5614
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.185.   COZZINI BROS INC (SUPPLY)              2739 E BIDWELL ST             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FOLSOM CA 95630-6405
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.186.   COZZINI BROS INC (SUPPLY)              7650 N BLACKSTONE AVE         KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FRESNO CA 93720-4300
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.187.   COZZINI BROS INC (SUPPLY)              102 E WINCHESTER ST           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    MURRAY UT 84107-7211
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.188.   COZZINI BROS INC (SUPPLY)              202 E VIA RANCHO              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    PARKWAY
          350 HOWARD AVE                         ESCONDIDO CA 92025
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.189.   COZZINI BROS INC (SUPPLY)              2015 BIRCH RD STE 2500        KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CHULA VISTA CA 91915-2015
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.190.   COZZINI BROS INC (SUPPLY)              2655 VISTA WAY                KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    OCEANSIDE CA 92054-6342
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.191.   COZZINI BROS INC (SUPPLY)              8353 AGORA PKWY               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    SELMA TX 78154
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.192.   COZZINI BROS INC (SUPPLY)              8000 EL CERRITO PLZ           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    EL CERRITO CA 94530-4014
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.193.   COZZINI BROS INC (SUPPLY)              2302 TYRONE BLVD N            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    SAINT PETERSBURG FL
          350 HOWARD AVE                         33710-3924
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.194.   COZZINI BROS INC (SUPPLY)              3000 184TH ST SW STE 922      KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    LYNNWOOD WA 98037-4700
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.195.   COZZINI BROS INC (SUPPLY)              132 BRANDON TOWN              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CENTER DR
          350 HOWARD AVE                         BRANDON FL 33511-4753
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.196.   COZZINI BROS INC (SUPPLY)              14904 N DALE MABRY HWY        KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    TAMPA FL 33618-1814
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.197.   COZZINI BROS INC (SUPPLY)              4574 VIRGINIA BEACH BLVD      KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    VIRGINIA BEACH VA 23462-
          350 HOWARD AVE                         3004
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.198.   COZZINI BROS INC (SUPPLY)              178 JENNIFER RD               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    ANNAPOLIS MD 21401-3042
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.199.   COZZINI BROS INC (SUPPLY)              2531 BRINDLE DR               KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    HARRISBURG PA 17110-9704
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.200.   COZZINI BROS INC (SUPPLY)              640 COMMERCE BLVD             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    FAIRLESS HILLS PA 19030-
          350 HOWARD AVE                         1026
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.201.   COZZINI BROS INC (SUPPLY)              41221 MARGARITA RD            KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    TEMECULA CA 92591-5553
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.202.   COZZINI BROS INC (SUPPLY)              27490 W LUGONIA AVE           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    REDLANDS CA 92374-2057
          350 HOWARD AVE
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.203.   COZZINI BROS INC (SUPPLY)              5133 S. PADRE ISLAND DR.      KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CORPUS CHRISTI TX 78411
          350 HOWARD AVE
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.204.   COZZINI BROS INC (SUPPLY)              8850 ROSEDALE HWY             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    SPARKLE
          350 HOWARD AVE                         BAKERSFIELD CA 93312
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.205.   COZZINI BROS INC (SUPPLY)              11885 GATEWAY BLVD W          KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    AMERIPRIDE
          350 HOWARD AVE                         EL PASO TX 79936
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.206.   COZZINI BROS INC (SUPPLY)              415 PHILBROOK AVE STE         KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    100
          350 HOWARD AVE                         AMERIPRIDE
          DES PLAINES IL 60018                   SOUTH PORTLAND ME 04106

          Owner’s name and address               Location of the property      Description of the property   Value

21.207.   COZZINI BROS INC (SUPPLY)              1 METRO PARK RD,              KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    AMERIPRIDE
          350 HOWARD AVE                         ALBANY NY 12205
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.208.   COZZINI BROS INC (SUPPLY)              14331 HALL RD                 KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GENERAL LINEN
          350 HOWARD AVE                         SHELBY TWNP MI 48315
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.209.   COZZINI BROS INC (SUPPLY)              211 N SQUIRREL RD             KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GENERAL LINEN
          350 HOWARD AVE                         AUBURN HILLS MI 48326
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.210.   COZZINI BROS INC (SUPPLY)              39300 SEVEN MILE RD           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GENERAL LINEN
          350 HOWARD AVE                         LIVOINIA MI 48152
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.211.   COZZINI BROS INC (SUPPLY)              3010 S. STATE                 KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    GENERAL LINEN
          350 HOWARD AVE                         ANN ARBOR MI 48108
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.212.   COZZINI BROS INC (SUPPLY)              41 SPRINGSIDE DRIVE           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CLEAN CARE
          350 HOWARD AVE                         AKRON OH 44333
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.213.   COZZINI BROS INC (SUPPLY)              25001 COUNTRY CLUB BLVD       KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CLEAN CARE
          350 HOWARD AVE                         NORTH OLMSTED, OH 44070
          DES PLAINES IL 60018




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          Owner’s name and address               Location of the property      Description of the property   Value

21.214.   COZZINI BROS INC (SUPPLY)              17095 SOUTHPARK CTR           KNIVES / CUTLERY              $220.00
          EDWARD FINNEGAN CEO                    CLEAN CARE
          350 HOWARD AVE                         STRONGSVILLE OH 44136
          DES PLAINES IL 60018

          Owner’s name and address               Location of the property      Description of the property   Value

21.215.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       BIRMINGHAM                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    241 SUMMIT BLVD               ESPRESSO MACHINE, 3-
                                                 VESTAVIA AL 35243             ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.216.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       LITTLE ROCK                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    11100 W MARKHAM ST            ESPRESSO MACHINE, 3-
                                                 LITTLE ROCK AR 72211          ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.217.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       PALM VALLEY                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    1828 N LITCHFIELD RD          ESPRESSO MACHINE, 3-
                                                 GOODYEAR AZ 85395             ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.218.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       DEER VALLEY                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2949 W AGUA FRIA FWY          ESPRESSO MACHINE, 3-
                                                 PHOENIX AZ 85027              ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.219.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       DESERT RIDGE                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    21001 N TATUM BLVD STE 4      ESPRESSO MACHINE, 3-
                                                 PHOENIX AZ 85050              ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.220.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       TUCSON                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5100 E BROADWAY BLVD          ESPRESSO MACHINE, 3-
                                                 TUCSON AZ 85711               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.221.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       NORTH TUCSON                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2265 W INA RD                 ESPRESSO MACHINE, 3-
                                                 TUCSON AZ 85741               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.222.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ALISO VIEJO                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    26641 ALISO CREEK RD          ESPRESSO MACHINE, 3-
                                                 ALISO VIEJO CA 92656          ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.223.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ANAHEIM HILL                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8150 E SANTA ANA CANYON       ESPRESSO MACHINE, 3-
                                                 RD                            ZOJIRUSHI THERMAL
                                                 ANAHEIM CA 92808              CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.224.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       BAKERSFIELD                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8850 ROSEDALE HWY             ESPRESSO MACHINE, 3-
                                                 BAKERSFIELD CA 93312          ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.225.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       CERRITOS                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    12875 TOWNE CENTER DR         ESPRESSO MACHINE, 3-
                                                 CERRITOS CA 90703             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.226.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       OTAY RANCH                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2015 BIRCH RD STE 2500        ESPRESSO MACHINE, 3-
                                                 CHULA VISTA CA 91915          ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.227.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       PUENTE HILLS                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    17603 COLIMA RD               ESPRESSO MACHINE, 3-
                                                 CITY OF INDUSTRY CA 91748     ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.228.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       CORONA                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3591 GRAND OAKS               ESPRESSO MACHINE, 3-
                                                 CORONA CA 92881               ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.229.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       EL CERRITO                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8000 EL CERRITO               ESPRESSO MACHINE, 3-
                                                 EL CERRITO CA 94530           ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.230.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ELK GROVE                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8295 LAGUNA BLVD              ESPRESSO MACHINE, 3-
                                                 ELK GROVE CA 95758            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.231.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       NORTH COUNTY                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    202 E VIA RANCHO PKWY         ESPRESSO MACHINE, 3-
                                                 ESCONDIDO CA 92025            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.232.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       FOLSOM                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2739 E BIDWELL ST             ESPRESSO MACHINE, 3-
                                                 FOLSOM CA 95630               ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.233.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       FRESNO                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    7650 N BLACKSTONE AVE         ESPRESSO MACHINE, 3-
                                                 FRESNO CA 93720               ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.234.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       HUNTINGTON B                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    7901 EDINGER AVE              ESPRESSO MACHINE, 3-
                                                 HUNTINGTON BEACH CA           ZOJIRUSHI THERMAL
                                                 92647                         CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.235.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       TUSTIN                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    13652 JAMBOREE RD             ESPRESSO MACHINE, 3-
                                                 IRVINE CA 92602               ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.236.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       MILPITAS                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    110 RANCH DR                  ESPRESSO MACHINE, 3-
                                                 MILPITAS CA 95035             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.237.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       NORTHRIDGE                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    19400 PLUMMER ST              ESPRESSO MACHINE, 3-
                                                 NORTHRIDGE CA 91324           ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.238.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       OCEANSIDE                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2655 VISTA WAY                ESPRESSO MACHINE, 3-
                                                 OCEANSIDE CA 92054            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.239.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       REDLANDS                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    27490 W LUGONIA AVE           ESPRESSO MACHINE, 3-
                                                 REDLANDS CA 92374             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.240.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ROSEVILLE                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2010 DOUGLAS BLVD             ESPRESSO MACHINE, 3-
                                                 ROSEVILLE CA 95661            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.241.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       SEAL BEACH                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    12380 SEAL BEACH BLVD         ESPRESSO MACHINE, 3-
                                                 SEAL BEACH CA 90740           ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.242.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       SIMI VALLEY                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2920 TAPO CANYON RD           ESPRESSO MACHINE, 3-
                                                 SIMI VALLEY CA 93063          ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.243.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       STOCKTON                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5420 PACIFIC AVE              ESPRESSO MACHINE, 3-
                                                 STOCKTON CA 95207             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.244.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       TEMECULA                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    41221 MARGARITA RD            ESPRESSO MACHINE, 3-
                                                 TEMECULA CA 92591             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.245.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       AURORA                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    14241 E ALAMEDA AVE           ESPRESSO MACHINE, 3-
                                                 AURORA CO 80012               ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.246.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       COLORADO SPR                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2510 TENDERFOOT HILL ST       ESPRESSO MACHINE, 3-
                                                 COLORADO SPRINGS CO           ZOJIRUSHI THERMAL
                                                 80906                         CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.247.   ROYAL CUP, INC.                        ROMANO MACARONI GRILL         1-BUNN CWTF THERMAL           $658.00
          160 CLEAGE DRIVE                       HQ                            BREWER; 3-NEWCO
          BIRMINGHAM AL 35217                    1855 BLAKE ST STE 200         THERMAL CARAFES
                                                 DENVER CO 80202

          Owner’s name and address               Location of the property      Description of the property   Value

21.248.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       FT. COLLINS                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    4627 S TIMBERLINE RD          ESPRESSO MACHINE, 3-
                                                 FORT COLLINS CO 80528         ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.249.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ARAPAHOE                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    7979 E ARAPAHOE RD            ESPRESSO MACHINE, 3-
                                                 GREENWOOD VILLAGE CO          ZOJIRUSHI THERMAL
                                                 80112                         CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.250.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       DENVER WEST                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    14245 W COLFAX AVE            ESPRESSO MACHINE, 3-
                                                 LAKEWOOD CO 80401             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.251.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       CHURCH RANCH                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    10411 TOWN CENTER DR          ESPRESSO MACHINE, 3-
                                                 WESTMINSTER CO 80021          ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.252.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       BRANDON                       1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    132 BRANDON TOWN              ESPRESSO MACHINE, 3-
                                                 CENTER DR                     ZOJIRUSHI THERMAL
                                                 BRANDON FL 33511              CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.253.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       BEACON CENTE                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8700 NW 18TH TERRACE          ESPRESSO MACHINE, 3-
                                                 DORAL FL 33172                ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.254.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       KISSIMMEE                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5320 W IRLO BRONSON HWY       ESPRESSO MACHINE, 3-
                                                 KISSIMMEE FL 34746            ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.255.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       KENDALL                       1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    12100 SW 88TH ST              ESPRESSO MACHINE, 3-
                                                 MIAMI FL 33186                ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.256.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       LAKE BUENA V                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    12148 S APOPKA VINELAND       ESPRESSO MACHINE, 3-
                                                 RD                            ZOJIRUSHI THERMAL
                                                 ORLANDO FL 32836              CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.257.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       OVIEDO                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    7123 RED BUG LAKE RD          ESPRESSO MACHINE, 3-
                                                 OVIEDO FL 32765               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.258.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       TYRONE SQUAR                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2302 TYRONE BLVD N            ESPRESSO MACHINE, 3-
                                                 SAINT PETERSBURG FL           ZOJIRUSHI THERMAL
                                                 33710                         CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.259.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       CARROLLWOOD                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    14904 N DALE MABRY HWY        ESPRESSO MACHINE, 3-
                                                 TAMPA FL 33618                ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.260.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       WINTER GARDE                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3143 DANIELS RD               ESPRESSO MACHINE, 3-
                                                 WINTER GARDEN FL 34787        ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.261.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       WINDWARD PKW                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5045 WINDWARD PKWY            ESPRESSO MACHINE, 3-
                                                 ALPHARETTA GA 30004           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.262.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       MALL OF GEOR                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3207 BUFORD DR                ESPRESSO MACHINE, 3-
                                                 BUFORD GA 30519               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.263.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       WEST COBB                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3625 DALLAS HWY SW            ESPRESSO MACHINE, 3-
                                                 MARIETTA GA 30064             ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.264.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       LOUISVILLE                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    401 S HURSTBOURNE PKWY        ESPRESSO MACHINE, 3-
                                                 LOUISVILLE KY 40222           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.265.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       ANNAPOLIS                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    178 JENNIFER RD               ESPRESSO MACHINE, 3-
                                                 ANNAPOLIS MD 21401            ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.266.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       FREDERICK                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5201 BUCKEYSTOWN PIKE         ESPRESSO MACHINE, 3-
                                                 FREDERICK MD 21704            ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.267.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       SOUTH PORTLA                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    415 PHILBROOK AVE STE         ESPRESSO MACHINE, 3-
                                                 100                           ZOJIRUSHI THERMAL
                                                 SOUTH PORTLAND ME 04106       CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.268.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ANN ARBOR                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3010 S STATE ST               ESPRESSO MACHINE, 3-
                                                 ANN ARBOR MI 48108            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.269.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       AUBURN HILLS                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2111 N SQUIRREL RD            ESPRESSO MACHINE, 3-
                                                 AUBURN HILLS MI 48326         ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.270.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       LIVONIA                       1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    39300 7 MILE RD               ESPRESSO MACHINE, 3-
                                                 LIVONIA MI 48152              ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.271.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       SHELBY                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    14331 HALL RD                 ESPRESSO MACHINE, 3-
                                                 UTICA MI 48315                ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.272.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       CARY                          1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    740 SE MAYNARD RD             ESPRESSO MACHINE, 3-
                                                 CARY NC 27511                 ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.273.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       UNCC                          1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8620 RESEARCH DR              ESPRESSO MACHINE, 3-
                                                 CHARLOTTE NC 28262            ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.274.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       TRIANGLE TOW                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3421 SUMNER BLVD              ESPRESSO MACHINE, 3-
                                                 RALEIGH NC 27616              ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.275.   ROYAL CUP, INC.                        ROMANOS MACARONIARONI         1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       GRILL ALBUQUE                 1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2100 LOUISIANA BLVD NE        ESPRESSO MACHINE, 3-
                                                 ALBUQUERQUE NM 87110          ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.276.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       HENDERSON                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    573 N STEPHANIE ST            ESPRESSO MACHINE, 3-
                                                 HENDERSON NV 89014            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.277.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       SAHARA                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2400 W SAHARA AVE             ESPRESSO MACHINE, 3-
                                                 LAS VEGAS NV 89102            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.278.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       SUMMERLIN                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2001 N RAINBOW BLVD           ESPRESSO MACHINE, 3-
                                                 LAS VEGAS NV 89108            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.279.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       RENO                          1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5505 S VIRGINIA ST            ESPRESSO MACHINE, 3-
                                                 RENO NV 89502                 ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.280.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       COLONIE                       1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    1 METRO PARK RD               ESPRESSO MACHINE, 3-
                                                 ALBANY NY 12205               ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.281.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       HENRIETTA                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    760 JEFFERSON RD              ESPRESSO MACHINE, 3-
                                                 ROCHESTER NY 14623            ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.282.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       MONTROSE                      1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    41 SPRINGSIDE DR              ESPRESSO MACHINE, 3-
                                                 AKRON OH 44333                ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.283.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       NORTH OLMSTE                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    25001 COUNTRY CLUB BLVD       ESPRESSO MACHINE, 3-
                                                 NORTH OLMSTED OH 44070        ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.284.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       STRONGSVILLE                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    17095 SOUTHPARK CTR           ESPRESSO MACHINE, 3-
                                                 STRONGSVILLE OH 44136         ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.285.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       OXFORD VALLE                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    640 COMMERCE BLVD             ESPRESSO MACHINE, 3-
                                                 FAIRLESS HILLS PA 19030       ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.286.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       HARRISBURG                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2531 BRINDLE DR               ESPRESSO MACHINE, 3-
                                                 HARRISBURG PA 17110           ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.287.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       GREENVILLE                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    105 E BEACON DR               ESPRESSO MACHINE, 3-
                                                 GREENVILLE SC 29615           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.288.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       WOLFCHASE                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2859 N GERMANTOWN PKWY        ESPRESSO MACHINE, 3-
                                                 MEMPHIS TN 38133              ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.289.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       MURFREESBORO                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2535 MEDICAL CENTER           ESPRESSO MACHINE, 3-
                                                 PKWY                          ZOJIRUSHI THERMAL
                                                 MURFREESBORO TN 37129         CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.290.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       OPRY MILLS                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    517 OPRY MILLS DR             ESPRESSO MACHINE, 3-
                                                 NASHVILLE TN 37214            ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.291.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       ARLINGTON                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    1670 W INTERSTATE 20          ESPRESSO MACHINE, 3-
                                                 ARLINGTON TX 76017            ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.292.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       AUSTIN                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    9828 GREAT HILLS TRL          ESPRESSO MACHINE, 3-
                                                 AUSTIN TX 78759               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.293.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       SOUTH AUSTIN                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    701 E STASSNEY LN STE B       ESPRESSO MACHINE, 3-
                                                 AUSTIN TX 78745               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.294.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       CEDAR HILL                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    388 N HIGHWAY 67              ESPRESSO MACHINE, 3-
                                                 CEDAR HILL TX 75104           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.295.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       CORPUS CHRIS                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5133 S PADRE ISLAND DR        ESPRESSO MACHINE, 3-
                                                 CORPUS CHRISTI TX 78411       ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.296.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       EL PASO                       1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    11885 GATEWAY BLVD W          ESPRESSO MACHINE, 3-
                                                 EL PASO TX 79936              ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.297.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       UNIVERSITY                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    1505 S UNIVERSITY DR          ESPRESSO MACHINE, 3-
                                                 FORT WORTH TX 76107           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.298.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       FRISCO                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3111 PRESTON RD               ESPRESSO MACHINE, 3-
                                                 FRISCO TX 75034               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.299.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       VISTA RIDGE                   1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2437 S STEMMONS FWY           ESPRESSO MACHINE, 3-
                                                 LEWISVILLE TX 75067           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.300.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       MCALLEN                       1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3500 W EXPRESSWAY 83          ESPRESSO MACHINE, 3-
                                                 MCALLEN TX 78501              ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.301.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       PLANO                         1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5005 W PARK BLVD              ESPRESSO MACHINE, 3-
                                                 PLANO TX 75093                ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN


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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

          Owner’s name and address               Location of the property      Description of the property   Value

21.302.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       LEGACY                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    7205 N CENTRAL EXPY           ESPRESSO MACHINE, 3-
                                                 PLANO TX 75025                ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.303.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       ROUND ROCK                    1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    2501 S IH 35                  ESPRESSO MACHINE, 3-
                                                 ROUND ROCK TX 78664           ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.304.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       RETAMA                        1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    8355 AGORA PKWY               ESPRESSO MACHINE, 3-
                                                 SELMA TX 78154                ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.305.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       WOODLANDS                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    1155 LAKE WOODLANDS DR        ESPRESSO MACHINE, 3-
                                                 SPRING TX 77380               ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.306.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       FASHION PLAC                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    102 E WINCHESTER ST           ESPRESSO MACHINE, 3-
                                                 SALT LAKE CITY UT 84107       ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.307.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       FRANCONIA                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    5925 KINGSTOWNE TOWNE         ESPRESSO MACHINE, 3-
                                                 CTR                           ZOJIRUSHI THERMAL
                                                 ALEXANDRIA VA 22315           CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.308.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,849.00
          160 CLEAGE DRIVE                       VIRGINIA BEA                  1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    4574 VIRGINIA BEACH BLVD      ESPRESSO MACHINE, 3-
                                                 VIRGINIA BEACH VA 23462       ZOJIRUSHI THERMAL
                                                                               CARAFES, 2-BUNN NARROW
                                                                               TEA URN

          Owner’s name and address               Location of the property      Description of the property   Value

21.309.   ROYAL CUP, INC.                        ROMANOS MACARONI GRILL        1-NEWCO COMBO BREWER;         $3,754.00
          160 CLEAGE DRIVE                       ALDERWOOD                     1-NESPRESSO GEMINI
          BIRMINGHAM AL 35217                    3000 184TH STREET SW #922     ESPRESSO MACHINE, 3-
                                                 LYNNWOOD WA 98037             ZOJIRUSHI THERMAL
                                                                               CARAFES, 1-BUNN NARROW
                                                                               TEA URN


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Debtor      MAC ACQUISITION LLC                                                                                         Case number (if known) 17-12224



    Part 12: Details About Environmental Information

For the purpose of Part 12, the following definitions apply:
■     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
      regardless of the medium affected (air, land, water, or any other medium).
■     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
      formerly owned, operated, or utilized.
■     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or
      a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include
    settlements and orders.
      þ No
      ¨ Yes. Provide details below.
          Case title                                  Court or agency name and address            Nature of the case                   Status of case

22.1.     _______________________________             _______________________________             __________________________           ¨ Pending
                                                      _______________________________
          Case number                                 _______________________________                                                  ¨ On appeal
          _______________________________
                                                      _______________________________                                                  ¨ Concluded


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?
      þ No
      ¨ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

23.1.     _______________________________             _______________________________             __________________________ _______________
          _______________________________             _______________________________
          _______________________________             _______________________________
          _______________________________             _______________________________




24. Has the debtor notified any governmental unit of any release of hazardous material?
      þ No
      ¨ Yes. Provide details below.
          Site name and address                       Governmental unit name and                  Environmental law, if known          Date of notice
                                                      address

24.1.     _______________________________             _______________________________             __________________________ _______________
          _______________________________             _______________________________
          _______________________________             _______________________________
          _______________________________             _______________________________




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Debtor    MAC ACQUISITION LLC                                                                                     Case number (if known) 17-12224



 Part 13: Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

    ¨ None
         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.1.    MAC ACQUISITION OF ANNE ARUNDEL              CASUAL DINING                                 EIN: XX-XXXXXXX
         COUNTY LLC
         1855 BLAKE ST                                                                              Dates business existed
         STE 200
                                                                                                    From 9/8/2008 To Present
         DENVER CO 80206

         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.2.    MAC ACQUISITION OF BALTIMORE                 CASUAL DINING                                 EIN: XX-XXXXXXX
         COUNTY LLC
         1855 BLAKE ST                                                                              Dates business existed
         STE 200
                                                                                                    From 9/5/2008 To Present
         DENVER CO 80206

         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.3.    MAC ACQUISITION OF FREDERICK                 CASUAL DINING                                 EIN: XX-XXXXXXX
         COUNTY LLC
         1855 BLAKE ST                                                                              Dates business existed
         STE 200
                                                                                                    From 9/5/2008 To Present
         DENVER CO 80206

         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.4.    MAC ACQUISITION OF HOWARD                    CASUAL DINING                                 EIN: XX-XXXXXXX
         COUNTY LLC
         1855 BLAKE ST                                                                              Dates business existed
         STE 200
                                                                                                    From 9/5/2008 To 7/15/2016
         DENVER CO 80206

         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.5.    MAC ACQUISITION OF KANSAS LLC                CASUAL DINING                                 EIN: XX-XXXXXXX
         1855 BLAKE ST
         STE 200                                                                                    Dates business existed
         DENVER CO 80206
                                                                                                    From 8/25/2008 To Present

         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.6.    MAC ACQUISITION OF MONTGOMERY                CASUAL DINING                                 EIN: XX-XXXXXXX
         COUNTY LLC
         1855 BLAKE ST                                                                              Dates business existed
         STE 200
                                                                                                    From 9/5/2008 To 7/15/2016
         DENVER CO 80206

         Business name and address                    Describe the nature of the business           Employer Identification number
                                                                                                    Do not include Social Security number or ITIN.

25.7.    MAC ACQUISITION OF NEW JERSEY                CASUAL DINING                                 EIN: XX-XXXXXXX
         LLC
         1855 BLAKE ST                                                                              Dates business existed
         STE 200
                                                                                                    From 8/28/2009 To Present
         DENVER CO 80206

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         Business name and address                   Describe the nature of the business          Employer Identification number
                                                                                                  Do not include Social Security number or ITIN.

25.8.    RMG DEVELOPMENT LLC                         CASUAL DINING                                EIN: XX-XXXXXXX
         1855 BLAKE ST
         STE 200                                                                                  Dates business existed
         DENVER CO 80206
                                                                                                  From 7/25/2013 To Present




26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

    ¨ None
         Name and address                                                                          Dates of service

26a.1.   ARTHUR JUAREZ                                                                             From 5/1/2015 To 2/1/16
         3100 N GESSNER
         STE 125
         HOUSTON TX 77063

         Name and address                                                                          Dates of service

26a.2.   BEVERLY HULMES                                                                            From 10/1/2015 To 4/1/17
         3100 N GESSNER
         STE 125
         HOUSTON TX 77063

         Name and address                                                                          Dates of service

26a.3.   CHRISTINA TRUJILLO                                                                        From 4/1/2017 To Present
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                          Dates of service

26a.4.   CRYSTAL WILLFORD                                                                          From 5/1/2017 To Present
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                          Dates of service

26a.5.   DAVID M. GODFREY                                                                          From 4/9/2015 To Present
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                          Dates of service

26a.6.   INFOSYNC                                                                                  From 4/17/2015 To 6/26/16
         1938 N WOODLAWN
         STE 301
         WICHITA KS 67208

         Name and address                                                                          Dates of service

26a.7.   JEAN RODEN                                                                                From 10/1/2015 To 5/1/17
         3100 N GESSNER
         STE 125
         HOUSTON TX 77063

         Name and address                                                                          Dates of service

26a.8.   JULIE LEE                                                                                 From 5/1/2017 To Present
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

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Debtor    MAC ACQUISITION LLC                                                                                      Case number (if known) 17-12224

          Name and address                                                                            Dates of service

26a.9.    KARON HARMON                                                                                From 10/1/2015 To 4/1/16
          3100 N GESSNER
          STE 125
          HOUSTON TX 77063

           Name and address                                                                           Dates of service

26a.10.    MARIE ODULIO                                                                               From 10/1/2015 To 8/1/16
           3100 N GESSNER
           STE 125
           HOUSTON TX 77063

           Name and address                                                                           Dates of service

26a.11.    MICHELLE CALELINIA                                                                         From 4/17/2015 To 5/1/17
           3100 N GESSNER
           STE 125
           HOUSTON TX 77063

           Name and address                                                                           Dates of service

26a.12.    NICOLE MURRAY                                                                              From 10/1/2015 To 5/1/17
           3100 N GESSNER
           STE 125
           HOUSTON TX 77063

           Name and address                                                                           Dates of service

26a.13.    SEAN HOLT                                                                                  From 2/1/2017 To Present
           1855 BLAKE STREET
           STE 200
           DENVER CO 80202

           Name and address                                                                           Dates of service

26a.14.    TARYN MOORE                                                                                From 2/1/2017 To Present
           1855 BLAKE STREET
           STE 200
           DENVER CO 80202

           Name and address                                                                           Dates of service

26a.15.    TINA BLANC                                                                                 From 10/1/2015 To 5/1/17
           3100 N GESSNER
           STE 125
           HOUSTON TX 77063

26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
within 2 years before filing this case.

    þ None
          Name and address                                                                            Dates of service

26b.1.    ____________________________________________________________________                        From ______________ To ______________
          ____________________________________________________________________
          ____________________________________________________________________
          ____________________________________________________________________




26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

    ¨ None



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Debtor    MAC ACQUISITION LLC                                                                                         Case number (if known) 17-12224

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.1.   CHRISTINA TRUJILLO                                                                             ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.2.   CRYSTAL WILLFORD                                                                               ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.3.   DAVID M. GODFREY                                                                               ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.4.   JULIE LEE                                                                                      ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.5.   SEAN HOLT                                                                                      ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202

         Name and address                                                                               If any books of account and records are
                                                                                                        unavailable, explain why

26c.6.   TARYN MOORE                                                                                    ____________________________________
         1855 BLAKE STREET
         STE 200
         DENVER CO 80202




26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

    þ None
         Name and address

26d.1.   ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________
         ____________________________________________________________________




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Debtor   MAC ACQUISITION LLC                                                                                     Case number (if known) 17-12224




27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

    ¨ No
    þ Yes. Give the details about the two most recent inventories.
         Name of the person who supervised the taking of the inventory                Date of inventory    The dollar amount and basis (cost,
                                                                                                           market, or other basis) of each
                                                                                                           inventory

27.1.1   AHRENS-MARENCO, ANGELA A.                                                    9/25/2017            $20,242.89 (Cost Basis)
         Name and address of the person who has possession of inventory
         records
         DAVID GODFREY
         26641 ALISO CREEK RD
         ALISO VIEJO CA 92656

         Name of the person who supervised the taking of the inventory                Date of inventory    The dollar amount and basis (cost,
                                                                                                           market, or other basis) of each
                                                                                                           inventory

27.2.1   ALLRED, BEEJAY J.                                                            9/25/2017            $10,674.47 (Cost Basis)
         Name and address of the person who has possession of inventory
         records
         DAVID GODFREY
         102 E WINCHESTER ST
         SALT LAKE CITY UT 84107

         Name of the person who supervised the taking of the inventory                Date of inventory    The dollar amount and basis (cost,
                                                                                                           market, or other basis) of each
                                                                                                           inventory

27.3.1   ALONGE, WARREN S.                                                            9/25/2017            $17,235.73 (Cost Basis)
         Name and address of the person who has possession of inventory
         records
         DAVID GODFREY
         5925 KINGSTOWNE TOWNE CTR
         ALEXANDRIA VA 22315

         Name of the person who supervised the taking of the inventory                Date of inventory    The dollar amount and basis (cost,
                                                                                                           market, or other basis) of each
                                                                                                           inventory

27.4.1   BARATTI, ELISABETTA                                                          9/25/2017            $23,246.05 (Cost Basis)
         Name and address of the person who has possession of inventory
         records
         DAVID GODFREY
         41221 MARGARITA RD
         TEMECULA CA 92591

         Name of the person who supervised the taking of the inventory                Date of inventory    The dollar amount and basis (cost,
                                                                                                           market, or other basis) of each
                                                                                                           inventory

27.5.1   BRADFORD, PATRICK J.                                                         9/25/2017            $20,117.79 (Cost Basis)
         Name and address of the person who has possession of inventory
         records
         DAVID GODFREY
         5320 W IRLO BRONSON HWY
         KISSIMMEE FL 34746
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Debtor    MAC ACQUISITION LLC                                                                         Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory     Date of inventory   The dollar amount and basis (cost,
                                                                                                market, or other basis) of each
                                                                                                inventory

27.6.1    BRUNELLI, MARK                                                    9/25/2017           $12,612.07 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3421 SUMNER BLVD
          RALEIGH NC 27616

          Name of the person who supervised the taking of the inventory     Date of inventory   The dollar amount and basis (cost,
                                                                                                market, or other basis) of each
                                                                                                inventory

27.7.1    BURNS JR., BARRY C.                                               9/25/2017           $15,645.49 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          740 SE MAYNARD RD
          CARY NC 27511

          Name of the person who supervised the taking of the inventory     Date of inventory   The dollar amount and basis (cost,
                                                                                                market, or other basis) of each
                                                                                                inventory

27.8.1    BURNS, BRYANT L.                                                  9/25/2017           $17,023.63 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          13652 JAMBOREE RD
          IRVINE CA 92602

          Name of the person who supervised the taking of the inventory     Date of inventory   The dollar amount and basis (cost,
                                                                                                market, or other basis) of each
                                                                                                inventory

27.9.1    CALDERAS, EVELYN J.                                               9/25/2017           $17,963.02 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8150 E SANTA ANA CANYON RD
          ANAHEIM CA 92808

           Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.10.1    CARVALHO, MARCELA O.                                             9/25/2017           $21,654.82 (Cost Basis)
           Name and address of the person who has possession of inventory
           records
           DAVID GODFREY
           2501 S IH 35
           ROUND ROCK TX 78664




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          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.11.1   CHAVEZ, RUBEN                                                     9/25/2017         $18,448.98 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3591 GRAND OAKS
          CORONA CA 92881

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.12.1   COLLINS, MARK A.                                                  9/25/2017         $21,028.77 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5005 W PARK BLVD
          PLANO TX 75093

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.13.1   COURTNEY, AKIL A.                                                 9/25/2017         $10,043.81 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8620 RESEARCH DR
          CHARLOTTE NC 28262

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.14.1   CUMMINGS, ROBERT M.                                               9/25/2017         $15,091.23 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2437 S STEMMONS FWY
          LEWISVILLE TX 75067

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.15.1   DENARD, SANDI R.                                                  9/25/2017         $21,211.27 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          241 SUMMIT BLVD
          VESTAVIA AL 35243




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Debtor    MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.16.1   DIPONZIO, PAUL A.                                                  9/25/2017         $19,637.76 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          7123 RED BUG LAKE RD
          OVIEDO FL 32765

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.17.1   DOUGLAS, TRIPLETT                                                  9/25/2017         $20,418.45 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          401 S HURSTBOURNE PKWY
          LOUISVILLE KY 40222

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.18.1   DRISCOLL, LINDA L.                                                 9/25/2017         $22,421.15 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          17603 COLIMA RD
          CITY OF INDUSTRY CA 91748

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.19.1   EDMONDS, ANDREW W.                                                 9/25/2017         $17,533.93 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5133 S PADRE ISLAND DR
          CORPUS CHRISTI TX 78411

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.20.1   ESCOBAR, JULIO                                                     9/25/2017         $13,818.88 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          7901 EDINGER AVE
          HUNTINGTON BEACH CA 92647




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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.21.1   FADELEY, MICAH R.                                                 9/25/2017         $16,989.05 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          1505 S UNIVERSITY DR
          FORT WORTH TX 76107

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.22.1   FLINT JR., ANDREW H.                                              9/25/2017         $19,094.50 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          39300 7 MILE RD
          LIVONIA MI 48152

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.23.1   FOURNIER - WRIGHT, DANA C.                                        9/25/2017         $22,302.46 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8355 AGORA PKWY
          SELMA TX 78154

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.24.1   FRASER, JULIA A.                                                  9/25/2017         $24,286.87 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2010 DOUGLAS BLVD
          ROSEVILLE CA 95661

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.25.1   FULWIDER JR., JERRY D.                                            9/25/2017         $15,517.57 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2302 TYRONE BLVD N
          SAINT PETERSBURG FL 33710




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          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.26.1   GOOD, ANDREW D.                                                   9/25/2017         $19,627.46 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          4574 VIRGINIA BEACH BLVD
          VIRGINIA BEACH VA 23462

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.27.1   GOODICK, RANDALL G.                                               9/25/2017         $18,945.45 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2859 N GERMANTOWN PKWY
          MEMPHIS TN 38133

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.28.1   GRAJEDA, CARLOS                                                   9/25/2017         $18,296.38 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2100 LOUISIANA BLVD NE
          ALBUQUERQUE NM 87110

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.29.1   HENKEL JR, BOB                                                    9/25/2017         $16,968.88 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          1155 LAKE WOODLANDS DR
          SPRING TX 77380

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.30.1   HOYT JR., JOHN F.                                                 9/25/2017         $17,606.32 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8850 ROSEDALE HWY
          BAKERSFIELD CA 93312




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.31.1   HUEBERT, FAWN R.                                                 9/25/2017         $20,175.18 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          573 N STEPHANIE ST
          HENDERSON NV 89014

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.32.1   IPSEN, MATT S.                                                   9/25/2017         $17,709.86 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          12380 SEAL BEACH BLVD
          SEAL BEACH CA 90740

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.33.1   JAZMINE, BROWN                                                   9/25/2017         $15,930.18 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2015 BIRCH RD STE 2500
          CHULA VISTA CA 91915

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.34.1   JESSICA GILES                                                    9/25/2017         $29,077.95 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          27490 W LUGONIA AVE
          REDLANDS CA 92374

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.35.1   JOHNSON, PATRICIA Y.                                             9/25/2017         $19,575.50 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3207 BUFORD DR
          BUFORD GA 30519




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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.36.1   JORDAN (WHITE), CHRISTINA M.                                      9/25/2017         $15,854.78 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5045 WINDWARD PKWY
          ALPHARETTA GA 30004

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.37.1   JOSE GUTIERREZ                                                    9/25/2017         $19,834.71 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2739 E BIDWELL ST
          FOLSOM CA 95630

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.38.1   KALLIS SR., KEVIN S.                                              9/25/2017         $17,523.21 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          12100 SW 88TH ST
          MIAMI FL 33186

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.39.1   KASSIM, SHAMEER                                                   9/25/2017         $19,293.75 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3143 DANIELS RD
          WINTER GARDEN FL 34787

          Name of the person who supervised the taking of the inventory     Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.40.1   KELLI, WORRELL                                                    9/25/2017         $15,505.84 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          21001 N TATUM BLVD STE 4
          PHOENIX AZ 85050




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.41.1   KENDRICK, JONATHAN L.                                            9/25/2017         $17,677.63 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          178 JENNIFER RD
          ANNAPOLIS MD 21401

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.42.1   KNOX, CHRISTIAN G.                                               9/25/2017         $12,674.67 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2949 W AGUA FRIA FWY
          PHOENIX AZ 85027

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.43.1   KRAVETZ, BENJAMIN N.                                             9/25/2017         $15,270.20 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          701 E STASSNEY LN STE B
          BLDG. B
          AUSTIN TX 78745

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.44.1   KUCZLER, ANNA N.                                                 9/25/2017         $19,533.20 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          7650 N BLACKSTONE AVE
          FRESNO CA 93720

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.45.1   LAIDIG, SCOTT M.                                                 9/25/2017         $16,490.95 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          4627 S TIMBERLINE RD
          FORT COLLINS CO 80528




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.46.1   LANDGREN, LANCE T.                                               9/25/2017         $22,352.49 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          110 RANCH DR.
          MILPITAS CA 95035-5101

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.47.1   LOPEZ, DAYNA L.                                                  9/25/2017         $16,562.23 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          202 E VIA RANCHO PKWY
          ESCONDIDO CA 92025

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.48.1   MALLEY, JOSEPH                                                   9/25/2017         $18,869.80 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          41 SPRINGSIDE DR
          AKRON OH 44333

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.49.1   MARIO, DIAZ                                                      9/25/2017         $14,004.90 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          11885 GATEWAY BLVD W
          EL PASO TX 79936

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.50.1   MCDONALD, ERICA A.                                               9/25/2017         $17,369.54 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          517 OPRY MILLS DR
          NASHVILLE TN 37214




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.51.1   MICHAEL,. PERRIN                                                 9/25/2017         $36,920.70 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          640 COMMERCE BLVD
          FAIRLESS HILLS PA 19030

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.52.1   MINGO, CLINTON                                                   9/25/2017         $29,318.59 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          14331 HALL RD
          SHELBY TOWNSHIP MI 48315

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.53.1   MORENO RODRIGUEZ, JUAN DIEGO                                     9/25/2017         $15,420.57 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2265 W INA RD
          TUCSON AZ 85741

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.54.1   MUNOZ, JORGE L.                                                  9/25/2017         $11,859.83 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          1670 W INTERSTATE 20
          ARLINGTON TX 76017

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.55.1   NELSON, JOEY                                                     9/25/2017         $17,550.46 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2001 N RAINBOW BLVD
          LAS VEGAS NV 89108




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.56.1   NONE - CLOSED                                                    9/25/2017         $149.08 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          51 INTERNATIONAL DR S
          FLANDERS NJ 07836

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.57.1   PARSONS, MATTHEW J.                                              9/25/2017         $19,845.83 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          415 PHILBROOK AVE STE 100
          SOUTH PORTLAND ME 04106

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.58.1   PETERSON, RYAN C.                                                9/25/2017         $12,999.98 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          9828 GREAT HILLS TRL
          AUSTIN TX 78759

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.59.1   PINALES, CARLOS I.                                               9/25/2017         $12,748.28 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          388 N HIGHWAY 67
          CEDAR HILL TX 75104

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.60.1   POSSELLI, SARAH                                                  9/25/2017         $21,899.60 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5420 PACIFIC AVE
          STOCKTON CA 95207




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Debtor    MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.61.1   QUONG, TYLER C.                                                    9/25/2017         $16,890.27 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3000 184TH STREET SW #922
          LYNNWOOD WA 98037

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.62.1   RIVERA, JOSE M.                                                    9/25/2017         $20,294.80 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8700 NW 18TH TERRACE
          DORAL FL 33172

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.63.1   RIVERS, JOSH L.                                                    9/25/2017         $10,769.43 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          11100 W MARKHAM ST
          LITTLE ROCK AR 72211

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.64.1   ROBLES, CHRISTOPHER                                                9/25/2017         $18,986.00 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5505 S VIRGINIA ST
          RENO NV 89502

          Name of the person who supervised the taking of the inventory      Date of inventory The dollar amount and basis (cost,
                                                                                               market, or other basis) of each
                                                                                               inventory

27.65.1   RODRIGUEZ, FRANCO                                                  9/25/2017         $17,802.45 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2535 MEDICAL CENTER PKWY
          MURFREESBORO TN 37129




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.66.1   ROMPF, MARK L.                                                   9/25/2017         $18,728.54 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2111 N SQUIRREL RD
          AUBURN HILLS MI 48326

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.67.1   ROSSER, KEVIN D.                                                 9/25/2017         $13,912.14 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          7979 E ARAPAHOE RD
          GREENWOOD VILLAGE CO 80112

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.68.1   RUBINO, ADAM                                                     9/25/2017         $20,189.83 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          1 METRO PARK RD
          ALBANY NY 12205

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.69.1   RYAN, ABRAM                                                      9/25/2017         $17,419.04 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5100 E BROADWAY BLVD
          TUCSON AZ 85711

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.70.1   RYGG, JESS F.                                                    9/25/2017         $12,647.12 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          10411 TOWN CENTER DR
          BROOMFIELD CO 80021




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.71.1   SANDOVAL, STEVE J.                                               9/25/2017         $16,704.27 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2510 TENDERFOOT HILL ST
          COLORADO SPRINGS CO 80906

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.72.1   SCHROEDER, TONY                                                  9/25/2017         $19,221.31 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          19400 PLUMMER ST
          NORTHRIDGE CA 91324

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.73.1   SHAW, KEVIN                                                      9/25/2017         $22,218.49 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8295 LAGUNA BLVD
          ELK GROVE CA 95758

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.74.1   SIMS, DEWAYNE R.                                                 9/25/2017         $22,708.48 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          25001 COUNTRY CLUB BLVD
          NORTH OLMSTED OH 44070

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.75.1   SKINNELL, BRANDI R.                                              9/25/2017         $15,765.94 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3111 PRESTON RD
          FRISCO TX 75034




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.76.1   SLOAN, DENISE M.                                                 9/25/2017         $21,720.70 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          12148 S APOPKA VINELAND RD
          ORLANDO FL 32836

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.77.1   SWITHENBANK, JOHN R.                                             9/25/2017         $15,821.92 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          105 E BEACON DR
          GREENVILLE SC 29615

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.78.1   TALLY, RACHAEL                                                   9/25/2017         $22,006.25 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          760 JEFFERSON RD
          ROCHESTER NY 14623

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.79.1   THOMAS, DAVID J.                                                 9/25/2017         $16,028.70 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2655 VISTA WAY
          OCEANSIDE CA 92054

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.80.1   TIMOTHY, BLOCH                                                   9/25/2017         $17,545.13 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          14245 W COLFAX AVE
          LAKEWOOD CO 80401




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.81.1   TITUS, STERLING                                                  9/25/2017         $13,703.60 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2400 W SAHARA AVE
          LAS VEGAS NV 89102

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.82.1   TORRES, HUGO A.                                                  9/25/2017         $21,298.08 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          12875 TOWNE CENTER DR
          CERRITOS CA 90703

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.83.1   TRACEY, COTTON                                                   9/25/2017         $12,782.04 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          14241 E ALAMEDA AVE
          AURORA CO 80012

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.84.1   VASQUEZ, DEATTA DEATTA M.                                        9/25/2017         $21,559.49 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          2920 TAPO CANYON RD
          SIMI VALLEY CA 93063

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.85.1   VAUGHN, GABRIEL J.                                               9/25/2017         $2,707.53 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          132 BRANDON TOWN CENTER DR
          BRANDON FL 33511




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Debtor    MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.86.1   WARREN, KEITH K.                                                 9/25/2017         $14,657.84 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          3625 DALLAS HWY SW
          MARIETTA GA 30064

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.87.1   WEBB, ROBB L.                                                    9/25/2017         $21,864.89 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          1828 N LITCHFIELD RD
          GOODYEAR AZ 85395

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.88.1   WHITE, CHRIS C.                                                  9/25/2017         $19,892.15 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          5201 BUCKEYSTOWN PIKE
          FREDERICK MD 21704

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.89.1   WILLARD, DANIEL L.                                               9/25/2017         $12,868.99 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          7205 N CENTRAL EXPY
          PLANO TX 75025

          Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                             market, or other basis) of each
                                                                                             inventory

27.90.1   WRENN, JASON W.                                                  9/25/2017         $17,023.72 (Cost Basis)
          Name and address of the person who has possession of inventory
          records
          DAVID GODFREY
          8000 EL CERRITO
          EL CERRITO CA 94530




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Debtor     MAC ACQUISITION LLC                                                                         Case number (if known) 17-12224

           Name of the person who supervised the taking of the inventory    Date of inventory The dollar amount and basis (cost,
                                                                                              market, or other basis) of each
                                                                                              inventory

27.91.1    YEAGLEY, REBECCA                                                 9/25/2017          $30,594.52 (Cost Basis)
           Name and address of the person who has possession of inventory
           records
           DAVID GODFREY
           2531 BRINDLE DR
           HARRISBURG PA 17110


1
    INVENTORY RECORDS ARE MAINTAINED AT BOTH THE RESTAURANT AND HEADQUARTERS ADDRESSES.




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling
    shareholders, or other people in control of the debtor at the time of the filing of this case.
          Name and address                    Position                        Nature of any interest            % of interest, if any

28.1.     DAVID M. GODFREY                    VICE PRESIDENT                  N/A                               _________________
          1855 BLAKE ST.
          SUITE 200
          DENVER CO 80202

          Name and address                    Position                        Nature of any interest            % of interest, if any

28.2.     DEAN A. RIESEN                      CO-CFO                          N/A                               _________________
          1855 BLAKE ST.
          SUITE 200
          DENVER CO 80202

          Name and address                    Position                        Nature of any interest            % of interest, if any

28.3.     JEFFREY MEYER                       ASSISTANT SECRETARY             N/A                               _________________
          1855 BLAKE ST.
          SUITE 200
          DENVER CO 80202

          Name and address                    Position                        Nature of any interest            % of interest, if any
          MAC HOLDING LLC
28.4.                                         N/A                             MEMBERSHIP INTEREST               100.00%
          1855 BLAKE ST. SUITE 200
          DENVER CO 80202
          Name and address                    Position                        Nature of any interest            % of interest, if any

28.5.     MAURY L. CUJE                       ASSISTANT SECRETARY             N/A                               _________________
          1855 BLAKE ST.
          SUITE 200
          DENVER CO 80202

          Name and address                    Position                        Nature of any interest            % of interest, if any

28.6.     NISHANT MACHADO                     PRESIDENT, CEO, CHIEF           N/A                               _________________
          1855 BLAKE ST.                      RESTRUCTURING OFFICER
          SUITE 200
          DENVER CO 80202

          Name and address                    Position                        Nature of any interest            % of interest, if any

28.7.     PASQUALE MATURO                     CO-CFO AND TREASURER            N/A                               _________________
          1855 BLAKE ST.
          SUITE 200
          DENVER CO 80202




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Debtor    MAC ACQUISITION LLC                                                                                       Case number (if known) 17-12224

         Name and address                          Position                               Nature of any interest               % of interest, if any

28.8.    RANDALL K. SHARPE                         EXECUTIVE                              N/A                                  _________________
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202

         Name and address                          Position                               Nature of any interest               % of interest, if any

28.9.    ROBERT G. MACKEY                          VICE PRESIDENT                         N/A                                  _________________




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general
    partners, members in control of the debtor, or shareholders in control of the debtor who no longer hold these
    positions?
    ¨ No
    þ Yes. Identify below.
         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.1.    ALIX UDELSON                       ASSISTANT CORPORATE                 N/A                                 From 5/11/2016 To 1/8/2017
         500 DALLAS ST                      SECRETARY
         STE 3000
         HOUSTON TX 77002

         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.2.    DEAN A RIESEN                      CFO/TREASURER                       N/A                                 From 4/17/2015 To 5/30/2017
         1855 BLAKE ST.
         SUITE 200
         DENVER CO 80202

         Name and address                   Position                            Nature of any interest              Period during which position
                                                                                                                    or interest was held

29.3.    JOHN F. GILBERT III                PRESIDENT & CEO                     N/A                                 From 4/17/2015 To 5/30/2017




30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

    ¨ No
    þ Yes. Identify below
         Name and address of recipient             Amount of             Description of property Dates                    Reason for providing
                                                   money or value                                                         the value
                                                   of property

30.1.    ALIX UDELSON                              $34,455.92                                        10/18/16 -           COMPENSATION AND
         500 DALLAS ST                                                                               10/17/17             PHONE ALLOWANCE
         SUITE 3000
         HOUSTON TX 77002
         Relationship to debtor
         FORMER MANAGER




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Debtor    MAC ACQUISITION LLC                                                                       Case number (if known) 17-12224

         Name and address of recipient       Amount of         Description of property Dates             Reason for providing
                                             money or value                                              the value
                                             of property

30.2.    DEAN RIESEN                         $267,873.15                               10/18/16 -        COMPENSATION,
         1855 BLAKE STREET                                                             10/17/17          TRANSPORTATION,
         SUITE 200                                                                                       VEHICLE AND PHONE
         DENVER CO 80202                                                                                 ALLOWANCE AND
                                                                                                         EXPENSES
         Relationship to debtor
         CHAIRMAN AND CO-CFO

         Name and address of recipient       Amount of         Description of property Dates             Reason for providing
                                             money or value                                              the value
                                             of property

30.3.    JEFFREY MEYER                       $151,133.07                               10/18/16 -        COMPENSATION AND
         1855 BLAKE STREET                                                             10/17/17          PHONE ALLOWANCE
         SUITE 200
         DENVER CO 80202
         Relationship to debtor
         VICE PRESIDENT & ASSISTANT
         SECRETARY

         Name and address of recipient       Amount of         Description of property Dates             Reason for providing
                                             money or value                                              the value
                                             of property

30.4.    JOHN GILBERT                        $337,927.87                               10/18/16 -        COMPENSATION,
                                                                                       10/17/17          TRANSPORTATION
                                                                                                         AND EXPENSES
         Relationship to debtor
         FORMER PRESIDENT & CEO

         Name and address of recipient       Amount of         Description of property Dates             Reason for providing
                                             money or value                                              the value
                                             of property

30.5.    MAURY CUJE                          $94,759.99                                10/18/16 -        COMPENSATION AND
         1855 BLAKE STREET                                                             10/17/17          PHONE ALLOWANCE
         SUITE 200
         DENVER CO 80202
         Relationship to debtor
         ASSISTANT SECRETARY

         Name and address of recipient       Amount of         Description of property Dates             Reason for providing
                                             money or value                                              the value
                                             of property

30.6.    PASQUALE MATURO                     $171,861.30                               10/18/16 -        COMPENSATION AND
         1855 BLAKE STREET                                                             10/17/17          PHONE ALLOWANCE
         SUITE 200
         DENVER CO 80202
         Relationship to debtor
         CO-CFO AND TREASURER




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
    ¨ No
    þ Yes. Identify below

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Debtor    MAC ACQUISITION LLC                                                                        Case number (if known) 17-12224

         Name of the parent corporation                                    Employer Identification number of the parent
                                                                           corporation

31.1.    REDROCK PARTNERS, LLC                                             EIN: XX-XXXXXXX




32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension
    fund?
    þ No
    ¨ Yes. Identify below
         Name of the pension fund                                          Employer Identification number of the pension fund

32.1.    __________________________________________________________        EIN: __ __-__ __ __ __ __ __ __
         __________________________________________________________
         __________________________________________________________
         __________________________________________________________




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Debtor      MAC ACQUISITION LLC                                                                                             Case number (if known) 17-12224



 Part 14: Signature and Declaration

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
    is true and correct.

    I declare under penalty of perjury that the foregoing is true and correct.


                           11/17/2017
                           MM/DD/YYYY




    û_/s/ Nishant Machado_________________________________________________ Printed name Nishant Machado
         Signature of individual signing on behalf of the debtor




         Position or relationship to debtor                        President, CEO and Chief Restructuring Officer


    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

    þ No
    ¨ Yes




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-12224 (MFW)
                                         1
MAC ACQUISITION LLC, et al.,
                                                           (Jointly Administered)
                                   Debtors.


                  GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

        Mac Acquisition LLC, Mac Parent LLC, Mac Holding LLC, Mac Acquisition of New
Jersey LLC, Mac Acquisition of Kansas LLC, Mac Acquisition of Anne Arundel County LLC,
Mac Acquisition of Frederick County LLC, Mac Acquisition of Baltimore County LLC, and
Macaroni Grill Services LLC (collectively, the “Debtors”) with the assistance of their advisors,
have filed their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements
of Financial Affairs (the “Statements,” and together with the Schedules, the “Schedules and
Statements”) with the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

       These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of each Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of each Debtor (whether
publically filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.

1    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Mac
Acquisition LLC (6362); Mac Parent LLC (6715); Mac Holding LLC (6682); Mac Acquisition of New Jersey LLC
(1121); Mac Acquisition of Kansas LLC (3910); Mac Acquisition of Anne Arundel County LLC (6571); Mac
Acquisition of Frederick County LLC (6881); Mac Acquisition of Baltimore County LLC (6865); and Macaroni
Grill Services LLC (5963). The headquarters for the above-captioned Debtors is located at 1855 Blake St., Ste. 200,
Denver, CO 80202.
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       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.

        The Debtors and their officers, employees, agents, attorneys and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules
and Statements and shall not be liable for any loss or injury arising out of or caused in whole or
in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information contained in the
Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Debtors
and their officers, employees, agents, attorneys and financial advisors expressly do not undertake
any obligation to update, modify, revise or re-categorize the information provided in the
Schedules and Statements or to notify any third party should the information be updated,
modified, revised or re-categorized. The Debtors, on behalf of themselves, their officers,
employees, agents and advisors disclaim any liability to any third party arising out of or related
to the information contained in the Schedules and Statements and reserve all rights with respect
thereto.

        The Schedules and Statements have been signed by an authorized representative of each
of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied
upon the efforts, statements and representations of the Debtors’ other personnel and
professionals. The representative has not (and could not have) personally verified the accuracy of
each such statement and representation, including, for example, statements and representations
concerning amounts owed to creditors and their addresses.

                         Global Notes and Overview of Methodology

1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
   accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
   Debtors reserve all rights to amend or supplement the Schedules and Statements from time to
   time, in all respects, as may be necessary or appropriate, including, without limitation, the
   right to amend the Schedules and Statements with respect to claim (“Claim”) description,
   designation, or Debtor against which the Claim is asserted; dispute or otherwise assert offsets
   or defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
   priority, status, or classification; subsequently designate any Claim as “disputed,”
   “contingent,” or “unliquidated;” or object to the extent, validity, enforceability, priority, or
   avoidability of any Claim. Any failure to designate a Claim in the Schedules and Statements
   as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the
   Debtors that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.”
   Listing a Claim does not constitute an admission of liability by the Debtor against which the
   Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
   Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’
   chapter 11 cases, including, without limitation, issues involving Claims, substantive
   consolidation, defenses, equitable subordination, recharacterization, and/or causes of action
   arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-

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   bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
   contained elsewhere in the Global Notes does not limit in any respect the general reservation
   of rights contained in this paragraph. Notwithstanding the foregoing, the Debtors shall not be
   required to update the Schedules and Statements.

   The listing in the Schedules or Statements (including, without limitation, Schedule A/B,
   Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and another
   Debtor is a statement of what appears in the Debtors’ books and records and does not reflect
   any admission or conclusion of the Debtors regarding whether such amount would be
   allowed as a Claim or how such obligations may be classified and/or characterized in a plan
   of reorganization or by the Bankruptcy Court.

2. Description of Cases and “as of” Information Date. On October 18, 2017 (the “Petition
   Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
   Code. The Debtors are operating their businesses and managing their properties as debtors in
   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On October 19,
   2017, the Bankruptcy Court entered an order directing procedural consolidation and joint
   administration of the Debtors’ chapter 11 cases [Docket No. 39].

   The asset information provided in the Schedules and Statements, except as otherwise
   noted, represents the asset data of the Debtors as of the close of business on September
   25, 2017, and the liability information provided herein, except as otherwise noted,
   represents the liability data of the Debtors as of the close of business on October 17,
   2017.

3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and an
   inefficient use of estate assets for the Debtors to obtain current market valuations for all of
   their assets as of the Petition Date. Accordingly, unless otherwise indicated, the Debtors’
   Schedules and Statements reflect net book values as of the period ended August 31, 2017, as
   set forth in the Debtors’ books and records. Additionally, because the book values of certain
   assets, such as patents, trademarks, and copyrights, may materially differ from their fair
   market values, they may be listed as undetermined amounts as of the Petition Date.
   Furthermore, as applicable, assets that have fully depreciated or were expensed for
   accounting purposes may not appear in the Schedules and Statements if they have no net
   book value.

4. Recharacterization.       Notwithstanding the Debtors’ reasonable efforts to properly
   characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
   unexpired leases and other items reported in the Schedules and Statements, the Debtors may,
   nevertheless, have improperly characterized, classified, categorized, designated (including as
   “disputed,” “contingent,” “unliquidated,” and “subject to set-off”), or omitted certain items
   or designations due to the complexity and size of the Debtors’ businesses. Accordingly, the
   Debtors reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add
   or delete items reported in the Schedules and Statements at a later time as is necessary or
   appropriate as additional information becomes available, including, without limitation,
   whether contracts or leases listed herein were deemed executory or unexpired as of the
   Petition Date and remain executory and unexpired postpetition.

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5. Real Property and Personal Property–Leased. In the ordinary course of their businesses,
   the Debtors lease real property and various articles of personal property, including, fixtures,
   and equipment, from certain third-party lessors. The Debtors have made reasonable efforts
   to list all such leases in the Schedules and Statements. The Debtors have included on
   Schedule D (secured debt) lease obligations to the extent the lessor filed a UCC-1. However,
   nothing in the Schedules or Statements is or shall be construed as an admission or
   determination as to the legal status of any lease (including whether to assume and assign or
   reject such lease or whether it is a true lease or a financing arrangement).

6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between the
   prepetition and post-petition periods based on the information and research conducted in
   connection with the preparation of the Schedules and Statements. As additional information
   becomes available and further research is conducted, the allocation of liabilities between the
   prepetition and post-petition periods may change.

   The liabilities listed on the Schedules do not reflect any analysis of Claims under section
   503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
   dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
   Bankruptcy Code.

   The Debtors have excluded certain categories of assets, tax accruals, and liabilities from the
   Schedules and Statements, including, without limitation, goodwill, accrued salaries,
   employee benefit accruals, and deferred gains. In addition, certain immaterial assets and
   liabilities may have been excluded.

   The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
   outstanding prepetition Claims on a post-petition basis. However, prepetition liabilities
   related to ordinary course wages and compensation and certain trade claim may have been
   excluded from the Schedules to the extent their Claims have been paid post-petition.

7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
   “insiders” to include the following: (a) directors and limited liability company managers; (b)
   senior level officers; (c) equity holders holding in excess of 5% of the voting securities of the
   Debtor entities; (d) Debtor affiliates; and (e) relatives of any of the foregoing (to the extent
   known by the Debtors). Entities listed as “insiders” have been included for informational
   purposes and their inclusion shall not constitute an admission that those entities are insiders
   for purposes of section 101(31) of the Bankruptcy Code.

8. Intellectual Property Rights. The exclusion of any intellectual property shall not be
   construed as an admission that such intellectual property rights have been abandoned,
   terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
   acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall
   not be construed to be an admission that such intellectual property rights have not been
   abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to
   a sale, acquisition, or other transaction.



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   In addition, although the Debtors have made diligent efforts to attribute intellectual property
   to the rightful Debtor entity, in certain instances, intellectual property owned by one Debtor
   may, in fact, be owned by another Debtor or a non-Debtor, or vice versa. Accordingly, the
   Debtors reserve all of their rights with respect to the legal status of any and all such
   intellectual property rights.

9. Executory Contracts and Unexpired Leases. Although the Debtors made diligent attempts
   to attribute executory contracts and unexpired leases to their rightful Debtors, in certain
   instances, the Debtors may have inadvertently failed to do so due to the complexity and size
   of the Debtors’ businesses.

   Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have not
   necessarily set forth executory contracts and unexpired leases as assets in the Schedules and
   Statements, even though these contracts and leases may have some value to the Debtors’
   estates. The Debtors’ executory contracts and unexpired leases have been set forth in
   Schedule G.

10. Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
    may not have listed all of their causes of action or potential causes of action against
    third-parties as assets in the Schedules and Statements, including, without limitation, causes
    of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
    relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of
    their rights with respect to any cause of action (including avoidance actions), controversy,
    right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on contracts or for
    breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
    guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
    license, and franchise of any kind or character whatsoever, known, unknown, fixed or
    contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
    disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
    arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
    pursuant to any other theory of law (collectively, “Causes of Action”) they may have, and
    neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any
    Claims or Causes of Action or in any way prejudice or impair the assertion of such Claims or
    Causes of Action.

11. Summary of Significant Reporting Policies. The following is a summary of significant
    reporting policies:

               a.      Undetermined Amounts. The description of an amount as
                       “unknown,” “TBD” or “undetermined” is not intended to
                       reflect upon the materiality of such amount.

               b.      Totals. All totals that are included in the Schedules and
                       Statements represent totals of all known amounts. To the
                       extent there are unknown or undetermined amounts, the
                       actual total may be different than the listed total.


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               c.       Liens. Property and equipment listed in the Schedules and
                        Statements are presented without consideration of any liens
                        that may attach (or have attached) to such property and
                        equipment.

12. Estimates and Assumptions. Because of the timing of the filings, management was
    required to make certain estimates and assumptions that affected the reported amounts of
    these assets and liabilities. Actual amounts could differ from those estimates, perhaps
    materially.

13. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

14. Intercompany. The listing in the Schedules or Statements (including, without limitation,
    Schedule A/B or Schedule E/F) by the Debtors of any obligation between a Debtor and
    another Debtor is a statement of what appears in the Debtors’ books and records and does not
    reflect any admission or conclusion of the Debtors regarding whether such amount would be
    allowed as a Claim or how such obligations may be classified and/or characterized in a plan
    of reorganization or by the Bankruptcy Court.

15. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary course
    of business. Offsets in the ordinary course can result from various items, including, without
    limitation, intercompany transactions, pricing discrepancies, returns, refunds, warranties,
    debit memos, credits, and other disputes between the Debtors and their suppliers and/or
    customers. These offsets and other similar rights are consistent with the ordinary course of
    business in the Debtors’ industry and are not tracked separately. Therefore, although such
    offsets and other similar rights may have been accounted for when certain amounts were
    included in the Schedules, offsets in the ordinary course of business are not independently
    accounted for, and as such, may be excluded from the Debtors’ Schedules and Statements.

16. Global Notes Control. If the Schedules and Statements differ from these Global Notes, the
    Global Notes shall control.

                    Specific Disclosures with Respect to the Debtors’ Schedules

Schedule A/B. Other than real property leases reported on Schedule A/B 55, the Debtors have
not included leases and contracts on Schedule A/B. Leases and contracts are listed on Schedule
G.

       Schedule A/B 2. Petty cash represents cash on hand at restaurant locations including
       “register” cash.

       Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3 as
       of the open of business on October 18, 2017. Details with respect to the Debtors’ cash
       management system and bank accounts are provided in the Debtors’ cash management
       motion filed on the Petition Date. See [Docket No. 12].

       Schedule A/B 11. Accounts receivable do not include intercompany receivables, which
       are listed on Schedule AB 77.

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       Schedules A/B 15. Ownership interests in subsidiaries have been listed in Schedules
       A/B 15 as an undetermined amount because the fair market value of such ownership is
       dependent on numerous variables and factors and likely differs significantly from their
       net book value.

       Schedule A/B 55. The Debtors do not own any real property. The Debtors have listed
       their real property leases in Schedule A/B 55. The Debtors’ leasehold
       interests/improvements appear on Schedule A/B 55.

       Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may have
       accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs, refunds, or
       potential warranty Claims against their suppliers. Additionally, certain of the Debtors
       may be a party to pending litigation in which the Debtors have asserted, or may assert,
       Claims as a plaintiff or counter-Claims as a defendant. Because such Claims are
       unknown to the Debtors and not quantifiable as of the Petition Date, they are not listed on
       Schedule AB 74 or 75. The Debtors’ failure to list any contingent and/or unliquidated
       claim held by the Debtors in response to these questions shall not constitute a waiver,
       release, relinquishment, or forfeiture of such claim.

Schedule D. The Claims listed on Schedule D arose or were incurred on various dates; a
determination of the date upon which each Claim arose or was incurred would be unduly
burdensome and cost prohibitive. Accordingly, not all such dates are included. All Claims listed
on Schedule D, however, were incurred before the Petition Date.

Reference to the applicable loan agreements and related documents or other instrument creating
the purported lien is necessary for a complete description of the collateral and the nature, extent,
and priority of liens. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements. Except as specifically
stated on Schedule D, real property lessors, utility companies, and other parties that may hold
security deposits have not been listed on Schedule D. Nothing herein shall be construed as an
admission by the Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify such Claim or contract.

Moreover, the Debtors have not included on Schedule D parties that may believe their Claims are
secured through setoff rights, letters of credit, surety bonds, or statutory lien rights.

Schedule E/F part 2. The Debtors have used reasonable efforts to report all general unsecured
Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’ books and records
as of the Petition Date.

Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date
for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule E/F part 2
may have been aggregated by unique creditor name and remit to address and may include several
dates of incurrence for the aggregate balance listed.

Schedule E/F part 2 contains information regarding pending litigation involving the Debtors. The
dollar amount of potential Claims associated with any such pending litigation is listed as
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“undetermined” and marked as contingent, unliquidated, and disputed in the Schedules and
Statements. Some of the litigation Claims listed on Schedule E//F may be subject to
subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 also includes
potential or threatened litigation claims. Any information contained in Schedule E/F part 2 with
respect to such potential litigation shall not be a binding admission or representation of the any
Debtor’s liability with respect to any of the potential suits and proceedings included therein. The
Debtors expressly incorporate by reference into Schedule E/F part 2 all parties to pending
litigation listed in the Debtors’ Statement 7, as contingent, unliquidated, and disputed claims, to
the extent not already listed on Schedule E/F part 2. Finally, where litigation has been threatened
or commenced against more than one Debtor, the Debtors may have scheduled those creditors
under Mac Acquisition LLC, which is the primary operating company among the Debtors.

Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection
with the assumption, or assumption and assignment, of executory contracts or unexpired leases.
Additionally, Schedule E/F part 2 does not include potential rejection damage Claims, if any, of
the counterparties to executory contracts and unexpired leases that may be rejected, except where
a judgment has been rendered.

Schedule G. Certain information, such as the contact information of the counter-party, may not
be included where such information could not be obtained using the Debtors’ reasonable efforts.
Listing or omitting a contract or agreement on Schedule G does not constitute an admission that
such contract or agreement is or is not an executory contract or unexpired lease was in effect on
the Petition Date or is valid or enforceable. Certain of the leases and contracts listed on
Schedule G may contain certain renewal options, guarantees of payment, indemnifications,
options to purchase, rights of first refusal and other miscellaneous rights. Such rights, powers,
duties and obligations are not set forth separately on Schedule G.

Certain confidentiality and non-disclosure agreements may not be listed on Schedule G.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters and other documents that
may not be listed on Schedule G or that may be listed as a single entry. In some cases, the same
supplier or provider appears multiple times on Schedule G. Multiple listings may not reflect
distinct contracts between the applicable Debtor and such supplier or provider but, instead, a
series of documents comprising a single contract. The Debtors expressly reserve their rights to
challenge whether such related materials constitute an executory contract, a single contract or
agreement or multiple, severable or separate contracts.

The contracts, agreements, and leases listed on Schedule G may have expired or terminated prior
to the Petition Date. The Debtors reserve their rights to argue that any of the contracts,
agreements, and leases listed on Schedule G expired or terminated prior to the Petition Date.
Additionally, some of the contracts, agreements, and leases listed on Schedule G may have been
modified, amended or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to
identify such documents. Further, unless otherwise specified on Schedule G, each executory

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contract or unexpired lease listed thereon shall include all exhibits, schedules, riders,
modifications, declarations, amendments, supplements, attachments, restatements, or other
agreements made directly or indirectly by any agreement, instrument, or other document that in
any manner affects such executory contract or unexpired lease, without respect to whether such
agreement, instrument, or other document is listed thereon.

In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of their businesses, such as subordination, nondisturbance, and attornment agreements,
supplemental agreements, settlement agreements, amendments/letter agreements, title
agreements and confidentiality agreements. Such documents may not be set forth on Schedule
G. Certain of the executory agreements may not have been memorialized and could be subject to
dispute. Executory agreements that are oral in nature have not been included on the Schedule G.

Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors or
guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H. Any
listing of a Debtor on Schedule H is subject to the characterization of the underlying obligations
made by such Debtor on its owns Schedules. The Debtors may not have identified certain
guarantees associated with the Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements.

In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom
may assert cross-Claims and counter-Claims against other parties. Because the Debtors have
treated all such Claims as contingent, disputed, or unliquidated, such Claims may not have been
set forth individually on Schedule H. Litigation matters can be found on each Debtor’s Schedule
E/F part 2 and Statement 7, as applicable.

                Specific Disclosures with Respect to the Debtors’ Statements

Statement 3. Statement 3 for Mac Acquisition LLC includes any disbursement or other transfer
made by or on behalf of all the Debtors within 90 days before the Petition Date except for those
made to insiders (which payments appear in response to Statement 4), made as part of regular
and ordinary course payroll disbursements, and bankruptcy professionals (which payments
appear in Statement 11 and include any retainers paid to bankruptcy professionals). The
amounts listed in Statement 3 reflect the Debtors’ disbursements netted against any check level
detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one entry
has been listed on Statement 3.

Statement 4. With respect to individuals, the amounts listed reflect the universe of payments
and transfers made specifically to or for the benefit of such individuals, including their regular
compensation, as well as any bonuses, expense reimbursements, severance payments and/or
relocation reimbursement. However, amounts paid on behalf of such employees for generally
applicable employee benefit programs has not been included.

The Debtors have included a single entry for all amounts made over the twelve months preceding
the Petition Date for each insider.


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Statement 5. Statement 5 excludes goods returned in the ordinary course of business. The
restaurant furniture, fixtures and equipment reported in Statement 5 is all property in closed
locations that the landlord obtained possession of in connection with the store closure. The value
is unknown.

Statement 7. Information provided in Statement 7 may not include every administrative agency
proceeding open or closed during the relevant time period, as certain agency proceedings are
quickly dismissed or settled for a nominal sum. Additionally, any information contained in
Statement 7 shall not be a binding representation of the Debtors’ liabilities with respect to any of
the suits and proceedings identified therein.

Statement 10. The Debtors occasionally incur losses for a variety of reasons, including theft
and property damage. The Debtors, however, may not have records of all such losses if such
losses do not have a material impact on the Debtors’ businesses or are not reported for insurance
purposes. The losses listed on Statement 10 are based on the estimated amounts currently owed
and are not intended to be an admission of the amounts owed. Further, Mac Parent LLC is the
“named insured” under substantially all of the Debtors’ insurance policies. Accordingly, losses
that are covered by insurance are listed under Mac Parent LLC even though they may relate to
assets owned by (and income recognized by) other Debtors, primarily Mac Acquisition LLC, the
primary asset-owning Debtor.

Statement 11. Out of an abundance of caution, the Debtors have included payments to all
professionals who have rendered any advice related the Debtors’ bankruptcy proceedings in
Statement 11. However, it is possible that the disclosed fees also relate to other, non-bankruptcy
related services and may include services rendered to other parties.

Statement 26d. The Debtors have provided financial statements in the ordinary course of their
businesses to various financial institutions, creditors, landlords, and other parties within two
years immediately before the Petition Date. Considering the number of such recipients and the
possibility that such information may have been shared with parties without the Debtors’
knowledge or consent or subject to confidentiality agreements, the Debtors have not disclosed
any parties that may have received such financial statements for the purposes of Statement 26d.




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